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               Redacted Version of
           Bruce Schneier 6.7.2022
 Rebuttal Report and all Appendices
                       (Plaintiffs)


     [Document sought to be sealed]
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Brown v. Google

                       IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF CALIFORNIA

                                              §
                                              §
                                              §
CHASOM BROWN, WILLIAM BYATT,                  §
JEREMY DAVIS, CHRISTOPHER                     §
CASTILLO, and MONIQUE TRUJILLO,               §
individually and on behalf of all similarly   §
situated,                                     §
                                              §   Case No. 4:20-cv-03664-YGR-SVK
  Plaintiffs,                                 §
                v.                            §
                                              §
GOOGLE LLC,                                   §
                                              §
  Defendant.                                  §
                                              §
                                              §
                                              §
                                              §




                     EXPERT REBUTTAL REPORT OF BRUCE SCHNEIER
                       REBUTTAL OF EXPERT GEORGIOS ZERVAS


                                       June 7, 2022




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I.      Executive Summary of Opinions

      Pursuant to the Court’s Standing Order, this section includes an executive summary of
each option to be proffered in this rebuttal report. My opinions include:

     A. OPINION 1: As described in Section III.1, Professor Zervas erred by failing to address
         evidence produced by Google in this case (including evidence cited in my opening
         report) regarding how Google collects and stores private browsing information, which
         makes Professor Zervas’ stated opinions incomplete and misleading.

     B. OPINION 2: As described in Section III.2, contrary to what Professor Zervas suggests in
         his report and consistent with the opinions stated in my opening report, the private
         browsing information collected and stored by Google can be linked with devices and
         users, and Professor Zervas erred by only considering cookie values associated with
         private browsing and by failing to address the joinability implications of other
         information collected by Google during private browsing.

     C. OPINION 3: As described in Section III.3, despite being retained by Google, Professor
         Zervas has not presented any analysis regarding or established any widespread awareness
         or use during private browsing of any of the “other settings and available features” he
         discusses, and it is my experience and opinion that ordinary Internet users do not know
         about, do not know how to use, or do not know that it might be advisable to use these
         “other settings and available features” during private browsing.

     D. OPINION 4: As described in Section III.3, Professor Zervas fails to address how Google’s
         marketing of private browsing mode serves as a control that prevents Google from
         collecting and saving users’ private browsing data undermines users’ motivation to
         discover or learn how to use the “other settings and available features” that Professor
         Zervas identifies.

     E. OPINION 5: As described in Section III.4, Professor Zervas fails to address how Google
         has financial incentives to collect as much data and information as it possibly can and to
         make it difficult for users to escape Google’s tracking beacons, and that Google is
         therefore incentivized to steer users toward a “private” browsing mode rather than any
         settings or features that might impact its collection of browsing data.

     F. OPINION 6: As described in Section III.5, Professor Zervas fails to account for how
         Google’s persistence in referring to Incognito mode as a “private” browsing (both before
         and throughout the class period) mode has exacerbated users’ misconceptions of what
         Professor Zervas claims to be the sole purpose of private browsing (that is, to ensure that
         others who use the same device cannot see the user’s activity), and Professor Zervas is
         wrong to suggest that private browsing modes work as described in public
         documentation.




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II.        Background

      Counsel for the Plaintiffs in this action (“Counsel”) retained me to provide certain
opinions concerning issues of privacy and the alleged conduct. On April 15, 2022, I submitted a
report in which I analyzed issues relating to Google’s disclosures and practices, the private
browsing modes at issue, reasonable privacy expectations, whether certain practices could be
highly offensive or constitute a serious invasion of privacy, and issues relating to the value of
privacy and user data (“Opening Schneier Report”).

    The Opening Schneier Report contained a section outlining my expertise, and my detailed
CV was included as Appendix 2 to that report.1

     Counsel has also asked me to review the Expert Report of Professor Georgios Zervas,
submitted by Google on April 15, 2022 (“Zervas Report”) and to render any opinions that I have
concerning it. I have reviewed the Zervas Report and all of the materials appended to it.

      As before, I am compensated at the rate of $675/hour and my research associate, Kathleen
Seidel, is being compensated at the rate of $75/hour. Our compensation does not depend upon
the outcome of the case. In the event of any recovery in this case, I understand that Ms. Seidel
and I will be excluded from any disbursement of funds.

       In preparing this rebuttal report, I have relied upon the documents identified herein, which
are listed in Appendix 1. As part of my research, Ms. Seidel and I had access to a database
containing tens of thousands of confidential Google documents that Google produced during the
discovery process in this case and marked “Confidential.” These documents were fully sufficient
to support my opinion in this case. We did not request and were not provided access to
documents designated “Highly Confidential—Attorneys’ Eyes Only.” My understanding is that
such documents generally concern a level of technical detail that was unnecessary for me to
consider in forming the opinions I have expressed in this case. I used the ILS document review
platform to search for relevant documents. Ms. Seidel and I had free rein to conduct our own
searches within this database of “Confidential” documents. We also had access to Google’s
Interrogatory and Request for Admission responses, except for any materials marked as “Highly
Confidential—Attorneys’ Eyes Only.” Finally, we had access to all deposition transcripts, except
for portions that were redacted, which I understand were portions deemed by Google to be
“Highly Confidential—Attorneys’ Eyes Only.” We also had access to all of the named plaintiffs’
deposition transcripts.

      Like my opening report, this report has been prepared for purposes of this case only. It
may not be used for any other purpose. This report contains and refers to information designated
as “Confidential” under a Stipulated Protective Order, to which Ms. Seidel and I have agreed to
be bound. Neither of us has reviewed or relied on any discovery produced by Google marked as
“Highly Confidential—Attorneys’ Eyes Only.” Those were not accessible to us.




1
    Opening Schneier Report ¶¶ 6-20.

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III.         Opinions

        1.    Professor Zervas failed to investigate Google’s systems or engage with the actual
              evidence in this case.
       Professor Zervas asserts that the “sources [he] considered in forming [his] opinions are
identified in [his] report and the accompanying exhibits and are listed in the attached Appendix
C.”2 Appendix C includes only a small selection of what he labels “Case Documents.” That
includes the Third Amended Complaint and deposition testimony of eight Google employees.

       Professor Zervas provides no explanation for why he only considered the materials
identified in Appendix C, without any further investigation and analysis.

       As an expert retained by Google’s counsel, I assume that Professor Zervas could have
easily obtained access to Google employees and details about how their systems work, and yet I
see no evidence in his report that he took the opportunity to learn more about how Google
actually stores and uses private browsing information, which is the subject of this lawsuit.

     In addition, Professor Zervas failed to contend with the thousands of documents produced
by Google in this lawsuit, where, for example (and as detailed in my Opening Report), Google
employees readily admit that Google can link private and non-private browsing data.

      With my research assistant Ms. Seidel, we spent many hours searching Google’s
productions and reviewing deposition transcripts to address the actual evidence in this case.
Professor Zervas does not seem to have undertaken any of that important work. As a result, as
explained below, Professor Zervas presents opinions that are in many respects directly contrary
to and undermined by other evidence in this lawsuit, which in turn supports my opinions. It is my
further opinion that Professor Zervas’s failure to consider the larger body of relevant materials
available to him is not consistent with professional standards of rigor in the fields of computer
science, security, data privacy, and human factors, which makes his opinions as a whole
uninformed, misleading, and unreliable.

        2.    Contrary to Professor Zervas’s assertions, private browsing information collected
              and stored by Google can be linked with devices and users.
      Professor Zervas asserts that “Private Browsing Modes ensure that cookie values
generated during the Private Browsing Session cannot be used to provide a link to the user or her
device after the session is closed.”3

      He states: “Because cookie values associated with Private Browsing Sessions are not
shared with other browsing sessions, this information cannot be used to link the Private
Browsing Mode activity to a user or her device after that Private Browsing Session is closed.”4



2
    Zervas Report ¶ 19.
3
    Zervas Report ¶ 2.
4
    Zervas Report ¶ 6.

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       He continues: “The cookie value transmissions to Google-associated domains—when a
user who is not logged into a Google account and uses Private Browsing Mode to visit a third-
party website containing ‘Google tracking or advertising code’—constitute ‘orphaned’ islands of
data that cannot be used to provide a link to a user’s Google Account or other Private Browsing
Sessions.”5

       Although Professor Zervas discusses cookies at length, an Internet cookie is just one
datapoint collected or placed by Google’s tracking beacons; that is, code embedded in web pages
that collects data about the user’s activity, and relays data to a surveillance company’s website
(e.g., an advertising network such as Google’s).

      Professor Zervas’s analysis is incomplete, which makes his report misleading. He errs by
only considering information “saved on the device” and “cookie values,” and failing to address
the implication for joinability of other data that Google collects, including from users’ private
browsing.

      As one example of his incomplete analysis, Professor Zervas provides no analysis of
browser fingerprinting. The word “fingerprint” appears just three times in his entire report, and
each instance is just quoted material from the Plaintiffs’ Complaint.6 Professor Zervas does not
attempt to explain or address fingerprinting, nor its relevance to this case.

       As explained in one recent article, “Whenever you go online, your computer or device
provides the sites you visit with highly specific information about your operating system,
settings, and even hardware. The use of this information to identify and track you online is
known as device or browser fingerprinting.”7

       The Electronic Frontier Foundation explains it this way: “A digital fingerprint is
essentially a list of characteristics that are unique to a single user, their browser, and their
particular hardware setup. This includes information the browser needs to send to access
websites, like the location of the website the user is requesting. But it also includes a host of
seemingly insignificant data (like screen resolution and installed fonts) gathered by tracking
scripts. Tracking sites can stitch all the small pieces together to form a unique picture, or
‘fingerprint,’ of your device.”8 This sentence might sound less weird if you turned it around:
Plugins, cookie preferences, and ad blockers also generate information that can be used to
fingerprint browsers.9

      Professor Zervas fails to consider Google’s own internal documents that similarly describe
fingerprinting as “the use of unique or probabilistically unique combinations of one or more
device, network or app/browser attributes to identify a device, app, browser, or user across

5
    Zervas Report ¶ 83.
6
    Zervas Report ¶¶ 14, 16.
7
  Sven Taylor (23 Feb 2022), “Browser fingerprinting protection: How to stay private,” Restore Privacy,
https://restoreprivacy.com/browser-fingerprinting.
8
 Electronic Frontier Foundation (2020), “How do trackers work?” Cover Your Tracks,
https://coveryourtracks.eff.org/learn.
9
 Sven Taylor (23 Feb 2022), “Browser fingerprinting protection: How to stay private,” Restore Privacy,
https://restoreprivacy.com/browser-fingerprinting.

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different transactions where no persistent unique identifier is explicitly provided by a user’s
device, app, or browser.”10

      Google apparently uses fingerprinting in particular scenarios, such as fraud prevention and
information security.11 This means there are instances in which Google employees would be
allowed to join a user’s private browsing data with his or her device or name, at least for those
specific purposes.

       Of course, whether Google currently permits browser fingerprinting (regardless of whether
Google’s policy limits its use to certain circumstances) is really beside the point. As I explained
in my opening report, users’ online “privacy concerns are justified by the volume and scope of
data generated, collected, and used when people access the Internet and by the potential for such
data to reveal sensitive information about individual users.”12

      A recent case-in-point is the Supreme Court’s apparent intention to overturn Roe v. Wade,
and the efforts in some states to prosecute women who seek abortions in other states.13 It has
been reported that a company named SafeGraph has been selling data about people traveling to
and from abortion clinics.14 Legislators have insisted that Google stop collecting and storing
“unnecessary” location data due to the risk that law enforcement in states that newly criminalize
abortion might seek to access Google’s records to identify women who have sought information
about abortion clinics.15 Another worrisome example is Immigration and Customs
Enforcement’s reported efforts to track undocumented immigrants through deals with data
brokers.16

      These examples call to mind an August 2019 Google document that I highlighted in my
opening report, in which Google employees recognized that “we know that users today don’t




10
     GOOG-BRWN-00029326 at -26.
11
     GOOG-BRWN-00842731 at -35.
12
     Opening Schneier Report, Opinion 3.
13
 Melody Schreiber (3 May 2022), “US states could ban people from traveling for abortions, experts warn,”
Guardian, https://www.theguardian.com/world/2022/may/03/us-abortions-travel-wave-of-restrictions.
14
  Joseph Cox, “Data broker is selling location data of people who visit abortion clinics,” Vice,
https://www.vice.com/en/article/m7vzjb/location-data-abortion-clinics-safegraph-planned-parenthood (May 3,
2022).
Geoffrey A. Fowler and Tatum Hunter, “Your phone could reveal if you’ve had an abortion,” Washington Post,
https://www.washingtonpost.com/technology/2022/05/04/abortion-digital-privacy (May 4, 2022).
15
  Corin Faife, “Democrats say Google must curb location tracking before Roe repeal,” The Verge,
https://www.theverge.com/2022/5/24/23140279/democrat-letter-google-location-data-abortion-surveillance-
geofence-warrants (May 24, 2022).
Barbara Ortutay, “Democrats: Google must protect privacy of abortion patients,” Associated Press,
https://apnews.com/article/abortion-technology-health-patient-privacy-f5d03037cec832160c450d24b026701d.
16
  Corin Faife (10 May 2022), “ICE uses data brokers to bypass surveillance restrictions, report finds,” The Verge,
https://www.theverge.com/2022/5/10/23065080/ice-surveillance-dragnet-data-brokers-georgetown-law.

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fully understand the privacy protections that Incognito (IM) provides, potentially putting users at
risk in the moments when they expect the most privacy.”17

       It is apparent that Google collects and stores private browsing data that can be used for
fingerprinting. In a March 2010 email exchange, occurring soon after Incognito was first
developed and offered to the public in 2008, Google employees discussed an external article that
addressed “browser fingerprinting.”18 One Google employee characterized the issues it addressed
as “just the tip of the iceberg.” He continued: “I can profile you with your installed plugins, font
list (exposed via plugins), etc. Not to mention your IP.” That “iceberg” is fingerprinting, which
Google can readily accomplish with private browsing data.

       Google’s internal documents demonstrate that its ability to fingerprint users persisted into
the class period of this case. An internal document from September 2018 titled, “Incognito
Mode, Current and Possible Promises,” notes (as mentioned in my opening report) that while
“Incognito mode and regular mode should not be linkable...This is to some extent violated by
fingerprinting.”19 That observation was correct; the data from Incognito mode and regular mode
is linkable through fingerprinting.

       And in a December 2019 document titled, “How to lead in a privacy-first era,” a Google
software developer explained how “fingerprinting techniques rely on collecting several unique
attributes about a user’s device such as operating system, browser version, browser language,
fonts installed, screen resolution and more. Combined, those details create a unique profile of a
user’s device and, by proxy, the user. Users can’t see that this data is being collected, nor can
they delete it by clearing cookies. Fingerprinting ignores any privacy choices that a user may
have previously made, and they cannot opt-out of it (even if they are aware of it).”20

      This explanation underscores how Professor Zervas misses the point, and how his opinions
regarding linking based on cookies are misleading. Whether cookies are discarded from the
browser has no bearing on whether the plethora of data that Google has already been collecting
can be used for fingerprinting—or whether Google can join a person’s regular and Incognito
browsing data. While Professor Zervas suggests otherwise, the documents produced by Google
(and ignored by Professor Zervas) support my opinions regarding linkability.

      Another internal Google document reinforces Professor Zervas’s error: “Fingerprinting is
worse than cookies in some aspects: (1) fingerprinting normally doesn’t store anything onto your
computer, so you can’t clear or reset the tracking data, (2) fingerprinting is done silently without
the users’ consent.”21 Indeed, “fingerprints can be used to fully or partially identify individual
users or devices even when persistent cookies...can’t be read or stored in the browser, the client
IP address is hidden, and even if one switches to another browser on the same device.”22


17
     GOOG-BRWN-00569625 at -26.
18
     GOOG-BRWN-00848778 at -80.
19
     GOOG-BRWN-00047390 at -392.
20
     GOOG-BRWN-00026989 at -92.
21
     GOOG-CABR-04006287 at -88.
22
     GOOG-CABR-04006287 at -87.

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Moreover, “browser fingerprinting does not leave any trace as it does not require the storage of
information inside the browser.”23

      Other specific examples of information that can be used to join private browsing data to
users and their devices, which Professor Zervas likewise does not assess, include IP addresses
and user agent information, as well as identifiers tied to users’ accounts with non-Google
websites.

      Professor Zervas’s analysis further misses the point with respect to Google’s collection of
IP addresses from Incognito users who visit non-Google websites. Although he recognizes that
Google collects that information, as well as the importance of anonymizing and/or masking IP
address information, he neglects to consider the implications of Google’s collection of IP address
information for purposes of joinability.

        Professor Zervas repeatedly acknowledges that Google collects the IP addresses of private
browsing users who visit non-Google websites.24 He also describes Google Analytics’s “offer
[...] [to] customers the option to anonymize users’ IP addresses” as one example of how “Google
Analytics customers have control over whether Google collects and uses data relating to users’
interactions with the customer’s website.”25

       But Professor Zervas fails to clarify that “Google Analytics customers” are not the users of
the Chrome browser, but instead the companies whose websites Chrome browser users are
visiting. His assurance provides no comfort to those users, who are offered no control within the
browser over the configuration of their IP address on websites’ server logs, whether they are
browsing in regular or Incognito mode. Further, he does not describe any option for those
Google Analytics customers to anonymize users’ IP addresses only for private browsing.

       Professor Zervas suggests that “VPN services are an effective tool to mask users’ IP
addresses and would prevent the user’s true IP address from being sent in transmissions to
Google-associated domains,”26 reiterating the significance of the IP address as a form of
sensitive personal information. This incorrectly assumes, however, that users would understand
the need to mask their IP addresses even during private browsing. It also ignores the many other
kinds of data Google collects that may be used to fingerprint private browsing users.

       Professor Zervas also ignores Google’s March 2022, announcement that Google Analytics
4 will “no longer store IP addresses.”27 Google deemed this change “necessary” because “users

23
     GOOG-BRWN-00554517 at -18.
24
     Zervas Report ¶ 7, 9, 46, 94.
25
     Zervas Report ¶ 94, 98.
26
     Zervas Report ¶ 147.
27
   Russell Ketchum (16 Mar 2022), “Prepare for the future with Google Analytics 4,” Google Marketing Platform,
https://blog.google/products/marketingplatform/analytics/prepare-for-future-with-google-analytics-4.
James Hercher (16 Mar 2022), “Google Analytics to stop logging IP addresses and sunset old versions in privacy
standards overhaul,” Ad Exchanger, https://www.adexchanger.com/online-advertising/google-analytics-to-stop-
logging-ip-addresses-and-sunset-old-versions-in-privacy-standards-overhaul.


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are increasingly expecting more privacy protections and control over their data.” That Google
associates no longer collecting IP addresses with “more privacy” is telling. Google recognizes
the joinability risk posed by the collection of IP address information. Given the limited
information included in Google’s announcement, it is not possible at this point to assess the full
extent to which Google will “no longer store IP addresses” and how that may in the future
provide some additional privacy to users of private browsing modes.

       Another important tool for joinability is the user agent string. Yet the phrase “user agent”
appears only once in the entire Zervas Report, in a sentence acknowledging that Google receives
this information from users’ private browsing.28 Although Professor Zervas characterizes the
User Agent Request Header as a means of “inform[ing] the server about the web browser [...] to
improve browsing experience,” user agent data also includes information about a user’s
operating system, and can be used to personally identify the user.29 Professor Zervas nowhere
grapples with the ramifications of Google’s collection and storage of user agent strings, let alone
the combination of user agent and IP address.

       As I explained in my opening report, “In an August 8, 2019, email, a Google developer
noted that, ‘To be perfectly clear, the data collected while Incognito is strictly NOT anonymous.
[emphasis in original] When using a Google service, data (e.g., search queries) is tied to a
pseudonymous ID [...] that is then stored with the user’s IP address, user agent and other
metadata (everything in the gwslog proto). While we don’t connect it to a user’s identity and
there are many internal policies to ensure it does not happen, it’s not impossible. [...] we
potentially might be continuously trying to stay ahead, while making privacy worse by collecting
Incognito when the user has clearly told Chrome that it wants to be private.’”30 Professor Zervas
nowhere cites or addresses this internal Google email.

      As I also explained in my opening report, “even if Google is not building user profiles
across signed-in and signed-out data, Google’s decision to collect and log this data creates the
potential for data to be joined in this way. For example, Google’s storage of unique identifiers
and IP addresses together in logs introduces a risk that data from a users’ private browsing will




Kendra Clark (16 Mar 2022), “Google Analytics stops logging IP addresses: here’s why it’s a big deal for
marketers,” The Drum, https://www.thedrum.com/news/2022/03/16/google-analytics-nixes-ip-address-logging-new-
privacy-play.
28
     Zervas Report ¶ 34.
29
  Peter Eckersley, “How unique is your web browser?” Proceedings of the 10th International Conference on Privacy
Enhancing Technologies, Berlin, https://coveryourtracks.eff.org/static/browser-uniqueness.pdf (July 2010).
See also:
Nick Nikiforakis, et al., “Cookieless monster: Exploring the ecosystem of web-based device fingerprinting,” 2013
IEEE Symposium on Security and Privacy, 2013, https://ieeexplore.ieee.org/abstract/document/6547132 (May 19,
2013).
Steven Englehardt and Arvind Narayanan, “Online tracking: A 1-million-site measurement and analysis,” CCS ‘16:
Proceedings of the 2016 ACM SIGSAC Conference on Computer and Communications Security,
https://dl.acm.org/doi/abs/10.1145/2976749.2978313 (October 24, 2016).
30
     Opening Schneier Report ¶ 350 (citing GOOG-CABR-00501220).

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         Blocking ads and other content with uBlock Origin and similar third-party extensions;
          and
         Masking IP addresses with a third-party VPN service.

      While Professor Zervas presents these settings and features as means by which users can
limit Google’s data collection while users are browsing privately, he presents no evidence
suggesting that any significant number of users have ever employed any of these settings or
features while browsing privately.

      I also have reviewed Google’s survey report submitted by Professor On Amir on April 15,
2022, who likewise did not seek any information regarding usage of these settings and features.

      Professor Zervas’s failure to provide any quantitative support for his opinions regarding
private browsing is especially notable given that he had access to Google systems and
employees. If Google systems and employees had offered evidence of any substantial use of
these settings and features by users while browsing privately, I would expect that Professor
Zervas would have supported his opinion with that evidence. The absence of any such in-house
evidence suggests there is none.

       Based on my many years of evaluating data privacy and various privacy-enhancing
browser settings and features, and having considered the specific settings and features identified
by Professor Zervas, I expect that throughout the class period there was minimal if any usage of
these settings and features by users while browsing privately. Many studies have demonstrated
that, in general, users tend to keep default privacy settings.64 As explained in one recent article,
“Default settings have a powerful effect on people, even if you have the option to change them at
any time.”65 That article quotes the vice president of Advocacy for Mozilla, who explained: “At



64
   Michael J. Kasdan, “Is Facebook Killing Privacy Softly? The Impact of Facebook’s Default Privacy Settings on
Online Privacy,” Ledger, https://jipel.law.nyu.edu/ledger-vol-2-no-2-6-kasdan/ (April 20, 2011).
Michelle Madejski, Maritza Johnson, and Steven M. Bellovin, “The Failure of Online Social Network Privacy
Settings,” Columbia University Computer Science Technical Reports, CUCS-010-11,
https://academiccommons.columbia.edu/doi/10.7916/D8NG4ZJ1 (July 8, 2011).
Markus Tschersich and R. Botha, “Understanding the Impact of Default Privacy Settings on Self-Disclosure in
Social Network Services Building a Conceptual Model and Measurement Instrument Completed Research Paper,”
Semantic Scholar, https://www.semanticscholar.org/paper/Understanding-the-Impact-of-Default-Privacy-on-in-a-
Tschersich-Botha/b68819dc89c150f3d7795aa9b510994cca0de214?p2df (2013). “Several possible reasons for not
changing the default settings exist: cognitive and physical laziness; perceiving default as correct, perceiving
endorsement from the provider; using the default as a justification for choice, lacking transparency of implication, or
lacking skill.”
Jason Watson, Heather Richter Lipford, and Andrew Brenner, “Mapping User Preference to Privacy Default
Settings,” ACM Transactions on Computer-Human Interaction,
https://www researchgate net/publication/283478419_Mapping_User_Preference_to_Privacy_Default_Settings
(November 2015). “Managing privacy online can be complex and often users do not change defaults or use granular
privacy settings.”
65
  Alfred Ng, “Default settings for privacy—we need to talk,” CNET, https://www.cnet.com/tech/tech-
industry/default-settings-for-privacy-we-need-to-talk/ (December 21, 2019). “[S]tudies have found that organ
donation increases in countries where it’s the default option. In countries where people must sign up to donate their
organs, there’s a much lower rate. The same applies to privacy settings, researchers have found in several studies.”

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the baseline, we don’t think that people should have to jump through hoops and navigate
confusing menus to protect their privacy.”

       To use any of the settings and features identified by Professor Zervas, a user must first be
aware of them. However, none of these settings or features are identified on the Incognito Splash
Screen, nor does Professor Zervas identify any widespread effort by Google to make users aware
of them. To the contrary, Google’s own documents recognize that such settings can be “too hard
to find and understand” and “hidden.”66

       Even for those users who become aware of one or more of these settings and features, the
next question is whether they would know to employ them while browsing privately. Here, again,
there are no disclosures to users that would notify them of Google’s data collection, and
therefore no reason for users to believe that they needed to employ these settings and features.

       Professor Zervas never addresses these core problems, which are caused by Google’s own
misleading disclosures. Google’s disclosures regarding private browsing mode, including
Chrome Incognito mode, create a false sense of security. (I discuss this at length in Section VI of
my opening report.) Google in no way notified users that they should seek out or learn to use any
other feature or control that would serve the purpose purportedly accomplished with Incognito
mode.

        Although cookie blocking through browser settings impacts data transmissions to Google,
Google’s characterization of Incognito as a “private browsing” mode creates the impression (and
therefore would lead a reasonable user to assume, consistent with the testimony by Plaintiffs)
that it would not be necessary, especially in the absence of a visible control for cookie blocking
on the Incognito Splash Screen. A toggle to enable third-party cookie blocking was only added to
the Incognito Splash Screen after the initiation of this action, and this toggle still does not
disclose that Google cookies can be “first-party” even on non-Google websites.67

       Although JavaScript blocking through browser settings impacts data transmissions to
Google, Google’s characterization of Incognito as a “private browsing” mode would lead a
reasonable user to assume that it would not be necessary, especially in the absence of a visible
control for JavaScript blocking on the Incognito Splash Screen. In Chrome, controls for
JavaScript blocking appear several steps into the Settings menu (Settings → Privacy and
Security → Site Settings → JavaScript). Technically unsophisticated users could not be expected
to anticipate the need to drill several levels down into their browser settings to achieve truly
“private browsing.” This is an example of a “dark pattern” that I discuss in my opening report.68

     Although JavaScript is well-known for its vulnerability to attack,69 it is a fundamental
component of most modern websites. Even if a user succeeded in locating the Chrome browser’s

66
     GOOG-CABR-00413949 at -76.
67
  Abdel Karim Mardini, “More intuitive privacy and security controls in Chrome,” The Keyword,
https://blog.google/products/chrome/more-intuitive-privacy-and-security-controls-chrome (May 18, 2020).
68
     Opening Schneier Report ¶¶ 138-9.
69
  Michael Hollander, “Most common security vulnerabilities using JavaScript,” Secure Coding,
https://www.securecoding.com/blog/most-common-security-vulnerabilities-using-javascript (August 24, 2020).


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controls for JavaScript blocking, and even though disabling JavaScript altogether might reduce
the likelihood that a user might unwittingly download malware,70 doing so would also render
many websites’ functionality significantly degraded, a fact Professor Zervas acknowledges.71
(The Electronic Frontier Foundation agrees: “Disabling JavaScript breaks a staggering amount of
websites, and limits the functionality of many more.”72)

       Furthermore, blocking JavaScript would not prevent Google from collecting users’ private
browsing information, including by way of “tracking pixels.” Website developers can add to
their page a 1-pixel by 1-pixel colorless image that is hosted by another site, such as Google, that
provides analytics services. Effectively, the invisible pixel tells the browser to retrieve an
“image” for the page from the analytics site. For example, imagine a scenario where
Walmart.com wants to display Google Ads to users who look at certain products. When a user’s
browser loads the Walmart.com page (whether in Incognito mode or not), code embedded in the
page directs the browser to load an “image” from Google. The browser then associates the pixel
with another Google cookie in its cache (a cookie deposited previously, probably by another
site). From this request, Google now recognizes the user and remembers that they were shopping
for (say) a toaster on Walmart.com. When this user then visits other sites featuring Google Ads,
Google Ads can target them with Walmart’s toaster ads, even if the user is on a different website
and even after they have purchased a toaster.

         This is illustrated in the following diagram:




      Professor Zervas does not assess Google tracking pixels, let alone their implication for
data collection and joinability.




Catherine Graham, “Computer scientist identifies JavaScript vulnerability in thousands of websites,” Johns Hopkins
University, https://hub.jhu.edu/2022/03/14/computer-scientist-identifies-javascript-vulnerability (March 14, 2022).
70
   Catalin Cimpanu, “Malware found in npm package with millions of weekly downloads,” The Record,
https://therecord media/malware-found-in-npm-package-with-millions-of-weekly-downloads (October 23, 2021).
71
     Zervas Report ¶ 104.
72
  Electronic Frontier Foundation (2020), “How do trackers work?” Cover Your Tracks,
https://coveryourtracks.eff.org/learn.

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      Professor Zervas discusses several browser extensions that might enhance users’ privacy
as they browse the web. But as he elsewhere concedes, Incognito mode and Microsoft Edge
private browsing automatically disable all extensions.73

       Although the Google Analytics Opt-out Add-on extension reportedly impacts data
transmissions to Google, 74 Google’s characterization of Incognito as a “private browsing” mode
indicates (and would lead a reasonable user to assume) that it would not be necessary, especially
in the absence of a visible control for analytics blocking on the Incognito Splash Screen. Further,
the extension would be automatically disabled when a user begins to browse in Incognito mode.

       Professor Zervas calls attention to a document outlining policy requirements for site
developers using Advertising Features in Google Analytics, in which Google recommends that
they “point users to Google Analytics’ currently available opt-outs for the web.”75 Those
“currently available opt-outs” consist of a single product that is not even named, only linked to
from the phrase “currently available opt-outs.” Developers are only “encouraged,” not “required”
to notify users of its availability; websites that link to the app often do so within their privacy
policy or cookie policy, ensuring that few visitors will ever see it.76 Among those visitors who
become aware of the extension’s existence, only those using a desktop or laptop device will be
able to install it, since there is no Android version.

      On the Google website, information about the Google Analytics Opt-out Add-on browser
extension is found in the “Analytics Help” section, which is addressed to Google Analytics
customers, rather than users of the browser.77 A search for the phrase “analytics opt out” in either
Google Chrome Help, or on the Chrome Support section of the Google website, yields no
information on the extension, only a single mention of it in a discussion forum.78 A search for the
same phrase on the entire Google site yields links to the app’s Chrome Web Store pages in a
variety of languages, and some discussion about it by users, but no press releases announcing its
availability, and no Google-authored pages recommending it to users who wish to opt out of
analytics tracking.


73
  Brave, “How to enable extensions in Incognito?” https://brave.com/learn/enable-extensions-in-incognito
(November 5, 2020); Zervas Report ¶ 48
74
  Google, “Google Analytics Opt-out Browser Add-on,” https://tools.google.com/dlpage/gaoptout (accessed April
28, 2022).
75
  Zervas Report ¶ 93, citing to Google, “Policy requirements for Google Analytics Advertising features,” Analytics
Help, https://support.google.com/analytics/answer/2700409 (last updated April 27, 2022).
76
  See, e.g., Highlands Community Learning Center (August 24, 2022), “Privacy policy,” https://hclc.us/privacy-
policy; JFE Steel Corporation, “Cookie policy,” https://www.jfe-steel.co.jp/en/cookie.html (accessed April 29,
2022).
77
  Google, “Google Analytics opt-out browser add-on,” Analytics Help,
https://support.google.com/analytics/answer/181881 (accessed April 28, 2022).
78
  Google Chrome Help, “Search results for analytics opt out,”
https://support.google.com/chrome/search?q=%22analytics+opt+out%22 (accessed April 28, 2022).
Google Search, “Search results for analytics opt out site google chrome,”
https://www.google.com/search?q=“analytics+opt+out”+site%3Ahttps%3A%2F%2Fsupport.google.com%2Fchrom
e (accessed April 28, 2022).

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       The page for the extension in the Chrome Web Store notes that it is “available on
Chrome”;79 users of other browsers are led to the Chrome browser download page. In contrast,
the page for the same extension in Google Tools notes that it is “available for Google Chrome,
Mozilla Firefox, Apple Safari and Microsoft Edge.” 80 The Chrome Web Store page indicates
that the current version is Version 1.1, updated January 26, 2021; however, the earliest review is
dated November 25, 2011, and many subsequent reviewers report problems with the extension.81
This suggests that over the course of a decade in which Google updated the Chrome browser
approximately eighty times,82 Google expended little effort to update and refine this tool. As one
reviewer noted, “It’s very fishy that you have to install *an add-on* for this opt-out feature to
work to begin with, no matter if it officially comes from Google themselves. This should rather
be set in the settings on the Google website—as you would expect.”83

      Even though the Google Analytics Opt-out Add-on extension was developed by Google,
Professor Zervas’s report may be the only instance in which someone speaking on behalf of
Google has recommended it to users of the Chrome browser, let alone users of Chrome’s
Incognito mode. Users not privy to Professor Zervas’s report could not be expected to anticipate
the need to install a special browser extension while using Incognito mode.

      Even to the extent uBlock Origin and similar ad blockers impact data transmissions to
Google, Google’s characterization of Incognito as a “private browsing” mode would lead a
reasonable user to assume that it would not be necessary, especially in the absence of any
explicit recommendation by Google to users who have expressed their desire for privacy by
choosing Incognito mode. Further, even if a user installed these extensions, they would be
automatically disabled when the user begins browsing in Incognito mode.

       As with the Google Analytics Opt-out Add-on extension, a search of the Google website
for “uBlock Origin” yields no press releases, no blog posts, and no official recommendations of
this third-party product. Chrome users not privy to Professor Zervas’s report could not be
expected to anticipate the need to install a third-party ad blocker while using Incognito mode.




79
   Google, “Google Analytics Opt-out Add-on (by Google),” Chrome Web Store,
https://chrome.google.com/webstore/detail/google-analytics-opt-out/fllaojicojecljbmefodhfapmkghcbnh (accessed
May 3, 2022).
80
   Google, “Google Analytics Opt-out Add-on,” Google Tools, https://tools.google.com/dlpage/gaoptout (accessed
May 3, 2022).
81
  Google, “Google Analytics Opt-out Add-on (by Google),” Chrome Web Store,
https://chrome.google.com/webstore/detail/google-analytics-opt-out/fllaojicojecljbmefodhfapmkghcbnh (accessed
May 3, 2022).
82
  Wikipedia, “Google Chrome version history,” https://en.wikipedia.org/wiki/Google_Chrome_version_history (last
edited April 29, 2022).
83
  Rafael Cieslik, “Review of Google Analytics Opt-out Add-on (by Google),”
https://chrome.google.com/webstore/detail/google-analytics-opt-out/fllaojicojecljbmefodhfapmkghcbnh?hl=en
(February 19, 2015).

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       Moreover, the use of extensions like the ones touted by Professor Zervas can actually
make a user’s browser fingerprint even more likely to be unique, potentially further undermining
that user’s privacy.84

       As for VPNs, even to the extent they are able to mask users’ IP addresses, this is an
additional piece of third-party software that users need to understand and configure, and a
service to which they must subscribe. VPN subscriptions cost $10–$15/month on average, a
significant deterrent to widespread adoption and beyond the price sensitivity or financial reach of
many users.85

      Even to the extent that the “other settings and available features” outlined by Professor
Zervas are capable of affecting data transmissions to Google, Google’s inaccurate disclosures
and assurances regarding private browsing would lead reasonable users to conclude that
additional privacy-protecting measures would be unnecessary during private browsing.

       None of the technical measures outlined by Professor Zervas are even mentioned in
Incognito mode documentation,86 let alone suggested to users by Google’s representatives as
appropriate supplements to Incognito mode. Although Professor Zervas frames these technical
measures as a means of minimizing the transmission of browsing information, Google has never
officially suggested that users deploy any additional settings, features, or third-party products
and services in order to minimize the transmission of private browsing information.

      Nor is there any reason for Internet users to know about or learn to use those technical
measures because Google has represented private browsing mode itself as a control that prevents
Google from collecting users’ browsing data. Recall the assurances publicly offered by Google’s
former CEO, Eric Schmidt, regarding the level of privacy protection afforded by Incognito
mode: “Google is so concerned about privacy that you could in fact, if you’re using Chrome for
example, you can browse in what is called ‘incognito mode’ where no one sees anything about
you.”87 As I noted in my opening report, a Chrome user would reasonably conclude that “no
one” would include Google.88

     Even if a single user enabled cookie and JavaScript blocking, installed the Google
Analytics Opt-out Add-on and uBlock Origin extensions, and subscribed to a VPN, that would


84
   Sven Taylor (23 Feb 2022), “Browser fingerprinting protection: How to stay private,” Restore Privacy,
https://restoreprivacy.com/browser-fingerprinting.
85
  Sarah Shelton, Bryce Colburn and Jeff Kinnery, “Best VPNs of 2022,” U.S. News and World Report,
https://www.usnews.com/360-reviews/privacy/vpn. (April 21, 2022)
86
     Google, “Browse in private,” https://support.google.com/chrome/answer/95464 (accessed April 28, 2022).
Google, “How private browsing works in Chrome,” https://support.google.com/chrome/answer/7440301 (accessed
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https://support.google.com/chrome/answer/9845881 (accessed April 28, 2022).
87
  Nicole Sawyer (23 Sep 2014), “Google’s Eric Schmidt calls Julian Assange ‘paranoid’ and says Tim Cook is
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tim/story?id=25679642.
88
     Opening Schneier Report ¶ 286.

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beacons cause users’ browsers to send users’ private browsing data to Google during users’ visits
to non-Google websites while signed out of Google. Indeed, many say absolutely nothing about
private browsing at all, while others echo Google’s misleading descriptions of Incognito. And
certainly none of the articles disclose that Google has since 2017 been using Incognito detection
bits, including “is_chrome_incognito,” to tag incoming traffic within its logs as “Incognito.”121
Google even concealed these bits even from Plaintiffs’ lawyers in this case, resulting in Google
being sanctioned for discovery misconduct.

       I have reviewed all of these articles, and I provide a brief summary of each in Appendix 2
to this report. Professor Zervas failed to contend with any of these articles.

       In terms of public documentation, Professor Zervas also ignores the website policies cited
by Google. In its Supplemental Response to Interrogatory No. 40, Google takes the position that
“[t]he websites that use Google services are required to disclose their use of those Services.” To
support this assertion, Google cites various disclosures and privacy policies published by non-
Google websites.122 Professor Zervas tellingly ignores these website privacy policies, likely
because they do not support his assertion that private browsing modes function as described, and
they do not disclose that Google still collects browsing data in private browsing.

       I have reviewed these policies, and they likewise provide no support for Professor Zervas’
stated opinions. None disclose that Google tracking beacons will continue to operate
notwithstanding the user’s choice of a private browsing mode. Indeed, they mention nothing
about Incognito or private browsing, let alone disclose that any-third party resource (such as
Google) might receive users’ private browsing information. Some of the disclosures do mention
the website’s use of a Google service (like Analytics), but none of them disclose that such
Google services will operate and collect information even when the user has elected a private
browsing mode.

                                                    ***

       Unfortunately, Google has persisted in its use of names, brand elements, and disclosures
that betray the trust of users who express their desire for privacy by turning to Incognito and
other private browsing modes. The product name “Incognito mode,” its brand elements,
Google’s disclosures about it, and public-facing statements by Google executives are as essential
to an analysis of public misconceptions about Incognito mode as is the product’s official
documentation, along with Google’s disclosures about control and private browsing more
broadly. As recognized by Google’s employees, Google over-promised and under-delivered in a
way that put (and continues to put) user privacy at risk.




121
  Docket No. 593-3: Order on Plaintiffs’ Motion for Sanctions for Discovery Misconduct Redacted Version of
Document Sought to Be Sealed.
122
  GOOG-CABR-05876958-67; GOOG-CABR-05877056-220; GOOG-CABR-05877244-324; GOOG-CABR-
05877336-402; GOOG-CABR-05877407-92; GOOG-CABR-05877497-510; GOOG-CABR-05877515-45; GOOG-
CABR-05877550-66; GOOG-CABR-05877568-676; GOOG-CABR-05877678-812; GOOG-CABR-05877825-64;
GOOG-CABR-05877879-94; GOOG-CABR-05877899-975.

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Respectfully submitted by,
/s/ Bruce Schneier
Date : June 7, 2022




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        GOOG-CABR-04665638
        GOOG-CABR-04760571
        GOOG-CABR-04760571, p. 1
        GOOG-CABR-04780837.R at -40.R.
        GOOG-CABR-04971904 at -04.
        GOOG-CABR-05148261 at -73 (emphasis in original).
        GOOG-CABR-05250500.
        GOOG-CABR-05270014, cited in Mardini Tr. 346-347
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        GOOG-CABR-05836882, Tab 1, Row 19 [emphasis added].
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        GOOG-CABR-05876958-67
        GOOG-CABR-05877056-220
        GOOG-CABR-05877174
        GOOG-CABR-05877244-324
        GOOG-CABR-05877336-402
        GOOG-CABR-05877407-92
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        GOOG-CABR-05877550-66
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        GOOG-CABR-05877678-812
        GOOG-CABR-05877825-64
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        GOOG-CABR-05877899-975
        GOOG-CABR-05888096 at -104.



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(2022).

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https://support.google.com/analytics/answer/181881?hl=en (2022).

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https://support.google.com/maps/answer/9430563?hl=en&co=GENIE.Platform%3DAndroid
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                    Cover Your Tracks

                    How do trackers work?




                    When you visit a website, your browser makes a "request" for that site. In the
                    background, advertising code and invisible trackers on that site might also cause
                    your browser to make dozens or even hundreds of requests to other hidden third
                    parties. Each request contains several pieces of information about your browser and
                    about you, from your time zone to your browser settings to what versions of
                    software you have installed.

                    Some of this information is passed along by default simply to help you view the
                    page. For example, HTTP headers are essential to most web functionality, and
                    broadcast your device and browser version. But a lot of the information in your
                    browser’s requests is also extracted by third-party ad networks, which have sneaky
                    tracking mechanisms embedded across the Internet to gather your information.

                    At first glance, the data points that third-party trackers collect may seem relatively
                    mundane and disparate. But when compiled together, they can reveal a detailed
                    behavioral profile of your online activity, from political affiliation to education level
                    to income bracket. As long as this trove of data about you is linked back to you, your
                    online activity can be logged. Ad networks primarily rely on two methods to
                    maintain this link: cookie tracking, and browser fingerprinting.




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                    What are cookies?

                    Cookies are small chunks of information that websites store in your browser. Their
                    main use is to remember helpful things like your account login info, or what items
                    were in your online shopping cart—in other words, they save your place. But they
                    can also be misused to link all your visits, searches, and other activities on a site
                    together. This use of cookies is a privacy violation, and browsers generally allow you
                    to block, limit, or delete cookies.

                    What is a digital fingerprint?

                    A digital fingerprint is essentially a list of characteristics that are unique to a single
                    user, their browser, and their particular hardware setup. This includes information
                    the browser needs to send to access websites, like the location of the website the
                    user is requesting. But it also includes a host of seemingly insignificant data (like
                    screen resolution and installed fonts) gathered by tracking scripts. Tracking sites
                    can stitch all the small pieces together to form a unique picture, or "fingerprint," of
                    your device.

                    What is the difference?

                    Think of the small tracking devices scientists use to follow animal migration
                    patterns, or a GPS transmitter attached to a car. As long as they’re attached to the
                    target animal or vehicle, they are accurate and effective—but they lose all value if
                    they’re knocked off or discarded. This is roughly how cookies behave: they track
                    users up until the point a user deletes them.

                    Fingerprinting uses more permanent identifiers such as hardware specifications
                    and browser settings. This is equivalent to tracking a bird by its song or feather
                    markings, or a car by its license plate, make, model, and color. In other words,
                    metrics that are harder to change and impossible to delete.

                    Can I do anything about this?!

                    Completely blocking trackers is difficult, even with a fully-featured tracker blocker.
                    Even so, we recommend using the tracking protections above. Privacy
                    protection does not have to be perfect to make a big difference!

                    There are two main dynamics that make trackers hard to entirely avoid online:

                       1. Impact on Usability: It’s unfortunate that enhanced privacy often comes at
                          the expense of functionality. For instance, you may want to disable JavaScript
                          to stop tracking scripts from running. But this will likely make it hard to shop,
                          fill out forms, watch videos, or see interactive web elements. Many pages
                          require disabling your ad blocker to see content, or refuse to load anything
                          unless you use the “official” app.
                       2. Identifiable Protections: Paradoxically, sometimes your protections
                          themselves can become part of your fingerprint. An add-on intended to
                          protect you can even lead to your full identification. Changing your settings
                          and installing protections can lead trackers to be identified. In this case, you
                          become a “mystery user with a very specific combination of privacy
                          protections installed.”


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                    In practice, the most realistic protection currently available is the Tor Browser,
                    which has put a lot of effort into reducing browser fingerprintability. For day-to-day
                    use, the best options are to run tools like Privacy Badger or Disconnect that will
                    block some (but unfortunately not all) of the domains that try to perform
                    fingerprinting, and/or to use a tool like NoScript( for Firefox), which greatly
                    reduces the amount of data available to fingerprinters.

                    Cover Your Tracks’ primary goal is to help you determine your own balance
                    between privacy and convenience. By giving you a summary of your overall
                    protection and a list of characteristics that make up your digital fingerprint, you can
                    see exactly how your browser appears to trackers, and how implementing different
                    protection methods changes this visibility. The following suggestions are simple,
                    straightforward protection methods, and are an excellent starting point.




                    Simple suggestions

                    Using a Tracker Blocker

                    Install a tracker blocker and watch your browsing experience get a lot more
                    pleasant

                    Most tracker blockers cross-reference massive lists of tracking scripts. They then
                    block any attempts to load an ad or other item that matches.

                    When you block trackers, you prevent tracking companies from reading your
                    browser fingerprint. However, more advanced tracking techniques may still be able
                    to gather information about you.


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                    Disabling Javascript

                    Most trackers run on JavaScript, and they can’t gather much of the information
                    used to determine your browser fingerprint without it. Thus, your browser looks a
                    lot less distinct, and is more protected.

                    But there is a trade off. Disabling JavaScript breaks a staggering amount of
                    websites, and limits the functionality of many more.

                    Changing browser settings from defaults

                    Tracking is so pervasive that all of the major browsers (Chrome, Firefox, and Safari)
                    come with settings that disable certain types of tracking. Turning them on or off is
                    as simple as going into the settings menu and clicking a button.

                    Disabling tracking scripts in your browser settings is reliably effective, though not
                    as robust as a designated tracker-blocker.

                    For more info about what settings and protections your browser offers compared to
                    others, check out this article from Blacklight.

                    Using a fingerprint resistant browser

                    Some newer browsers were built to thwart fingerprinting, such as Tor Browser and
                    Brave. How they do this varies from browser to browser, but they generally work by
                    making your fingerprint less unique and/or less consistent. This means trackers
                    have a harder time following your usage of the web.

                    Can my attempts to protect myself backfire? How can attempting to
                    make myself more anonymous actually make me more identifiable?

                    Each browser metric is highly connected to other metrics in complex ways. This is
                    why we don’t recommend trying to change a single element of your fingerprint.
                    Striving to get the most common result for any individual metric may seem like a
                    good idea, but it can actually make your browser more identifiable.

                    Let’s look at an example of how these metrics are interconnected:

                    No matter what browser you’re using, they all send information about themselves to
                    servers so that web content loads correctly. This information includes the browser
                    name and version. If you swap out the identifier of the browser you're actually using
                    with one from a more common browser, you may make yourself completely
                    identifiable. How is this possible? If Chrome is a more common browser, how can
                    identifying your browser as Chrome make you more unique?

                    Because trackers aren’t only looking at what browser version you have. In
                    combination with other metrics, your fake Chrome browser may stand out. This is
                    because if you are actually using, say, Safari browser all the other metrics will point
                    to this fact. You will have the only browser out there identifying itself as Chrome
                    but looking like Safari.

                    Incognito mode


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                    Historically, Private Browsing and Incognito Mode had a single purpose. These
                    modes were intended to prevent traces of sites you visited from being stored on
                    your machine. It was not meant to prevent remote sites or trackers from identifying
                    and storing when you visit a site on their servers.

                    If you are using Firefox, using Private Browsing will provide some protections
                    against trackers. Any trackers that are included in the Disconnect tracking
                    protection list will be blocked. This keeps you safe from known trackers. Known
                    fingerprinters and cryptominers which use your browser against you are also
                    blocked. However, this will not prevent a new fingerprinter or tracker from
                    identifying your browser and keeping tabs on it. In order to get this extra level of
                    protection, your browser needs to have a fingerprint which is either:

                       1. so common that a tracker can't tell you apart from the crowd (as in Tor
                          Browser), or
                       2. randomized so that a tracker can't tell it's you from one moment to the next
                          (as in Brave browser).

                    Google's Chrome browser does not provide protection against trackers or
                    fingerprinters in Incognito Mode.




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          Google Analytics stops logging IP addresses: here’s
          why it’s a big deal for marketers

          By Kendra Clark - March 16, 2022


          By announcing the elimination of IP address logging on Google Analytics, the tech
          titan is doubling down on its focus on consumer data privacy. While some applaud
          the move, other see it as a headache for advertisers and another nail in the coffin of
          digital marketing as we know it.

          Google is axing Internet Protocol (IP) address logging on its analytics platform. The decision could
          hamper marketing effectiveness by cutting off advertisers’ ability to access user location data, but
          experts say it’s a sensical move in the broader context of maturing privacy standards.

          An IP address is a unique identifier that allows Google, and others, to locate an individual user’s
          device on the internet or a local network. Advertisers rely on this information for targeting – but its
          days on Google’s analytics platform are numbered.

          The move is part of a larger decision announced today, which will see Google Analytics 4 (GA4) take
          the place of Universal Analytics (UA) and Universal Analytics 360 for all Google customers
          beginning next year. In a statement shared with The Drum, the company said the decision was
          made in response to “a monumental shift in the way people behave on the internet and ... how we
          measure that behavior.” In essence, Google sees the UA platform as increasingly outdated due to its
          reliance on third-party cookies – which are disappearing as fast as the long winter days. Instead of
          cookies, GA4 will employ an event-based framework, which aggregates data from specific instances
          of user interaction to generate modeled data that’s easy to query. The shift aims to enable seamless
          operations across platforms. GA4 also offers a range of new, valuable integrations across Search,
          Google Cloud, YouTube, Google Display & Video 360 and more.

          But the company noted that the decision to shift to GA4 also has to do with “the constantly evolving
          privacy landscape.” As part of Google’s efforts to address the changing privacy space, the new
          iteration of its analytics platform will no longer store user IP addresses. The move represents a
          major shift away from long-standing tracking-based models of data collection, advertising and
          campaign measurement, and reinforces Google’s increasingly stringent privacy stance.

          Some marketers are already worrying that the decision to eliminate IP address logging in GA4 will
          hamper ad targeting and measurement. They’ve already seen this occur as a result of Apple’s
          privacy-centric iOS changes – such as its AppTrackingTransparency policy, which gives users more
          say over the apps and websites with which they share their personal information.

          Russell Ketchum, director of product at Google Analytics, says that tracking IP addresses is simply
          no longer necessary, since GA4 is equipped with other tools to help marketers optimize
          performance. “We’re not logging or storing IP addresses because we no longer need to,” he tells The
          Drum. “When we introduced Google Analytics 4 [in October of 2020], we made it clear that there
          was a core focus on end-user privacy. IP addresses have been anonymized in Google Analytics 4
          since it launched and, with this new announcement, we’re going even further and removing IP
          addresses altogether. This change won’t impact the quality of customers’ reports.”

          And for many, the change comes as no surprise. “Google has been developing this new analytics


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          platform for more than three years now, so ... [the news] isn’t completely unexpected,” says Charles
          Farina, head of innovation at Adswerve, a firm specializing in Google marketing and analytics. “The
          company has made the decision to sunset Universal Analytics for Google Analytics 4 in direct
          response to consumer data privacy preferences and evolving marketing strategies that do not lean
          on third-party cookies. This is a shift from a session-oriented model to an event-based model that
          better aligns with how companies are looking to measure user engagement with their digital
          marketing content in the future.”

          Beyond Google’s ongoing efforts to improve consumer data privacy standards by phasing out the
          third-party cookie come 2023 and abandoning last-click attribution for a machine-learning-based
          model as the standard yardstick for marketers, the broader cultural shift toward more stringent
          privacy norms is well under way. Following the implementation of the EU’s General Data
          Protection Regulation (GDPR) in 2018, the international community has seen a proliferation of
          similar national and state-level laws both proposed and passed that have introduced new
          protections and controls for consumers but have limited business’ ability to collect, store, sell and
          use consumers’ personal information. For advertisers in particular, the stakes have grown
          exponentially higher with new user privacy policies implemented by tech players such as Google
          and Apple.

          Although it’s been a leader in determining the future of consumer data standards and norms,
          Google itself has come under fire a few times over the last couple of years for failing to adhere to
          privacy standards – including as recently as December.

          Google Analytics in particular has been the subject of some controversy amid Schrems II, the EU’s
          landmark data protection verdict issued in July of 2020, which, for surveillance reasons, prohibits
          Europeans’ data from being shared with US servers. The new GA4, however, will offer country-level
          controls that allow its use to be customized according to local and state-level regulations. This
          change could help the platform gain adoption in Europe; previously, many EU policymakers have
          forbidden its use due to the classification of IP addresses as protected personal data under Schrems
          II.

          Plus, earlier this year, both the Austrian Data Protection Authority and France's Commission
          nationale de l'informatique et des libertés have cracked down on privacy in two cases involving
          Google Analytics.

          The decision to ban IP address logging on Google Analytics 4, then, is seen by some as a strategic
          move by Google made in response to backlash faced in Europe. “In light of the recent Google
          Analytics decisions in Europe, and in particular, the Austrian Data Protection Authority’s emphasis
          on the failure of the website operator to properly implement IP ‘anonymization,’ the IP address
          change is likely a timely effort to mitigate such risk while awaiting resolution on the broader issue
          of EU-US transfers,” says Arielle Garcia, chief privacy officer at UM Worldwide. “The GA4 privacy
          controls, and their country-level settings, will be useful for brands as they consider refining their
          privacy approach – for example, ahead of the new state laws that will be operable in 2023.”

          Others argue that marketers who are already on the ball won’t see much of a practical difference in
          the platform’s new privacy changes. “The privacy features being added to GA4, such as IP address
          redaction, have little or no penalty,” Doug Hall, senior director of analytics EMEA at Media.Monks,
          says. “The industry has known for the best part of a decade what data with purpose looks like, and
          the loss of IP address resolution is inconsequential for analysts and marketers, with only upside for
          the users.”

          At this point in the game, most savvy marketers have moved beyond reliance on the location and
          ISP information gained from tracking user IP addresses, according to Hall. Plus, he says, the
          industry’s growing attention to consumer data privacy will naturally fuel innovation.


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          GA4 will only equip marketers to better prepare for the cookieless future, says Hall. “GA4 has more
          integrations and more features for first-class first-party data gathering – there’s every reason to
          believe that in 12 months, we’ll look back at the session-based, page view-oriented, artificial
          constructs that the old data model imposed and we’ll be thankful for change. The trajectory is clear,
          if not immediately welcomed by all.”

          Universal Analytics will be officially phased out on July 1 2023 and Universal Analytics 360 will
          follow on October 1 2023. Google declined a request for comment.

          For more, sign up for The Drum’s daily US newsletter here.




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                                       Online Tracking:
                         A 1-million-site Measurement and Analysis

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ABSTRACT                                                                                              OpenWPM (Section 3) solves three key systems challenges
We present the largest and most detailed measurement of                                            faced by the web privacy measurement community. It does
online tracking conducted to date, based on a crawl of the                                         so by building on the strengths of past work, while avoiding
top 1 million websites. We make 15 types of measurements                                           the pitfalls made apparent in previous engineering efforts.
on each site, including stateful (cookie-based) and stateless                                      (1) We achieve scale through parallelism and robustness by
(fingerprinting-based) tracking, the effect of browser privacy                                     utilizing isolated measurement processes similar to FPDetec-
tools, and the exchange of tracking data between different                                         tive’s platform [2], while still supporting stateful measure-
sites (“cookie syncing”). Our findings include multiple so-                                        ments. We’re able to scale to 1 million sites, without having
phisticated fingerprinting techniques never before measured                                        to resort to a stripped-down browser [22] (a limitation we
in the wild.                                                                                       explore in detail in Section 3.3). (2) We provide compre-
   This measurement is made possible by our open-source                                            hensive instrumentation by expanding on the rich browser
web privacy measurement tool, OpenWPM1 , which uses an                                             extension instrumentation of FourthParty [23], without re-
automated version of a full-fledged consumer browser. It                                           quiring the researcher to write their own automation code.
supports parallelism for speed and scale, automatic recovery                                       (3) We reduce duplication of work by providing a modular
from failures of the underlying browser, and comprehensive                                         architecture to enable code re-use between studies.
browser instrumentation. We demonstrate our platform’s                                                Solving these problems is hard because the web is not de-
strength in enabling researchers to rapidly detect, quantify,                                      signed for automation or instrumentation. Selenium,2 the
and characterize emerging online tracking behaviors.                                               main tool for automated browsing through a full-fledged
                                                                                                   browser, is intended for developers to test their own web-
                                                                                                   sites. As a result it performs poorly on websites not con-
1.     INTRODUCTION                                                                                trolled by the user and breaks frequently if used for large-
  Web privacy measurement — observing websites and ser-                                            scale measurements. Browsers themselves tend to suffer
vices to detect, characterize and quantify privacy-impacting                                       memory leaks over long sessions. In addition, instrument-
behaviors — has repeatedly forced companies to improve                                             ing the browser to collect a variety of data for later analy-
their privacy practices due to public pressure, press cov-                                         sis presents formidable challenges. For full coverage, we’ve
erage, and regulatory action [5, 13]. On the other hand,                                           found it necessary to have three separate measurement points:
web privacy measurement presents formidable engineering                                            a network proxy, a browser extension, and a disk state mon-
and methodological challenges. In the absence of a generic                                         itor. Further, we must link data collected from these dis-
tool, it has been largely confined to a niche community of                                         parate points into a uniform schema, duplicating much of
researchers.                                                                                       the browser’s own internal logic in parsing traffic.
  We seek to transform web privacy measurement into a                                                 A large-scale view of web tracking and privacy.
widespread practice by creating a tool that is useful not just                                        In this paper we report results from a January 2016 mea-
to our colleagues but also to regulators, self-regulators, the                                     surement of the top 1 million sites (Section 4). Our scale
press, activists, and website operators, who are often in the                                      enables a variety of new insights. We observe for the first
dark about third-party tracking on their own domains. We                                           time that online tracking has a “long tail”, but we find a
also seek to lessen the burden of continual oversight of web                                       surprisingly quick drop-off in the scale of individual track-
tracking and privacy, by developing a robust and modular                                           ers: trackers in the tail are found on very few sites (Sec-
platform for repeated studies.                                                                     tion 5.1). Using a new metric for quantifying tracking (Sec-
1
    https://github.com/citp/OpenWPM                                                                tion 5.2), we find that the tracking-protection tool Ghostery
                                                                                                   (https://www.ghostery.com/) is effective, with some caveats
Permission to make digital or hard copies of all or part of this work for personal or
classroom use is granted without fee provided that copies are not made or distributed              (Section 5.5). We quantify the impact of trackers and third
for profit or commercial advantage and that copies bear this notice and the full citation          parties on HTTPS deployment (Section 5.3) and show that
on the first page. Copyrights for components of this work owned by others than the                 cookie syncing is pervasive (Section 5.6).
author(s) must be honored. Abstracting with credit is permitted. To copy otherwise,
or republish, to post on servers or to redistribute to lists, requires prior specific                 Turning to browser fingerprinting, we revisit an influential
permission and/or a fee. Request permissions from permissions@acm.org.                             2014 study on canvas fingerprinting [1] with updated and im-
CCS’16, October 24 - 28, 2016, Vienna, Austria                                                     proved methodology (Section 6.1). Next, we report on sev-
 c 2016 Copyright held by the owner/author(s). Publication rights licensed to ACM.                 eral types of fingerprinting never before measured at scale:
ISBN 978-1-4503-4139-4/16/10. . . $15.00
                                                                                                   2
DOI: http://dx.doi.org/10.1145/2976749.2978313                                                         http://www.seleniumhq.org/




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font fingerprinting using canvas (which is distinct from can-               mentation requires native browser code, making it easier to
vas fingerprinting; Section 6.2), and fingerprinting by abus-               upgrade to new or different versions of the browser, and (4)
ing the WebRTC API (Section 6.3), the Audio API (Section                    OpenWPM uses a high-level command-based architecture,
6.4), and the Battery Status API (6.5). Finally, we show                    which supports command re-use between studies.
that in contrast to our results in Section 5.5, existing pri-                  Chameleon Crawler is a Chromium based crawler that uti-
vacy tools are not effective at detecting these newer and                   lizes the Chameleon3 browser extension for detecting browser
more obscure fingerprinting techniques.                                     fingerprinting. Chameleon Crawler uses similar automation
   Overall, our results show cause for concern, but also en-                components, but supports a subset of OpenWPM’s instru-
couraging signs. In particular, several of our results suggest              mentation.
that while online tracking presents few barriers to entry,                     FourthParty is a Firefox plug-in for instrumenting the
trackers in the tail of the distribution are found on very few              browser and does not handle automation [23]. OpenWPM
sites and are far less likely to be encountered by the av-                  has incorporated and expanded upon nearly all of Fourth-
erage user. Those at the head of the distribution, on the                   Party’s instrumentation (Section 3).
other hand, are owned by relatively few companies and are                      WebXray is a PhantomJS based tool for measuring HTTP
responsive to the scrutiny resulting from privacy studies.                  traffic [22]. It has been used to study third-party inclusions
   We envision a future where measurement provides a key                    on the top 1 million sites, but as we show in Section 3.3,
layer of oversight of online privacy. This will be especially               measurements with a stripped-down browser have the po-
important given that perfectly anticipating and preventing                  tential to miss a large number of resource loads.
all possible privacy problems (whether through blocking tools                  TrackingObserver is a Chrome extension that detects track-
or careful engineering of web APIs) has proved infeasible.                  ing and exposes APIs for extending its functionality such as
To enable such oversight, we plan to make all of our data                   measurement and blocking [35].
publicly available (OpenWPM is already open-source). We                        XRay [21] and AdFisher [9] are tools for running auto-
expect that measurement will be useful to developers of pri-                mated personalization detection experiments. AdFisher builds
vacy tools, to regulators and policy makers, journalists, and               on similar technologies as OpenWPM (Selenium, xvfb), but
many others.                                                                is not intended for tracking measurements.
                                                                               Common Crawl4 uses an Apache Nutch based crawler.
                                                                            The Common Crawl dataset is the largest publicly available
2.   BACKGROUND AND RELATED WORK                                            web crawl5 , with billions of page visits. However, the crawler
   Background: third-party online tracking. As users                        used does not execute Javascript or other dynamic content
browse and interact with websites, they are observed by both                during a page visit. Privacy studies which use the dataset
“first parties,” which are the sites the user visits directly, and          [36] will miss dynamically loaded content, which includes
“third parties” which are typically hidden trackers such as                 many advertising resources.
ad networks embedded on most web pages. Third parties                          Previous findings. Krishnarmurthy and Wills [19] pro-
can obtain users’ browsing histories through a combination                  vide much of the early insight into web tracking, showing the
of cookies and other tracking technologies that allow them                  growth of the largest third-party organizations from 10% to
to uniquely identify users, and the “referer” header that tells             20-60% of top sites between 2005 and 2008. In the following
the third party which first-party site the user is currently                years, studies show a continual increase in third-party track-
visiting. Other sensitive information such as email addresses               ing and in the diversity of tracking techniques [23, 35, 16, 2,
may also be leaked to third parties via the referer header.                 1, 4]. Fruchter et al. studied geographic variations in track-
   Web privacy measurement platforms.                                       ing [15]. More recently, Libert studied third-party HTTP
   The closest comparisons to OpenWPM are other open web                    requests on the top 1 million sites [22], providing view of
privacy measurement platforms, which we now review. We                      tracking across the web. In this study, Libert showed that
consider a tool to be a platform if is is publicly available and            Google can track users across nearly 80% of sites through
there is some generality to the types of studies that can be                its various third-party domains.
performed using it. In some cases, OpenWPM has directly                        Web tracking has expanded from simple HTTP cookies to
built upon existing platforms, which we make explicit note                  include more persistent tracking techniques. Soltani et al.
of.                                                                         first examined the use of flash cookies to “respawn” or re-
   FPDetective is the most similar platform to OpenWPM.                     instantiate HTTP cookies [39], and Ayenson et al. showed
FPDetective uses a hybrid PhantomJS and Chromium based                      how sites were using cache E-Tags and HTML5 localStor-
automation infrastructure [2], with both native browser code                age for the same purpose [6]. Follow up studies show the
and a proxy for instrumentation. In the published study, the                technique is still used for tracking [35, 24, 1].
platform was used for the detection and analysis of finger-                    Device fingerprinting is a persistent tracking technique
printers, and much of the included instrumentation was built                which does not require a tracker to set any state in the user’s
to support that. The platform allows researchers to conduct                 browser. Instead, trackers attempt to identify users by a
additional experiments by replacing a script which is exe-                  combination of the device’s properties. Within samples of
cuted with each page visit, which the authors state can be                  over 100,000 browsers, 80-90% of desktop and 81% of mobile
easily extended for non-fingerprinting studies.                             device fingerprints are unique [10, 20]. New fingerprinting
   OpenWPM differs in several ways from FPDetective: (1)                    techniques are continually discovered [25, 31, 14], and are
it supports both stateful and stateless measurements, whereas
FPDetective only supports stateless (2) it includes generic                 3
                                                                              https://github.com/ghostwords/chameleon
instrumentation for both stateless and stateful tracking, en-               4
                                                                              https://commoncrawl.org
abling a wider range of privacy studies without additional                  5
                                                                              https://aws.amazon.com/public-data-sets/common-
changes to the infrastructure (3) none of the included instru-              crawl/




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subsequently used to track users on the web [29, 2, 1]. In
                                                                                         Browser
Section 6.1 we present several new fingerprinting techniques                             Manager
                                                                                                         Selenium     Browser

discovered during our measurements.
                                                                           Task          Browser
                                                                                                                      Browser
  Web security measurement. Web security studies of-                      Manager        Manager
                                                                                                         Selenium
                                                                                                                                 WWW
ten use similar methods as web privacy measurement, and




                                                                                                            ...
the boundary is not always clear. Yue and Wang modified                                  Browser
                                                                                                         Selenium     Browser
                                                                                         Manager
the Firefox browser source code in order to perform a mea-
surement of insecure Javascript implementations on the web                             Instrumentation Layer
[49]. Headless browsers have been used in many web security
measurements, for example: to measure the amount of third-
party Javascript inclusions across many popular sites and                                     Analysis                Data
                                                                                               Scripts              Aggregator
the vulnerabilities that arise from how the script is embed-
ded [28], to measure the presence of security seals on the top
1 million sites [46], and to study stand-alone password gener-           Figure 1: High-level overview of OpenWPM
ators and meters on the web [44]. Several studies have used              The task manager monitors browser managers, which con-
Selenium-based frameworks, including: to measure and cat-                vert high-level commands into automated browser actions.
egorize malicious advertisements displayed while browsing                The data aggregator receives and pre-processes data from
                                                                         instrumentation.
popular sites [50], to measure the presence of malware and
other vulnerabilities on live streaming websites [33], to study
HSTS deployment [17], to measure ad-injecting browser ex-                codebase evolves and complete rewrites to support alterna-
tensions [48], and to emulate users browsing malicious web               tive browsers.
shells with the goal of detecting client-side homephoning
[40]. Other studies have analyzed Flash and Javascript el-               3.2   Design and Implementation
ements of webpages to measure security vulnerabilities and                  We divided our browser automation and data collection
error-prone implementations [30, 45].                                    infrastructure into three main modules: browser managers
                                                                         which act as an abstraction layer for automating individual
3.    MEASUREMENT PLATFORM                                               browser instances, a user-facing task manager which serves
   An infrastructure for automated web privacy measure-                  to distribute commands to browser managers, and a data
ment has three components: simulating users, recording ob-               aggregator, which acts as an abstraction layer for browser in-
servations (response metadata, cookies, behavior of scripts,             strumentation. The researcher interacts with the task man-
etc.), and analysis. We set out to build a platform that                 ager via an extensible, high-level, domain-specific language
can automate the first two components and can ease the                   for crawling and controlling the browser instance. The entire
researcher’s analysis task. We sought to make OpenWPM                    platform is built using Python and Python libraries.
general, modular, and scalable enough to support essentially                Browser driver: Providing realism and support for
any privacy measurement.                                                 web technologies. We considered a variety of choices to
   OpenWPM is open source and has already been used for                  drive measurements, i.e., to instruct the browser to visit a set
measurement by several published studies. Section 3.4 in                 of pages (and possibly to perform a set of actions on each).
the supplementary materials examines the advanced features               The two main categories to choose from are lightweight browsers
used by each study. In this paper we present, for the first              like PhantomJS (an implementation of WebKit), and full-
time, the design and evaluation of the platform and highlight            fledged browsers like Firefox and Chrome. We chose to use
its strengths through several new measurements.                          Selenium, a cross-platform web driver for Firefox, Chrome,
                                                                         Internet Explorer, and PhantomJS. We currently use Sele-
3.1    Design Motivations                                                nium to drive Firefox, but Selenium’s support for multiple
  OpenWPM builds on similar technologies as many previ-                  browsers makes it easy to transition to others in the future.
ous platforms, but has several key design differences to sup-               By using a consumer browser, all technologies that a typ-
ports modular, comprehensive, and maintainable measure-                  ical user would have access to (e.g., HTML5 storage op-
ment. Our platform supports stateful measurements while                  tions, Adobe Flash) are also supported by measurement in-
FPDetective [2] does not. Stateful measurements are im-                  stances. The alternative, PhantomJS, does not support We-
portant for studying the tracking ecosystem. Ad auctions                 bGL, HTML5 Audio and Video, CSS 3-D, and browser plu-
may vary based on cookie data. A stateless browser always                gins (like Flash), making it impossible to run measurements
appears to be a new user, which skews cookie syncing mea-                on the use of these technologies [32].
surements. In addition to cookie syncing studied in this                    In retrospect this has proved to be a sound choice. With-
paper, stateful measurements have allowed our platform to                out full support for new web technologies we would not have
be used to study cookie respawning [1] and replicate realistic           been able to discover and measure the use of the Audio-
user profiles [12].                                                      Context API for device fingerprinting as discussed in Sec-
  Many past platforms rely on native instrumentation code                tion 6.4.
[27, 38, 2], which have a high maintenance cost and, in some                Finally the use of real browsers also allows us to test the
cases a high cost-per-API monitored. In our platform, the                effects of consumer browser extensions. We support run-
cost of monitoring new APIs is minimal (Section 3.3) and                 ning measurements with extensions such as Ghostery and
APIs can be enabled or disabled in the add-on without re-                HTTPS Everywhere as well as enabling Firefox privacy set-
compiling the browser or rendering engine. This allows us to             tings such third-party cookie blocking and the new Tracking
monitor a larger number of APIs. Native codebase changes                 Protection feature. New extensions can easily be supported
in other platforms require constant merges as the upstream               with only a few extra lines of code (Section 3.3). See Sec-




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tion 5.3 and Section 5.5 for analyses of measurements run                 erage of a browser’s interaction with the web and the sys-
with these browser settings.                                              tem. Each level of instrumentation keys data with the top
   Browser managers: Providing stability. During the                      level site being visited and the current browser id, making
course of a long measurement, a variety of unpredictable                  it possible to combine measurement data from multiple in-
events such as page timeouts or browser crashes could halt                strumentation sources for each page visit.
the measurement’s progress or cause data loss or corruption.                 Disk Access — We include instrumentation that collects
A key disadvantage of Selenium is that it frequently hangs                changes to Flash LSOs and the Firefox cookie database after
indefinitely due to its blocking API [37], as it was designed to          each page visit. This allows a researcher to determine which
be a tool for webmasters to test their own sites rather than              domains are setting Flash cookies, and to record access to
an engine for large-scale measurements. Browser managers                  cookies in the absence of other instrumentation
provide an abstraction layer around Selenium, isolating it                   HTTP Data — After examining several Python HTTP
from the rest of the components.                                          proxies, we chose to use Mitmproxy6 to record all HTTP Re-
   Each browser manager instantiates a Selenium instance                  quest and Response headers. We generate and load a certifi-
with a specified configuration of preferences, such as block-             cate into Firefox to capture HTTPS data alongside HTTP.
ing third-party cookies. It is responsible for converting high-              Additionally, we use the HTTP proxy to dump the con-
level platform commands (e.g. visiting a site) into specific              tent of any Javascript file requested during a page visit. We
Selenium subroutines. It encapsulates per-browser state, en-              use both Content-Type and file extension checking to detect
abling recovery from browser failures. To isolate failures,               scripts in the proxy. Once detected, a script is decompressed
each browser manager runs as a separate process.                          (if necessary) and hashed. The hash and content are sent to
   We support launching measurement instances in a “head-                 the LevelDBAggregator for de-duplication.
less” container, by using the pyvirtualdisplay library to in-                Javascript Access — We provide the researcher with a
terface with Xvfb, which draws the graphical interface of the             Javascript interface to pages visited through a Firefox ex-
browser to a virtual frame buffer.                                        tension. Our extension expands on the work of Fourthparty
   Task manager: Providing scalability and abstrac-                       [23]. In particular, we utilize Fourthparty’s Javascript in-
tion. The task manager provides a scriptable command-line                 strumentation, which defines custom getters and setters on
interface for controlling multiple browsers simultaneously.               the window.navigator and window.screen interfaces7 . We
Commands can be distributed to browsers either synchro-                   updated and extended this functionality to record access to
nized or first-come-first-serve. Each command is launched                 the prototypes of the Storage, HTMLCanvasElement, Can-
in a per-browser command execution thread.                                vasRenderingContext2D, RTCPeerConntection, AudioCon-
   The command-execution thread handles errors in its cor-                text objects, as well as the prototypes of several children
responding browser manager automatically. If the browser                  of AudioNode. This records the setting and getting of all
manager crashes, times out, or exceeds memory limits, the                 object properties and calls of all object methods for any ob-
thread enters a crash recovery routine. In this routine, the              ject built from these prototypes. Alongside this, we record
manager archives the current browser profile, kills all current           the new property values set and the arguments to all method
processes, and loads the archive (which includes cookies and              calls. Everything is logged directly to the SQLite aggregator
history) into a fresh browser with the same configuration.                   In addition to recording access to instrumented objects,
                                                                          we record the URL of the script responsible for the prop-
   Data Aggregator: Providing repeatability. Repeata-
                                                                          erty or method access. To do so, we throw an Error and
bility can be achieved logging data in a standardized format,
                                                                          parse the stack trace after each call or property intercept.
so research groups can easily share scripts and data. We ag-
                                                                          This method is successful for 99.9% of Javascript files we
gregate data from all instrumentation components in a cen-
                                                                          encountered, and even works for Javascript files which have
tral and structured location. The data aggregator receives
                                                                          been minified or obfuscated with eval. A minor limitation is
data during the measurement, manipulates it as necessary,
                                                                          that the function calls of a script which gets passed into the
and saves it on disk keyed back to a specific page visit and
                                                                          eval method of a second script will have their URL labeled
browser. The aggregator exists within its own process, and
                                                                          as the second script. This method is adapted with minor
is accessed through a socket interface which can easily be
                                                                          modifications from the Privacy Badger Firefox Extension8 .
connected to from any number of browser managers or in-
                                                                             In an adversarial situation, a script could disable our in-
strumentation processes.
                                                                          strumentation before fingerprinting a user by overriding ac-
   We currently support two data aggregators: a structured
                                                                          cess to getters and setters for each instrumented object.
SQLite aggregator for storing relational data and a Lev-
                                                                          However, this would be detectable since we would observe
elDB aggregator for storing compressed web content. The
                                                                          access to the define{G,S}etter or lookup{G,S}etter meth-
SQLite aggregator stores the majority of the measurement
                                                                          ods for the object in question and could investigate the
data, including data from both the proxy and the exten-
                                                                          cause. In our 1 million site measurement, we only observe
sion (described below). The LevelDB aggregator is designed
                                                                          script access to getters or setters for HTMLCanvasElement and
to store de-duplicated web content, such as Javascript or
                                                                          CanvasRenderingContext2D interfaces. All of these are be-
HTML files. The aggregator checks if a hash of the content
                                                                          nign accesses from 47 scripts total, with the majority related
is present in the database, and if not compresses the content
                                                                          to an HTML canvas graphics library.
and adds it to the database.
   Instrumentation: Supporting comprehensive and
reusable measurement. We provide the researcher with
                                                                          6
data access at several points: (1) raw data on disk, (2) at the             https://mitmproxy.org/
                                                                          7
network level with an HTTP proxy, and (3) at the Javascript                 In the latest public version of Fourthparty (May 2015),
level with a Firefox extension. This provides nearly full cov-            this instrumentation is not functional due to API changes.
                                                                          8
                                                                            https://github.com/EFForg/privacybadgerfirefox




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           Study                                             Year




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                                                                     B
           Persistent tracking mechanisms [1]                2014        •     •   •   •   •         •    •
           FB Connect login permissions [34]                 2014        •                      •                   ◦
           Surveillance implications of web tracking [12]    2015        •     •           •         •
           HSTS and key pinning misconfigurations [17]       2015        •     •           •    ◦                   •
           The Web Privacy Census [4]                        2015        •     •           •              •
           Geographic Variations in Tracking [15]            2015        •                 •
           Analysis of Malicious Web Shells [40]             2016        •
           This study (Sections 5 & 6)                       2016        •     •   •   •   •         •    •    •

Table 1: Seven published studies which utilize our Platform.
An unfilled circle indicates that the feature was useful but application-specific programming or manual effort was still required.

3.3    Evaluation                                                    is because sites may expect certain capabilities that Phan-
  Stability. We tested the stability of vanilla Selenium             tomJS does not have or may attempt to access APIs us-
without our infrastructure in a variety of settings. The best        ing Firefox-specific names. One site, weibo.com, redirected
average we were able to obtain was roughly 800 pages with-           PhantomJS (with either user-agent string) to an entirely
out a freeze or crash. Even in small-scale studies, the lack of      different landing page than OpenWPM. These findings sup-
recovery led to loss or corruption of measurement data. Us-          port our view that OpenWPM enables significantly more
ing the isolation provided by our browser manager and task           complete and realistic web and tracking measurement than
manager, we recover from all browser crashes and have ob-            stripped-down browsers.
served no data corruption during stateful measurements of               Resource usage. When using the headless configura-
100,000 sites. During the course of our stateless 1 million site     tion, we are able to run up to 10 stateful browser instances on
measurement in January 2016 (Section 5), we observe over             an Amazon EC2 “c4.2xlarge” virtual machine9 . This virtual
90 million requests and nearly 300 million Javascript calls.         machine costs around $300 per month using price estimates
A single instrumented browser can visit around 3500 sites            from May 2016. Due to Firefox’s memory consumption,
per day, requiring no manual interaction during that time.           stateful parallel measurements are memory-limited while state-
The scale and speed of the overall measurement depends on            less parallel measurements are typically CPU-limited and
the hardware used and the measurement configuration (See             can support a higher number of instances. On the same
“Resource Usage” below).                                             machine we can run 20 browser instances in parallel if the
  Completeness. OpenWPM reproduces a human user’s                    browser state is cleared after each page load.
web browsing experience since it uses a full-fledged browser.           Generality. The platform minimizes code duplication
However, researchers have used stripped-down browsers such           both across studies and across configurations of a specific
as PhantomJS for studies, trading off fidelity for speed.            study. For example, the Javascript monitoring instrumenta-
  To test the importance of using a full-fledged browser,            tion is about 340 lines of Javascript code. Each additional
we examined the differences between OpenWPM and Phan-                API monitored takes only a few additional lines of code. The
tomJS (version 2.1.1) on the top 100 Alexa sites. We av-             instrumentation necessary to measure canvas fingerprinting
eraged our results over 6 measurements of each site with             (Section 6.1) is three additional lines of code, while the We-
each tool. Both tools were configured with a time-out of 10          bRTC measurement (Section 6.3) is just a single line of code.
seconds and we excluded a small number of sites that didn’t             Similarly, the code to add support for new extensions
complete loading. Unsurprisingly, PhantomJS does not load            or privacy settings is relatively low: 7 lines of code were
Flash, HTML5 Video, or HTML5 Audio objects (which it                 required to support Ghostery, 8 lines of code to support
does not support); OpenWPM loads nearly 300 instances of             HTTPS Everywhere, and 7 lines of codes to control Fire-
those across all sites. More interestingly, PhantomJS loads          fox’s cookie blocking policy.
about 30% fewer HTML files, and about 50% fewer resources               Even measurements themselves require very little addi-
with plain text and stream content types. Upon further ex-           tional code on top of the platform. Each configuration listed
amination, one major reason for this is that many sites don’t        in Table 2 requires between 70 and 108 lines of code. By
serve ads to PhantomJS. This makes tracking measurements             comparison, the core infrastructure code and included in-
using PhantomJS problematic.                                         strumentation is over 4000 lines of code, showing that the
  We also tested PhantomJS with the user-agent string spoofed        platform saves a significant amount of engineering effort.
to look like Firefox, so as to try to prevent sites from treat-
ing PhantomJS differently. Here the differences were less            3.4       Applications of OpenWPM
extreme, but still present (10% fewer requests of html re-             Seven academic studies have been published in journals,
sources, 15% for plain text, and 30% for stream). However,           conferences, and workshops, utilizing OpenWPM to perform
several sites (such as dropbox.com) seem to break when
PhantomJS presents the incorrect user-agent string. This             9
                                                                         https://aws.amazon.com/ec2/instance-types/




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a variety of web privacy and security measurements. Table 1             visit any other pages within the site. If there is a timeout
summarizes the advanced features of the platform each re-               we kill the process and restart the browser for the next page
search group utilized in their measurements.                            visit, as described in Section 3.2.
   In addition to browser automation and HTTP data dumps,                  Stateful measurements. To obtain a complete picture
the platform has several advanced capabilities used by both             of tracking we must carry out stateful measurements in ad-
our own measurements and those in other groups. Mea-                    dition to stateless ones. Stateful measurements do not clear
surements can keep state, such as cookies and localStor-                the browser’s profile between page visits, meaning cookie
age, within each session via stateful measurements, or persist          and other browser storage persist from site to site. For some
this state across sessions with persistent profiles. Persisting         measurements the difference is not material, but for others,
state across measurements has been used to measure cookie               such as cookie syncing (Section 5.6), it is essential.
respawning [1] and to provide seed profiles for larger mea-                Making stateful measurements is fundamentally at odds
surements (Section 5). In general, stateful measurements are            with parallelism. But a serial measurement of 1,000,000 sites
useful to replicate the cookie profile of a real user for track-        (or even 100,000 sites) would take unacceptably long. So we
ing [4, 12] and cookie syncing analysis [1] (Section 5.6). In           make a compromise: we first build a seed profile which vis-
addition to recording state, the platform can detect tracking           its the top 10,000 sites in a serial fashion, and we save the
cookies.                                                                resulting state.
   The platform also provides programmatic control over in-                To scale to a larger measurement, the seed profile is loaded
dividual components of this state such as Flash cookies through         into multiple browser instances running in parallel. With
fine-grained profiles as well as plug-ins via advanced plug-in          this approach, we can approximately simulate visiting each
support. Applications built on top of the platform can mon-             website serially. For our 100,000 site stateless measurement,
itor state changes on disk to record access to Flash cookies            we used the “ID Detection 2” browser profile as a seed profile.
and browser state. These features are useful in studies which              This method is not without limitations. For example third
wish to simulate the experience of users with Flash enabled             parties which don’t appear in the top sites if the seed pro-
[4, 15] or examine cookie respawning with Flash [1].                    file will have different cookies set in each of the parallel in-
   Beyond just monitoring and manipulating state, the plat-             stances. If these parties are also involved in cookie syncing,
form provides the ability to capture any Javascript API call            the partners that sync with them (and appear in the seed
with the included Javascript instrumentation. This is used              profile) will each receive multiple IDs for each one of their
to measure device fingerprinting (Section 6).                           own. This presents a trade-off between the size the seed pro-
   Finally, the platform also has a limited ability to extract          file and the number of third parties missed by the profile.
content from web pages through the content extraction mod-              We find that a seed profile which has visited the top 10,000
ule, and a limited ability to automatically log into web-               sites will have communicated with 76% of all third-party
sites using the Facebook Connect automated login capabil-               domains present on more than 5 of the top 100,000 sites.
ity. Logging in with Facebook has been used to study login                 Handling errors. In presenting our results we only con-
permissions [34].                                                       sider sites that loaded successfully. For example, for the 1
                                                                        Million site measurement, we present statistics for 917,261
                                                                        sites. The majority of errors are due to the site failing to
4.   WEB CENSUS METHODOLOGY                                             return a response, primarily due to DNS lookup failures.
   We run measurements on the homepages of the top 1 mil-               Other causes of errors are sites returning a non-2XX HTTP
lion sites to provide a comprehensive view of web tracking              status code on the landing page, such as a 404 (Not Found)
and web privacy. These measurements provide updated met-                or a 500 (Internal Server Error).
rics on the use of tracking and fingerprinting technologies,               Detecting ID cookies. Detecting cookies that store
allowing us to shine a light onto the practices of third par-           unique user identifiers is a key task that enables many of the
ties and trackers across a large portion of the web. We also            results that we report in Section 5. We build on the methods
explore the effectiveness of consumer privacy tools at giving           used in previous studies [1, 12]. Browsers store cookies in a
users control over their online privacy.                                structured key-value format, allowing sites to provide both
   Measurement Configuration. We run our measure-                       a name string and value string. Many sites further structure
ments on a “c4.2xlarge” Amazon EC2 instance, which cur-                 the value string of a single cookie to include a set of named
rently allocates 8 vCPUs and 15 GiB of memory per ma-                   parameters. We parse each cookie value string assuming the
chine. With this configuration we are able to run 20 browser            format:
instances in parallel. All measurements collect HTTP Re-                            (name1 =)value1 |...|(nameN =)valueN
quests and Responses, Javascript calls, and Javascript files            where | represents any character except a-zA-Z0-9 -=. We
using the instrumentation detailed in Section 3. Table 2                determine a (cookie-name, parameter-name, parameter-value)
summarizes the measurement instance configurations. The                 tuple to be an ID cookie if it meets the following criteria: (1)
data used in this paper were collected during January 2016.             the cookie has an expiration date over 90 days in the future
   All of our measurements use the Alexa top 1 million site             (2) 8 ≤ length(parameter-value) ≤ 100, (3) the parameter-
list (http://www.alexa.com), which ranks sites based on their           value remains the same throughout the measurement, (4)
global popularity with Alexa Toolbar users. Before each                 the parameter-value is different between machines and has a
measurement, OpenWPM retrieves an updated copy of the                   similarity less than 66% according to the Ratcliff-Obershelp
list. When a measurement configuration calls for less than              algorithm [7]. For the last step, we run two synchronized
1 million sites, we simply truncate the list as necessary. For          measurements (see Table 2) on separate machines and com-
eash site, the browser will visit the homepage and wait until           pare the resulting cookies, as in previous studies.
the site has finished loading or until the 90 second timeout               What makes a tracker? Every third party is potentially
is reached. The browser does not interact with the site or




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        Configuration         # Sites     # Success       Timeout %                                                Time to Crawl




                                                                                Fl
        Default Stateless     1 Million    917,261          10.58%                         •   •    •    •            14 days
        Default Stateful       100,000      94,144          8.23%                      ◦   •   •    •    •            3.5 days
        Ghostery                55,000      50,023           5.31%                         •   •    •    •            0.7 days
        Block TP Cookies        55,000      53,688          12.41%                         •   •    •    •            0.8 days
        HTTPS Everywhere        55,000      53,705          14.77%                         •   •    •    •             1 day
        ID Detection 1*         10,000      9,707           6.81%                •     •       •    •    •    •       2.9 days
        ID Detection 2*         10,000      9,702           6.73%                •     •       •    •    •    •       2.9 days

Table 2: Census measurement configurations.
An unfilled circle indicates that a seed profile of length 10,000 was loaded into each browser instance in a parallel measurement.
“# Success” indicates the number of sites that were reachable and returned a response. A Timeout is a request which fails
to completely load in 90 seconds. *Indicates that the measurements were run synchronously on different virtual machines.

a tracker, but for many of our results we need a more con-                 homepages of sites are found on 6% to 57% more sites when
servative definition. We use two popular tracking-protection               internal page loads are considered. Similarly, fingerprinting
lists for this purpose: EasyList and EasyPrivacy. Including                scripts found in Section 6 were observed on more sites. Can-
EasyList allows us to classify advertising related trackers,               vas fingerprinting increased from 4% to 7% of the top sites
while EasyPrivacy detects non-advertising related trackers.                while canvas-based font fingerprinting increased from 2% to
The two lists consist of regular expressions and URL sub-                  2.5%. An increase in trackers is expected as each additional
strings which are matched against resource loads to deter-                 page visit within a site will cycle through new dynamic con-
mine if a request should be blocked.                                       tent that may load a different set of third parties. Addition-
   Alternative tracking-protection lists exist, such as the list           ally, sites may not embed all third-party content into their
built into the Ghostery browser extension and the domain-                  homepages.
based list provided by Disconnect10 . Although we don’t use                   The measurements presented in this paper were collected
these lists to classify trackers directly, we evaluate their per-          from an EC2 instance in Amazon’s US East region. It is pos-
formance in several sections.                                              sible that some sites would respond differently to our mea-
   Note that we are not simply classifying domains as track-               surement instance than to a real user browsing from residen-
ers or non-trackers, but rather classify each instance of a                tial or commercial internet connection. Fruchter, et al. [15]
third party on a particular website as a tracking or non-                  use OpenWPM to measure the variation in tracking due to
tracking context. We consider a domain to be in the tracking               geographic differences. They found no evidence of tracking
context if a consumer privacy tool would have blocked that                 differences caused by the origin of the measurement instance.
resource. Resource loads which wouldn’t have been blocked                     Although OpenWPM’s instrumentation measures a di-
by these extensions are considered non-tracking.                           verse set of tracking techniques, we do not provide a com-
   While there is agreement between the extensions utiliz-                 plete analysis of all known techniques. Notably absent from
ing these lists, we emphasize that they are far from perfect.              our analysis are non-canvas-based font fingerprinting [2],
They contain false positives and especially false negatives.               navigator and plugin fingerprinting [10, 23], and cookie respawn-
That is, they miss many trackers — new ones in particu-                    ing [39, 6]. Several of these javascript-based techniques are
lar. Indeed, much of the impetus for OpenWPM and our                       currently supported by OpenWPM, have been measured
measurements comes from the limitations of manually iden-                  with OpenWPM in past research [1], and others can be eas-
tifying trackers. Thus, tracking-protection lists should be                ily added (Section 3.3). Non-Javascript techniques, such as
considered an underestimate of the set of trackers, just as                font fingerprinting with Adobe Flash, would require addi-
considering all third parties to be trackers is an overestimate.           tional specialized instrumentation.
   Limitations. The analysis presented in this paper has                      Finally, for readers interested in further details or in repro-
several methodological and measurement limitations. Our                    ducing our work, we provide further methodological details
platform did not interact with sites in ways a real user might;            in the full version of this paper: what constitutes distinct
we did not log into sites nor did we carry out actions such                domains, how to detect the landing page of a site using the
as scrolling or clicking links during our visit. While we have             data collected by OpenWPM, how we detect cookie syncing,
performed deeper crawls of sites (and plan to make this data               and why obfuscation of Javascript doesn’t affect our ability
publicly available), the analyses presented in the paper per-              to detect fingerprinting.
tain only to homepages.
   For comparison, we include a preliminary analysis of a                  5.        RESULTS OF 1-MILLION SITE CENSUS
crawl which visits 4 internal pages in addition to the home-
page of the top 10,000 sites. The analyses presented in this
paper should be considered a lower bound on the amount of
                                                                           5.1       The long but thin tail of online tracking
tracking a user will experience in the wild. In particular, the               During our January 2016 measurement of the Top 1 mil-
average number of third parties per site increases from 22                 lion sites, our tool made over 90 million requests, assembling
to 34. The 20 most popular third parities embedded on the                  the largest dataset on web tracking to our knowledge.
                                                                              Our large scale allows us to answer a rather basic ques-
10
     https://disconnect.me/trackerprotection                               tion: how many third parties are there? In short, a lot: the




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      Fraction of TP Blocked
                               1.0                                                       other third parties (this includes both events where it is a
                               0.8                                                       referer and where it is a receiver).
                               0.6
                                                                                           More interestingly, we find that the vast majority of top
                                                                                         third parties sync cookies with at least one other party: 45
                               0.4
                                                                                         of the top 50, 85 of the top 100, 157 of the top 200, and
                               0.2                                                       460 of the top 1,000. This adds further evidence that cookie
                               0.0                                                       syncing is an under-researched privacy concern.
                                 10− 4    10− 3     10− 2      10− 1        100            We also find that third parties are highly connected by
                                          Prominence of Third-party (log)                synced cookies. Specifically, of the top 50 third parties that
                                                                                         are involved in cookie syncing, the probability that a ran-
Figure 5: Fraction of third parties blocked by Ghostery as                               dom pair will have at least one cookie in common is 85%.
a function of the prominence of the third party. As defined
earlier, a third party’s prominence is the sum of the inverse                            The corresponding probability for the top 100 is 66%.
ranks of the sites it appears on.
                                                                                         6.    FINGERPRINTING: A 1-MILLION SITE
which seems to be for tracking purposes. While this type of                                    VIEW
workaround to third-party cookie blocking is not rampant,                                   OpenWPM significantly reduces the engineering require-
we suggest that browser vendors should closely monitor it                                ment of measuring device fingerprinting, making it easy to
and make changes to the blocking heuristic if necessary.                                 update old measurements and discover new techniques. In
   Another interesting finding is that when third-party cookie                           this section, we demonstrate this through several new fin-
blocking was enabled, the average number of third parties                                gerprinting measurements, two of which have never been
per site dropped from 17.7 to 12.6. Our working hypothesis                               measured at scale before, to the best of our knowledge. We
for this drop is that deprived of ID cookies, third parties cur-                         show how the number of sites on which font fingerprinting
tail certain tracking-related requests such as cookie syncing                            is used and the number of third parties using canvas finger-
(which we examine in Section 5.6).                                                       printing have both increased by considerably in the past few
   We also tested Ghostery, and found that it is effective at                            years. We also show how WebRTC’s ability to discover lo-
reducing the number of third parties and ID cookies. The                                 cal IPs without user permission or interaction is used almost
average number of third-party includes went down from 17.7                               exclusively to track users. We analyze a new fingerprinting
to 3.3, of which just 0.3 had third-party cookies (0.1 with                              technique utilizing AudioContext found during our investi-
IDs). We examined the prominent third parties that are not                               gations. Finally, we discuss the use of the Battery API by
blocked and found almost all of these to be content-delivery                             two fingerprinting scripts.
networks like cloudflare.com or widgets like maps.google.                                   Our fingerprinting measurement methodology utilizes data
com, which Ghostery does not try to block. So Ghostery                                   collected by the Javascript instrumentation described in Sec-
works well at achieving its stated objectives.                                           tion 3.2. With this instrumentation, we monitor access to
   However, the tool is less effective for obscure trackers                              all built-in interfaces and objects we suspect may be used
(prominence < 0.1). In Section 6.6, we show that less promi-                             for fingerprinting. By monitoring on the interface or object
nent fingerprinting scripts are not blocked as frequently by                             level, we are able to record access to all method calls and
blocking tools. This makes sense given that the block list                               property accesses for each interface we thought might be
is manually compiled and the developers are less likely to                               useful for fingerprinting. This allows us to build a detection
have encountered obscure trackers. It suggests that large-                               criterion for each fingerprinting technique after a detailed
scale measurement techniques like ours will be useful for tool                           analysis of example scripts.
developers to minimize gaps in their coverage.                                              Although our detection criteria currently have negligible
                                                                                         low false positive rate, we recognize that this may change as
5.6                            How common is cookie syncing?                             new web technologies and applications emerge. However, in-
                                                                                         strumenting all properties and methods of an API provides
   Cookie syncing, a workaround to the Same-Origin Policy,
                                                                                         a complete picture of each application’s use of the interface,
allows different trackers to share user identifiers with each
                                                                                         allowing our criteria to also be updated. More importantly,
other. Besides being hard to detect, cookie syncing enables
                                                                                         this allows us to replace our detection criteria with machine
back-end server-to-server data merges hidden from public
                                                                                         learning, which is an area of ongoing work (Section 7).
view, which makes it a privacy concern.
   Our ID cookie detection methodology (Section 4) allows                                                              % of First-parties
us to detect instances of cookie syncing. If tracker A wants                              Rank Interval      Canvas     Canvas Font WebRTC
to share its ID for a user with tracker B, it can do so in one of
                                                                                          [0, 1K)             5.10%         2.50%         0.60%
two ways: embedding the ID in the request URL to tracker
                                                                                          [1K, 10K)           3.91%         1.98%         0.42%
B, or in the referer URL. We therefore look for instances
                                                                                          [10K, 100K)         2.45%         0.86%         0.19%
of IDs in referer, request, and response URLs, accounting
                                                                                          [100K, 1M)          1.31%         0.25%         0.06%
for URL encoding and other subtleties. We describe the
complete details of our methodology in the full version of                               Table 6: Prevalence of fingerprinting scripts on different
this paper, with an important caveat that our methodology                                slices of the top sites. More popular sites are more likely to
captures both intentional and accidental ID sharing.                                     have fingerprinting scripts.
   Most third parties are involved in cookie syncing.
We run our analysis on the top 100,000 site stateful mea-                                6.1   Canvas Fingerprinting
surement. The most prolific cookie-syncing third party is                                  Privacy threat. The HTML Canvas allows web appli-
doubleclick.net — it shares 108 different cookies with 118                               cation to draw graphics in real time, with functions to sup-




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port drawing shapes, arcs, and text to a custom canvas el-                detail in the full version of this paper. Third, the use has
ement. In 2012 Mowery and Schacham demonstrated how                       shifted from behavioral tracking to fraud detection, in line
the HTML Canvas could be used to fingerprint devices [25].                with the ad industry’s self-regulatory norm regarding ac-
Differences in font rendering, smoothing, anti-aliasing, as               ceptable uses of fingerprinting.
well as other device features cause devices to draw the im-
age differently. This allows the resulting pixels to be used              6.2   Canvas Font Fingerprinting
as part of a device fingerprint.                                             Privacy threat. The browser’s font list is very useful
   Detection methodology. We build on a 2014 measure-                     for device fingerprinting [10]. The ability to recover the list
ment study by Acar et.al. [1]. Since that study, the canvas               of fonts through Javascript or Flash is known, and existing
API has received broader adoption for non-fingerprinting                  tools aim to protect the user against scripts that do that [29,
purposes, so we make several changes to reduce false pos-                 2]. But can fonts be enumerated using the Canvas interface?
itives. In our measurements we record access to nearly all                The only public discussion of the technique seems to be a Tor
of properties and methods of the HTMLCanvasElement                        Browser ticket from 201412 . To the best of our knowledge,
   interface and of the CanvasRenderingContext2D                          we are the first to measure its usage in the wild.
   interface. We filter scripts according to the following cri-              Detection methodology. The CanvasRenderingCon-
teria:                                                                    text2D interface provides a measureText method, which re-
1. The canvas element’s height and width properties must                  turns several metrics pertaining to the text size (including
   not be set below 16 px.11                                              its width) when rendered with the current font settings of
2. Text must be written to canvas with least two colors or                the rendering context. Our criterion for detecting canvas
   at least 10 distinct characters.                                       font fingerprinting is: the script sets the font property to
3. The script should not call the save, restore, or addE-                 at least 50 distinct, valid values and also calls the measure-
   ventListener methods of the rendering context.                         Text method at least 50 times on the same text string. We
4. The script extracts an image with toDataURL or with a                  manually examined the source code of each script found this
   single call to getImageData that specifies an area with a              way and verified that there are zero false positives on our 1
   minimum size of 16px × 16px.                                           million site measurement.
   This heuristic is designed to filter out scripts which are                Results. We found canvas-based font fingerprinting present
unlikely to have sufficient complexity or size to act as an               on 3,250 first-party sites. This represents less than 1% of
identifier. We manually verified the accuracy of our detec-               sites, but as Table 6 shows, the technique is more heavily
tion methodology by inspecting the images drawn and the                   used on the top sites, reaching 2.5% of the top 1000.
source code. We found a mere 4 false positives out of 3493                   The vast majority of cases (90%) are served by a single
scripts identified on a 1 million site measurement. Each of               third party, mathtag.com. The number of sites with font
the 4 is only present on a single first-party.                            fingerprinting represents a seven-fold increase over a 2013
                                                                          study [2], although they did not consider Canvas. See the
   Results. We found canvas fingerprinting on 14,371 (1.6%)
                                                                          full version of this paper for a complete list of scripts.
sites. The vast majority (98.2%) are from third-party scripts.
These scripts come from about 3,500 URLs hosted on about
400 domains. Table 7 shows the top 5 domains which serve
                                                                          6.3   WebRTC-based fingerprinting
canvas fingerprinting scripts ordered by the number of first-                Privacy threat. WebRTC is a framework for peer-to-
parties they are present on.                                              peer Real Time Communication in the browser, and acces-
                                                                          sible via Javascript. To discover the best network path be-
           Domain                   # First-parties                       tween peers, each peer collects all available candidate ad-
                                                                          dresses, including addresses from the local network inter-
           doubleverify.com               7806                            faces (such as ethernet or WiFi) and addresses from the
           lijit.com                      2858                            public side of the NAT and makes them available to the web
           alicdn.com                      904                            application without explicit permission from the user. This
           audienceinsights.net            499                            has led to serious privacy concerns: users behind a proxy or
           boo-box.com                     303                            VPN can have their ISP’s public IP address exposed [43].
           407 others                     2719                            We focus on a slightly different privacy concern: users be-
           TOTAL                  15089 (14371 unique)                    hind a NAT can have their local IP address revealed, which
                                                                          can be used as an identifier for tracking. A detailed descrip-
Table 7: Canvas fingerprinting on the Alexa Top 1 Million
sites. For a more complete list of scripts, see the full version          tion of the discovery process is available in the full version
of this paper.                                                            of this paper.
                                                                             Detection methodology. To detect WebRTC local IP
   Comparing our results with a 2014 study [1], we find three             discovery, we instrument the RTCPeerConnection
important trends. First, the most prominent trackers have                    interface prototype and record access to its method calls
by-and-large stopped using it, suggesting that the public                 and property access. After the measurement is complete,
backlash following that study was effective. Second, the                  we select the scripts which call the createDataChannel and
overall number of domains employing it has increased con-                 createOffer APIs, and access the event handler onicecan-
siderably, indicating that knowledge of the technique has                 didate13 . We manually verified that scripts that call these
spread and that more obscure trackers are less concerned
                                                                      12
about public perception. As the technique evolves, the im-                 https://trac.torproject.org/projects/tor/ticket/13400
                                                                      13
ages used have increased in variety and complexity, as we                  Although we found it unnecessary for current scripts,
                                                                          instrumenting localDescription will cover all possible IP
11
     The default canvas size is 300px × 150px.                            address retrievals.




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interface, retrieving the current charging status, the charge                                      blocking lists, while only 35% of those with a prominence
level, and the time remaining to discharge or recharge. As                                         above 0.0001 are. The long tail of fingerprinting scripts are
with the previous script, these features are combined with                                         largely unblocked by current privacy tools.
other identifying features used to fingerprint a device.
                                                                                                   7.   CONCLUSION AND FUTURE WORK
6.6                          The wild west of fingerprinting scripts
                                                                                                      Web privacy measurement has the potential to play a key
  In Section 5.5 we found the various tracking protection                                          role in keeping online privacy incursions and power imbal-
measures to be very effective at reducing third-party track-                                       ances in check. To achieve this potential, measurement tools
ing. In Table 9 we show how blocking tools miss many of the                                        must be made available broadly rather than just within the
scripts we detected throughout Section 6, particularly those                                       research community. In this work, we’ve tried to bring this
using lesser-known techniques. Although blocking tools de-                                         ambitious goal closer to reality. The analysis presented in
tect the majority of instances of well-known techniques, only                                      this paper represents a snapshot of results from ongoing,
a fraction of the total number of scripts are detected.                                            monthly measurements. Our Platform and census measure-
                                                                                                   ments are the first two stages of a multi-year project. The
                                                 Disconnect                 EL + EP
                                                                                                   first is the use of machine learning to automatically detect
 Technique                                    % Scripts % Sites         % Scripts % Sites
                                                                                                   and classify trackers. The second is a web-based analy-
 Canvas                                        17.6%    78.5%            25.1%    88.3%            sis platform that makes it easy for a minimally technically
 Canvas Font                                   10.3%    97.6%            10.3%    90.6%            skilled analyst to investigate online tracking based on the
 WebRTC                                         1.9%    21.3%             4.8%     5.6%            data we make available.
 Audio                                         11.1%    53.1%             5.6%     1.6%

Table 9: Percentage of fingerprinting scripts blocked by
                                                                                                   8.   ACKNOWLEDGEMENTS
Disconnect or the combination of EasyList and EasyPrivacy                                            We would like to thank Shivam Agarwal for contribut-
for all techniques described in Section 6. Included is the                                         ing analysis code used in this study, Christian Eubank and
percentage of sites with fingerprinting scripts on which                                           Peter Zimmerman for their work on early versions of Open-
scripts are blocked.                                                                               WPM, and Gunes Acar for his contributions to OpenWPM
                                                                                                   and helpful discussions during our investigations, and Dillon
   Fingerprinting scripts pose a unique challenge for manu-
                                                                                                   Reisman for his technical contributions.
ally curated block lists. They may not change the rendering
                                                                                                     We’re grateful to numerous researchers for useful feed-
of a page or be included by an advertising entity. The script
                                                                                                   back: Joseph Bonneau, Edward Felten, Steven Goldfeder,
content may be obfuscated to the point where manual in-
                                                                                                   Harry Kalodner, and Matthew Salganik at Princeton, Fer-
spection is difficult and the purpose of the script unclear.
                                                                                                   nando Diaz and many others at Microsoft Research, Franziska
   OpenWPM’s active instrumentation (see Section 3.2) de-
                                                                                                   Roesner at UW, Marc Juarez at KU Leuven, Nikolaos Laoutaris
tects a large number of scripts not blocked by the current
                                                                                                   at Telefonia Research, Vincent Toubiana at CNIL, France,
privacy tools. Disconnect and a combination of EasyList
                                                                                                   Lukasz Olejnik at INRIA, France, Nick Nikiforakis at Stony
and EasyPrivacy both perform similarly in their block rate.
                                                                                                   Brook, Tanvi Vyas at Mozilla, Chameleon developer Alexei
The privacy tools block canvas fingerprinting on over 78%
                                                                                                   Miagkov, Joel Reidenberg at Fordham, Andrea Matwyshyn
of sites, and block canvas font fingerprinting on over 90%.
                                                                                                   at Northeastern, and the participants of the Princeton Web
However, only a fraction of the total number of scripts uti-
                                                                                                   Privacy and Transparency workshop. Finally, we’d like to
lizing the techniques are blocked (between 10% and 25%)
                                                                                                   thank the anonymous reviewers of this paper.
showing that less popular third parties are missed. Lesser-
                                                                                                     This work was supported by NSF Grant CNS 1526353,
known techniques, like WebRTC IP discovery and Audio
                                                                                                   a grant from the Data Transparency Lab, and by Amazon
fingerprinting have even lower rates of detection.
                                                                                                   AWS Cloud Credits for Research.
      Fraction of Scripts Blocked




                                    1.0                                                            9.   REFERENCES
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Figure 8: Fraction of fingerprinting scripts with prominence                                            Good N. Web privacy census. Technology Science, 2015.
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           A group of more than 40 Democratic members of Congress has asked Google to stop
           collecting and retaining “unnecessary” location data out of fear that it could be used to
           identify and prosecute people who have obtained abortions.

           The request was made in a letter sent to Google CEO Sundar Pichai on Tuesday by
           members of the House and Senate, led by Senator Ron Wyden (D-OR) and including
           well-known progressive representatives such as Ayanna Pressley, Elizabeth Warren,
           Bernie Sanders, and Alexandria Ocasio-Cortez.

           “We believe that abortion is health care,” the letter states. “We will fight tooth and nail
           to ensure that it remains recognized as a fundamental right, and that all people in the
           United States have control over their own bodies. That said, we are concerned that, in
           a world in which abortion could be made illegal, Google’s current practice of collecting
           and retaining extensive records of cell phone location data will allow it to become a
           tool for far-right extremists looking to crack down on people seeking reproductive
           health care.”




           The letter specifically references geofence warrants, a controversial technique in
           which law enforcement agencies request that tech companies provide data on all
           mobile phones that passed through a geographically defined area in a certain time
           period. Geofence warrants have been criticized for their use in the investigation of
           protesters during Black Lives Matter demonstrations, and their use has grown
           dramatically in recent years: data released by Google showed a pronounced spike
           from 2018 to 2020.

           Crucially, geofence data is only available after a court-issued warrant — but with more
           than 20 states preparing to outlaw abortion as soon as Roe v. Wade is overturned, it’s
           increasingly plausible that such a warrant could be used to target anyone visiting an


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           abortion provider.

           To prevent this from happening, the signatories of the letter request that Google
           redesign its location data collection practices so that device data is only collected at
           an aggregate level, rather than on an individual basis, and is not retained by the
           company for longer than needed. The letter also contrasts Google’s location data
           policy with Apple’s decision to minimize location data retention, stating that
           “Americans who can afford an iPhone have greater privacy from government
           surveillance of their movements than the tens of millions Americans using Android
           devices.”

           Reproductive rights advocates have been on high alert since a draft opinion was
           leaked on May 3rd suggesting that the Supreme Court intends to overturn Roe v.
           Wade. In particular, many have raised concerns that digital surveillance technology
           could be used to prosecute people who seek out abortions. On the same day that the
           Democratic letter was released, the New York-based Surveillance Technology
           Oversight Project published a report on the many ways that people seeking abortions
           might be tracked, citing a number of existing cases where data from internet search
           history or credit card transactions has been used against people who have terminated
           pregnancies.

           In a statement, Albert Fox Cahn, executive director of the Surveillance Technology
           Oversight Project, welcomed the Congressional letter, saying that Google should
           delete its location data or be “complicit in criminalizing abortion.”

           “It’s not enough for tech firms to say they’re pro-choice, they have to stop collecting
           data that puts pregnant people at risk,” Cahn said. “There’s no way for Texas to
           station state police at every out-of-state abortion clinic, but with data from Google and
           other companies, they don’t need to. If tech giants don’t act soon, we’ll see pregnant
           people seeking abortion care out of state, only to come home to an arrest warrant.”

           So far, Google has not made any public response to the letter; the company did not
           immediately respond to questions sent by The Verge.




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         reload to get a reCAPTCHA challenge.




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            For almost as long as it has existed, Immigration and Customs Enforcement (ICE) has
            drawn criticism for the methods by which its agents pursue and remove
            undocumented migrants. But a new report published Tuesday sheds new light on the
            extent to which the agency has expanded its domestic surveillance apparatus over the
            course of its 19-year history.

            The report, from a group of researchers at the Georgetown Law Center on Privacy &
            Technology, paints a picture of an agency that is able to access the personal
            information of hundreds of millions of Americans and does so largely without
            accountability through extensive deals with private data brokers.

            According to details in American Dragnet: Data-Driven Deportation in the 21st
            Century, ICE has used a combination of public records and privately acquired
            information to build a surveillance system that can investigate the majority of US
            adults with little oversight. The agency now has access to the driver’s license data of
            three-quarters of US adults (74 percent) and has already run facial recognition scans
            on the license photographs of 1 in 3 adults (32 percent). And when three out of four
            adults hooked up utilities like gas, water, and electricity in a new home, ICE was able
            to automatically update their new address.




            “ICE consistently paints itself as an agency whose efforts are really focused or
            targeted, but we’re not really seeing that at all,” Nina Wang, a policy associate at
            Georgetown Law and co-author of the report, told The Verge. “Instead, what we’re
            seeing is that ICE has built up a sweeping surveillance infrastructure that’s capable of
            tracking almost anyone seemingly at any time. These initiatives were conducted in
            near-complete secrecy and impunity, sidestepping limitations and flying under the
            radar of most state officials. And ultimately, these surveillance tactics cross legal and
            ethical boundaries.”


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            The report was compiled from the results of hundreds of freedom of information
            requests sent to state agencies across the country and a review of more than 100,000
            ICE spending contracts. In combination, these documents were used to evaluate the
            type of information being made available to ICE and the nature of the technology
            being used to process it.

            The results help to illuminate the full scope of ICE’s surveillance capabilities for the
            first time, giving numbers to quantify the extent of programs that have been uncovered
            by prior research from organizations like the National Immigration Law Center or the
            ACLU.

            Some of the findings add context to surveillance techniques that have already
            received public attention, like the use of data from utility companies in immigration
            enforcement — a practice that has been criticized for its potential to cut off
            undocumented migrants from enjoying basic services like power, water, or telephone
            connections.




            The report also highlights the extent to which ICE also obtains data directly and
            indirectly from government services like state motor vehicle departments. Currently,
            16 states and the District of Columbia allow undocumented immigrants to apply for
            driver’s licenses, but the Georgetown report finds that ICE can search through these
            records without a warrant in at least five of the 17 jurisdictions.

            “The mass collection of data by ICE and other law enforcement agencies poses a
            tremendous risk and has a chilling effect on people accessing critical public services,”
            said Zach Ahmad, senior policy counsel for the New York Civil Liberties Union. “Our
            most vulnerable won’t be protected from perpetual surveillance, tracking, and the
            threat of arrest or deportation until we pass fundamental digital privacy protections
            and give people control over their data.”

            While lawmakers in some states have passed laws to restrict ICE’s access to



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            information from government bodies, the immigration agency has frequently been able
            to skirt such legislation by contracting with third-party data brokers to obtain the same
            information indirectly. The report cites a particularly stark example from Oregon:
            shortly after the state passed a law to prevent ICE from accessing driver’s license
            data in 2019, Oregon’s Department of Motor Vehicles signed an agreement to sell
            data to Thomson Reuters and LexisNexis, both of which provide data services to ICE.

            Civil liberties organizations have raised concerns about the danger of public-private
            surveillance deals for years, but recently, the role of private companies in ICE’s
            monitoring operations has come under increasing scrutiny thanks to efforts from
            groups like the Latinx social justice nonprofit Mijente, which has led a push for
            organizations to end contracts with ICE.

            The new report outlines “one piece of the massive puzzle that is ICE digital
            surveillance and policing,” Cinthya Rodriguez, an organizer at Mijente, told The Verge.
            “We’re calling on local governments to investigate and ultimately cut contracts that
            share our personal information with ICE leading to detention and deportations.”




            Canadian media conglomerate Thomson Reuters is one organization that has been
            spotlighted by Mijente’s work and now in the American Dragnet report. Thomson
            Reuters formerly contracted with ICE to provide access to a huge database known as
            CLEAR, though the contract was allowed to expire in 2021 after the Canadian
            company faced pressure from activist investors.

            In an email sent to The Verge, Dave Moran, head of communications at Thomson
            Reuters, confirmed that ICE no longer had access to the CLEAR database but said
            that the media company still maintained other contracts with the agency.

            “Thomson Reuters is engaged by DHS-ICE to support the agency’s investigations
            involving crimes such as terrorism, national security cases, narcotics smuggling,
            organized crime, transnational gang activity and human trafficking,” Moran said. “For



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            example, during the Miami Super Bowl, our work with ICE assisted law enforcement
            officials in saving over 20 human trafficking victims.”

            But in a sign of how difficult it is to prevent a federal agency like ICE from accessing
            private data, the expired Thomson Reuters contract was quickly replaced by a deal
            with LexisNexis, which signed a $16.8 million contract with ICE in 2021. The details of
            the LexisNexis contract reportedly give ICE access to billions of public and private
            records, including credit history details, license plate images, and cellular phone
            subscriber information.

            A request for comment sent through LexisNexis’ media contact form had not received
            a response by time of publication.

            Privacy advocates hope the report will spark renewed discussion of the appropriate
            scope of ICE’s role in American life. “ICE continues to harvest data on millions of
            Americans from data brokers. It’s long past time for lawmakers to make clear that ICE
            and police can’t buy their way around the Fourth Amendment,” said Albert Fox Cahn,
            founder and executive director of the Surveillance Technology Oversight Project. “You
            shouldn’t be able to use tax dollars to buy our Constitutional rights. And no one should
            fear that they’ll face deportation simply for signing up for home electricity or buying a
            cellphone.”

            Phone calls made to the ICE Office of Public Affairs went unanswered. The agency
            had not responded to email questions sent by The Verge at time of publication.




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                    Your phone could reveal if you’ve had an abortion

                    Geoffrey A. Fowler, Tatum Hunter

                    When someone gets an abortion, they may decide not to share information with friends and
                    family members. But chances are their smartphone knows.

                    The leak of a Supreme Court draft opinion proposing to overturn Roe v. Wade raises a data
                    privacy flash point: If abortion becomes criminal in some states, might a person’s data trail
                    be treated as evidence?

                    There is precedent for it, and privacy advocates say data collection could become a major
                    liability for people seeking abortions in secret. Phones can record communications, search
                    histories, body health data and other information. Just Tuesday, there was new evidence that
                    commercial data brokers sell location information gathered from the phones of people who
                    visit abortion clinics.

                    “It is absolutely something to be concerned about — and something to learn about,
                    hopefully before being in a crisis mode, where learning on the fly might be more difficult,”
                    said Cynthia Conti-Cook, a technology fellow at the Ford Foundation.

                    It is now common for law enforcement to make use of the contents of people’s phones,
                    including location and browsing information. One case against an alleged Jan. 6
                    insurrectionist drew upon thousands of pages of data from the suspect’s phone as well as
                    Facebook records, prosecutors said.

                    A major data source is our digital surveillance economy — Facebook, Google and apps
                    galore — in which companies track consumers to figure out how to sell to them. The data
                    may change hands several times or seep into a broader marketplace run by data brokers.
                    Such brokers can amass huge collections of information.

                    That data is an easy target for subpoenas, or court orders, and many tech companies do not
                    give straight answers about what information they would be willing to hand over. Google,
                    for one, reports that it received more than 40,000 subpoenas and search warrants in the
                    United States in the first half of 2021.

                           A leaked draft opinion on May 2 shows that the Supreme Court is poised to
                           overturn federal abortion protections. Here's what would happen. (Video:
                           Joshua Carroll/The Washington Post)

                    Police and private citizens alike could buy data and use it to investigate suspected abortions.
                    Phone location information has been used by activist groups to target ads at people in
                    abortion clinics to try to dissuade them.

                    Crunching all that data isn’t easy, and law enforcement agencies have plenty of “lower-
                    hanging fruit” to pursue, says Alan Butler, the executive director and president of the


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                    Electronic Privacy Information Center. Those more traditional methods include checking
                    credit card records, collecting data from cellphone towers, and talking to friends and family
                    members.

                    But it is tough to predict how restrictive state abortions laws would become if Roe v. Wade
                    were overturned. “Even a search for information about a clinic could become illegal under
                    some state laws, or an effort to travel to a clinic with an intent to obtain an abortion,” Butler
                    said.

                    No matter what happens, the possibility of mass data-collection to enforce abortion bans
                    will hang over the heads of people seeking abortions or helping others get them, said
                    Nikolas Guggenberger, the executive director at the Yale Information Society Project.
                    “People want to be on the safe side, so even if the law doesn’t apply to what they’re doing,
                    it has a chilling effect,” he said.

                    A number of groups have published citizen guides to avoiding surveillance while seeking an
                    abortion or reproductive health care. Those groups include the Digital Defense Fund, the
                    Repro Legal Helpline and the Electronic Frontier Foundation.

                    Here are three potential contributors to the data trail on people seeking abortions — and
                    how they might be used.

                    Location

                    Phones can collect precise information about your whereabouts — right down to the
                    building — to power maps and other services. Sometimes, though, the fine print in app
                    privacy policies gives companies the right to sell that information to other companies that
                    can make it available to advertisers, or whoever wants to pay to obtain it.

                    On Tuesday, Vice’s Motherboard blog reported that for $160, it bought a week’s worth of
                    data from a company called SafeGraph showing where people who visited more than 600
                    Planned Parenthood clinics came from and where they went afterward.

                    This kind of data could be used, for example, to identify clinics that provide abortions to
                    people from out of state in places where that is illegal.

                    SafeGraph CEO Auren Hoffman told The Washington Post on Tuesday that his company
                    was discussing whether to stop offering aggregated data on physical traffic to abortion
                    providers. SafeGraph and companies like it do not usually sell the location information
                    linked to names or phone numbers, although the company has come under fire from privacy
                    advocates before and has changed some of its practices to make it harder to tie data to
                    specific people.

                    “You can find someone to say they can de-anonymize the data, but if it could be done,
                    someone would have written a paper by now,” Hoffman said.

                    But privacy watchdogs say you can learn a lot by connecting the dots on multiple places a
                    single person has visited. For example, last year, a Catholic blog obtained location
                    information originally generated by the dating app Grindr to out a priest as gay. Those
                    behind the blog were able to infer that a person at a church-related location also was visiting
                    gay bars.



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                    Apple and Android phones offer settings to turn off location services for individual apps —
                    or entirely for the phone. But doing so might prevent the operation of certain functions,
                    such as transportation apps.

                    Search and chat histories

                    Searching for information about clinics and medications can leave a trail of records with
                    Google, which in some cases saves queries to a user’s profile.

                    In 2017, prosecutors used Internet searches for abortion drugs as evidence in a Mississippi
                    woman’s trial for the death of her fetus. A grand jury ultimately decided not to pursue
                    charges, according to National Advocates for Pregnant Women. And last year, the Supreme
                    Court of Wisconsin decided that detectives did not violate the rights of the convicted
                    murderer George Burch when, operating without a warrant, they accessed downloaded data
                    from his phone, including his Internet search history.

                    Private messages also can become evidence. In 2015, text messages about getting an
                    abortion helped convict a woman of child neglect and feticide.

                    A 2020 report by Upturn, a nonprofit organization focused on technology and justice, found
                    that law enforcement agencies use “mobile device forensic tools” — which can give them
                    access to Internet histories as well as to unencrypted emails and texts — when investigating
                    matters as varied as marijuana possession and graffiti.

                    People can take some steps to keep their search and chat histories private. Ford
                    Foundation’s Conti-Cook said people do not have to volunteer their phones when police
                    ask, and they can opt for encrypted messaging apps and a virtual private network, or VPN,
                    to obscure their identities while conducting searches.

                    Reproductive health apps

                    Millions of people use apps to help track their menstrual cycles, logging and storing
                    intimate data about their reproductive health. Because that data can reveal when periods,
                    ovulation and pregnancy stops and starts, it could become evidence in states where abortion
                    is criminalized.

                    There is evidence that these companies play fast and loose with privacy. In 2019, the period
                    tracker Ovia got pushback for sharing aggregate data on some users’ family planning with
                    their employers.

                    Last year, the Federal Trade Commission settled with the period-tracking app Flo after the
                    app promised to keep users’ data private but then shared it with marketing firms including
                    Facebook and Google.

                    A recent investigation by Consumer Reports found shortcomings in the way five popular
                    period-tracking apps handle the sensitive user data, including sending it to third parties for
                    targeted advertising.

                    How are the apps allowed to share such personal data? Our interactions with health-care
                    providers are covered by a federal privacy law called the Health Insurance Portability and
                    Accountability Act, or HIPAA. However, period-tracking apps aren’t defined as covered
                    entities, so they can legally share data.


3 of 4                                                                                                                   6/1/2022, 12:27 PM
Your phone could reveal if you’ve had an abortion             https://www.washingtonpost.com/technology/2022/05/04/abortion-digital...
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                    Joseph Menn contributed to this report.




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About the Cross Device reports - Analytics Help                        https://support.google.com/analytics/answer/3234673
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About the User-ID feature - Analytics Help               https://support.google.com/analytics/answer/3123662#zippy=%2Cin-this...
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Google Analytics opt-out browser add-on - Analytics Help               https://support.google.com/analytics/answer/181881
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User-ID and Cross Device - Analytics Help                https://support.google.com/analytics/topic/6009743?hl=en&ref_topic=1...
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User-ID and Cross Device - Analytics Help                https://support.google.com/analytics/topic/6009743?hl=en&ref_topic=1...
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Case 4:20-cv-03664-YGR Document 643-13 Filed 07/27/22 Page 118 of 405
Policy requirements for Google Analytics Advertising Features - Analyti...   https://support.google.com/analytics/answer/2700409
                      Case 4:20-cv-03664-YGR Document 643-13 Filed 07/27/22 Page 119 of 405




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Browse in private - Computer - Google Chrome Help                       https://support.google.com/chrome/answer/95464
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How Chrome Incognito keeps your browsing private - Google Chrome Help                      https://support.google.com/chrome/answer/9845881?hl=en#zippy=%2...
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             How Chrome Incognito keeps your browsing private
             Incognito mode can help keep your browsing private from other people who use your device.


               How Incognito mode works

               When you �rst open a new Incognito window, you’re creating a new Incognito browsing session. Any Incognito
               windows you open a�er that are pa� of the same session. You can end that Incognito session by closing all open
               Incognito windows.

               In Incognito, none of your browsing history, cookies and site data, or information entered in forms are saved on
               your device. This means your activity doesn’t show up in your Chrome browser history, so people who also use
               your device won’t see your activity. Websites see you as a new user and won’t know who you are, as long as you
               don’t sign in.

               If you’re browsing in Chrome Incognito mode, you are, by default, not signed into any accounts or sites.

               Your school, Internet Service Provider, or any parental tracking so�ware may be able to see your activity. You can
               check if your Chrome browser is managed.

               You can choose to block third-pa�y cookies when you open a new incognito window. Learn more about cookies.



               How Incognito mode protects your privacy

               What Incognito mode does
                • Browsing in Incognito mode means your activity data isn’t saved on your device, or to a Google Account you’re
                  not signed into.
                  • For example, you may use Incognito mode to shop online for a bi�hday gi� for a family member who shares
                    your device. If you don’t sign in to your Google account, your shopping activity will not appear in your
                    Chrome browsing activity and won’t be saved to your Google Account.
                • Each time you close all Incognito windows, Chrome discards any site data and cookies associated with that
                  browsing session.
                • Chrome doesn’t tell websites, including Google, when you're browsing privately in Incognito mode.


               What Incognito mode doesn’t do
                • Prevent you from telling a website who you are. If you sign in to any website in Incognito mode, that site will
                  know that you’re the one browsing and can keep track of your activities from that moment on.
                • Prevent your activity or location from being visible to the websites you visit, your school, employer, or your
                  Internet Service provider.
                • Prevent the websites you visit from serving ads based on your activity during an Incognito session. A�er you
                  close all Incognito windows, websites won’t be able to serve ads to you based on your signed-out activity
                  during that closed session.



               You’re in control

                • Close all Incognito windows and tabs when you're done browsing. You end a session when you close all
                  Incognito windows, so closing a single tab won’t discard your data. If you see a number next to the Incognito
                  icon on your desktop or at the bo�om of your browser on a mobile device, you have more than one Incognito
                  window or tab open.
                • You can choose to sign in to any account when in Incognito mode. If you sign into a Google service, like Gmail,
                  or a site, that site may remember your activity.
                • Delete any downloads and bookmarks you don't want your device to remember. Files you download and
                  bookmarks you create are saved in any mode.

               Learn more about using Incognito mode.




1 of 2                                                                                                                                    4/12/2022, 1:12 PM
How Chrome Incognito keeps your browsing private - Google Chrome Help   https://support.google.com/chrome/answer/9845881?hl=en#zippy=%2...
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How private browsing works in Chrome - Computer - Google Chrome Help                                             https://support.google.com/chrome/answer/7440301
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            How private browsing works in Chrome
            When you browse privately, other people who use the device won't see your history.

            Chrome doesn't save your browsing history or information entered in forms. Cookies and site data are remembered
            while you're browsing, but deleted when you exit Incognito mode. You can choose to block third-pa�y cookies when
            you open a new incognito window. Learn more about cookies.



            What happens when you browse privately

            Some information will not be seen or saved
            Once you exit all your Incognito browsing windows, Chrome won’t save:

             • Your browsing history
             • Your cookies and site data
             • Information you entered in forms
             • Permissions you give websites
            To exit Incognito mode, close all Incognito windows.



            Your activity might still be visible
            Incognito mode stops Chrome from saving your browsing activity to your local history. Your activity, like your location,
            might still be visible to:

             • Websites you visit, including the ads and resources used on those sites
             • Websites you sign in to
             • Your employer, school, or whoever runs the network you’re using
             • Your internet service provider
             • Search engines
               • Search engines may show search suggestions based on your location or activity in your current Incognito
                 browsing session. When you search on Google, Google will always estimate the general area that you're
                 searching from. Learn more about location when you search on Google.


            Some of your info might still be visible
            A web service, website, search engine, or provider may be able to see:

             • Your IP address, which can be used to identify the general area you're in
             • Your activity when you use a web service
             • Your identity if you sign in to a web service, like Gmail
            You can still �nd and use your payment, password and contact info, but you can’t change your saved info in a Chrome
            Incognito window.


            Downloads and bookmarks are saved
            Chrome won’t store the �les you download while browsing in private. But, they're still saved to your Downloads folder,
            even a�er you exit Incognito. You and anyone who uses your device can see and open the �les.

            All bookmarks you create are saved to Chrome.

            Some of your preferences, including accessibility choices and bookmark se�ings, may also be saved to Chrome.


              Computer       Android        iPhone & iPad


            You can switch between Incognito windows and regular Chrome windows. You'll only browse in private when you're
            using an Incognito window.

            You can also choose to block third-pa�y cookies when you open a new incognito window. Learn more about cookies.




1 of 2                                                                                                                                        4/12/2022, 1:12 PM
How private browsing works in Chrome - Computer - Google Chrome Help                                          https://support.google.com/chrome/answer/7440301
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            Close Incognito mode to stop private browsing
            Incognito mode runs in a separate window from your normal Chrome windows.

            If you have an Incognito window open and you open another one, your private browsing session will continue in the
            new window. To exit Incognito mode, close all Incognito windows.

            If you see a number next to the Incognito icon at the top right, you have more than one Incognito window open. To
            close an Incognito window:

             �� On your computer, go to your Incognito window.
             �� Close the window:
               • Windows or Chrome OS: At the top right, click Close     .
               • Mac: At the top le�, click Close    .



            Related a�icles
             • Browse in private
             • Let others browse Chrome as a guest
             • Clear Chrome browsing data




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Search results - Google Chrome Help                                 https://support.google.com/chrome/search?q=%22analytics+opt+out%2...
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             Search results for "analytics opt out"

                    Slow internet speeds with Chrome - Google ...
                    Community forum - Google Chrome
                    4/10/2019 - Internet speed tests are 70% slower when using Chrome. I'm using speedtest.net. I
                    have cleared everything, turned o� extensions, and other recommended ...

                       1023 Upvotes         79 Replies




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Computer scientist identifies JavaScript vulnerability in thousands of web...   https://hub.jhu.edu/2022/03/14/computer-scientist-identifies-javascript-v...
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                     Computer scientist identifies JavaScript
                     vulnerability in thousands of websites

                     Catherine Graham


                     ProbeTheProto framework developed by
                     computer scientist Yinzhi Cao helps identify
                     and alert websites vulnerable to a flaw that
                     allows malicious actors to 'pollute' important
                     web code
                     Millions of developers use JavaScript to build websites and mobile apps, making it
                     one of the most popular programming languages in the world. But according to
                     Johns Hopkins researchers, thousands of JavaScript websites are vulnerable to a
                     security flaw that could result in manipulating the site's URL or stealing a user's
                     profile information.

                     Known as prototype pollution, the flaw allows attackers to modify, or "pollute," a
                     prototype, which is a built-in property of a JavaScript object. An attacker who
                     manages to alter a JavaScript object prototype can execute a variety of malicious
                     actions.

                     With a framework they call ProbeTheProto, researchers from the Johns Hopkins
                     Information Security Institute analyzed one million websites running on JavaScript
                     and found that more than 2,700 websites—some of them the most visited in the
                     world—had multiple flaws that could expose them to prototype pollution.

                     Ten of the sites were among the top 1,000 most visited websites of the year,
                     including Weebly.com, CNET.com, and McKinsey.com.

                     "Our ProbeTheProto tool can automatically and accurately detect a wide range of
                     potential attacks. And we've found that many developers are happy that we are
                     helping them stay ahead of cybersecurity threats."

                     Yinzhi Cao

                     Assistant professor of computer science

                     "Only recently have researchers started looking closely at prototype pollution and
                     realizing it's a matter of great concern," said cybersecurity expert Yinzhi Cao, an
                     assistant professor of computer science in the Johns Hopkins Whiting School of
                     Engineering. "Many in the developer community may not be aware that prototype
                     pollution vulnerabilities can have severe consequences."

                     In Javascript, an object is a collection of related data or functionality; for example, a
                     user account object may contain such data as usernames, passwords, and e-mail


1 of 2                                                                                                                                 5/5/2022, 10:47 AM
Computer scientist identifies JavaScript vulnerability in thousands of web...   https://hub.jhu.edu/2022/03/14/computer-scientist-identifies-javascript-v...
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                     addresses. Once an attacker makes a change to an object prototype, it will affect
                     how the object works throughout the entire application and opens the door for
                     more serious vulnerabilities, Cao adds.

                     He and his team set out to the study this snowball effect using dynamic taint
                     analysis, a method in which inputs to the application are labeled with a special
                     "tainted" marker and the researchers observe how the tainted data propagates
                     through the program. If the marker is still there at the program's output, the
                     researchers know that the application is vulnerable to exploitable input attacks that
                     could lead to some unplanned action.

                     "Imagine a very long pipe in a big black box and I want to know whether Points A
                     and B are connected. If they are, I can put some toxic liquid at Point A to attack
                     Point B. What we do is to drop a bit of red dye in the water at Point A and then
                     observe the water color at Point B. If I can see Point B is also red, I know A and B
                     are connected and then we can launch attacks," Cao said.

                     The researchers identified three major input attacks that can be caused by
                     prototype pollution: cross-site scripting (XSS), cookie manipulation, and URL
                     manipulation. Such vulnerabilities on public websites provide ample opportunities
                     for cyber criminals to hijack passwords and install malware, among other nefarious
                     activities.

                     Cao says that researchers have a responsibility to report prototype pollution
                     vulnerabilities to website owners and even recommend the best patch for their
                     code. Thanks to Cao's team sounding the alarm, so far 293 vulnerabilities have
                     already been ﬁxed by developers.

                     "Organizations don't even know these vulnerabilities exist. Our ProbeTheProto tool
                     can automatically and accurately detect a wide range of potential attacks. And we've
                     found that many developers are happy that we are helping them stay ahead of
                     cybersecurity threats," Cao said.

                     Computer science graduate students Zifeng Kang and Song Li contributed to the
                     research. The team members will present their paper "Probe the Proto: Measuring
                     Client-Side Prototype Pollution Vulnerabilities of One Million Real-world
                     Websites," at the Network & Distributed System Security Symposium April 24-28 in
                     San Diego.




2 of 2                                                                                                                                 5/5/2022, 10:47 AM
Google Analytics To Stop Logging IP Addresses And Sunset Old Version...   https://www.adexchanger.com/online-advertising/google-analytics-to-sto...
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                   Google Analytics To Stop Logging IP
                   Addresses And Sunset Old Versions In
                   Privacy Standards Overhaul

                   James Hercher




                                                                   Major changes are coming to
                          Google Analytics as the company navigates higher consumer privacy
                          standards and increasingly complex international privacy laws.

                          For one, Universal Analytics (UA), the web-based legacy analytics
                          product, is on the way out, and will be shuttered entirely by July 2023,
                          the company announced on Wednesday.

                          All analytics customers will transition to Google Analytics 4 (GA4),
                          which accommodates both web and app data collection and comes with
                          built-in privacy features, not to mention a bevy of integrations across
                          the Google portfolio, with metrics and features tied to YouTube, Search
                          and the Google Cloud Platform.

                          Getting rid of UA is akin to Google’s decision last year to ditch last-click
                          attribution in favor of data-driven attribution – which relies on modeled
                          conversions, not deterministic user-level conversions – as its default
                          metric. Which is to say, it’s about time Google cleared out the cobwebs
                          of legacy digital advertising products.

                          But some of today’s news is surprising and will mean major changes for
                          some digital media and advertisers.

                          The most consequential change: Google Analytics will no longer log or
                          store IP address information.

                   Unlike previous versions of Google Analytics, GA4 only ever used anonymized IP
                   addresses.


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Google Analytics To Stop Logging IP Addresses And Sunset Old Version...   https://www.adexchanger.com/online-advertising/google-analytics-to-sto...
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                   “Now, we’re going even further and removing IP addresses altogether,” Google
                   Analytics product director Russ Ketchum tells AdExchanger in an email.

                   GA4 was built post-GDPR for a digital media landscape with much higher privacy
                   standards. Part of that re-engineering for privacy requires removing the IP address
                   as a mechanism for tracking and analytics.

                   Though Ketchum also said the company isn’t logging IPs “because we don’t need to
                   anymore.”

                   Filling the IP address hole

                   What replaces such a strong signal for location and identity? Google has
                   incorporated more modeled data into its analytics, such as data-driven attribution,
                   which is natively integrated into GA4. Google also infers the approximate location
                   data because it registers the country or market where a user is browsing.

                   So there are some signals, even without the individual’s IP address. GA4 customers
                   still need to tell whether a web or app visitor is in one country or another – which
                   could be important when there are different standards for data collection or ad
                   targeting.

                   Losing legal battle for the IP address

                   Aside from the user privacy angle, Google Analytics is under fire in EU countries
                   because the Schrems II ruling from last year prohibits Europeans’ data from being
                   shared to US servers – not for consumer privacy issues, but because of NSA
                   surveillance practices.

                   Google may hope that localizing IP address visibility and preventing the data from
                   leaving a country will relieve the pressure on Google Analytics in the EU – many EU
                   nation regulators have outright banned its use. The Schrems II law doesn’t focus on
                   IP addresses, but IPs are the specific pieces of personal information that EU citizens
                   (namely, Max Schrems) have used to bring suits against Google Analytics in every
                   EU country.

                   GA4 will also have new country-level controls, so data collection can be fine-tuned
                   by market or jurisdiction of a law.

                   Ketchum said that with data-driven attribution modeling built in and other GA4
                   upgrades, the loss of IP addresses “won’t impact the quality of customers’ reports.”

                   IP address expiration date

                   Google is leaving more than a year for brands to transition from UA to GA4 so
                   advertisers can evaluate the data sets simultaneously, Ketchum said.

                   “We learned from these past migrations that customers are most successful when
                   they have long periods of overlapping data,” he wrote AdExchanger.

                   The majority of GA4 customers have been in a “dual setup” state for more than a
                   year, he said. Even the laggards will have plenty of time to get comfortable with the
                   new analytics reports.

                   “That way, they can gain confidence in the new data, develop a comfort level with


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Google Analytics To Stop Logging IP Addresses And Sunset Old Version...   https://www.adexchanger.com/online-advertising/google-analytics-to-sto...
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                   how it compares to the past, better understand the intentional differences, and can
                   start relying on the new version when it makes sense,” he said.

                   And GA4 is sweetening the pill with some additional benefits.

                   And by “benefits,” I mean Google integrations.

                   There’s the native data-driven attribution integration, of course. GA4 also
                   integrates directly with BigQuery, the Google cloud data warehouse product, which
                   is new to GA4.

                   One metric exclusive to GA4 is YouTube Engaged Views. With UA and previous
                   analytics versions, YouTube measurement was limited to page views and session
                   data, when someone starts and stops a video, say, or when multiple videos are
                   viewed one after another.

                   “In Google Analytics 4 these are just two of the dozens of events that can be
                   automatically collected,” Ketchum said, including purchases, user scrolling, button
                   clicks, external links, forms submissions and video plays, as well as metrics created
                   by the customer.

                   Those metrics and integrations were formerly only available to high-paying
                   enterprise customers. Now they’re embedded in analytics for all advertisers.

                   And since GA4 is inherently web-and-app, whereas UA was all about the web, it
                   also comes with integrations with the Google app developer toolkit Firebase, the
                   Google Play Store and AdMob, Google’s in-app advertising network.

                   Welcome to the new Google, featuring Google.




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Most Common Security Vulnerabilities Using JavaScript - SecureCoding   https://www securecoding com/blog/most-common-security-vulnerabilities-using-javascript/

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Prepare for the future with Google Analytics 4                https://blog.google/products/marketingplatform/analytics/prepare-for-fut...
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          Prepare for the future with Google Analytics 4

          Russell Ketchum


          In today's measurement landscape, businesses need to navigate new challenges to understand the
          complex, multi-platform journeys of their customers — all while prioritizing user privacy.

          Two and a half years ago, we introduced Google Analytics 4 to address these evolving measurement
          standards and help businesses succeed. Google Analytics 4 has the flexibility to measure many
          different kinds of data, delivering a strong analytics experience that’s designed for the future. It
          allows businesses to see unified user journeys across their websites and apps, use Google’s machine
          learning technology to surface and predict new insights, and most importantly, it’s built to keep up
          with a changing ecosystem.

          Without a modern measurement solution, you leave essential insights on the table that can impact
          your business. So now is the time to make Google Analytics 4 your cross-platform Analytics
          solution. We will begin sunsetting Universal Analytics — the previous generation of Analytics —
          next year. All standard Universal Analytics properties will stop processing new hits on July 1, 2023.
          Given the new Analytics 360 experience was recently introduced, Universal Analytics 360
          properties will receive an additional three months of new hit processing, ending on October 1, 2023.

          Moving on from Universal Analytics
          Universal Analytics was built for a generation of online measurement that was anchored in the
          desktop web, independent sessions and more easily observable data from cookies. This
          measurement methodology is quickly becoming obsolete. Meanwhile, Google Analytics 4 operates
          across platforms, does not rely exclusively on cookies and uses an event-based data model to deliver
          user-centric measurement.

          And though Universal Analytics offers a variety of privacy controls, Google Analytics 4 is designed
          with privacy at its core to provide a better experience for both our customers and their users. It
          helps businesses meet evolving needs and user expectations, with more comprehensive and
          granular controls for data collection and usage. Importantly, Google Analytics 4 will also no longer
          store IP addresses. These solutions and controls are especially necessary in today’s international
          data privacy landscape, where users are increasingly expecting more privacy protections and
          control over their data.

          Starting your measurement with Google Analytics 4
          Google Analytics 4 is designed with your key objectives in mind — like driving sales or app installs,
          generating leads or connecting online and offline customer engagement.

          Here are just a few ways Google Analytics 4 can support your business.

          Understand your customers across touchpoints
          Get a complete view of the customer lifecycle with an event-based measurement model that isn’t
          fragmented by platform or organized into independent sessions.

          For example, UK-based fitness apparel and accessories brand Gymshark used Google Analytics 4 to


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          measure across its website and app, allowing the Gymshark team to better understand how users
          moved through the purchase funnel. As a result, they reduced user drop off by 9%, increased
          product page clickthroughs by 5% and cut down their own time spent on user journey analysis by
          30%.

          “Google Analytics 4 was the perfect choice in understanding and improving our new e-commerce
          app.” Maxwell Petitjean
          Head of Product Insights, Gymshark

          Improve ROI with data-driven attribution
          Use data-driven attribution to analyze the full impact of your marketing across the customer
          journey. It assigns attribution credit to more than just the last click using your Analytics data, and
          helps you understand how your marketing activities collectively influence your conversions. You
          can export that analysis to Google Ads and Google Marketing Platform media tools to optimize
          campaigns.

          Measure engagement and conversions with business and compliance needs in mind
          With new country-level privacy controls, you can manage and minimize the collection of user-level
          data — like cookies and metadata — while preserving key measurement functionality.

          Get greater value from your data
          Machine learning generates sophisticated predictive insights about user behavior and conversions,
          creates new audiences of users likely to purchase or churn and automatically surfaces critical
          insights to improve your marketing.

          Easily activate your insights
          Expanded integrations with other Google products, like Google Ads, work across your combined
          web and app data, making it easy to use Analytics insights to optimize your campaigns.

          McDonald’s Hong Kong met its goal to grow mobile orders using a predictive audience of “likely
          seven-day purchasers” and exporting it to Google Ads — increasing app orders more than six times.
          The team saw a 2.3 times stronger ROI, a 5.6 times increase in revenue, and a 63% reduction in cost
          per action.

          “Google Analytics 4 has equipped us with a strong measurement foundation. We are able to get
          valuable insights from our first-party data with machine learning and utilize them in our
          marketing, driving impressive results to future-proof our business.”
          — Tina Chao, McDonald’s Hong Kong Chief Marketing and Digital Customer
          Experience Officer

          And now, Search Ads 360 and Display & Video 360 integrations are available for all customers. This
          means that any Google Analytics 4 property — standard or 360 — can activate its Analytics data,
          like conversions and audiences, in Google Marketing Platform buying tools to strengthen campaign
          performance.

          Address your enterprise measurement needs
          New sub and roll-up properties in Analytics 360 allow you to customize the structure of your
          Google Analytics 4 properties to meet data governance needs. This ensures that different teams or
          partners, like advertising agencies, can access the data they need in accordance with your policies.

          Analytics 360 also offers higher limits to meet increasing demand — up to 125 custom dimensions,
          400 audiences and 50 conversion types per property. And you’ll have peace of mind with service
          legal agreements (SLAs) across most core functionality, including data collection, processing,
          reporting and attribution.


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Prepare for the future with Google Analytics 4                https://blog.google/products/marketingplatform/analytics/prepare-for-fut...
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          "As a large enterprise business with a wide product portfolio, the new Analytics 360 has unlocked
          insights for our teams to make data-driven decisions, while providing the ability to meet our
          complex data governance needs with ease and flexibility.”
          — Rashi Kacker, Director of Marketing Technology Innovation, Constellation Brands

          What happens next?
          All standard Universal Analytics properties will stop processing new hits on July 1, 2023, and 360
          Universal Analytics properties will stop processing new hits on October 1, 2023. After that, you’ll be
          able to access your previously processed data in Universal Analytics for at least six months. Learn
          more about what to expect.

          Make the move over to Google Analytics 4 as soon as possible to build the necessary historical data
          before Universal Analytics stops processing new hits. For guidance, check out our Help Center
          resources.




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a correctly identiﬁed device can be used to combat fraud,                           a taxonomy of ﬁngerprintable information.
e.g., by detecting that a user who is trying to login to a                        • We measure the adoption of ﬁngerprinting on the web.
site is likely an attacker who stole a user’s credentials or                      • We introduce novel browser-ﬁngerprinting techniques
cookies, rather than the legitimate user. Destructively, device                     that can, in milliseconds, uncover a browser’s family
identiﬁcation through ﬁngerprinting can be used to track                            and version.
users between sites, without their knowledge and without                          • We demonstrate how over 800,000 users, who are
a simple way of opting-out. Additionally, device identiﬁca-                         currently utilizing user-agent-spooﬁng extensions, are
tion can be used by attackers in order to deliver exploits,                         more ﬁngerprintable than users who do not attempt to
tailored for speciﬁc combinations of browsers, plugins and                          hide their browser’s identity, and challenge the advice
operating systems [14]. The line between the constructive                           given by prior research on the use of such extensions
and destructive use is, however, largely artiﬁcial, because                         as a way of increasing one’s privacy [18].
the same technology is used in both cases.
                                                                                            II. C OMMERCIAL F INGERPRINTING
   Interestingly, companies were offering ﬁngerprinting ser-
vices as early as 2009, and experts were already voicing                           While Eckersley showed the principle possibility of ﬁn-
concerns over their impact on user privacy [15]. Even when                      gerprinting a user’s browser in order to track users without
ﬁngerprinting companies honor the recently-proposed “Do                         the need of client-side stateful identiﬁers [12], we wanted
Not Track” (DNT) header, the user is still ﬁngerprinted for                     to investigate popular, real-world implementations of ﬁnger-
fraud detection, but the companies promise not to use the                       printing and explore their workings. To this end, we ana-
information for advertising purposes [16]. Note that since                      lyzed the ﬁngerprinting libraries of three large, commercial
the ﬁngerprinting scripts will execute regardless of the DNT                    companies: BlueCava1 , Iovation2 and ThreatMetrix3 . Two of
value, the veriﬁcation of this promise is much harder than                      these companies were chosen due to them being mentioned
verifying the effect of DNT on stateful tracking, where the                     in the web-tracking survey of Mayer and Mitchell [19],
effects are visible at the client-side, in a user’s cookies [17].               while the third one was chosen due to its high ranking on a
   In this paper, we perform a four-pronged analysis of                         popular search engine. Given the commercial nature of the
device identiﬁcation through web-based ﬁngerprinting. First,                    companies, in order to analyze the ﬁngerprinting scripts we
we analyze the ﬁngerprinting code of three large, commer-                       ﬁrst needed to discover websites that make use of them. We
cial companies. We focus on the differences of their code in                    used Ghostery [9], a browser-extension which lists known
comparison to Panopticlick [12], Eckersley’s “open-source”                      third-party tracking libraries on websites, to obtain the list
implementation of browser ﬁngerprinting. We identify the                        of domains which the three code providers use to serve their
heavy use of Adobe Flash as a way of retrieving more sensi-                     ﬁngerprinting scripts. Subsequently, we crawled popular
tive information from a client, including the ability to detect                 Internet websites, in search for code inclusions, originating
HTTP proxies, and the existence of intrusive ﬁngerprinting                      from these ﬁngerprinting-owned domains. Once these web
plugins that users may unknowingly host in their browsers.                      sites were discovered, we isolated the ﬁngerprinting code,
Second, we measure the adoption of ﬁngerprinting on the                         extracted all individual features, and grouped similar features
Internet and show that, in many cases, sites of dubious                         of each company together.
nature ﬁngerprint their users, for a variety of purposes.                          In this section, we present the results of our analysis,
Third, we investigate special JavaScript-accessible browser                     in the form of a taxonomy of possible features that can
objects, such as navigator and screen, and describe                             be acquired through a ﬁngerprinting library. This taxonomy
novel ﬁngerprinting techniques that can accurately identify                     covers all the features described in Panopticlick [12] as
a browser even down to its minor version. These techniques                      well as the features used by the three studied ﬁngerprinting
involve the ordering of methods and properties, detection                       companies. Table I lists all our categories and discovered
of vendor-speciﬁc methods, HTML/CSS functionality as                            features, together with the method used to acquire each
well as minor but ﬁngerprintable implementation choices.                        feature. The categories proposed in our taxonomy resulted
Lastly, we examine and test browser extensions that are                         by viewing a user’s ﬁngerprintable surface as belonging
available for users who wish to spoof the identity of their                     to a layered system, where the “application layer” is the
browser and show that, unfortunately all fail to completely                     browser and any ﬁngerprintable in-browser information. At
hide the browser’s true identity. This incomplete coverage                      the top of this taxonomy, scripts seek to ﬁngerprint and
not only voids the extensions but, ironically, also allows                      identify any browser customizations that the user has directly
ﬁngerprinting companies to detect the fact that user is                         or indirectly performed. In lower levels, the scripts target
attempting to hide, adding extra ﬁngerprintable information.                    user-speciﬁc information around the browser, the operating
                                                                                system and even the hardware and network of a user’s
Our main contributions are:                                                       1 http://www.bluecava.com
  •   We shed light into the current practices of device iden-                    2 http://www.iovation.com

      tiﬁcation through web-based ﬁngerprinting and propose                       3 http://www.threatmetrix.com




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                                                                                                            Iovation
   Fingerprinting Category            Panopticlick                  BlueCava                           ReputationManager            ThreatMetrix
   Browser customizations             Plugin enumeration(JS)        Plugin enumeration(JS)                                          Plugin enumeration(JS)
                                      Mime-type enumeration(JS)     ActiveX + 53 CLSIDs(JS)                                         Mime-type enumeration(JS)
                                      ActiveX + 8 CLSIDs(JS)        Google Gears Detection(JS)                                      ActiveX + 6 CLSIDs(JS)
                                                                                                                                    Flash Manufacturer(FLASH)
   Browser-level user conﬁgurations   Cookies enabled(HTTP)         System/Browser/User Language(JS)   Browser Language(HTTP, JS)   Browser Language(FLASH)
                                      Timezone(JS)                  Timezone(JS)                       Timezone(JS)                 Timezone(JS, FLASH)
                                      Flash enabled(JS)             Flash enabled(JS)                  Flash enabled(JS)            Flash enabled(JS)
                                                                    Do-Not-Track User Choice(JS)       Date & time(JS)              Proxy Detection(FLASH)
                                                                    MSIE Security Policy(JS)           Proxy Detection(FLASH)
   Browser family & version           User-agent(HTTP)              User-agent(JS)                     User-agent(HTTP, JS)         User-agent(JS)
                                      ACCEPT-Header(HTTP)           Math constants(JS)
                                      Partial S.Cookie test(JS)     AJAX Implementation(JS)
   Operating System & Applications    User-agent(HTTP)              User-agent(JS)                     User-agent(HTTP, JS)         User-agent(JS)
                                      Font Detection(FLASH, JAVA)   Font Detection(JS, FLASH)          Windows Registry(SFP)        Font Detection(FLASH)
                                                                    Windows Registry(SFP)              MSIE Product key(SFP)        OS+Kernel version(FLASH)
   Hardware & Network                 Screen Resolution(JS)         Screen Resolution(JS)              Screen Resolution(JS)        Screen Resolution(JS, FLASH)
                                                                    Driver Enumeration(SFP)            Device Identiﬁers(SFP)
                                                                    IP Address(HTTP)                   TCP/IP Parameters(SFP)
                                                                    TCP/IP Parameters(SFP)

                                                            Table I
TAXONOMY OF ALL FEATURES USED BY PANOPTICLICK AND THE STUDIED FINGERPRINTING PROVIDERS - SHADED FEATURES ARE , IN COMPARISON
         TO PANOPTICLICK , EITHER SUFFICIENTLY EXTENDED , OR ACQUIRED THROUGH A DIFFERENT METHOD , OR ENTIRELY NEW




machine. In the rest of this section, we focus on all the                             browser’s response (which lists the resolution of the monitor
non-trivial techniques used by the studied ﬁngerprinting                              were the browser-window is located), allows a ﬁngerprinting
providers that were not previously described in Eckersley’s                           service to detect the presence of multiple-monitor setups.
Panopticlick [12].                                                                       Somewhat surprisingly, none of the three studied ﬁnger-
                                                                                      printing companies utilized Java. One of them had some
A. Fingerprinting through popular plugins
                                                                                      dead code that revealed that in the past it probably did make
   As one can see in Table I, all companies use Flash, in                             use of Java, however, the function was not called anymore
addition to JavaScript, to ﬁngerprint a user’s environment.                           and the applet was no longer present on the hard-coded
Adobe Flash is a proprietary browser plug-in that has                                 location listed in the script. This is an interesting deviation
enjoyed wide adoption among users, since it provided ways                             from Panopticlick, which did use Java as an alternate way
of delivering rich media content that could not traditionally                         of obtaining system fonts. We consider it likely that the
be displayed using HTML. Despite the fact that Flash has                              companies abandoned Java due to its low market penetration
been criticized for poor performance, lack of stability, and                          in browsers. This, in turn, is most likely caused by the fact
that newer technologies, like HTML5, can potentially deliver                          that many have advised the removal of the Java plugin from
what used to be possible only through Flash, it is still                              a user’s browser [20], [21] due to the plethora of serious
available on the vast majority of desktops.                                           Java vulnerabilities that were discovered and exploited over
   We were surprised to discover that although Flash reim-                            the last few years.
plements certain APIs existing in the browser and accessible
through JavaScript, its APIs do not always provide the
same results compared to the browser-equivalent functions.
For instance, for a Linux user running Firefox on a 64-bit                            B. Vendor-speciﬁc ﬁngerprinting
machine, when querying a browser about the platform of
execution, Firefox reports “Linux x86 64”. Flash, on the                                 Another signiﬁcant difference between the code we
other hand, provides the full kernel version, e.g., Linux                             analyzed and Panopticlick is that, the ﬁngerprinting
3.2.0-26-generic. This additional information is not only un-                         companies were not trying to operate in the
desirable from a privacy perspective, but also from a security                        same way across all browsers. For instance, when
perspective, since a malicious web-server could launch an                             recognizing a browser as Internet Explorer, they
attack tailored not only to a browser and architecture but to                         would extensively ﬁngerprint Internet-Explorer-speciﬁc
a speciﬁc kernel. Another API call that behaves differently                           properties, such as navigator.securityPolicy and
is the one that reports the user’s screen resolution. In the                          navigator.systemLanguage. At the same time,
Linux implementations of the Flash plugin (both Adobe’s                               the code accounted for the browser’s “short-comings,”
and Google’s), when a user utilizes a dual-monitor setup,                             such as using a lengthy list of predeﬁned CLSIDs for
Flash reports as the width of a screen the sum of the two                             Browser-Helper-Objects (BHOs) due to Internet Explorer’s
individual screens. This value, when combined with the                                unwillingness to enumerate its plugins.


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                                                                                              Font Family String             Width x Height
 Listing 1 Side-channel inference of the presence or absence
 of a font                                                                                    Sans          font_detection        519x84
                                                                                              Arial         font detection        452x83
 function get_text_dimensions(font){
                                                                                              Calibri       font detection        416x83

     h = document.getElementsByTagName("BODY")[0];
                                                                                Figure 1. The same string, rendered with different fonts, and its effects on
     d = document.createElement("DIV");                                         the string’s width and height, as reported by the Google Chrome browser
     s = document.createElement("SPAN");

     d.appendChild(s);
     d.style.fontFamily = font;
     s.style.fontFamily = font;                                                 offsetHeight methods of HTML elements, the script
     s.style.fontSize = "72px";                                                 discovers the layout width and height of the element. This
     s.innerHTML = "font_detection";                                            code is ﬁrst called with a “sans” parameter, the font typically
     h.appendChild(d);
                                                                                used by browsers as a fall-back, when another requested font
     textWidth = s.offsetWidth;                                                 is unavailable on a user’s system. Once the height and text
     textHeight = s.offsetHeight;                                               for “sans” are discovered, another script goes over a pre-
     h.removeChild(d);                                                          deﬁned list of fonts, calling the get_text_dimensions
     return [textWidth, textHeight];
                                                                                function for each one. For any given font, if the current
 }                                                                              width or height values are different from the ones obtained
                                                                                through the original “sans” measurement, this means that
                                                                                the font does exist and was used to render the predeﬁned
                                                                                text. The text and its size are always kept constant, so that
                                                                                if its width or height change, this change will only be due
C. Detection of fonts                                                           to the different font. Figure 1 shows three renderings of the
   The system’s list of fonts can serve as part of a user’s                     same text, with the same font-size but different font faces in
unique ﬁngerprint [12]. While a browser does not directly                       Google Chrome. In order to capitalize as much as possible
provide that list, one can acquire it using either a browser                    on small differences between fonts, the font-size is always
plugin that willingly provides this information or using a                      large, so that even the smallest of details in each individual
side-channel that indirectly reveals the presence or absence                    letter will add up to measurable total difference in the text’s
of any given font.                                                              height and width. If the height and width are identical to the
   1) Plugin-based detection: ActionScript, the scripting                       original measurement, this means that the requested font did
language of Flash, provides APIs that include methods for                       not exist on the current system and thus, the browser has
discovering the list of fonts installed on a running system.                    selected the sans fall-back font. All of the above process,
While this traditionally was meant to be used as a way                          happens in an invisible iframe created and controlled by the
of ensuring the correct appearance of text by the plugin,                       ﬁngerprinting script and thus completely hidden from the
it can also be used to ﬁngerprint the system. Two out of the                    user.
three studied companies were utilizing Flash as a way of                           Using this method, a ﬁngerprinting script can rapidly
discovering which fonts were installed on a user’s computer.                    discover, even for a long list of fonts, those that are present
Interestingly, only one of the companies was preserving the                     on the operating system. The downside of this approach is
order of the font-list, which points, most likely, to the fact                  that less popular fonts may not be detected, and that the
that the other is unaware that the order of fonts is stable                     font-order is no longer a ﬁngerprintable feature.
and machine-speciﬁc (and can thus be used as an extra
ﬁngerprinting feature).                                                         D. Detection of HTTP Proxies
                                                                                   One of the features that are the hardest to spoof for a client
                                                                                is its IP address. Given the nature of the TCP protocol, a
   2) Side-channel inference: The JavaScript code of one                        host cannot pretend to be listening at an IP address from
of the three ﬁngerprinting companies included a fall-back                       which it cannot reliably send and receive packets. Thus,
method for font-detection, in the cases where the Flash                         to hide a user’s IP address, another networked machine (a
plugin was unavailable. By analyzing that method, we dis-                       proxy) is typically employed that relays packets between the
covered that they were using a technique, similar to the CSS                    user that wishes to remain hidden and a third-party. In the
history stealing technique [22], to identify the presence or                    context of browsers, the most common type of proxies are
absence of any given font - see Listing 1.                                      HTTP proxies, through which users conﬁgure their browsers
   More precisely, the code ﬁrst creates a <div> element.                       to send all requests. In addition to manual conﬁguration,
Inside this element, the code then creates a <span> el-                         browser plugins are also available that allow for a more
ement with a predetermined text string and size, using                          controlled use of remote proxies, such as the automatic
a provided font family. Using the offsetWidth and                               routing of different requests to different proxies based on


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the information about it are delivered is inherently different                              III. A DOPTION OF FINGERPRINTING
from the two aforementioned experiments.                                           In Section II, we analyzed the workings of three com-
   Through our code analysis, we found two different sce-                       mercial ﬁngerprinting companies and focused on the differ-
narios of ﬁngerprinting. In the ﬁrst scenario, the ﬁrst-                        ences of their implementations when compared to Panop-
party site was not involved in the ﬁngerprinting process.                       ticlick [12]. In this section, we study the ﬁngerprinting
The ﬁngerprinting code was delivered by an advertising                          ecosystem, from the point of view of websites that leverage
syndicator, and the resulting ﬁngerprint was sent back to the                   ﬁngerprinting.
ﬁngerprinting company. This was most likely done to combat
click-fraud, and it is unclear whether the ﬁrst-party site is                   A. Adoption on the popular web
even aware of the fact that its users are being ﬁngerprinted.                      To quantify the use of web-based ﬁngerprinting on pop-
   In the second scenario, where the ﬁrst-party website is                      ular websites, we crawled up to 20 pages for each of the
the one requesting the ﬁngerprint, we saw that two out of                       Alexa top 10,000 sites, searching for script inclusions and
the three companies were adding the ﬁnal ﬁngerprint of the                      iframes originating from the domains that the three studied
user into the DOM of the hosting page. For instance, www.                       companies utilize to serve their ﬁngerprinting code. To cate-
imvu.com is using BlueCava for device ﬁngerprinting                             gorize the discovered domains, we made use of the publicly-
by including remote scripts hosted on BlueCava’s servers.                       available domain categorization service of TrendMicro 6 , a
When BlueCava’s scripts combine all features into a single                      popular anti-virus vendor.
ﬁngerprint, the ﬁngerprint is DES-encrypted (DES keys                              Through this process, we discovered 40 sites (0.4% of
generated on the ﬂy and then encrypted with a public key),                      the Alexa top 10,000) utilizing ﬁngerprinting code from
concatenated with the encrypted keys and ﬁnally converted                       the three commercial providers. The most popular site
to Base64 encoding. The resulting string is added into the                      making use of ﬁngerprinting is skype.com, while the two
DOM of www.imvu.com; more precisely, as a new hidden                            most popular categories of sites are: “Pornography” (15%)
input element in IMVU’s login form. In this way, when the                       and “Personals/Dating” (12.5%). For pornographic sites, a
user submits her username and password, the ﬁngerprint is                       reasonable explanation is that ﬁngerprinting is used to detect
also sent to IMVU’s web servers. Note, however, that IMVU                       shared or stolen credentials of paying members, while for
cannot decrypt the ﬁngerprint and must thus submit it back                      dating sites to ensure that attackers do not create multiple
to BlueCava, which will then reply with a “trustworthiness”                     proﬁles for social-engineering purposes. Our ﬁndings show
score and other device information. This architecture allows                    that ﬁngerprinting is already part of some of the most
BlueCava to hide the implementation details from its clients                    popular sites of the Internet, and thus the hundreds of
and to correlate user proﬁles across its entire client-base.                    thousands of their visitors are ﬁngerprinted on a daily basis.
Iovation’s ﬁngerprinting scripts operate in a similar manner.                      Note that the aforementioned adoption numbers are lower
   Constrastingly, ThreatMetrix delivers information about                      bounds since our results do not include pages of the 10,000
users in a different way. The including site, i.e., a customer                  sites that were not crawled, either because they were behind
of ThreatMetrix, creates a session identiﬁer that it places                     a registration wall, or because they were not in the set of
into a <div> element with a predeﬁned identiﬁer. Threat-                        20 URLs for each crawled website. Moreover, some popular
Metrix’s scripts, upon loading, read this session identiﬁer                     sites may be using their own ﬁngerprinting algorithms for
and append it to all requests towards the ThreatMetrix                          performing device identiﬁcation and not rely on the three
servers. This means that the including site never gets access                   studied ﬁngerprinting companies.
to a user’s ﬁngerprint, but only information about the user
by querying ThreatMetrix for speciﬁc session identiﬁers.                        B. Adoption by other sites
G. Analysis Limitations                                                            To discover less popular sites making use of ﬁnger-
                                                                                printing, we used a list of 3,804 domains of sites that,
   In the previous sections we analyzed the workings of the                     when analyzed by Wepawet [27], requested the previously
ﬁngerprinting libraries of three popular commercial compa-                      identiﬁed ﬁngerprinting scripts.
nies. The analysis was a mostly manual, time-consuming                             Each domain was submitted to TrendMicro’s and
process, where each piece of code was gradually deobfus-                        McAfee’s categorization services 7 which provided as output
cated until the purpose of all functions was clear. Given the                   the domain’s category and “safety” score. We used two
time required to fully reverse-engineer each library, we had                    categorizing services in an effort to reduce, as much as
to limit ourselves to analyze the script of each ﬁngerprinting                  possible, the number of “untested” results, i.e., the number of
company as it was seen through two different sites (that is,                    websites not analyzed and not categorized. By examining the
two different clients of each company). However, we cannot                      results, we extracted as many popular categories as possible
exclude the possibility of additional scripts that are present
on the companies’ web servers that would perform more
operations than the ones we encountered.                                        6 TrendMicro - http://global.sitesafety.trendmicro.com/
                                                                                7 McAfee -http://mcafee.com/threat-intelligence/domain/




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                                                                                  later step, these sites extract a user’s personal details and try
                                                                                   to subscribe the user to expensive mobile services.
                                                                              While our data-set is inherently skewed towards “mali-
                                                                                ciousness” due to its source, it is important to point out that
                     
 




                                                                                         all of these sites were found to include, at some point in time,
                 
                
                                                                                         ﬁngerprinting code provided by the three studied providers.
                                                                         This observation, coupled with the fact that for all three
                                                                                companies, an interested client must set an appointment
                                                                                     with a sales representative in order to acquire ﬁngerprinting
                                          !       "       #        $       %             services, point to the possibility of ﬁngerprinting companies
                                        & ' ( 
                                                                                         working together with sites of dubious nature, possibly
                                                                                         for the expansion of their ﬁngerprint databases and the
       Figure 3.      The top 10 categories of websites utilizing ﬁngerprinting
                                                                                         acquisition of more user data.
                                                                                             IV. F INGERPRINTING THE BEHAVIOR OF SPECIAL
                                                                                                                       OBJECTS
and created aliases for names that were referring to the
same category, such as “News / Media” versus “General                                       In Section II, we studied how commercial companies per-
News” and “Disease Vector” versus “Malicious Site”. If a                                 form their ﬁngerprinting and created a taxonomy of ﬁnger-
domain was characterized as “dangerous” by one, and “not                                 printable information accessible through a user’s browser. In
dangerous” by the other, we accepted the categorization                                  Table I, one can notice that, while ﬁngerprinting companies
of the latter, so as to give the beneﬁt of the doubt to                                  go to great lengths to discover information about a browser’s
legitimate websites that could have been compromised, when                               plugins and the machine hosting the browser, they mostly
the former service categorized it.                                                       rely on the browser to willingly reveal its true identity (as
   Given the use of two domain-categorization services, a                                revealed through the navigator.userAgent property
small number of domains (7.9%) was assigned conﬂicting                                   and the User-Agent HTTP header). A browser’s user-agent
categories, such as “Dating” versus “Adult/Mature” and                                   is an important part of a system’s ﬁngerprint [18], and thus
“Business/Economy” versus “Software/Hardware.” For these                                 it may seem reasonable to assume that if users modify these
domains, we accepted the characterization of McAfee, which                               default values, they will increase their privacy by hiding
we observed to be more precise than TrendMicro’s for less                                more effectively from these companies.
popular domains. Excluding 40.8% of domains which were                                      In this section, however, we demonstrate how fragile the
reported as “untested” by both services, the results of this                             browser ecosystem is against ﬁngerprinting. Fundamental
categorization are shown in Figure 3.                                                    design choices and differences between browser types are
                                                                                         used in an effort to show how difﬁcult it can be to limit
   First, one can observe that eight out of the ten categories,
                                                                                         the exposure of a browser to ﬁngerprinting. Even different
include sites which operate with user subscriptions, many of
                                                                                         versions of the same browser can have differences in the
which contain personal and possibly ﬁnancial information.
                                                                                         scripting environment that identify the browser’s real family,
These sites are usually interested in identifying fraudulent
                                                                                         version, and, occasionally, even the operating system. In
activities and the hijacking of user accounts. The Adult/Ma-
                                                                                         the rest of this section we describe several novel browser-
ture category seems to make the most use of ﬁngerprinting
                                                                                         identifying techniques that: a) can complement current ﬁn-
as was the case with the Alexa top 10,000 sites.
                                                                                         gerprinting, and b) are difﬁcult to eliminate given the current
   The top two categories are also the ones that were the least
                                                                                         architecture of web browsers.
expected. 163 websites were identiﬁed as malicious, such as
using exploits for vulnerable browsers, conducting phishing                              A. Experimental Fingerprinting Setup
attacks or extracting private data from users, whereas 1,063                                Our novel ﬁngerprinting techniques focus on the special,
sites were categorized as “Spam” by the two categorizing                                 browser-populated JavaScript objects; more precisely, the
engines. By visiting some sites belonging to these categories,                           navigator and screen objects. Contrary to objects
we noticed that many of them are parked webpages, i.e., they                             created and queried by a page’s JavaScript code, these ob-
do not hold any content except advertising the availability                              jects contain vendor- and environment-speciﬁc methods and
of the domain name, and thus do not currently include                                    properties, and are thus the best candidates for uncovering
ﬁngerprinting code. We were however able to locate many                                  vendor-speciﬁc behaviors.
“quiz/survey” sites that are, at the time of this writing,                                  To identify differences between browser-vendors and to
including ﬁngerprinting code from one of the three studied                               explore whether these differences are consistent among
companies. Visitors of these sites are greeted with a “Con-                              installations of the same browser on multiple systems, we
gratulations” message, which informs them that they have                                 constructed a ﬁngerprinting script that performed a series of
won and asks them to proceed to receive their prize. At some


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“everyday” operations on these two special objects (such                                Order of enumeration: Through the analysis of the
as adding a new property to an object, or modifying an                            output from the ﬁrst three steps of our ﬁngerprinting
existing one) and reported the results to a server. In this                       algorithm (Sec. IV-A), we discovered that the order of
and the following section, we describe the operations of our                      property-enumeration of special browser objects, like the
ﬁngerprinting script and our results. Our constructed page                        navigator and screen objects, is consistently different
included a JavaScript program that performed the following                        between browser families, versions of each browser, and,
operations:                                                                       in some cases, among deployments of the same version on
   1) Enumerated the navigator and screen object,                                 different operating systems. While in the rest of this section
       i.e., request the listing of all properties of the afore-                  we focus to the navigator object, the same principles
       mentioned objects.                                                         apply to the screen object.
   2) Enumerated the navigator object again, to ensure                               Our analysis was conducted in the following manner.
       that the order of enumeration does not change.                             After grouping the navigator objects and their enumer-
   3) Created a custom object, populated it, and enumerated                       ated properties based on browser families, we located the
       it. A custom, JavaScript-created object, allows us to                      navigator object with the least number of properties.
       compare the behavior of browser-populated objects                          This version was consistently belonging to the oldest version
       (such as navigator) with the behavior of “classic”                         of a browser, since newer versions add new properties
       JavaScript objects.                                                        which correspond to new browser features, such as the
   4) Attempted to delete a property of the navigator                             navigator.doNotTrack property in the newer versions
       object, the screen object, and the custom object.                          of Mozilla Firefox. The order of the properties of this
   5) Add the possibly-deleted properties back to their ob-                       object, became our baseline to which we compared the
       jects.                                                                     navigator objects of all subsequent versions of the same
   6) Attempted to modify an existing property of the                             browser family. To account for ordering changes due to the
       navigator and screen objects.                                              introduction of new properties in the navigator object,
   7) If Object.defineProperty is implemented in                                  we simply excluded all properties that were not part of
       the current browser, utilize it to make an existing                        our original baseline object, without however changing the
       property in the navigator, screen, and custom                              relative order of the rest of the properties. For instance,
       object non-enumerable.                                                     assume an ordered set of features B, where B0 = {a, b,
   8) Attempt to delete the navigator and screen                                  c, d} and B1 = {a, b, e, c, d, f}. B1 has two new elements
       objects.                                                                   in comparison with B0 , namely e and f which, however,
   9) Attempt to assign new custom objects to the                                 can be removed from the set without disrupting the relative
       navigator and screen variable names.                                       order of the rest. For every browser version within the same
   At each step, the objects involved were re-enumerated,                         browser-family, we compared the navigator object to the
and the resulting data was Base64-encoded and sent to our                         baseline, by ﬁrst recording and removing new features and
server for later processing. Thus, at the server side, we                         then noting whether the order of the remaining features was
could detect whether a property was deleted or modiﬁed, by                        different from the order of the baseline.
comparing the results of the original enumeration with the                           The results of this procedure are summarized in Table II.
current one. The enumeration of each object was conducted                         For each browser family, we compare the ordering of the
through code that made use of the prop in obj construct, to                       navigator object among up to ﬁve different versions.
avoid forcing a speciﬁc order of enumeration of the objects,                      The most current version is denoted as Vc . The ﬁrst ob-
allowing the engine to list object properties in the way of                       servation is that in almost 20 versions of browsers, no
its choosing.                                                                     two were ever sharing the same order of properties in the
                                                                                  navigator object. This feature by itself, is sufﬁcient to
B. Results                                                                        categorize a browser to its correct family, regardless of
   By sharing the link to our ﬁngerprinting site with friends                     any property-spooﬁng that the browser may be employing.
and colleagues, we were able, within a week, to gather                            Second, all browsers except Chrome maintain the ordering
data from 68 different browsers installations, of popular                         of navigator elements between versions. Even when new
browsers on all modern operating systems. While our data                          properties were introduced, these do not alter the relative
is small in comparison to previous studies [11], [12], we                         order of all other properties. For instance, even though the
are not using it to draw conclusions that have statistical                        newest version of Mozilla Firefox (Vc ) has 7 extra features
relevance but rather, as explained in the following sections,                     when compared to the oldest version (Vc-4 ), if we ignore
to ﬁnd deviations between browsers and to establish the                           these features then the ordering is the same with the original
consistency of these deviations. We were able to identify the                     ordering (W).
following novel ways of distinguishing between browsers:                             Google Chrome was the only browser that did not exhibit
                                                                                  this behavior. By analyzing our dataset, we discovered that



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     Browser           Vc-4     Vc-3      Vc-2    Vc-1      Vc                            Browser             Unique methods & properties
     Mozilla Firefox   W        W+1       W+4     W+5       W+7                                                        screen.mozBrightness
     Microsoft IE      -        -         X       X         X+1                                                           screen.mozEnabled
                                                                                          Mozilla Firefox
     Opera             Y        Y+1       Y+1     Y+3       Y+5                                                            navigator.mozSms
     Google Chrome     Z        Z         Z +1   Z +1    Z +1                                                                      + 10
                                                                                                                navigator.webkitStartActivity
                                                                                          Google Chrome
                               Table II                                                                          navigator.getStorageUpdates
  D IFFERENCES IN THE ORDER OF N A V I G A T O R OBJECTS BETWEEN                                                  navigator.browserLanguage
                                                                                          Opera
                 VERSIONS OF THE SAME BROWSER                                                                        navigator.getUserMedia
                                                                                                                          screen.logicalXDPI
                                                                                                               screen.fontSmoothingEnabled
                                                                                          Microsoft IE
                                                                                                                  navigator.appMinorVersion
                                                                                                                                          +11
Chrome not only changed the order between subsequent
                                                                                                           Table III
versions of the browser, but also between deployments of the                    U NIQUE METHODS AND PROPERTIES OF THE N A V I G A T O R AND S C R E E N
same browser on different operating systems. For instance,                               OBJECTS OF THE FOUR MAJOR BROWSER - FAMILIES
Google Chrome v.20.0.1132.57 installed on Mac OSX has
a different order of elements than the same version installed
on a Linux operating system. In Table II, we compare the
order of properties of the navigator object when the                            agent string of modern browsers [30].
underlying OS is Windows XP. While this changing order                             Today, even though the HTML standard is governed by
may initially appear to be less-problematic than the stable                     the W3C committee and JavaScript by Ecma International,
order of other browsers, in reality, the different orderings can                browser vendors still add new features that do not be-
be leveraged to detect a speciﬁc version of Google Chrome,                      long to any speciﬁc standard. While these features can
and, in addition, the operating system on which the browser                     be leveraged by web developers to provide users with a
is running.                                                                     richer experience, they can also be used to differentiate
   Overall, we discovered that the property ordering of                         a browser from another. Using the data gathered by our
special objects, such as the navigator object, is consistent                    ﬁngerprinting script, we isolated features that were available
among runs of the same browser and runs of the same                             in only one family of browsers, but not in any other. These
version of browsers on different operating systems. Con-                        unique features are summarized in Table III. All browser
trastingly, the order of properties of a custom script-created                  families had at least two such features that were not shared
object (Step 3 in Section IV-A) was identical among all the                     by any other browser. In many cases, the names of the
studied browsers even though, according to the ECMAScript                       new features were starting with a vendor-speciﬁc preﬁx,
speciﬁcation, objects are unordered collections of proper-                      such as screen.mozBrightness for Mozilla Firefox
ties [28] and thus the exact ordering can be implementation-                    and navigator.msDoNotTrack for Microsoft Internet
speciﬁc. More precisely, the property ordering of the custom                    Explorer. This is because browser-vendors are typically
objects was always the same with the order of property                          allowed to use preﬁxes for features not belonging to a
creation.                                                                       standard or not yet standardized [31]. In the context of
   In general, the browser-speciﬁc, distinct property ordering                  ﬁngerprinting, a script can query for the presence or absence
of special objects can be directly used to create models of                     of these unique features (e.g., typeof screen.mozBrightness
browsers and, thus, unmask the real identity of a browser.                      != “undeﬁned”) to be certain of the identity of any given
Our ﬁndings are in par with the “order-matters” observation                     browser.
made by previous research: Mayer discovered that the list of                       An interesting sidenote is that these unique features
plugins as reported by browsers was ordered based on the                        can be used to expose the real version of Mozilla Firefox
installation time of each individual plugin [11]. Eckersley                     browser, even when the user is using the Torbutton
noticed that the list of fonts, as reported by Adobe Flash                      extension. Torbutton replaces the navigator and
and Sun’s Java VM, remained stable across visits of the                         screen objects with its own versions, spooﬁng the
same user [12].                                                                 values of certain properties, so as to protect the privacy of
                                                                                the user [32]. We installed Torbutton on Mozilla Firefox
     Unique features: During the ﬁrst browser wars in                           version 14 and, by enumerating the navigator object, we
the mid-90s, browser vendors were constantly adding new                         observed that, among others, the Torbutton had replaced the
features to their products, with the hope that developers                       navigator.userAgent property with the equivalent
would start using them. As a result, users would have to use a                  of Mozilla Firefox version 10, and it was claiming that
speciﬁc browser, effectively creating a browser lock-in [29].                   our platform was Windows instead of Linux. At the same
The features ranged from new HTML tags to embedded                              time, however, special Firefox-speciﬁc properties that
scripting languages and third-party plugins. Signs of this                      Mozilla introduced in versions 11 to 14 of Firefox (such as
“browser battle” are still visible in the contents of the user-                 navigator.mozBattery and navigator.mozSms)


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were still available in the navigator object. These                                        )*+,*-./*+01234 641,/74 +4,+               8*-97 :47+*9-+

discrepancies, combined with other weaknesses found                               <B
in less thorough user-agent-spooﬁng extensions (see
Section V), can uncover not only that the user is trying to
                                                                                  <;
hide, but also that she is using Torbutton to do so.

      Mutability of special objects: In the two previous                          ;>

sections, we discussed the ability to exploit the enumeration-
order and unique features of browsers for ﬁngerprinting. In                        A
this section, we investigate whether each browser treats the
navigator and screen objects like regular JavaScript
                                                                                   D
objects. More precisely, we investigate whether these objects                          ;        =       ?       A       C        ;;        ;=        ;?        ;A        ;C        <;
are mutable, i.e., whether a script can delete a speciﬁc                                    <       >       @       B       ;D        ;<        ;>        ;@        ;B        <D        <<
property from them, replace a property with a new one, or
                                                                                Figure 4. A comparison between how many distinguishable feature sets
delete the whole object. By comparing the outputs of steps                      and minor Google Chrome versions we have per Google Chrome’s major
four to nine from our ﬁngerprinting algorithm, we made the                      versions.
following observations.
   Among the four browser families, only Google Chrome
allows a script to delete a property from the navigator                         versions covered not only releases from the stable channel
object. In all other cases, while the “delete” call returns                     of Google Chrome, but also from Beta and Dev channels.
successfully and no exceptions are thrown, the properties                       We refer to a major version as the ﬁrst number of Google
remain present in the special object. When our script                           Chrome’s versioning system, and to minor version as the
attempted to modify the value of a property of navigator,                       full number of the version. We used a virtual machine with
Google Chrome and Opera allowed it, while Mozilla Firefox                       Windows XP to setup all browser versions, and used all
and Internet Explorer ignored the request. In the same way,                     versions to visit our functionality-ﬁngerprinting page.
these two families were the only ones allowing a script                            In total, we found 71 sets of features that can be used to
to reassign navigator and screen to new objects.                                identify a speciﬁc version of Google Chrome. Each feature
Interestingly, no browser allowed the script to simply                          set could identify versions that range from a single Google
delete the navigator or screen object. Finally, Mozilla                         Chrome version up to 14 different versions. The 14 Chrome
Firefox behaved in a unique way when requested to make a                        versions that were sharing the same feature set were all part
certain property of the navigator object non-enumerable.                        of the 12.0.742.* releases. Among all 71 sets, there were
Speciﬁcally, instead of just hiding the property, Firefox                       only four cases where the same feature set was identifying
behaved as if it had actually deleted it, i.e., it was no longer                more than a single major version of the browser. In all of
accessible even when requested by name.                                         these cases, the features overlapped with the ﬁrst Dev release
                                                                                of the next major version, while subsequent releases from
      Evolution of functionality: Recently, we have seen                        that point on had different features implemented. In Figure 4,
a tremendous innovation in Web technologies. The com-                           we show how many minor versions of Chrome we examined
petition is ﬁerce in the browsers’ scene, and vendors are                       per major version and how many distinct feature sets we
trying hard to adopt new technologies and provide a better                      found for each major version. The results show that we can
platform for web applications. Based on that observation,                       not only identify the major version, but in most cases, we
in this section, we examine if we can determine a browser’s                     have several different feature sets on the same major version.
version based on the new functionality that it introduces. We                   This makes the identiﬁcation of the exact browser version
chose Google Chrome as our testing browser and created                          even more ﬁne-grained.
a library in JavaScript that tests if speciﬁc functionality is
                                                                                   In Figure 5, we show how one can distinguish all
implemented by the browser. The features that we selected to
                                                                                Google Chrome’s major versions by checking for speciﬁc
capture different functionality were inspired by web design
                                                                                features. Every pair of major versions is separated by a
compatibility tests (where web developers verify if their web
                                                                                feature that was introduced into the newer version and
application is compatible with a speciﬁc browser). In total,
                                                                                did not exist in the previous one. Thus, if anyone wants
we chose 187 features to test in 202 different versions of
                                                                                to distinguish between two consecutive versions, a check
Google Chrome, spanning from version 1.0.154.59 up to
                                                                                of a single feature is sufﬁcient to do so. Notice that our
22.0.1229.8, which we downloaded from oldapps.com and
                                                                                results indicate that we can perform even more ﬁne-grained
which covered all 22 major versions of Chrome. We found
                                                                                version detection than the major version of Google Chrome
that not all of the 187 features were useful; only 109 actually
                                                                                (we had 71 distinct sets of enabled features compared to 22
changed during Google Chrome’s evolution. These browser
                                                                                versions of Chrome), but for simplicity we examined only


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                            Figure 5.      Feature-based ﬁngerprinting to distinguish between Google Chrome major versions


                                                                                      Extension                           #Installations      User Rating
the major version feature changes in detail.
                                                                                                               Mozilla Firefox
                                                                                      UserAgent Switcher                        604,349               4/5
      Miscellaneous: In this section, we list additional                              UserAgent RG                               23,245               4/5
browser-speciﬁc behaviors that were uncovered through our                             UAControl                                  11,044               4/5
                                                                                      UserAgentUpdater                             5,648              3/5
experiment but that do not fall in the previous categories.
                                                                                      Masking Agent                                2,262              4/5
   Our enumeration of object-properties indirectly uses                               User Agent Quick Switch                      2,157              5/5
the method toString() for the examined objects. By                                    randomUserAgent                              1,657              4/5
comparing the formatted output of some speciﬁc prop-                                  Override User Agent                          1,138              3/5
                                                                                                               Google Chrome
erties and methods, we noticed that different browsers                                User-Agent Switcher for Chrome            123,133               4/5
treated them in slightly different ways. For instance,                                User-Agent Switcher                        21,108             3.5/5
when calling toString() on the natively implemented                                   Ultimate User Agent Switcher,              28,623               4/5
                                                                                      URL sniffer
navigator.javaEnabled method, browsers simply
state that it is a “native function.” Although all the examined                                                     Table IV
browser families print “function javaEnabled() { [native                                    L IST OF USER - AGENT- SPOOFING BROWSER EXTENSIONS
code] },” Firefox uses newline characters after the opening
curly-bracket and before the closing one. Interestingly, Inter-
net Explorer does not list the navigator.javaEnabled
when requested to enumerate the navigator object, but                               In the context of this paper, we were interested in studying
still provides the “native function” print-out when asked                        the completeness and robustness of extensions that attempt
speciﬁcally about the javaEnabled method. In the same                            to hide the true nature of a browser from an inspecting
spirit, when our scripts invoked the toString() method                           website. As shown in Table I, while the studied companies
on the navigator.plugins object, Google Chrome                                   do attempt to ﬁngerprint a user’s browser customizations,
reported “[object DOMPluginArray],” Internet Explorer re-                        they currently focus only on browser-plugins and do not
ported “[object],” while both Mozilla Firefox and Opera                          attempt to discover any installed browser-extensions. Given
reported “[object PluginArray].”                                                 however the sustained popularity of browser-extensions [33],
   Lastly, while trying out our ﬁngerprinting page with                          we consider it likely that ﬁngerprinting extensions will be
various browsers, we discovered that Internet Explorer lacks                     the logical next step. Note that, unlike browser plugins,
native support for Base64 encoding and decoding (atob and                        extensions are not enumerable through JavaScript and, thus,
btoa, respectively) which our script used to encode data                         can only be detected through their side-effects. For instance,
before sending them to the server.                                               some sites currently detect the use of Adblock Plus [34]
                                                                                 by searching for the absence of speciﬁc iframes and DOM
C. Summary                                                                       elements that are normally created by advertising scripts.
   Overall, one can see how various implementation choices,                         Since a browser exposes its identity through the user-
either major ones, such as the traversal algorithms for                          agent ﬁeld (available both as an HTTP header and as a
JavaScript objects and the development of new features, or                       property of the JavaScript-accessible navigator object),
minor ones, such as the presence or absence of a newline                         we focused on extensions that advertised themselves as
character, can reveal the true nature of a browser and its                       capable of spooﬁng a browser’s user agent. These extensions
JavaScript engine.                                                               usually serve two purposes. First, they allow users to surf to
                                                                                 websites that impose strict browser requirements onto their
V. A NALYSIS OF U SER -AGENT-S POOFING E XTENSIONS                               visitors, without fulﬁlling these requirements. For instance,
  With the advent of browser add-ons, many developers                            some sites are developed and tested using one speciﬁc
have created extensions that can increase the security of                        browser and, due to the importance of the content loading
users (e.g., extensions showing HTML forms with non-                             correctly, refuse to load on other browsers. Using a user-
secure destinations) or their privacy (e.g., blocking known                      agent-spooﬁng extension, a user can visit such a site, by
ads and web-tracking scripts).                                                   pretending to use one of the white-listed browsers.


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                         Google        Mozilla     MSIE        Opera             through JavaScript. Apart from being vulnerable to every
                         Chrome        Firefox
   navigator.product     Gecko         Gecko       N/A         N/A
                                                                                 ﬁngerprinting technique that we introduced in Section IV,
   navigator.appCodeName Mozilla       Mozilla     Mozilla     Mozilla           each extension had one or more of the following issues:
   navigator.appName     Netscape      Netscape    Microsoft   Opera
                                                   Internet                         • Incomplete coverage of the navigator object. In
                                                   Explorer                            many cases, while an extension was modifying the
   navigator.platform     Linux        Linux       Win32       Linux
                          i686         x86 64                                          navigator.userAgent property, it would leave
   navigator.vendor       Google       (empty      N/A         N/A                     intact other revealing properties of the navigator ob-
                          Inc.         string)
                                                                                       ject, such as appName, appVersion and vendor
                           Table V                                                     - Table V. Moreover, the extensions usually left the
   S TANDARD PROPERTIES OF THE NAVIGATOR OBJECT AND THEIR                              navigator.platform property intact, which al-
           VALUES ACROSS DIFFERENT BROWSER FAMILIES                                    lowed for improbable scenarios, like a Microsoft In-
                                                                                       ternet Explorer browser running on Linux.
                                                                                    • Impossible conﬁgurations. None of the studied ex-
                                                                                       tensions attempted to alter the screen object. Thus,
   Another reason for using these extensions is to protect                             users who were utilizing laptops or normal workstations
the privacy of a user. Eckeresly, while gathering data for                             and pretended to be mobile devices, were reporting
the Panopticlick project, discovered that there were users                             impossible screen width and height (e.g., a reported
whose browsers were reporting impossible conﬁgurations,                                1920x1080 resolution for an iPhone).
for instance, a device was pretending to be an iPhone, but                          • Mismatch between User-agent values. As discussed
at the same time had Adobe Flash support. In that case, these                          earlier, the user-agent of any given browser is accessible
were users who were obviously trying to get a non-unique                               through the HTTP headers of a browser request and
browser ﬁngerprint by Panopticlick. Since Eckersley’s study                            through the userAgent property of the navigator
showed the viability of using common browser features                                  object. We found that some extensions would change
as parts of a unique ﬁngerprint, it is reasonable to expect                            the HTTP headers of the browser, but not of the
that legitimate users utilize such extensions to reduce the                            navigator object. Two out of three Chrome exten-
trackability of their online activities, even if the extensions’                       sions were presenting this behavior.
authors never anticipated such a use. Recently, Trusteer                            We want to stress that these extensions are not malicious
discovered in an “underground” forum a spooﬁng-guide that                        in nature. They are legitimately-written software that unfor-
provided step-by-step instructions for cybercriminals who                        tunately did not account for all possible ways of discovering
wished to fool fraud-detection mechanisms that used device-                      the true identity of the browsers on which they are installed.
ﬁngerprinting [35]. Among other advice, the reader was                           The downside here is that, not only ﬁngerprinting libraries
instructed to download an extension that changes the User-                       can potentially detect the actual identity of a browser, thus,
Agent of their browser to make their sessions appear as if                       undermining the goals of the extension, but also that they
they were originating by different computers with different                      can discover the discrepancies between the values reported
browsers and operating systems.                                                  by the extensions and the values reported by the browser,
   Table IV shows the Mozilla Firefox and Google Chrome                          and then use these differences as extra features of their
extensions that we downloaded and tested, together with                          ﬁngerprints. The discrepancies of each speciﬁc extension
their user base (measured in July 2012) and the rating                           can be modeled and thus, as with Adblock Plus, used to
that their users had provided. The extensions were discov-                       uncover the presence of speciﬁc extensions, through their
ered by visiting each market, searching for “user-agent”                         side-effects.
and then downloading all the relevant extensions with a                             The presence of any user-agent-spooﬁng extension is a
sufﬁciently large user base and an above-average rating.                         discriminatory feature, under the assumption that the major-
A high rating is important because it indicates the user’s                       ity of browsing users are not familiar enough with privacy
satisfaction in the extension fulﬁlling its purpose. Our testing                 threats (with the possible exception of cookies) to install
consisted of listing the navigator and screen objects                            such spooﬁng extensions. As a rough metric, consider that
through JavaScript and inspecting the HTTP headers sent                          the most popular extension for Mozilla Firefox is Adblock
with browser requests, while the extensions were actively                        Plus [34] that, at the time of this writing, is installed by
spooﬁng the identity of the browser. As in Section IV,                           ﬁfteen million users, 25 times more users than UserAgent
we chose to focus on these two objects since they are                            Switcher, the most popular extension in Table IV.
the ones that are the most vendor-speciﬁc as well as the                            We characterize the extension-problem as an iatrogenic 8
most probed by the ﬁngerprinting libraries. Through our                          one. The users who install these extensions in an effort
analysis, we discovered that, unfortunately, in all cases,
                                                                                    8 iatrogenic - Of or relating to illness caused by medical examination or
the extensions were inadequately hiding the real identity of
                                                                                 treatment.
the browser, which could still be straightforwardly exposed


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to hide themselves in a crowd of popular browsers, install                      she used the “Clear Private Data” option of her browser’s
software that actually makes them more visible and more                         UI [36]. As a result, in the latest version of Flash, LSOs
distinguishable from the rest of the users, who are using                       are not stored to disk but simply kept in memory when
their browsers without modiﬁcations. As a result, we advice                     the browser’s private mode is utilized [37]. Similarly, when
against the use of user-agent-spooﬁng extensions as a way                       a browser enters private mode, Flash could provide less
of increasing one’s privacy. Our ﬁndings come in direct                         system information, respect any browser-set HTTP proxies
antithesis with the advice given by Yen et al. [18], who                        and possibly report only a standard subset of a system’s
suggest that user-agent-spooﬁng extensions can be used, as                      fonts, to protect a user’s environment from ﬁngerprinting.
a way of making tracking harder. Even though their study                           JavaScript. There are multiple vendors involved in the
focuses on common identiﬁers as reported by client-side                         development of JavaScript engines, and every major browser
HTTP headers and the client’s IP address, a server capable                      is equipped with a different engine. To unify the behavior of
of viewing these can respond with JavaScript code that will                     JavaScript under different browsers, all vendors would need
uncover the user-agent-spooﬁng extension, using any of the                      to agree not only on a single set of API calls to expose to
aforementioned techniques.                                                      the web applications, but also to internal implementation
                                                                                speciﬁcs. For example, hash table implementations may
                       VI. D ISCUSSION                                          affect the order of objects in the exposed data structures
   Given the intrusive nature of web-based device ﬁnger-                        of JavaScript, something that can be used to ﬁngerprint
printing and the current inability of browser extensions to                     the engine’s type and version. Such a consensus is difﬁcult
actually enhance a user’s privacy, in this section, we ﬁrst                     to achieve among all browser vendors, and we have seen
discuss possible ways of reducing a user’s ﬁngerprintable                       diversions in the exposed APIs of JavaScript even in the
surface and then brieﬂy describe alternative uses of ﬁnger-                     names of functions that offer the same functionality, e.g.,
printing which may become more prevalent in the future.                         execScript and eval. Also, based on the fact that
                                                                                the vendors battle for best performance of their JavaScript
A. Reducing the ﬁngerprintable surface                                          engines, they might be reluctant to follow speciﬁc design
   Flash. As described in Section II, Adobe Flash was                           choices that might affect performance.
utilized by all three ﬁngerprinting libraries that we studied,                     At the same time, however, browsers could agree to sac-
due to its rich API that allow SWF ﬁles to access information                   riﬁce performance when “private-mode” is enabled, where
not traditionally available through a browser’s API. In all                     there could be an attempt to expose a uniﬁed interface.
cases, the SWF ﬁle responsible for gathering information
from the host was hidden from the user, by either setting                       B. Alternative uses of ﬁngerprinting
the width and height of the <object> tag to zero, or                               Although, in this paper, we have mostly focused on ﬁnger-
placed into an iframe of zero height and width. In other                        printing as a fraud-detection and web-tracking mechanism,
words, there was no visible change on the web page that                         there is another aspect that requires attention. Drive-by
included the ﬁngerprinting SWF ﬁles. This observation can                       downloads and web attacks in general use ﬁngerprinting
be used as a ﬁrst line of defense. All modern browsers                          to understand if the browser that they are executing on is
have extensions that disallow Flash and Silverlight to be                       vulnerable to one of the multiple available exploits. This
loaded until explicitly requested by the user (e.g., through                    way, the attackers can decide, at the server-side, which
a click on the object itself). These hidden ﬁles cannot                         exploit to reveal to the client, exposing as little as they
be clicked on and thus, will never execute. While this is                       can of their attack capabilities. There are three different
a straightforward solution that would effectively stop the                      architectures to detect drive-by downloads: low-interaction
Flash-part of the ﬁngerprint of all three studied companies,                    honeypots, high-interaction honeypots and honeyclients. In
a circumvention of this countermeasure is possible. By                          all three cases, the browser is either a specially crafted one,
wrapping their ﬁngerprinting code into an object of the ﬁrst-                   so that it can instrument the pages visited, or a browser
party site and making that object desirable or necessary for                    installation that was never used by a real user. Given the
the page’s functionality, the ﬁngerprinting companies can                       precise, browser-revealing, ﬁngerprinting techniques that we
still execute their code. This, however, requires much more                     described in this paper, it is possible to see in the future these
integration between a ﬁrst-party website and a third-party                      mechanisms being used by attackers to detect monitoring
ﬁngerprinting company than the current model of “one-size-                      environments and circumvent detection.
ﬁts-all” JavaScript and Flash.
   In the long run, the best solution against ﬁngerprinting                                          VII. R ELATED W ORK
through Flash should come directly from Flash. In the past,                        To the best of our knowledge, this paper is the ﬁrst that
researchers discovered that Flash’s Local Shared Objects,                       attempts to study the problem of web-based ﬁngerprinting
i.e., Flash’s equivalent of browser cookies, were not deleted                   from the perspectives of all the players involved, i.e., from
when a user exited her browser’s private mode or even when                      the perspective of the ﬁngerprinting providers and their



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ﬁngerprinting methods, the sites utilizing ﬁngerprinting, the                   by analyzing a corpus of data from when the CSS-visited
users who employ privacy-preserving extensions to combat                        history bug was still present in browsers. Today, however,
ﬁngerprinting, and the browser’s internals and how they                         all modern browsers have corrected this issue and thus,
relate to its identity.                                                         extraction of a user’s history is not as straightforward,
   Eckersley conducted the ﬁrst large-scale study showing                       especially without user interaction [41]. Olejnik et al. claim
that various properties of a user’s browser and plugins                         that large script providers, like Google, can use their near-
can be combined to form a unique ﬁngerprint [12]. More                          ubiquitous presence to extract a user’s history. While this
precisely, Eckersley found that from about 500,000 users                        is true [42], most users have ﬁrst-party relationships with
who visited panopticlick.eff.org and had Flash or                               Google, meaning that they can be tracked accurately, without
Java enabled, 94.2% could be uniquely identiﬁed, i.e., there                    the need of resorting to history-based ﬁngerprinting.
was no other user whose environment produced the same ﬁn-
gerprint. His study, and surprisingly accurate identiﬁcation                                           VIII. C ONCLUSION
results, prompted us to investigate commercial ﬁngerprinting                        In this paper, we ﬁrst investigated the real-life implemen-
companies and their approach. Yen et al. [18] performed                         tations of ﬁngerprinting libraries, as deployed by three pop-
a ﬁngerprinting study, similar to Eckersley’s, by analyzing                     ular commercial companies. We focused on their differences
month-long logs of Bing and Hotmail. Interestingly, the                         when compared to Panopticlick and discovered increased use
authors utilize a client’s IP address as part of their tracking                 of Flash, backup solutions for when Flash is absent, broad
mechanism, which Eckersley explicitly avoids dismissing                         use of Internet Explorer’s special features, and the existence
it as “not sufﬁciently stable.” As a way of protecting                          of intrusive system-ﬁngerprinting plugins.
oneself, the authors advocated the use of user-agent-spooﬁng                        Second, we created our own ﬁngerprinting script, us-
extensions. As we discussed in Section V, this is actually                      ing multiple novel features that mainly focused on the
counter-productive since it allows for more ﬁngerprinting                       differences between special objects, like the navigator
rather than less.                                                               and screen, as implemented and handled by different
   Mowery et al. [13] proposed the use of benchmark ex-                         browsers. We identiﬁed that each browser deviated from
ecution time as a way of ﬁngerprinting JavaScript imple-                        all the rest in a consistent and measurable way, allowing
mentations, under the assumption that speciﬁc versions of                       scripts to almost instantaneously discover the true nature
JavaScript engines will perform in a consistent way. Each                       of a browser, regardless of a browser’s attempts to hide
browser executes a set of predeﬁned JavaScript benchmarks,                      it. To this end, we also analyzed eleven popular user-agent
and the completion-time of each benchmark forms a part                          spooﬁng extensions and showed that, even without our newly
of the browser’s performance signature. While their method                      proposed ﬁngerprinting techniques, all of them fall short of
correctly detects a browser-family (e.g., Chrome) 98.2% of                      properly hiding a browser’s identity.
the time, it requires over three minutes to fully execute.                          The purpose of our research was to demonstrate that when
According to a study conducted by Alenty [38], the average                      considering device identiﬁcation through ﬁngerprinting,
view-time of a web page is 33 seconds. This means that,                         user-privacy is currently on the losing side. Given the
with high likelihood, the benchmarks will not be able to                        complexity of fully hiding the true nature of a browser,
completely execute and thus, a browser may be misclassi-                        we believe that this can be efﬁciently done only by the
ﬁed. Moreover, the reported detection rate of more speciﬁc                      browser vendors. Regardless of their complexity and
attributes, such as the browser-version, operating system and                   sophistication, browser-plugins and extensions will never
architecture, is signiﬁcantly less accurate.                                    be able to control everything that a browser vendor can.
   Mowery and Shacham later proposed the use of rendering                       At the same time, it is currently unclear whether browser
text and WebGL scenes to a <canvas> element as another                          vendors would desire to hide the nature of their browsers,
way of ﬁngerprinting browsers [39]. Different browsers will                     thus the discussion of web-based device ﬁngerprinting, its
display text and graphics in a different way, which, however                    implications and possible countermeasures against it, must
small, can be used to differentiate and track users between                     start at a policy-making level in the same way that stateful
page loads. While this method is signiﬁcantly faster than                       user-tracking is currently discussed.
the execution of browser benchmarks, these technologies are
only available in the latest versions of modern browsers,                          Acknowledgments: We want to thank our shepherd and
thus they cannot be used to track users with older versions.                    the anonymous reviewers for their valuable comments. For
Contrastingly, the ﬁngerprinting techniques introduced in                       KU Leuven, this research was performed with the ﬁnancial
Section IV can be used to differentiate browsers and their                      support of the Prevention against Crime Programme of the
versions for any past version.                                                  European Union (B-CCENTRE), the Research Fund KU
   Olejnik et al. [40] show that web history can also be                        Leuven, the EU FP7 projects NESSoS and WebSand, as
used as a way of ﬁngerprinting without the need of addi-                        well as the IWT project SPION. For UCSB, this work
tional client-side state. The authors make this observation                     was supported by the Ofﬁce of Naval Research (ONR)



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                      private palace.
              1817 W. S����� Abridgem. Law Nisi Prius (ed. 4) II. 1242 A person having a private way over the land of
                   another, cannot, when the way is become impassable by the overflowing of a river, justify going on
                   the adjoining land.
              1849 T. B. M������� Hist. Eng. II. vi. 142 News which reached him through private channels.
              1862 W. S����� Hist. Royal Acad. Arts II. 239 It had..been the custom to regard the anniversary dinner
                   as one of a private nature—a gathering of the members of the Royal Academy and of the friends and
                   patrons of art.
              a1911 D. G. P������� Susan Lenox (1917) II. xi. 285 A man strode toward the frosted glass door marked
                    ‘Private’.
              1992 Daily Star 16 Jan. 15/2 A drugs squad detective..has been suspended after claims that a cannabis
                   joint was rolled at a private party.

           b. Of or relating to a service provided on a paying basis, as opposed to through the State or
           another public body (sometimes with implication of benefit to an individual as distinct from a
           group).

           (a) Of, relating to, or designating teaching or other educational facilities
           provided on an individual basis, or for which fees are charged.
                Chiefly in compounds.
                In British use, private schools were originally contrasted with public schools which, while also
                charging fees, were run as charitable institutions for the benefit of the public, while private schools
                were run for the personal profit of the proprietors; this distinction was subsequently lost.


              1574 E. H��� Touchestone Time Present sig. F3 Now tell me whether priuate schoole or publicke better is.
              1574 E. H��� Touchestone Time Present sig. Ov But if the publique care Should happe to cease, then euery
                      man at home must needes prepare To haue a priuate teacher.
              1581 R. M�������� Positions xl. 228 If the maister minde his boorders eitheer only or most, where his
                   charge is ouer moe, where then is his dutie? if not, what gaine haue those boorders, by their maisters
                   priuate?
              1581 R. M�������� Positions xxxix. 183 (heading) Of priuate and publike education, with their generall
                   goods & illes.
              1670 D. L���� State Worthies (ed. 2) 402 When private Tutors had initiated, publick Schools had
                   seasoned, and the University had improved this Gentlemans sprightly and noble parts.
              1695 J. B������ Proposals Raising Colledge Industry 18 And I think such a Colledge-Education, under
                   good Rules, beyond any Private one, having several Advantages the Private will want.
              1756 M. C��������� Lett. & Jrnls. (1884) vi. 153 As for the boys of fashion,..if they are come from the
                   country, they are boarded in what they call a pension, or have a private tutor to teach them.
              1792 M. W������������� Vindic. Rights Woman xii. 361 The good effects resulting from attention to
                   private education will ever be very confined, and the parent who really puts his own hand to the
                   plow, will always, in some degree, be disappointed.
              1848 G. M������ Winchester Serm. II. Pref. What then..is a public school? and wherein does it
                   essentially differ from a private one?
              1875 A. T������� Prime Minister (1876) I. i. 6 He had been at a good English private school.
              1999 Financial Times 9 Oct. (FT 1,000 Schools Suppl.) 3/3 Several schools, including the five King
                   Edward VI grammar schools in the West Midlands, have raised the prospect of ‘going private’ if local
                   parents vote to abolish the 11-plus.




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private, adj.1, adv., and n. : Oxford English Dictionary                  https://www-oed-com.ezp-prod1 hul harvard.edu/view/Entry/151601?rs...
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           (b) Of, relating to, or designating medical treatment or facilities for
           which fees are charged to the patient instead of being provided by the
           State or a public body; spec. (in the United Kingdom since 1948)
           designating medical treatment or facilities outside the National Health
           Service.

              1754 W. S������ Treat. Midwifery II. xxvi. 437 I attended a private patient.
              1826 Lancet 5 Aug. 599/2 Many cases..to increase the revenue of some private practitioner.
              1859 F. N���������� Notes on Nursing vi. 38 I have often seen the private nurse go on dusting..while the
                   patient is eating... The above remarks apply much more to private nursing than to hospitals.
              1934 P. B������ Private Worlds xii. 114 They stood in a small private room off the ward, and looked
                   down at the moaning woman on the bed.
              1956 P. S���� Male Child �. i. 26 I spent most of April in a private nursing home.
              1967 P. W������� Consumer's Guide Brit. Social Services vi. 158 Financial help towards the cost of
                   private treatment is provided by several provident associations.
              1976 N. L����-T����� Doctors & Law iv. 35 The Government has announced that it intends..to abolish
                   private treatment in N.H.S. hospitals.
              1996 Private Eye 13 Dec. 14/2 Presumably some of the patients who get hacked off waiting 18 months for
                   an appointment decide to go private.



            c. Of, designating, or belonging to an industry or business conducted or
           controlled by an individual or independent (commercial) body, rather
           than a public body or the State. Frequently in private company n.,
           private sector n. at Compounds 2.

              1641 T. R�� Speech Parl. 5 We have yet another great help which is our owne..which is our fishing and
                   erecting of Busses..and this by private industry (though to private losse) is beaten out already.
              1723 F. H��������� Let. Member Parl. 3 Improving the Ground must be carried on by private Industry,
                   and Experiments of ingenious Men, more than by publick Laws.
              1790 J. A. P��� Syst. Law Marine Insurances (ed. 2) i. 9 Any policy subscribed by a private firm or
                   partnership, is absolutely void.
              1872 S. A. F��� Autobiogr. 140 I am not aware that any private corporation in this state can sue or be
                   sued except in its corporate name.
              1934 Clearfield (Pa.) Progress 5 Oct. 4/1 The government..has had much to say about certain practices in
                   the private business world by which fictitious values were created and traded on.
              1978 W. W. R����� Getting from Here to There xiii. 227 Growth was driven forward by..the expansion of
                   public and private services facilitated by rapidly rising real incomes.
              2005 Western Daily Press (Bristol) (Nexis) 21 Dec. 32 He has secured around £5million in private
                   backing for his electro-kinetic road ramp which is set to go into production next year.

            3.

            a. Concerning, involving, or affecting a particular person or group of
           people apart from the general community; individual or personal, rather
           than communal or shared.


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              a1400 Clensyng Mannes Sowle in Eng. Misc. presented to Dr. Furnivall (1901) 264 Priuate penaunce is
                   that penaunce which is done alday whan a man will priuely be confessed of his schrift fadir.
              c1475 (▸c1445) R. P����� Donet (1921) 131 (MED) Neiþir bi story which þe disciplis and heerers of þe
                    apostlis han writen, neiþir bi surest priuate reuelacioun, it is open þat crist maad enye suche positive
                    lawe.
              1526 W. B���� Pylgrimage of Perfection ��. sig. Ki Onely for their priuat profyte.
              1560 J. D��� tr. J. Sleidane Commentaries f. xxxiiijv Certen priuate dyspleasures did growe betwixte hym
                     and the Frenche kynge.
              a1616 W. S���������� Julius Caesar (1623) ��. ii. 73 For your priuate satisfaction..I will let you
                     know.
              1651 T. H����� Leviathan ��. xxii. 122 He, whose private interest is to be debated.
              1776 A. S���� Inq. Wealth of Nations I. �. x. 177 When masters combine together in order to reduce the
                     wages of their workmen, they commonly enter into a private bond or agreement.
              1838 C. T�������� Hist. Greece (new ed.) II. xv. 260 In reality they had only consulted their own private
                   ambition.
              1883 Law Rep.: Queen's Bench Div. 11 597 That the censure had been made injuriously and from motives
                   of private malice.
              1949 Archit. Rev. 105 248 The days when the designer ignored everything that didn't fall into line with
                   his own private taste.
              1992 N.Y. Times Mag. 31 May 44/3 Fingers splayed in private ecstasy, [he] starts dancing all over the
                   stage.



           †b. Peculiar to a particular person, community, etc.; particular or
           special. Obsolete.

              1526 Bible (Tyndale) 2 Pet. i. 20 So that ye fyrst knowe this, that no prophesy in the scripture hath eny
                   private interpretacion [ Wyclif ech prophecie..is not maad bi propre interpretacioun; Coverdale no
                   prophecie..is done of eny priuate interpretacion; Geneva is of any priuate motion; Rhem. is made by
                   priuate interpretation; 1611 is of any priuate interpretation.]
              1559 in J. Strype Ann. Reformation (1709) I. App. viii. 20 The realm of Englande hath been alwaies
                    governyd by private lawes and customes.
              1593 T. B����� Perpetual Govt. Christes Church vii. 86 Neither was this priuate to Timothie, but..it was
                   vsuall in the Apostles times.
              1651 C. C��������� Certamen Religiosum �. 120 How can any man assume to himselfe a freedome from
                    Erring by the assistance of a private Spirit?



           c. Biology. Of a protein, mutation, etc.: occurring only in a restricted
           population.

              1956 Science 13 Apr. 633/2 It would seem that the Diego factor is not a ‘private’ blood group, but rather
                   that its incidence is high in Indians.
              1969 Vox Sanguinis 17 305 The new private antigen Pta is probably inherited as a Mendelian dominant.
              1991 New Scientist 7 Dec. 31/2 Some mutations, so-called ‘private’ mutations, are so rare that they occur
                   in only one family.
              2004 Diabetes Care (Nexis) 27 1798 In Ojibwa-Cree indigenous Canadians, a private mutation..present



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                     in 20% of the population predisposes to diabetes.

            4.

            a. Of or relating to a person as an individual or in a non-official
           capacity; not connected with one's work or official position. Frequently
           in private life n. at Compounds 2.

              1421 in W. Fraser Douglas Bk. (1885) III. 242 Archibald erle of Douglas..Giffin onder owr prewait seill.
              a1525 Bk. Chess l. 762 in W. A. Craigie Asloan MS (1923) I. 105 Thir Iudges suld richt veill attend fra
                    pryvate luif.
              1613 S. P������ Pilgrimage 286 In a priuate habit he visited the Markets, and hanged vp the hoorders of
                    coine.
              a1668 W. D������� Play-house to be Let ��, in Wks. (1673) 109 Kings who move within a lowly sphear of
                   private love, Are too domestick for a Throne.
              1713 R. S����� in Guardian 30 May 1/2 The private Letters of great Men are the best Pictures of their
                    Souls.
              1797 W. G����� Enquirer �. vii. 59 A private pupil is too much of a man.
              1830 Chron. in Ann. Reg. 259/1 The eldest of three sons of the grand-duke Charles-Frederick, by his
                   morganique, or private-marriage, with Louisa-Caroline, countess of Hochberg.
              1878 W. E. H. L���� Hist. Eng. 18th Cent. I. i. 161 The influence which his good private character..once
                   gave him had been rapidly waning.
              1885 Atchison (Kansas) Daily Globe 1 May A communication..by the State Veterinary Surgeon... ‘I went to
                   Fulton as a private investigator nearly three weeks ago.’
              1920 H. B����� Mirrors of Downing St. 7 The private opposition he [sc. Lloyd George] encountered in
                   Downing Street.
              2002 D. D. N. N������ Constit. Law in Botswana ��. ii. 82 An interesting issue that is not directly
                   addressed by the Constitution is whether the President can consent to being sued in his private
                   capacity.



           b. Of a person or company of people: not holding public office or official
           position; not officially recognized or authorized.

              1437 Rolls of Parl. IV. 508/1 The commen sale and issue of alle ye Wolles..have been..hindred..by
                   specialle licences graunted to private personnes, a part for to selle hir owne Wolles and Wollefelles at
                   large for his singuler avauntage and ayeinst ye commen prouffit.
              ▸ a1475 J. F�������� Governance of Eng. (Laud) (1885) 125 He lyved..in more subgeccion than doth a
                    priuate person.
              1549 Bk. Common Prayer (STC 16267) Ceremonies f. xxxv* The appoyntmente..pertayneth not to pryuate
                   menne.
              1589 G. P�������� Arte Eng. Poesie �. xxiv. 38 It [sc. war] toucheth the whole state, and euery priuate
                   man hath his portion in the damage.
              1644 J. M����� Areopagitica 16 No Poet should so much as read to any privat man, what he had writt'n.
              1673 J. R�� Observ. Journey Low-countries 305 When the Gallies are at home those [slaves] that belong
                   to private persons are permitted to lodge in their Masters houses.
              1712 R. S����� Spectator No. 429. ⁋8 A Woman of Quality; married to a private Gentleman.




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              1776 A. S���� Inq. Wealth of Nations I. �. ix. 113 As the capital of a private man..may increase beyond
                     what he can employ in it..so may likewise the capital of a great nation.
              1817 J. E���� Excursion to Windsor 72 It was a most uncommon thing for a private man, and a
                    commoner, to be honoured with so long an audience.
              1885 List of Subscribers Exchange Syst. (United Telephone Co.) (ed. 6) 233 (advt.) The Birkbeck Bank
                   opens Drawing Accounts with trading firms and private individuals.
              1930 G. B. S��� Apple Cart p. xix We cannot do this as private persons. It must be done by the
                   Government or not at all.
              1993 Time Internat. 18 Jan. 30/3 Godwin's group is advocating that the government let private
                   individuals use the most powerful encryption systems.



           †c. Of a city or town: not forming a seat of government; not a capital.
           Obsolete. rare.

              1632 W. L������ Totall Disc. Trav. ���. 334 This Citty..was once the Capitall seat of the Kingdom, though
                   now..it is onely become a priuate place.

            5.

            a. Belonging to or forming the exclusive property of a particular
           individual, company, etc.

              1442 in A. H. Thompson Visitations Relig. Houses Diocese Lincoln (1919) II. 52 Ye and thai aftere your
                    rewle lyfe in commune..levyng vtterly all pryuate hydles, chaumbres and syngulere housholdes.
              c1484 (▸a1475) J. �� C������� tr. Secreta Secret. (Takamiya) (1977) 135 (MED) It is conuenient..to
                    haue in hys howsold priuat seruauntys.
              ?1504 W. A������� tr. Thomas à Kempis Ful Treat. Imytacyon Cryste (Pynson) ���. 221 The xxxi.
                    chapiter, the loue of pryuate thynges & of mannys selfe letteth the perfyte goodnes of mannys soule.
              1560 J. D��� tr. J. Sleidane Commentaries f. cxxvij They teache howe it is not lawful for the christians..to
                   haue any thynge priuate, yt al things ought to be common.
              1598 E. F��� Parismus xxi. sig. X Shee went out of the Prison, by a priuate Key which shee had alwayes
                   about her.
              a1616 W. S���������� Julius Caesar (1623) ���. ii. 241 He hath left you all his Walkes, His priuate
                     Arbors,..On this side Tyber.
              1638 F. J����� Painting of Ancients 147 As for private Libraries, Martial teacheth us, That in them the
                   Images of such Writers as were as yet surviving, might bee admitted.
              1690 J. L���� Ess. Humane Understanding ���. xi. 254 For Words..being no Man's private possession,
                   but the common measure of Commerce and Communication.
              1799 W. T���� View Russ. Empire II. 531 The late empress having..relinquished her imperialties on the
                   private mines.
              1840 C. T�������� Hist. Greece VII. 335 He sent back his brother Menelaus..together with his private
                   baggage.
              1899 Westm. Gaz. 21 Sept. 4/1 He hoped it would not go forth from the Conference that they wanted to
                   stamp out all private venture schools.
              1942 Antiquity 16 96 The establishment was certainly built as a private burial-place by a prominent local
                   family.




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              1991 R. F������� Henry Miller vi. 106 He had a large estate in Scarsdale and a private golf course.



            b. Of a ship: (a) privately owned, operating commercially; see also
           private man of war n., private ship of war n. at Compounds 2; (b) (in
           the Royal Navy) under the command of a captain only, rather than a
           commodore or admiral.

              1610 P. H������ tr. W. Camden Brit. 36 What with ships for convoy of corne and victuals, and what with
                   other private vessels that every man had built for to serve his owne turne, there was 800. saile and
                   above.
              1636 Welwood's Abridgem. Sea-lawes (new ed.) xxviii. 240 Captaines of Princes warfare-shippes should
                   be..vigilant, diligent, and carefull... Their commandement and power over their company, not onely
                   surpasseth the power of Masters and Commanders of private shippes, but also that of the Captaines
                   on land.
              1708 T. L������ Neat Duties on All Merchandize 176/1 Imposition... Cloth on Private Ships, 20 per
                   Cent.
              1790 Aberdeen Mag. 23 Sept. 565/1 It was the intention of the Minister that he should embark in a
                   private vessel, without Government appearing to have any concern in it.
              1845 Jrnl. Royal Geogr. Soc. 15 294 Letters are made up by a local post-office, and sent to Lisbon by
                   private ships.
              1909 Times 25 May 14/4 The Boadicea is to commission first as a private ship, but will subsequently
                   relieve the Topaze, flying the broad pennant of commodore.
              1986 N. A. M. R����� Wooden World (1988) i. 18 The decisions of a young commander of a sloop
                   cruising alone might be more difficult than those of a senior post-captain commanding a private ship
                   in a large squadron.
              2005 Malaysia Gen. News (Nexis) 4 Jan. Donations..had been collected for tsunami victims in Acheh and
                   would be sent via Port Klang tomorrow with the help of the Malaysian Navy and private vessels.



            6. Kept or removed from public view or knowledge; secret; †concealed
           (obsolete).

              1472–3 Rolls of Parl. VI. 29/2 After that dyvers of the Lordes and Knyghtes of the Shires were departed,
                    by mervelous pryvat labour a Bille signed by the Kyng was brought to the seid Commens.
              1533 J. B�������� tr. Livy Hist. Rome (1901) I. 225/12 The faderis, movit to hie displeseris be thir
                   persand wourdis, held..mony private consultatiouns.
              1594 W. S���������� Henry VI, Pt. 2 ��. ii. 60 In this priuate place, be we the first to honor him with
                   birthright to the Crown.
              1615 R. B�������� Strappado 120 Which he suspecting, lay in priuate wait, To catch the knaue.
              1669 R. M������� in Buccleuch MSS (Hist. MSS Comm.) (1899) I. 441 She desired..to send it over in my
                   name, because that way it would be privater.
              1700 J. T������ Gen. Hist. Eng. II. 842 He lay private, till his Peace was made with the King.
              1726 G. L���� tr. L. B. Alberti Architecture I. 52/1 If the sound comes to you dead, and flat, it is a sign of
                   some private [It. interna] infirmity.
              1753 S. R��������� Hist. Sir Charles Grandison VI. xliv. 280 No hugger mugger doings—Let private
                   weddings be for doubtful happiness.




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              1839 C. D������ Nicholas Nickleby lx. 594 The same love of gain which led him to contract this marriage,
                   led to its being kept strictly private.
              1890 Lippincott's Monthly Mag. Jan. 13 It should be kept private for a time.
              1977 Audubon May 4 The nest site is kept hidden, the jays approach it secretly, and nest-building and
                   egg-brooding are very private.
              1991 H. B������ Runaway Soul 360 One's illicit uncensored private responses to war stuff was maybe a
                   wistful and vicarious viciousness or a heroic unvicarious viciousness.

            7.

            a. Of a conversation, communication, etc.: intended only for or
           confined to the person or persons directly concerned; confidential.

              1560 J. D��� tr. J. Sleidane Commentaries f. cxiijv The byshoppes hauynge priuate talke with the Quene.
              1650 W. B����� Sacred Princ. 285 Private Confession is reteined in the Reformed Churches.
              1734 B�. J. S������ Let. 25 June in J. Swift Corr. (1965) IV. 236 I shall put off my defence till I have the
                   pleasure of half an hour's private conversation with you.
              1791 A. R�������� Romance of Forest I. vi. 222 I supplicate of you a few moments private discourse.
              1857 A. T������� Barchester Towers xlvii He received a letter, in an official cover, marked ‘private’.
              1894 ‘A. H���’ Prisoner of Zenda ix. 128 I could hear no words, but Detchard's head was close to that of
                    the taller of his companions... ‘H'm! Private communications,’ thought I.
              1940 R. S. L������ Ariel & all his Quality ix. 244 A letter was delivered..addressed ‘H. Brown, Esq.,
                   Broadcasting House’. It was not marked ‘Personal’ or ‘Private’.
              1991 N.Y. Times Mag. 1 Dec. 30/2 Most of us miss these allusions; they are private communications to the
                   cognoscenti.



           †b. Of a person: intimate or confidential (with a person); sexually
           intimate. Obsolete.

              1574 E. H������� tr. A. de Guevara Familiar Epist. 274 The Court is not but for men yt be priuate and in
                     fauour, that can gather the frute thereof.
              1612 J. W������ White Divel ���. i. 20 My lord duke & she have been very private.
              1641 W. M������� in Buccleuch MSS (Hist. MSS Comm.) (1899) I. 286 The King is often very private
                   with Digby and Bristow.
              1648 T. G��� Eng.-Amer. 205 A great Politician, and very familiar, private, and secret with the
                   Archbishop of Canterbury.
              1821 L�. B���� Marino Faliero (2nd issue) ��. i. 102 Dismiss This menial hence; I would be private with
                   you.

            8. Telephony and Telegraphy.

            a. Of a telephone or line: that is permanently for the exclusive use of the
           subscriber, or not connected to the public network. Of a number: (a) ex-
           directory; (b) belonging to a private address rather than business
           premises. Chiefly in private line n., private number n. at Compounds 2.

              1852 L. T������� Lect. on Electro-magnetic Telegr. 137 Nearly all the railroad companies have private



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                     lines for their own use, and preparations are now making, which..will include every town..throughout
                     Germany in this network of communications.
              1878 Telegr. Jrnl. 6 51/1 The regulations concerning the despatch and receipt of telegrams, the tariffs for
                   the same, and for the renting of private wires.
              1924 J. B����� Three Hostages xvi. 235 This must be a private telephone..of which only his special
                   friends knew the number.
              1976 T. H. F������ Introd. Exchange Syst. i. 11 Picture telegraphy..is possible over the telephone service
                   lines but difficulties discourage small users and encourage large users of such services to rent private
                   circuits not subject to switching.
              1990 J. B������� Homecoming x. 203 I changed my private phone number..to an unlisted number.
              1996 Vancouver Sun 13 Apr. �17 (advt.) Service will not provide numbers from cellular callers or call
                   blocked or private numbers.



            b. Designating components of an exchange circuit whose electric
           potential indicates the condition of a particular subscriber's line, used to
           test whether the line is in use without interfering with a call in progress.
           Frequently in private wire n. at Compounds 2.

              1852 Times 20 July 3/6 The merchants and stockbrokers of this country..will form their own opinions as
                   to the propriety of A K messages and private wires.
              1906 J. P���� Pract. Telephone Handbk. (ed. 3) xxx. 486 When a current is started and stopped through
                   the ‘private’ magnet, the end of the side-switch arm slips under the outer tooth.
              1919 R. M����� Strowger Automatic Telephone Exchange i. 23 The whole arrangement of fixed contacts
                   is called the connector bank; the upper half the private bank, and the lower the line bank.
              1942 J. P���� Telephone Handbk. x. 238 The potential on the private conductor throughout the call is
                   normally that of earth.
              1969 S. F. S���� Telephony & Telegr. A vi. 153 A third wire is therefore provided on all connexions
                   through the exchange, the potential of which indicates the condition of the circuit. This avoids
                   intrusion on calls in progress and is called the private wire, usually abbreviated to ‘P-wire’.



           c. Of a telephone exchange: serving private lines. Chiefly in private
           branch exchange n. at Compounds 2.

              1891 J. P���� Pract. Telephone Handbk. vii. 124 Fig. 102 represents a type of switch-board which was
                   designed by the writer in 1881 for the use of private telephone exchanges.
              1983 New Scientist (BNC) 28 Apr. Mercury is waiting for Telecom to connect its equipment with a private
                   telephone exchange.
              1998 What Cellphone Aug. 104/3 (Gloss.) PABX , Private Automated Branch Exchange. Automated multi-
                   extension exchanges or switchboards as used nowadays by most offices.

            II. Relating to or connected with activities restricted to one person or a few people.

           9. Of a place: unfrequented, secluded; affording privacy.

              a1513 R. F����� New Cronycles Eng. & Fraunce (1516) I. clix. f. lxxxviiv Ye sayd Bysshoppes were
                     depryued of theyr dignyties and put into pryuate Houses of Relygyon.




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              1662 J. R�� Three Itin. ��. 162 We went to Shap,..where we saw the ruins of the abbey, very pleasantly
                   situate in a private valley.
              1746 P. F������ & W. D����� tr. Horace Satires �. ix. 145 In private haunt, in public meet, Salute, escort
                   him through the Street.
              1750 Bible (Challoner) III. Psalms x. 8 He sitteth in ambush with the rich in private places, that he may
                   kill the innocent.
              1756 J. W������ Jrnl. (1971) i. 29 I frequently withdrew into private places and often with tears
                   besought the Lord to help me.
              1817 J. E���� Excursion to Windsor 192 I scarce go out of my own house, and then only to two or three
                    very private places, where I see nobody that really knows anything.
              1896 A. R. W���� Youth's Educator iv. 36 She reserves all those disagreeable fashions for a more private
                   place.
              1924 Nevada State Jrnl. 6 Dec. 1/1 The train on which Mr. Coolidge returned was more private.
              1991 J. P������� You'll never eat Lunch in this Town Again (1992) 345 The first thing one needs to find is
                    a private place for bathroom requirements.



            10. Of a person, etc.: retiring, reclusive; living a quiet or secluded life;
           reserved, unsociable.

              1585 R. P������ Christian Directorie ��. i. 191 S. Antony..a little before had professed a priuate and a
                   solitarie life in Egypt.
              1599 M. D������ Idea in Englands Heroicall Epist. (new ed.) sig. P5 O God from you that I could priuate
                   be.
              1630 tr. G. Botero Relations Famous Kingdomes World (rev. ed.) 58 Their women are very private,
                   fearefull to offend.
              1673 R. L���� Transproser Rehears'd 79 How one of his private condition and breeding could arrive to
                   this degree of court-ship.
              1759 R. J������ Hist. Rev. Pennsylvania 379 'Tis true, but..so very private, that in the Herd of Gentry
                   they are hardly to be found.
              1850 L. H��� Autobiogr. xvii. 267 The privatest of all public men found himself complimented.
              1991 Vanity Fair (N.Y.) Sept. 240/2 Unlike the Bloomsburys,..the leading writers in London today tend
                   like Drabble and Holroyd to be very private.



           11. Of a person or two people: alone; undisturbed by others.

              1599 W. S���������� Romeo & Juliet �. i. 134 Away from light steales home my heauie sonne, And
                     priuate in his Chamber pennes himselfe.
              1623 W. S���������� & J. F������� Henry VIII ��. ii. 14 I left him priuate, Full of sad thoughts and
                     troubles.
              1752 S. F���� Taste �. 3 Let us be private.
              1851 H. M������� Moby-Dick iii. 17 No man prefers to sleep two in a bed... I don't know how it is, but
                   people like to be private when they are sleeping.
              1928 D. H. L������� Lady Chatterley's Lover x. 140 A man could no longer be private and withdrawn.
                   The world allows no hermits.
              1983 J. L������ Winter Visitor i. 9 Ed Black wanted to be private, you could tell that at a glance.



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           †12. Privy to; = ����� adj. 4a. Also with with. Obsolete.

              1601 B. J����� Fountaine of Selfe-love �. ii. sig. B3v Had Eccho but beene priuate with thy
                     thoughtes.
              ?1635 F. Q������ Argalus & Parthenia (new ed.) ��. 81 Not making any private to her flight, She quits the
                    house, and steales away by night.
              1742 Cervantes' Novels, Lady C. Bentivoglio 92 That Maid-servant of mine, who was private [1640 privie]
                   to my Actions.



           †13. Of a person: secretive, reticent; discreet, dependable in confidential
           matters. Obsolete.

              a1625 J. F������� Wife for Moneth �. i, in F. Beaumont & J. Fletcher Comedies & Trag. (1647) sig.
                   Ffffff4v/1 You know I am private as your secret wishes, Ready to fling my soule upon your service.
              1660 A. M������ Let. 8 Dec. in Poems & Lett. (1971) II. 9 We hope you will be private in these things
                   communicated to you out of faithfulness to your intrest.
              1824 W. S���� Redgauntlet II. xii. 278 You must give me yours [i.e. your word] to be private in the
                   matter.

            B. adv.

            Privately; secretly, in private. Now chiefly regional and nonstandard.

              ▸ c1443 R. P����� Reule of Crysten Religioun (1927) 364 Alle þe lyuyng of religiose persoones which þei
                    leeden priuate and singuler..comeþ into þe lawe of god.
              a1592 R. G����� Hist. Orlando Furioso (1594) sig. Hiiv Nere had my Lord falne into these extreames,
                     Which we will parle priuate to our selues.
              1660 S. P���� Diary 6 Mar. (1970) I. 79 Everybody now drink the King's health..whereas before it was
                   very private that a man dare do it.
              1704 J. T���� Abra-Mule �. i. 117 I came private, and unattended.
              1759 J. S����� Let. 1 July in Beekman Mercantile Papers (1956) II. 663 The busnes Was Careyed on So
                   privet that I did not know of it until it was all over.
              1821 W. S���� Kenilworth I. viii. 202 He..came not thither so private but what he was espied by one who
                   told me.
              1876 ‘M. T����’ Adventures Tom Sawyer xxxv. 272 I'll smoke private and cuss private.
              1905 A. M. B������� Mop Fair viii. 135 They arranges to stop ‘private’ in Brighton, at a little case in Black
                   Lion Street where Tom Reeder annually took his old woman every August.
              1977 I. S��� Beggarman, Thief �. ii. 25 We got some things to talk about together, private, him and me.
              1996 C. I. M������ Conc. Ulster Dict. 262/2 Private, privately, thus live private live on a private income.

            C. n.
            I. A private affair or thing.
            1.

            a. in private: privately, confidentially, or secretly; in private company;
           in private life. Formerly also †on private.


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              1469 Charter Edinb. Reg. House No. 419 I sall neuer in privat nothr in part be me or ony otheris..hendyr
                   [etc.].
              1581 R. M�������� Positions xxxix. 188 Doth not that deserue to be liked on in priuate, which is
                   thoroughly tryed being showed forth in common?
              1582 R. S��������� tr. Virgil First Foure Bookes Æneis �. 9 Hee walcks on priuat with noane but faythful
                   Achates.
              1615 G. S����� Relation of Journey 171 Confesse they do, but not greatly in priuate.
              1672 R. B����� Church told of Bagshaw's Scandals iii. 32 Could you wish..that the..Protestant Religion
                   were kept up by none but the unconformable Ministers in private?
              1732 T. L������ tr. J. Terrasson Life Sethos II. ��. 273 You are absolutely forbidden speaking to him in
                   private.
              1791 A. R�������� Romance of Forest I. v. 197 If you must be tyrannical, Madam, indulge your humour in
                    private.
              1832 H. M�������� Life in Wilds vi Let each family eat in private.
              1896 C. G. D. R������ Forge in Forest viii. 101 Would you speak with me in private, Father?
              1952 B. D������� Rep. S. Afr. �. i. 27 No serious South African will argue any longer (at least in private)
                   that apartheid..can work.
              1992 Face Feb. 14/2 Ashley..[is] willing to say in print what many more are muttering in private.



           †b. Seclusion, privacy. Obsolete.

              a1616 W. S���������� Twelfth Night (1623) ���. iv. 88 Go off, I discard you: let me enioy my
                     priuate .
              a1641 J. W������ & T. H������ Appius & Virginia (1654) ��. 11 I see there's nothing in such private
                    done, but you must inquire after.
              a1657 G. D����� Idyllia in Poems (1878) IV. i. 58 Perhaps I have To my owne Private, had reflects, as
                    grave On my Condition.

           †2.

           a. A private or personal matter, business, or interest; (in plural) private
           affairs. Obsolete.

              1549 N. R����� Let. in R. Potts Liber Cantabr. (1855) I. 245 [Letters] to signifye..the privits of my hart
                   and consciance.
              1592 H. U���� Corr. (1847) 289 I will no longer hold your Lordship with this my privatt.
              1606 W. W����� Continuance Albions Eng. ��. xcvi. 383 Phocas for his Priuats Rome the Supreme Sea
                   promoted.
              1611 B. J����� Catiline ���. sig. G2v Nor must I be vnmindfull of my priuate .
              1642 J. M���� Argument Militia 7 When it concerns any mans private.
              1674 R. J������� Diary 10 May (1976) 575 My private very afflictive.



           b. A private opinion. Obsolete. rare.

              1599 A. D�� Eng. Secretorie (rev. ed.) �. sig. U1 Yet may you vouchsafe in your owne priuate to reckon



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                     mee with the greatest in willingnesse.



           †3. A lavatory; = ����� n. 1. Obsolete. rare.

              1600 J. H������� Facile Traictise Sacram. 281 Ȝoung wemen..casting thair new borne babes in filthie
                   priuets, vthers in colpots, and in vther secret places.



           4. In plural. The genitals. Cf. private parts n. at Compounds 2.
                In quot. 1604 also punningly with sense C. 9a.


              1604 W. S���������� Hamlet ��. ii. 236 In the middle of her fauours..her priuates we.
              1756 M. M����� Diss. Nature & Cure Venereal Dis. 12 They both affect the Privates in the same Manner.
              1772 N. D. F���� Treat. Venereal Dis. �. ii. 28 Women have naturally many discharges from their privates,
                   to which men are strangers with theirs.
              1835 A. S���� Diary 29 July (1940) II. 136 They had a piece of skin bound round the body and a piece of
                   rag hanging before the privates.
              1900 G. M. G���� & W. L. P��� Anomalies & Curiosities Med. xiv. 734 The man..cut off the whole
                   external genital apparatus, remarking as he flung the parts into a corner: ‘Any—fool can cut his
                   throat, but it takes a soldier to cut his privates off!’
              1940 C. M�C������ Heart is Lonely Hunter ��. iv. 155 He's so fat he hasn't seen his privates for twenty
                   years.
              1955 S. B������ Molloy 77 She..thrust her stick between my legs and began to titillate my privates.
              1993 Sun 31 May (Summer Soccer Special) 7/2 I kicked the ball across the pitch for a throw-in and it hit
                   my old Cambridge team-mate John Francis in the privates. He dropped like a stone.



           †5. A private or confidential communication. Obsolete. rare.

              a1616 W. S���������� King John (1623) ��. iii. 16 The Count Meloone,..Whose priuate with me of the
                     Dolphines loue, Is much more generall, then these lines import.



           6. slang. [Short for private school n. at Compounds 2] In the language
           of British public schools, esp. Eton College: a preparatory school.

              1925 C. C������� Let. 6 Apr. in Romantic Friendship (1975) 64 I met quite a nice small boy who is at my
                   private.
              1932 N. M������ Christmas Pudding v. 81 At my private..we had a most handy little cemetery for the
                   fathers, just behind the cricket pav.
              1965 Listener 22 July 128/1 What private were you at?
              1986 ‘J. �� C����’ Perfect Spy xii. 323 Look here, old boy..I don't think we should go through life wearing
                    hairshirts about what we did at our private.



           7. colloquial. [Short for private ward n. at Compounds 2] = private
           ward n. at Compounds 2.

              1942 M. D������ One Pair of Feet vii. 116 People who told me I should be a house-parlourmaid ‘on



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                      Privates’ had over-estimated. I was Dogsbody.



           8. colloquial. [Short for private bar n. at Compounds 2] = private bar
           n. at Compounds 2.

              1963 N. M���� Dead Water i. 9 There was only one other woman in the Private beside Jenny.
              1975 A. H����� Gently with Love xxxiii. 132 Come into the private—I would not have you leave without a
                   crack.

            II. A private person.
           †9.

           a. A person who does not hold any public office or position. Obsolete.

              1483 Catholicon Anglicum (BL Add. 89074) (1881) 291 A Priuate, priuatus.
              a1616 W. S���������� Henry V (1623) ��. i. 235 And what haue Kings, that Priuates haue not too, Saue
                      Ceremonie, saue generall Ceremonie?
              1671 J. M����� Samson Agonistes 1211 I was no private but a person rais'd With..command from Heav'n
                      To free my Countrey.



            b. the private: people who hold no public office, as a class. Opposed
           to the public. Obsolete.

              1716 A. P��� Corr. 29 Nov. (1956) I. 377 You have already done enough for the Private, do something for
                    the Publick.
              1744 R. N���� & M. N���� Life Sir D. North & Rev. J. North 234 Who hath neither Inclination nor
                   Temptation to court the Public, or flatter the Private.



            10. An ordinary soldier of the lowest ranks; (in the British Army) a
           soldier below the rank of lance corporal; = private soldier n. at
           Compounds 2. Also as title. Formerly also: an ordinary sailor of the
           lowest ranks.
                This rank has many alternative names in different parts of the British Army, as Fusilier,
                Guardsman, Gunner, Highlander, Kingsman, Rifleman, Sapper, Signaller, Trooper, etc.


              [1756 G. W��������� Let. 21 July in Writings (1931) I. 408 John Coke, who was appointed to your
                    Company, a Sergeant, has since been broke for neglect of Duty. You will receive him as private and in
                    his room as Sergeant, Mark Hollies.]
              1775 Jrnl. Continental Congress 2 188 Regular companies of Militia..consist of one Captain,..one
                    drummer, one fifer, and about 68 privates.
              1797 Parl. Reg. 1797–1802 II. 419 The respective increase of monthly pay for able seamen, ordinary
                   seamen, and landmen, with 2d. per day to the non commissioned officers of marines, and 2¼ d. to
                   the privates, would produce a sum total yearly £.351,000.
              1810 D��� �� W��������� Dispatches (1836) VI. 45 One officer, four serjeants and fifty privates of the
                   23rd light dragoons.
              1863 Army & Navy Jrnl. (U.S.) 3 Oct. 84 The privates employed in the Navy are classed in the following




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                     rates.
              1898 Westm. Gaz. 18 July 5/3 The officerless privates then went in and did nobly.
              1918 Aussie: Austral. Soldiers' Mag. Aug. 9/2 The C.O. endeavours to persuade Private Hardcase to
                   accept Blighty Leave.
              1954 W. F������� Fable (1955) 54 Two British privates were resting on the firestep of a frontline trench.
              1991 Combat & Survival Nov. 12/2 Everyone I spoke to, from the most junior Private to the Commander
                   of 3rd Brigade..seemed confident that they belonged to a team of professionals.




           C��������

            C1.
            a. General attributive (chiefly in sense A. 2).

            private assembly n.

              1564 A. B���� tr. J. Jewel Apol. Churche Eng. sig. Pi The Bysshops of the weste parte of the worlde didde
                   call togeather Synodes, and make priuate assemblies in their Prouinces.
              1621 P. H����� Microcosmus 51 These latter being called Hugonotts, so named as they say of a gate in
                   Tours (where they first began) called Hugo's gate, out of which they vsed to goe to their priuate
                   assemblies.
              1651 T. H����� Leviathan ��. xix. 99 If it [sc. the succession] be in any other particular Man, or private
                    Assembly, it is in a person subject, and may be assumed by the Soveraign at his pleasure.
              1797 E. M����� in J. Reynolds Wks. I. p. lv When not engaged..in some publick or private assembly, or at
                   the theatre.
              1842 Times 14 Apr. 4/5 He had summoned only a private assembly in a corner of the Reform Club.
              1910 Encycl. Relig. & Ethics III. 176 The prohibition of public worship drove the people to private
                   assemblies.
              1983 Russ. Rev. 42 143 Dostoevsky committed the indiscretions that resulted at once in his arrest,
                   declaiming Belinsky's radical letter to Gogol at more than one private assembly.
              2013 C. T��� tr. P. Cossart From Deliberation to Demonstration i. 66 If a representative of authority wants
                   to enter a private assembly, the organizer can deny him access.



            private baptism n.

              1549 Bk. Common Prayer (STC 16267) Priuate Baptisme f. v*v, (heading) Of them that be Baptised in
                     priuate houses in tyme of necessitie... Priuate Baptisme.
              1662 Bk. Com. Prayer The Ministration of Private Baptism of Children in houses.
              1774 Philos. Trans. (Royal Soc.) 64 439 The number of children, who died after receiving only private
                   baptism, in consequence of which their deaths were registered, but not their births, amounts to 17.
              1852 J. B����� (title) A manual for the visitation of the sick..to which is added, the office for private
                   baptism.
              1996 Hist. Jrnl. 39 1000 The Breslau messenger Merkert, who had baptised his own child, was acquitted by
                   the courts on the grounds that private baptisms were legal.




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            private boarding house n.

              1795 Times 5 Jan. 4/2 (advt.) Many years established as a private Boarding House.
              1818 Proc. & Rep. Commissioners Univ. Virginia 21 The dieting of the students should be left to private
                   boarding-houses of their own choice.
              1987 Toronto Star (Nexis) 14 Jan. �16 If you're troublesome, alcoholic, or restive, chances are you'll be
                   forced by economics to live in places like Channan Court, a notorious private boarding house.
              2013 S. R������� Preventing Emotional Abuse & Neglect ix. 196 The lack of protections for people living
                   in the private boarding house and hostel sector resulted in many abuses over time.



            private brougham n.

              1848 Spectator 5 Feb. 129/2 Hackney cabs would soon get to rival private broughams in their comfort and
                   appearance.
              1864 A. T������� Can you forgive Her? I. xxxix. 304 He saw Mrs Greenow issue forth from the Close in a
                   private brougham, accompanied by one of the Fairstairs girls.
              1922 J. J���� Ulysses ��. vii. [Aeolus] 143 Hackney cars, cabs, delivery waggons, mailvans, private
                   broughams.
              1999 J. G����� After Dickens ii. 48 Nicholas himself becomes an idol of the town, rich, feted: ladies of the
                   chorus on every chaise longue, while countesses by the dozen wait near the stage door discreetly
                   expectant in their private broughams.



            private carriage n.

              1787 Daily Universal Reg. 17 Jan. 3/2 She was interred in her family-vault at Sutton, in Essex, to which
                   place she was drawn by a hearse and six horses, followed by her own private carriage.
              1826 W. H��� Every-day Bk. (1827) II. 57 Private carriages..draw up to the box door with a vigorous
                   sweep.
              1921 V. W���� String Quartet in Monday or Tuesday 59 Private carriages..have been busy at it, weaving
                   threads from one end of London to the other.
              1999 T. M�� Victorian & Edwardian Horse Cabs 13 The cabs that they ran were only one type of vehicle
                   amongst many that they made available, others often including omnibuses and hearses or mourning
                   coaches, as well as a variety of private carriages.



            private chapel n.

              1564 T. H������ Answere to Iuelles Chalenge i. f. 25v By this decree we learne, that then Masses were
                     commonly sayd in priuat chappelles at home.
              1691 A. W��� Athenæ Oxonienses I. 579 He bequeathed all his books, his two Chalices, his Crewetts, holy
                   water stock [etc.]..to his private chappell in London.
              1786 Daily Universal Reg. 19 Sept. 2/3 Their Majesties attended by four of the Princesses, went to the
                   private Chapel at Windsor, and heard divine service there.
              1839 H. W. L��������� Hyperion I. ��. ix. 195 Besides, he is known as a man of learning and piety;—has
                   his private chapel, and private clergyman.
              1994 Church Times 25 Nov. 9/4 Part of the design includes a tricanale, which came from the designs of



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                     Andrewes's private chapel.
              2009 W. L����� Amico i. 31 The king,..who was known for his piety, heard a simple form of Mass, or
                   devotions, probably early in the morning in the private chapel in the palace.



            private communion n.

              1564 T. H������ Answere to Iuelles Chalenge ii. f. 42 Many of the places that I alleged in the article before
                   this for priuate communion, may serue to this purpose very wel.
              a1649 J. W������� Hist. New Eng. (1853) I. 340 Excommunication is no other but when Christians
                   withdraw private communion from one that hath offended.
              a1776 D. H��� Hist. Eng. (1854–6) IV. xlvii. 443 The rites introduced by James regarded the kneeling at
                    the sacrament, private communion, private baptism, confirmation of children, and the observance of
                    Christmas and other festivals.
              1823 M. W. S������ Valperga III. 267 We know nothing of the private communion of these friends.
              1910 Encycl. Brit. I. 974/1 An invalid may always have his private communion.
              2003 Courier Mail (Queensland) (Nexis) 21 June �6 It's the classic image of a little child, wrapped in
                   private communion with a book, oblivious of the clatter from the kitchen, the dog barking, the car
                   accelerating down the road.



            private education n.
              15812Priuate education [see sense A. 2b(a)].
              1668 D. L���� Memoires 271 He was..against Fathers keeping their Children at home under their own
                   tuition, because private Education hardly raiseth Youths to that vigor, freedom, and generosity of
                   spirit, that a more publick doth.
              1742 S. R��������� Pamela IV. liv. 341 He may teach a young Gentleman, betimes, that necessary
                   Presence of Mind, which those who are confin'd to a private Education, sometimes want.
              1839 H. T. T�������� Isabel 16 Isabel had reaped the advantages of a faithful private education and
                   occasional visits to the principal cities of her country.
              1992 Economist 6 June 30/1 Parents opt for private education because they worry that they will have no
                   choice but to send their children to the lousy comprehensive around the corner.
              2014 A. P���� Educ. in Albuquerque iv. 37 Several entities chose to open their own schooling system,..and
                   that tradition of private education has continued in the Albuquerque area along side of public
                   schooling.



            private funeral n.

              1577 R. W����� & R. E��� tr. Peter Martyr of Angleria Hist. Trauayle W. & E. Indies f. 258v Many Bonzii
                     returne lykewise to these priuate funeralles.
              1676 E. S����� Conquest of China by Tartars ��. i. 41 If 'twere by your Sword her Chance to fall, My hand
                   should give her private Funeral.
              1766 T. A���� Life John Buncle II. v. 162 I gave her a decent private funeral; a hearse, and one mourning-
                   coach, in which I alone attended her remains to the earth.
              1883 Harper's Mag. Mar. 648/1 ‘Well,’ said the Pacific sloper, ‘if it's a private funeral, what do they call it a
                   reception for?’




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              2002 Newsweek 11 Mar. 42/3 The van Dams plan a private funeral, with a public memorial on March 16 at
                   the beach in La Jolla.



            private meeting n.

              1576 A. F������ tr. Isocrates in Panoplie Epist. 175 To thinke of them, as of things in priuate meetings of
                   friends & familiar companions, very requisite & auailable.
              1612 W. S������� Lawes in P. Force Tracts (1844) III. ��. 39 Hee shall command all disordred people
                   vntimely (sitting vp late in vsuall assemblies, whither in priuat meetings, publike tap-houses, or such
                   like places) vnto their rests.
              1748 S. R��������� Clarissa IV. xxxiv. 202 No woman ever gave me a private meeting for nothing; my
                   dearest Miss Harlowe excepted.
              1896 Atlantic Monthly Aug. 274/1 On the eve of her marriage Clorinda has a private meeting in her house
                   with Sir John.
              1995 C. S���� Demon-haunted World vi. 103 I arranged for McDonald to present his best cases in a private
                   meeting with leading physicists and astronomers.



            private play n.

              1603 W. S���������� Hamlet ��. iii. 340 Yfaith my Lord, noueltie carries it away, For the principall publike
                   audience that Came to them, are turned to priuate playes, And to the humour of children.
              1633 W. P����� Histrio-mastix �. ��. v. 495 These Statutes (which are principally intended in private Playes
                   and Enterludes, since they condemne and suppresse all publike,) seeme to allow of popular Stage-
                   playes.
              1790 F. R������� Dramatist �. 12 Whence arises the pleasure at an Opera, a private Play, or a Speech in
                   Parliament?
              1868 P. F��������� Life David Garrick I. vi. 158 It was once determined to get up a private play..and the
                   parts were cast in a moment.
              1989 Independent (Nexis) 27 Jan. 21 The Duchess of Leinster adopted her, and the Duke of Richmond
                   made her supervisor of his private plays.
              2014 D. J. J���� Sexuality & Gothic Magic Lantern Introd. 17 The Comte de Caylus frequently used magic
                   lanterns in his private plays.



            private theatre n.

              1633 W. P����� Histrio-mastix ��. �. 835 Whether the profession of a Playhouse-Poet, or the penning of
                   Playes for publike or private Theaters, be warrantable or lawfull?
              1784 W. H����� (title) Plays of three acts written for a private theatre.
              1807 E. W����� Let. 18 Nov. (1969) 50 She..was never outshone in elegance of movement at a Ball, out-
                   performed at a private Theatre.
              1999 N.Y. Times 19 Oct. �3/4 Grounded in jazz, copping its wit from jump blues, the music Ms. Jones made
                   transformed the American musical canon into her private theater and hiding place.



            private theatrical n.



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              1787 J. P����� (title) The narcotic & private theatricals.
              1818 J. K���� Let. 23 Jan. (1931) I. 96 I began an account of a private theatrical—Well it was of the lowest
                   order, all greasy and oily.
              1831 D. E. W������� Life Sir T. Lawrence I. 50 Nor did he ever take part in any private theatricals.
              1990 Vanity Fair (N.Y.) Nov. 76/1 Lust was trench warfare for him, a private theatrical for her.
              2007 G. R������ in J. Moody & D. O'Quinn Cambr. Compan. Brit. Theatre, 1730–1830 xiii. 191 Probably
                   the best-known example of a private theatrical in the Georgian period is..the scheme to stage Lovers'
                   Vows in Jane Austen's Mansfield Park (1814).



           b. Forming adjectives in combination with participles, as †private-
           humoured, private-looking, private-spirited, etc.

              1602 W. F������� Pandectes 58 Secreat meetinges of male-contents, phantasticall, and priuate humored
                   persons.
              1655 J. S������� Schism Dis-arm'd 19 The Doctors private-spirited opinion.
              1709 J. S��� Lett. to Nobleman iii. 19 The sloathful private spirited and inglorious Stranger.
              1834 J. L. M����� Let. 17 Jan. in Corr. (1889) I. ii. 33 The palaces in Berlin being all very simple, private-
                   looking houses.
              1895 Spectator 21 Sept. 368 Unpatriotic and..private-spirited reason.
              1925 Philos. Rev. 34 25 Selfish and private-spirited activities, no less than noble and public-spirited
                   activities, obey this law.
              1993 Time Out 31 Mar. 41/4 Mostly this is exemplary private-minded, public spirited journalism.
              2004 Bath Chron. (Nexis) 18 May 30 Housed in a long, low, private-looking building of honey-coloured
                   stone, the sanctuary is all that it says it is—a retreat from bustle and stress.

            C2.

            private account n. a bank account relating to one's personal (as
           opposed to business) assets; a credit account for personal purchases.

              1772 Edinb. Advertiser 2 Oct. 210/2 Had James..any conception that you was indebted upon your own
                   private account?
              1785 Daily Universal Reg. 16 Sept. 3/2 Above 600,000..sterling per annum have been drawn off on private
                   accounts, by the way of China alone.
              1854 C. N����� Eng. Laws for Women in 19th Cent. 81 Mr Norton..sent his attorney to make extracts at
                   their bank, of all sums entered in my private account.
              1987 W. J. B����� Wycliffe & Scapegoat (BNC) 66 On the day Mr Riddle disappeared he drew two
                   hundred and ninety pounds from his private account.
              2009 B. K��� Marriage First Aid Kit x. 233 When you have your own private account, you don't have to ask
                   permission for money to implement a private choice.



            private Act n. a British parliamentary Act affecting only the interests
           of a particular individual or small group of individuals (as a corporation,
           local area, etc.); cf. public act n. at ������ adj. and n. Compounds 1b.




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              a1638 R. B������� Rep. Diverse Cases: 2nd Pt. (1651) 325 Coke cheife Justice..did agree that the
                   Arbitrement, the Convaiance, nor the private Act made nothing in the Case, for by these the
                   Commoner cannot be barred of his Common.
              1705 Laws conc. Poor vi. 78 Being a private Act none can be indicted.
              1818 W. C����� Digest Laws Eng. Real Prop. (ed. 2) V. 527 An estate tail, granted by Richard III. to the
                   Derby family..which by a private act of 4 Jac. I. was limited to the heirs male of the family in a different
                   manner from that in which it had been limited by the letters patent.
              1991 J. K������ Local Govt. & Politics in Brit. xiii. 213 Parliament sometimes extended the provisions of a
                    good private Act to cover all areas by passing a public Act.
              2005 E. K. B����� State Immunity Controv. Internat. Law iv. 75 If the act is by its nature such as any
                   private person could engage in, as, for instance, a contract or a loan, the act, whatever its purpose, is a
                   private act.



            private army n. an army not recruited by the State; a mercenary force;
           also figurative and in extended use.

              1857 Times 18 Nov. 8/2 His own Contingent was still so strong as not to be immediately controlable by his
                   private army.
              1933 E. A. M����� Germany puts Clock Back 94 The Steel Helmet, or Confederation of Front-line
                   Soldiers, the most respectable of the private armies, was founded on Christmas Day, 1918.
              1959 M. G������ Blood & Judgement ix. 95 The police were a private army.
              1968 N.Y. Times 23 July 41 (heading) Norman Mailer enlists his private army to act in film.
              1992 Utne Reader Jan. 79/1 With the veneer of the Soviet threat torn away, agency actions prove more than
                   ever a thesis shared by numerous former CIA agents—that the national security apparatus is little more
                   than the private army of the Fortune 500.



            private bank n. a bank owned and run by a small group of people (in
           Britain, the maximum number was traditionally ten, but this was
           increased under the 1967 Companies Act to twenty), each partner having
           unlimited liability.

              1696 W. K�������� Proposal 15 That a distinct Appartment, in this Office, shall be fitted; where all
                   Merchants, and Others, may lodge their Cash, as in the Public, or Private Banks.
              1714 in A. M. Davis Tracts Currency Mass. Bay (1902) 115 Which does most of all import them, the Publick
                    or the Private Bank?
              1802 M. E�������� Let. 1 Dec. in M. Edgeworth in France & Switzerland (1979) 43 Private banks never
                   issue any notes.
              1978 M. B��������� Sleep in Ditch 120 My mother wanted me to be a banker..in one of the small,
                   distinguished private banks.
              2000 Econ. Affairs 20 5/3 Even in countries where private banks do not print the currency today, these
                   institutions do create money when they make loans.



            private banker n. a person who owns and runs a private bank.

              1711 P. H. Impartial View Two Late Parl. 104 The Private Bankers, who look'd upon the Bank with an



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                     envious Eye from its first Establishment.
              1776 A. S���� Inq. Wealth of Nations I. �. ix. 111 Private bankers in London give no interest for the money
                     which is deposited with them.
              1884 Helena (Montana) Independent 29 Apr. 1/4 The secretary had exercised a wise discretion by
                   depositing money with the treasurer rather than with a private banker.
              1978 P. N���� Who is Simon Warwick? viii. 104 A house which only a private banker could possibly have
                   described as a cottage.
              2014 D. C�� Handbk. Anti-Money Laundering viii. 115 When the account is in the name of an individual,
                   the private banker must establish whether the client is acting on his/her own behalf.



            private banking n. the operations of a private bank.

              1757 M. P����������� Great Britain's True Syst. ix. 211 By the Means of public and private Banking.
              1793 Edinb. Advertiser 30 July 74/1 On account of its permanency, such an institution is preferable to
                   private banking.
              1818 Times 9 Apr. 2/3 The Chancellor of the Exchequer replied, that his regulations went solely to the
                   system of private banking.
              1836 in W. L. Mackenzie Life & Times M. Van Buren (1846) 176 If the fetters are knocked off by the repeal
                   of the Restraining Law, private banking associations may be formed.
              1997 Investors Chron. 19 Sept. 32/1 Just two decades ago, reference to private banking in London would
                    only really entail such organisations as Coutts & Co and Hoare & Co.



            private bar n. = lounge bar n. at ������ n. Compounds 2; (also) a bar
           which is not open to the public.

              1892 A. C���� D���� in Strand Mag. Jan. 79/2 Holmes pushed open the door of the private bar, and
                   ordered two glasses of beer from the ruddy-faced, white-aproned landlord.
              1910 H. G. W���� Hist. Mr. Polly viii. 259 The policeman..put his head inside the Private Bar, to the horror
                   of every one there.
              1972 M. G������ Body of Girl xii. 107 She was in here..just after we opened. She came into the private bar.
              1992 Evening Standard 28 Sept. 11/4 The confused housewife with the naff sofa, and the private bar in her
                   garage.
              2007 S. W������� Sugar Walls x. 123 Upstairs would be the two ��� rooms..with a private bar and a private
                   dancing room in each one.



            private bath n. a bath for private use; (now usually) = private
           bathroom n.

              1771 T. S������� Humphry Clinker I. 91 To purify myself from all such contamination, I went to the duke
                    of Kingston's private Bath, and there I was almost suffocated for want of free air.
              1825 E. W����� Jrnl. 14 June (1969) II. 384 I like to bathe alone, and a private bath is just to my taste.
              1906 ‘O. H����’ Four Million 47 The double front room with private bath.
              1995 Common Ground Jan. 32 (advt.) Three bedrooms, each with private bath.




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            private bathroom n. a bathroom set aside for private use, esp. one
           attached to a hotel room or guest room.

              1857 Chambers's Information for People (new ed.) I. 474/2 The establishment should possess washing-
                   rooms, single private bath-rooms, a large plunge bath-room, and waiting-rooms for the several classes
                   of bathers.
              1910 Bradshaw's Railway Guide Apr. 1148 Suites of rooms with private Bathrooms.
              1995 Sun 26 Apr. 23/3 (advt.) All apartments have fully equipped kitchenettes, private bathroom and
                   balconies.



            private beach n. a beach that is privately owned, esp. by a hotel for
           the use of guests.

              1859 N.Y. Times 26 Mar. 6/4 (advt.) The location is..near a fine private beach for sea bathing, fine roads,
                   delightful drives.
              1860 Times 26 Dec. 11/5 All the comforts of a country home, fine sea air, a private beach, and the services
                   of an efficient resident governess.
              1961 Sphere 6 May 212 A new 1st-class hotel, the Hibiscus, with private beach, opens this summer.
              1991 Holiday Which? Mar. 108/3 There are no private beaches in Goa, but in peak season guards
                   unobtrusively try to keep the peddlars away from the cream pickings.



            private bed n. (a) a hospital bed in which a patient has privacy; (b)
           (in the United Kingdom) a place allocated for private inpatients at a
           National Health Service hospital.

              1855 Times 24 Sept. 9/1 For private beds ‘revolving fans’ are used within mosquito curtains.
              1927 Science 4 Nov. 420/2 The new hospital will contain about 415 public beds, seventy-five private beds
                   and an extensive out-patient department.
              1967 P. W������� Consumer's Guide Brit. Social Services vi. 158 Private beds amount to little over one per
                   cent of the total number of beds in use.
              1993 A. G������ Tell them I'm on my Way (BNC) 232 There were..approximately 4,000 private beds in
                   NHS hospitals out of a total of 400,000 hospital beds throughout the country.



            private bill n. (in Britain) a legislative bill affecting only the interests
           of a particular body or individual; cf. private Act n.

              1572 Orig. Commons Jrnls. 2 101 It is ordered by the house to sytte at afternoones, from three of the clock
                   till six, and to proceede but only in private bills.
              1678 S. B����� Hudibras: Third Pt. ���. ii. 145 Who..Can..Lay Publick Bills aside, for Private, And make 'em
                   one another Drive out.
              1785 Daily Universal Reg. 9 Feb. 34/3 The House of Peers came to a resolution not to receive any reports
                   from the Judges on private Bills.
              1844 T. E. M�� Law of Parl. 302 The functions of Parliament in passing private bills, have always retained
                   the mixed judicial and legislative character of ancient times.
              1990 Green Mag. Apr. 16/1 Fighting Parliamentary Private Bills has added to the problems facing


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                     conservationists.



            Private Bill Office n. an office in the Houses of Parliament which
           deals with business relating to private bills.

              1819 Times 26 Mar. 2/5 Leave might be granted them to deposit in the private bill office, a sectional plan of
                   the property through which the rail-road was to run.
              1850 in J. Irving Ann. Our Time 30 Nov. (1872) 315/1 Plans for about 104 new schemes were deposited to-
                   day in the Private Bill Office.
              1981 Legislative Stud. Q. 6 502 The last of the older offices, the Private Bill Office, which looks after bills
                   for the benefit of particular interests, dates from the first appointment of a Clerk of Private Bills in
                   1810.



            private box n. a box in a theatre which may be booked for the
           exclusive use of a group of people.

              a1640 P. M�������� City-Madam (1658) ��. sig. E2 The private Box took up at a new Play For me, and my
                   retinue.
              1787 Daily Universal Reg. 10 Aug. 2/1 Wednesday evening their Highnesses the Prince of Wales and Duke
                   of York were in a private box, at the Hay-market Theatre.
              1897 R. K������ Let. 1 June in C. E. Carrington Rudyard Kipling (1955) x. 254 We went to the Lyceum...
                   Irving put a private box at our disposal.
              2004 Sunday Tel. (Nexis) 28 Mar. 9 It is a beautiful 1,500-seat auditorium with ornate plaster ceilings,
                   faded ruby-red carpets, sloping balcony and gilded private boxes above each side of the stage.



            private branch exchange n. Telephony an exchange on private
           premises by which private lines may be connected to a public network;
           abbreviated PBX.

              1904 N.Y. Electr. Handbk. (Amer. Inst. Electr. Engineers) 107 There are at the present time in New York
                   over 5,000 of these private branch exchanges, with a total of over 60,000 stations.
              1911 W. A����� Man. Telephone xxi. 416 No hotel or warehouse of any standing is now considered
                   complete without a private branch exchange connected to the ‘Central’ by a number of circuits.
              1992 Philadelphia Inquirer 11 Oct. �24/3 The scam targets the multifunction switchboard used by most
                   corporations—the private branch exchange, or PBX.



            private business n. Eton College slang extra tuition.

              1868 Times 25 June 10/4 Their tutor used to have a class list of his own for what was called private
                   business, where the ordinary studies of the school were made to give way in favour of English essays.
              1900 J. S. F����� Public School Word-bk. 158 Private-business,..extra work with the tutor.
              1979 D. N������ On Edge of Paradise ii. 87 Half-an-hour's preparation for his Private Business lecture on
                   Napoleon.
              1995 Evening Standard (Nexis) 14 June 22 Two nights a week boys take part in what the school regards as
                   one of the jewels of its intellectual crown—‘private business’, or tutorials.



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            private call n. a personal telephone call to or from one's place of work.

              1907 Times 2 Nov. 6/5 Is it likely, with the best intentions on the part of the principals, that these various
                   private calls of employés and servants get recorded by the subscriber?
              1942 E. W���� Put out More Flags i. 52 There's a ridiculous woman on the line saying is this a private call?
              1993 S. J���� Love over Gold (BNC) 242 He hoped he at least sounded businesslike, as though it were not
                   a private call.



             private car n. (a) chiefly U.S., a privately owned and used railway
           carriage; (sometimes also) a railway carriage not available for public use;
            (b) a motor car owned and used privately, contrasted with a commercial
           vehicle.

              1826 Times 6 July 2/2 Several private cars, on which were ladies, were stopped opposite Colonel White's
                   committee-room.
              1832 Amer. Rail Road Jrnl. 1 495/3 Parties of twenty or more persons can be accommodated..with a
                   private car.
              1897 R. K������ Captains Courageous ix. 186 Send ‘Constance’, private car, here, and arrange for special
                   [train].
              1926 Brit. Gaz. 12 May 1/3 There were few private cars on the roads and nearly every vehicle was labelled
                   ‘Food only’.
              1990 Time 30 Apr. 23/1 Hanoi's narrow tree-lined streets are filled with bicycles and pedicabs, for private
                   cars are a rarity in the city.



            private collection n. a collection (esp. of works of art) in private
           possession.

              1692 A. W��� Athenæ Oxonienses II. 594 In the possession of the other is his Cabinet of Greek Medals, as
                   curious as any private collection whatsoever.
              1751 T. S������� Peregrine Pickle II. lxix. 253 No private collection in Europe was equal to that of Sir Hans
                    Sloane, which, exclusive of presents, had cost an hundred thousand pounds.
              1864 A. T������� Can you forgive Her? I. x. 76 The library, which was the largest of the three, was a
                   handsome chamber, and so filled as to make it well known in the University as one of the best private
                   collections in that part of England.
              1979 R. C�� Auction i. 24 There were several Memlings in Austrian private collections. Stefan Zweig owned
                   one.
              1995 Victorian Soc. Ann. 1994 27 The exhibition made a profound impression on the young Charles
                   Handley-Read, inspiring him to form the most important private collection of Victorian decorative art
                   ever assembled.



            private company n. a company in private ownership, as opposed to
           an organization owned or operated by the State; (now Law) a registered
           company prohibited from offering shares and debentures to the public,
           and usually having restrictions on membership (cf. sense A. 3a).



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              ?1711 Some Queries relating to Present Dispute Trade to Afr. 1 Whether the Government cannot maintain
                    Settlements abraod as well as a Private Company?
              1788 T. J�������� Memorandum 14 Apr. At the village of Kaeferthal is a plantation of rhubarb, begun in
                   1769 by a private company.
              1846 Jrnl. Statist. Soc. 9 212 The want of any general municipal authority has caused the relinquishment of
                   the street lighting into the hands of private companies.
              1908 Act 8 Edward VII c. 69 §121 For the purposes of this Act the expression ‘private company’ means a
                   company which by its articles—(a) Restricts the right to transfer its shares; and (b) Limits the number
                   of its members..to fifty; and (c) Prohibits any invitation to the public to subscribe for any shares or
                   debentures of the company.
              1928 Britain's Industr. Future (Liberal Industr. Inq.) ��. vii. 84 The most important existing legal
                   distinction is between Public Companies..and Private Companies, limited to not more than 50
                   shareholders.
              1948 Act 11 & 12 Geo. VI c. 38 §31 If at any time the number of members of a company is reduced, in the
                   case of a private company, below two,..and it carries on business for more than six months while the
                   number is so reduced, every person who is a member of the company during the time that it so carries
                   on business..shall be severally liable for the payment of the whole debts of the company contracted
                   during that time.
              1996 Independent 23 Aug. �. 3/1 Growing numbers of agencies from private companies to central and local
                   government hold ever-increasing amounts of..information about individuals.



            private detective n. a detective who is engaged privately, as opposed
           to a member of an official police or security force.

              1857 Chicago Tribune 27 June 1/3 Now if, instead of making indirect charges against private
                   detectives,..the Mayor would employ some effective means to catch the burglars [etc.].
              1861 E. D. C��� Paul Foster's Daughter ii. 31 A private detective, ready to peer into anybody's cupboards
                   and gimletise anybody's doors.
              1936 A. C������� ABC Murders v. 38 ‘Then you're not—anything to do with the police, sir?’ ‘I am a private
                   detective.’
              1995 Independent 23 Nov. 12/7 The authority and the insurers said they would continue to use private
                   detectives to examine claims.



            private developer n. an individual who or company which develops
           land or property for personal profit.

              1911 Nevada State Jrnl. 11 Aug. 3/7 The coal fields given over to private developers on a lease hold system
                    as simple as possible.
              1934 Times 18 June 11/3 Whether public or private developers take the matter in hand, they will have to act
                   quickly, for negotiations nowadays are speedy.
              1972 Country Life 25 May 1330/1 Berkshire has given planning permission for some 18,000 houses, of
                   which private developers build less than 3,000 new houses a year.
              1991 Power Sept. 5/3 The island nation is trying to do all it can to attract private developers.




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            private development n. land or property development undertaken by
           a private individual or company; a property, plot of land, etc., developed
           in this way.

              1910 Times 30 Apr. 9/1 The best picture in England of the effects of a private development grant.
              1924 H. M�������� A. E. Smith xli. 271 In every spot in this State where by our past policy we have
                   permitted private development, nobody has benefited but the individuals who have been lucky enough
                   to secure the rights.
              1961 Recreation Dec. 531/1 Areas should..have room around the edges to protect the values of the area
                   from encroachment by private developments.
              1992 Navajo Times (Window Rock, Arizona) Oct. 1/3 In his ruling to end the only quarter-century federal
                   ban on public and private development on Indian lands in the country, [etc.].
              2004 Independent 15 May 20/1 The project has Britain's first combined head and power (CHP) system in a
                   private development—an on-site power plant which uses waste and solar energy to provide electricity
                   and central heating for the site.



            private dick n. slang (originally and chiefly U.S.) = private detective
           n.

              1912 A. H. L���� Apaches N.Y. vi. 128 But w'at wit' th' stores full of private dicks a booster can't do much.
              1946 E. O'N���� Iceman Cometh �. 14 Yuh remember dey used to send down a private dick to give him the
                   rush to a cure, but de lawyer tells Harry nix, de old lady's off of Willie for keeps dis time and he can go
                   to hell.
              1974 ‘E. M�B���’ Mugger ii. 14 Bert, on the money I make, I can't afford a private dick.
              2002 Loaded July 85/1 Exeter-based Carole-Anne Westcott hired a private dick to track down her runaway
                   husband.



            private family n. a family in its personal capacity, esp. one occupying
           a private home; a family household as distinct from an institution,
           commercial establishment, etc.

              1598 R. B������� Disc. Felicitie of Man ��. 305 Vngodlines troubleth the Church, Iniustice the common
                   wealth, Luxuriousnes priuate families.
              1662 D������ �� N�������� Religious �. xxxviii, in Playes Written 555 Indeed happiness lives more in
                   Cloysters than in Courts, or Cities, or private families.
              1751 E. H������ Hist. Betsy Thoughtless I. ii. 20 Never did the mistress of a private family indulge herself,
                    and those about her, with such a continual round of publick diversions.
              1849 T. B. M������� Hist. Eng. (1871) I. iii. 144 By the Petition of Right, it had been declared unlawful to
                   quarter soldiers on private families.
              1947 A. B. M������ Handbk. for Nursery Nurses 1 The Nursery nurse who prefers the care of individual
                   children..may become a nanny in a private family.
              2004 Frederick (Maryland News-Post) 25 Jan. �7/1 Several churches, private families, individuals,
                   businesses and service organizations.




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            private finance initiative n. (also with capital initials) British a
           government scheme under which private sector finance is used to
           supplement public sector investment in public services, first proposed in
           1989, with official guidelines being issued by the Treasury in 1992;
           abbreviated PFI.

              1989 Hansard Commons 22 May 423 The Government will keep up the momentum of the private finance
                   initiative.
              2002 Metro 20 Sept. (London ed.) 4/4 Gordon Brown..said it would be ‘completely unacceptable’ to
                   suspend the Private Finance Initiative, arguing it would deny the public the services they needed.



            private function n. a private party or other social event.

              1888 Times 3 Dec. 9/5 They held a sort of private function.
              1948 Sunday Gleaner (Kingston, Jamaica) 17 Oct. 9/3 An opportunity may be made to hear him [sc. Paul
                   Robeson] at a private function.
              1995 K. I������� Unconsoled viii. 98 If no one had encouraged him, I'm sure he'd have been happy to melt
                   into the background, give the odd recital at a private function, nothing more.



            private highway n. = private road n.

              1724 Act to inclose Common Fields Sunningwell cum Bayworth 2 The said Commissioners..shall ascertain
                   and appoint the publick and private Highways and Roads already made, or to be made..under their
                   Hands and Seals.
              1894 Oakland (Calif.) Tribune 21 Dec. 8/2 He argued, that their erection would convert a public highway
                   into a private highway for the exclusive use of the railway company.
              1950 Daily Independent Jrnl. (Calif.) 22 July 3/5 [He] made a left turn into a private highway and was
                   sideswiped by the car following.
              2004 R. H. B������ Building Knowledge-driven Organization vi. 85 I do not understand why any
                   company would try to create its own network in today's electronic world, any more than it would try to
                   build a private highway to truck parts from one plant to another.



            private hospital n. a hospital which treats only private patients, and
           which is not funded by the State or a public body.

              1763 J. B��� Trav. from St. Petersburg II. 106 The missionaries also send out people to take up such
                   [children] as have been neglected, who are carried to a private hospital, maintained at their charge.
              1827 Times 14 June 2/2 As a general system, he..preferred public asylums to private hospitals, for lunatic
                   paupers.
              1903 Merck's Ann. Rep. 17 183 Veronal has been thoroughly tested in a large number of noted public and
                   private hospitals.
              1990 Hindu (Madras) 16 Jan. 9/6 Maani Madhava Chakyar died at a private hospital in Ottapalam near
                   here on Monday.




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            private hotel n. a residential hotel or boarding house, usually
           privately owned, which receives guests only by private arrangement.

              1796 Times 22 June 1/2 (advt.) J. Morris..fitted up the same in the first stile of elegance, as a private hotel
                   for families and gentlemen.
              1820 M. E�������� Let. 14 Nov. in M. Edgeworth in France & Switzerland (1979) 274 The Duchesse
                   d'Uzès..has the finest private hotel in Paris.
              1936 N. C����� Fumed Oak i, in To-night at 8.30 II. 41 Mrs. Rockett: I can always go to a boarding-house
                   or a private hotel. Doris: Catch you!
              1962 F. J. B��� & C. R��������� Hotel & Catering Law (rev. ed.) iii. 37 The private hotel proprietor
                   reserves to himself the right to pick and choose his guests, and does not hold himself out as willing to
                   receive anyone who calls. He makes a separate contract, either written or verbal, with his guests.
              1992 M. W����� Indigo (BNC) 130 Madame Davenant kept a clean and respectable and quiet private hotel,
                   which is why it had been chosen for Miranda and why she liked it.



            private income n. income derived from private sources, as
           investments, property, inheritance, etc.; unearned income; = private
           means n.

              1725 L. E����� Hist. Revol. ��. i. 117 By sparing her private Income as to her self, she became eminent in
                   her Charities.
              1788 in Federalist Papers xx. 122 His revenue, exclusive of his private income, amounts to 300,000 florins.
              1897 Lime Springs (Iowa) Sun 2 July 3/3 His wife will make him a small allowance from her private
                   income.
              1952 M. L���� Village iii. 65 Because she's got a private income no one ever expected her to go out and take
                   a job.
              1991 P. B����� Regeneration iv. 31 I've no private income to tide me over.



            private inquiry n. work undertaken by a private detective; usually
           attributive.

              [1850 Househ. Words 27 July 410/1 Sergeant Fendall, a light-haired, well-spoken, polite person, is a
                    prodigious hand at pursuing private inquiries of a delicate nature.]
              1856 Illustr. Times 2 Feb. 70/3 The design was conceived of establishing a private inquiry office with a
                   view of ‘preventing and detecting crime’.
              1874 M. C����� His Nat. Life ���. xxii. 331 I dabbled a little in the Private Inquiry line of business.
              1892 R. K������ & W. B�������� Naulahka xvii. 204 See here, young woman, do you run a private inquiry
                   agency?
              1922 Kelly's Directory Liverpool 1181/3 Ramage & Kelly private inquiry agents.
              1987 D. L������ Haunted Woman 185 The police were out of the question, and private inquiry agents were
                   not much better.




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            private international law n. the branch of law which deals with cases
           of private law involving a foreign element (as the fulfilment of contracts,
           recognition of marriages and other relationships contracted abroad, etc.),
           especially in determining the extent to which courts of one's own country
           have jurisdiction over such cases and whether the domestic or foreign law
           should be applied by the court to resolving the issue.

              1834 J. S���� Comm. Conflict of Laws i. 9 The jurisprudence, then, arising from the conflict of the laws of
                   different nations, in their actual application to modern commerce and intercourse, is a most
                   interesting and important branch of public law... This branch of public law may be fitly denominated
                      private international law, since it is chiefly seen and felt in its application to the common business of
                      private persons.
              1861 R. P��������� Comm. Internat. Law IV. p. iii This volume is devoted to the consideration of Jus
                   Gentium—Private International Law, or Comity: that is, strictly speaking, the law which ought to
                   govern the legal relations of individuals not being the subject of the State which administers the law.
              1938 G. C. C������� Private Internat. Law (ed. 2) i. 22 The expression ‘Private International Law’, coined
                   by Story in 1834,..and used on the Continent by Foelix in 1838,..has been adopted by Westlake and
                   Foote and most French authors. The chief criticism directed against its use is its implication that the
                   subject forms a branch of International Law. There is, of course, no affinity between Private and Public
                   International Law. The latter comprises those universally accepted customs which are recognized by
                   States in their public relations with each other; the former consists of rules which the Courts of each
                   territorial jurisdiction follow when a dispute containing some foreign element arises between private
                   persons.
              1992 J. M. K���� Short Hist. Western Legal Theory viii. 346 Mancini's theory had no large-scale success:
                   except within the more modest area of private international law.



            private investigator n. = private detective n.
                In early quots. not a fixed collocation.


              [1874 W. G. S����� Hist. Amer. Currency i. 75 The banks were as recalcitrant about giving statistics,
                    either to the Secretary of the Treasury or private investigators, as about any of their other duties.
              1885 Atchison (Kansas) Daily Globe 1 May A communication..by the State Veterinary Surgeon... ‘I went to
                   Fulton as a private investigator nearly three weeks ago.’]
              1894 Standard 28 Dec. 1/2 (advt.) Eugene Harvey.—Private Investigator. Missing friends found, private
                   inquiries, secret watchings.
              1909 Northeastern Reporter 86 375 Also Mrs. Eva Herndon, a private investigator for the United States
                   postal authorities, who testified, in substance, that she had a talk with Mrs. Hagenow at her home on
                   January 22, 1907.
              1940 R. C������� Farewell, my Lovely iii. 21 Philip Marlowe, Private Investigator. One of those guys,
                   huh?
              1995 i-D Aug. 48/1 McDonalds sent private investigators to London Greenpeace meetings to sniff out
                    individuals to press charges against.



            private joke n. a joke understood only by a select few.

              1789 Times 29 Oct. 2/1 The serious business of the piece is too often disgraced, and the ‘cunning of the


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                     Scene’ destroyed by their unmeaning merriment and private jokes.
              1875 Harper's Mag. June 105/1 He was not wanting in a fund of wholesome playfulness, and enjoyed his
                   private jokes with each horse, cow, and hen.
              1905 B������� O���� Scarlet Pimpernel ii. 11 The two little kitchen-maids bustled around..giggling over
                   some private jokes of their own, whenever Miss Sally's back was turned for a moment.
              1995 N. H����� High Fidelity (1996) iv. 57 I'd want her to write songs at home, and ask me what I thought
                   of them, and maybe include one of our private jokes in the lyrics.



            private judgement n. personal opinion (esp. in religious matters), as
           opposed to the acceptance of a statement or doctrine on authority or on
           the basis of public opinion.

              1565 T. S�������� Fortresse of Faith f. 6 He interpreteth it after his owne liking and priuat iudgement.
              1656 T. B����� Acad. Eloquence (ed. 2) 11 The more learned have avoided this kinde of flourish, lest their
                   writings should savour more of the general humor, then of private judgement.
              1718 T. H���� (title) Defense of private judgment.
              1841 T. C������ On Heroes iv. 201 Liberty of private judgment, if we will consider it, must at all times have
                   existed in the world.
              1959 P. D����� Enforcement of Morals 9 Are morals always a matter for private judgement?
              2002 Rev. Politics 64 692 The great danger comes in turning all religious questions over to the private
                   judgment of individuals.



            private-label adj. designating a product manufactured or packaged for
           sale under the name of the retailer rather than that of the manufacturer;
           cf. own-label adj. and n. at ��� adj. and pron. Compounds 1.

              1923 Daily Courier (Connellsville, Pa.) 19 Jan. 7/5 No third-rate private label goods are sold at our stores.
              1961 Economist 11 Mar. 984/1 There are the usual ‘private-label’ teas, flour, butter, and dried cereals, fruit
                   and pulses; besides these, private label jams and biscuits are quite common and several companies
                   market their own canned peas, soups, canned fruit and canned vegetables; there is even a private-label
                   pine essence.
              1995 Guardian 14 June �. 17/5 Private label goods are sold by retailers as alternatives to branded products.



            private law n. the branch of law concerning relations and dealings
           between private individuals; see quot. 1923.

              a1638 R. B������� Rep. Diverse Cases: 2nd Pt. (1651) 325 Walmesley..sayd, that it was in vain to dispute
                   if the statute of 22 Ed. 4. was private Law, or if it were repealed.
              1702 G. M�������� Parainesis Pacifica 6 The third Branch, viz. that of Privat Law, cannt [sic] afford the
                   least obstruction.
              1773 J. E������ Inst. Law Scotl. I. �. 9 Public law is that which hath more immediately in view the public
                    weal... Private is that which is chiefly intended for ascertaining the civil rights of individuals. The
                    private law of Scotland is to be the proper subject of this treatise.
              1887 Jrnl. Hellenic Stud. 8 127 Thus the difference between the two cases is the whole difference between
                   private law and public, between Torts and Crimes.



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              1923 W. J. B���� Dict. Eng. Law 519/2 Private or civil law deals with those relations between individuals
                   with which the State is not directly concerned; as in the relations between husband and wife, parent
                   and child,..contracts, torts, trusts, legacies.
              1951 W. H. J������� Canad. Law Bus. & Personal Use i. 6 Private law includes law that is concerned with
                   the regulation of relations between private citizens.
              1997 D. P. K������ Constit. Jurispr. Germany (ed. 2) viii. 363 Every provision of private law must be
                   compatible with this system of values, and every such provision must be interpreted in its spirit.



            private life n. a person's domestic or personal life, as distinct from
           that relating to his or her employment, official position, public image, etc.

              ?a1475 (▸?a1425) tr. R. Higden Polychron. (Harl. 2261) (1872) IV. 419 (MED) Galba Seruius..reigned
                    after Nero vij monethes; The priuate lyfe [Trev. prive lyf; L. vita privata] of whom was noble.
              1526 R. W������� tr. Martiloge f. cxxxiv He resygned his crowne, & lyued a holy pryuate lyfe.
              1660 G. M�������� Aretina ��. 205 They see the poverty of a private life, but are strangers to its
                   contentment, and contemns its lownesse without weighing its security.
              ?1790 J. M. A���� Unanswerable Arguments against Abolition Slave Trade v. 173 I think planters are
                    much too remiss on this head; owing to their not employing a little attention to the private life and
                    manners of their slaves.
              1843 C. D������ Martin Chuzzlewit (1844) xvi. 193 A full account of the Ball..with the Sewer's own
                   particulars of the private lives of all the ladies that was there!
              1943 J. B. P�������� Daylight on Sat. xxii. 169 Her own private life, now in ruins, insisted upon claiming
                   her attention, and she could not pretend to herself that it was less important than the private lives of
                   all the other women in the factory.
              1992 Independent 27 Jan. 20/2 A sense of honour and a degree of self-mastery in private life are virtues in
                   public men and women.



            private line n. Telephony and Telegraphy (a) a line that is
           permanently for the exclusive use of the subscriber or that is not
           connected to a public network; (b) = private wire n. (b).
              1852Private lines [see sense A. 8a].
              1885 List of Subscribers Exchange Syst. (United Telephone Co.) (ed. 6) p. vii The Charge for Private Lines
                   is at a fixed annual rental, payable in advance, varying with the situation and the distance apart of the
                   points connected.
              1927 C. W. W����� Man. Automatic Telephony vi. 55 This wire is comparable with the test wire in a
                   manual system inasmuch as it indicates whether a particular line is free or busy... It is..known as the
                   private line (because it prevents intrusion on a busy trunk).
              1942 A. C������� Body in Libr. vi. 59 I had a private line put in connecting my bedroom with my office.
              1993 Macworld Dec. 189/1 Dial-up routers let users connect LANs over the wide area using switched
                   services instead of costly private lines.



            private man n. now historical = private soldier n.

              1651 Mercurius Politicus No. 53. 848 This Henry..was little less than a Bastard..; he was also a private man;




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                     and not onely so, but an Exile.
              1690 J. M�������� Siege London-derry 47/2 Serjeants, Corporals, Drummers, and private Men 2d. per
                   diem each, besides bread.
              1796 S. P���� Anonymiana (1809) 164 Application..on behalf of a private man that had deserted from an
                   independent company just as they were embarking for North America.
              1844 Queen's Regulations & Orders Army 176 All the Officers, Non-commissioned Officers, Drummers,
                   and Private Men, who may be at Home, are to be accounted for.
              1974 L. E. I���� Brit. Drums on Southern Frontier vi. 79 There were six companies, each of which included
                   a captain, lieutenant, ensign, four sergeants, four corporals, two drummers, and one hundred private
                   men who enlisted for seven years.



            private man of war n. now historical = ��������� n. 1; cf. private
           ship of war n.

              1646 MS. Orders & Instruct. (Adm. Libr.) 22 Instruccions and a fiat in the usuall form were this day signed
                   for Capt. Wm. Davies employing of the ship the 3 kings of dover being of 250 tons and 17 guns as a
                   private man of warre in her way of merchandize.
              1675 G. C���� Severall Considerations offered to Parl. 7 The Zelanders are a people, that upon all
                   occations, serves for private men of warr against England.
              1754 J. L���� Peerage of Ireland I. 391 Kid had a Commission from the Admiralty, as a private Man of
                   War.
              1857 Rep. Commerc. Relations U.S. (U.S. Dept. of State) IV. 83 There are only three circumstances when a
                   foreign ship can be made French: they are, 1st. When a prize on the enemy by state ships, or private
                   men-of-war [etc.]
              1985 William & Mary Q. 42 361 Ideally, the time at sea for each private man-of-war should be determined,
                   but though colonial newspapers reported hundreds of captures, they did not usually state the length of
                   time the cruisers had been on the hunt.



            private means n. income or assets derived from private sources; =
           private income n.

              1805 Times 20 Mar. 2/2 Mr. Fordyce had brought his salary, and other personal private means, to the
                   public account.
              1855 W. S������ Braddock's Exped. 166 To be reminded that such things as a Press of private means for
                   the benefit of the State still existed.
              1994 L. G����� Charlotte Brontë (1995) i. 14 Mr Brontë's failures to secure another wife with private
                   means..had practical consequences for his five daughters.



            private motoring n. motoring in a privately owned vehicle.

              1916 Times 28 June 12/3 It could not be said that the object of the new regulations was either to curtail
                   private motoring or to raise revenue.
              1992 B. E���� Gridlock (BNC) 182 When that happens it's going to revolutionize private motoring.



            private motorist n. a motorist who drives a privately owned vehicle.


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              1907 Times 8 Aug. 13/2 The private motorist has concluded..that France and Germany would, as hitherto,
                   take the lead in initiating any scientific or technical advance when the progress of the industry required
                   it.
              1993 Computing 24 June 31/4 It could also be accessed by private motorists via in-car units.



            private notice question n. a question put before the House of
           Commons by prior private arrangement with the Speaker and the person
           questioned.

              [1871 Hansard Commons 27 Feb. 941 I wish to ask some questions of the Prime Minister, of which
                    circumstances prevented me from giving any other than a private Notice to him.]
              1913 Hansard Commons 21 Jan. 225 Private notice question... May I ask the Chancellor of the Exchequer a
                   question of which I have given him private notice.
              1964 L. A. A������ & S. C. H������ Parl. Dict. (ed. 2) 168 On specially urgent matters, ‘private notice
                   questions’ may be asked after the end of the time allotted by the standing orders to questions for oral
                   answer. A member who wishes to avail himself of this privilege must give notice of the terms of his
                   question to the minister and to the Speaker not later than twelve o'clock on the day on which he is to
                   ask it.
              2001 R. H��� Second amongst Equals (2002) iii. 88 On his first day in the new job and with a hostile
                   private notice question to deal with (from Michael Foot), Jenkins insouciantly took himself off on a
                   lunchtime engagement.



            private nuisance n. Law an unlawful interference with an
           individual's use or enjoyment of land or rights over land; (also) the
           offence arising from such an interference; cf. public nuisance n. at ������
           adj. and n. Compounds 1b.

              1657 W. S���� Regestum Practicale 207 An Action upon the Case ought to be brought against one that
                   makes a private Nusance.
              1799 True Briton 7 Feb. If those Gentlemen..thought fit to proceed to indict for a private nuisance, the
                   Defendant was ready to meet them.
              1865 Amer. Law Reg. 3 380 Courts of equity will exercise a concurrent jurisdiction with courts of law in
                   cases of private nuisance.
              1956 Country Life 26 Apr. 866/1 Excessive and disagreeable noise may constitute a private nuisance.
              2013 M. W���� in P. Bishop & M. Stallworthy Environmental Law & Policy Wales iii. 32 Lord Jersey was
                   moved to commence an action in private nuisance.



            private number n. Telephony (a) a number that is ex-directory; (b) a
           number at a private address rather than business premises.

              1913 Times 28 Nov. 6/1 From my office the operator was instructed to call my private number in the West-
                   end.
              1933 D. L. S����� Murder must Advertise viii. 129 He was not in the telephone-book, but his private
                   number would doubtless be on the telephone-clerk's desk.
              1969 N. F������� Tsing-Boum xiii. 95 Good morning. Police Judiciaire!.. I'm at a private number in



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                     Marseilles; will you..clear me a direct line.
              1992 J. M������ Forgotten Fire (BNC) She would ring Julius at home, with messages that were only just
                   important enough for her to justify ringing his private number.



            private parts n. the genitals; also in extended use.

              1623 G. M������ Country Contentm. i. 35 (margin) The diseases of the priuate parts.
              1723 Oncenia (ed. 8) 159 Tying a string about my neck, and the other end to my private parts.
              1785 F. G���� Classical Dict. Vulgar Tongue at Commodity A woman's commodity; the private parts of a
                   modest woman, and the public parts of a prostitute.
              1888 P. H. P��-S���� Fagge's Princ. & Pract. Med. (ed. 2) I. 188 She mentioned..that she had severe pain
                   in micturition, and that her private parts were swollen.
              a1930 D. H. L������� Last Poems (1932) 157 The reddened limbs..and the half-hidden private parts.
              1971 Farmer & Stockbreeder 23 Feb. 30/1 Major Ogilvie recalls some mothers feeling embarrassed at
                    having to see the ‘private parts’ of an animal's body—like teats and udders—being handled by a man.
              1992 S. A������� Kid 70 And his shoulder-blades were two butchers at the meat-cleaving competition and
                   his belly-button was the Falkland Islands and his private parts were the Bermuda triangle and his
                   backside was a priest hole.



            private patient n. a patient who pays for treatment rather than
           receiving it free or under subsidy from the State or a public body.
              1754Private patient [see sense A. 2b(b)].
              1801 Med. & Physical Jrnl. 5 7 Those to whom I have communicated the infection out of the Hospital, or
                   among my private patients.
              1859 F. N���������� Notes on Nursing vi. 39 Generally, the only rule of the private patient's diet is what
                   the nurse has to give.
              1914 A. B������ Price of Love xii. 256 In those days of State health insurance all doctors were too busy..to
                   be of assistance to private patients.
              1992 Which? Aug. 428/3 You may sometimes be better off in an NHS hospital, whether as an NHS patient
                   or a private patient in a pay-bed.



            private placement n. Finance (originally U.S.) the sale of stocks,
           bonds, or securities directly to a private investor (often without using an
           intermediary), rather than in a public offering; (also) stocks, etc., sold in
           this way.

              1925 N.Y. Times 28 Mar. 21/3 (heading) Kuhn, Loeb & Co..takes $4,735,000 railroad bonds for private
                   placement.
              1939 N.Y. Times 2 Nov. 33/3 From the short term this appears to give borrowers a great advantage in the
                   private placement market, an advantage which they could never find in direct sales to the public.
              1951 Times 24 Jan. 6/7 South Africa had also arranged for the private placement with eight American
                    commercial banks of $10m. of the Union's promissory notes.
              2000 Red Herring May 192/2 We haven't made any decision yet as to whether we'll go public; we've just
                   made a desicion to issue a private placement.



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            private playhouse n. = ������� ����� n. 2; (later also) any theatre
           owned and run by a private individual, esp. one staging performances for
           invited audiences only.

              1609 T. D����� Guls Horne-bk. vi. 28 Whether therefore the gatherers of the publique or priuate Play-
                   house stand to receiue the afternoones rent, let our Gallant (hauing paid it) presently aduance himselfe
                   vp to the Throne of the Stage.
              1795 M. C������� & A. M����� Hist. & Antiq. of Parish of St. Saviour's, Southwark 200 Yet it should
                   seem that persons were suffered to sit on the stage only in the private playhouses (such as Blackfriars
                   &c.) where the audience was more select and of a higher class.
              1829 J. H. R������� One, Two, Three, Four, Five �. ii. 18 I seek in vain for elegant recreation; no private
                   play-houses, no debating society.
              1910 Mansfield (Ohio) News 30 Aug. 2/7 Recently D'Annunzio gave a performance at the private playhouse
                   of a friend of his in Paris.
              1998 S. D���� Prince of Pleasure (2000) v. 132 He spent more than £60,000 on a private playhouse in
                   which he would indulge his passion for drama.



            private practice n. work undertaken for a fee for a private client or
           patient; a privately run business which provides a service for paying
           clients; cf. sense A. 2b(b).

              1724 Philos. Trans. 1722–3 (Royal Soc.) 32 213 The..Regard for the Good of Mankind, which you have
                   always manifested, as well in your extensive private Practice as in that publick Post, which you have so
                   long and so usefully fill'd, must affect you [etc.].
              1843 R. J. G����� Syst. Clin. Med. ix. 99 In private practice the physician is called at an early period of the
                   disease.
              1945 Fortune Mar. 109/2 Tommy Corcoran, no longer part of the janissariat, is back in the law, with a
                   private practice in Washington.
              1967 Brit. Jrnl. Psychiatry 113 1052/2 Private practice is simply a method of making a lucrative racket out
                   of pampering or swindling those who can afford to pay.
              2000 Building Design 18 Feb. 26/4 (advt.) Dynamic private practice with an established list of blue-chip
                   clients requires proactive and driven professionals.



            private press n. a small privately-owned printing and publishing
           house (now usually one issuing small print runs of books embodying
           higher standards of production than those of commercial publishers).

              1643 in D. Neal Hist. Puritans (1855) 456/2 The Company of Stationers and the Committee of
                    Examinations are required to make strict inquiry after private presses, and to search all suspected
                    shops and warehouses for unlicensed books and pamphlets.
              1687 A. B��� Luckey Chance ��. i. 47 Then he keeps a private Press and prints your Amsterdam and
                   Leyden Libels.
              1834 J. M����� Bibliogr. Catal. Bks. Privately Printed p. v The second portion of the work, consisting of an
                   account of the publications from literary clubs, and private presses.
              1900 Library 1 407 Since the days when Horace Walpole started as a master-printer at Strawberry Hill



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                     quite a number of book-lovers have amused themselves with the management, and occasionally with
                     the actual working, of a private press.
              1993 Dict. National Biogr.: Missing Persons (BNC) 65/2 He published on American history and
                   established his own private press, the Guyon House Press.



            private property n. property owned by an individual person,
           company, etc.

              1642 J. M. Reply to Answer 40 It must be agreed that the State hath an interest Paramount in every mans
                   private property.
              1760 C. L����� Lady's Museum No. 7. 527 All matters of importance, or relative to private property, were
                   to be laid before him.
              1868 M. P������� Suggestions Acad. Organisation §1. 7 A great deal of foolish bluster was talked about
                   interference with private property.
              1997 Economist 1 Feb. 57/1 If..the government decided to put a camp-ground on part of the private
                   property, the group would first have to agree and then buy back the grazing rights from Mr Bass.



            private residence n. = ������� ����� n. 1.

              1723 Impartial Hist. Peter Alexowitz 65 He pitch'd upon the place for his Retreat, or private Residence.
              1797 A. R�������� Italian II. vii. 234 She hoped, therefore, that he had only been sent to some private
                   residence belonging to his family.
              1836 C. D������ Pickwick Papers (1837) xxi. 222 At length, late one night, Heyling..appeared at his
                   attorney's private residence, and sent up word that a gentleman wished to see him instantly.
              1974 P. L������ Invitation to Dynamite Party iii. 34 ‘There was a second explosion..at Sir Watkin Wynn's
                   residence.’ ‘A private residence? What have they got against Sir Watkin Wynn?’
              1998 L. F����� Bombay Ice (1999) 76 The family has to slum it on the top floor, but even so it's still the
                   tenth largest private residence in the world.



            private road n. a road maintained at private (rather than public)
           expense, to which public access may or may not be limited, (now) esp.
           one giving access to private property.

              1652 G. F���� Wit for Mony vii. sig. A6 Hind having gotten a good purchase in Gold past away the day very
                   merrily, & towards night rides to an Inne which stood in a private Roade.
              1775 Edinb. Advertiser 21 Apr. Coming to a drawbridge..he desired that it might be immediately let down;
                   but they refused; saying it was a private road, and that he had no authority to demand passage that
                   way.
              1838 R. S. S������ Jorrocks's Jaunts 55 A private road and a line of gates through fields now greet the eyes
                   of our M'Adamisers.
              1903 Times 16 Mar. 4/2 The club decided to make an effort to obtain before next winter a private road,
                   instead of using, as heretofore, the public road to Klosters.
              2001 J. O'B���� At Home in Heart of Appalachia xiii. 204 At the end of the hardtop, I take a short trail to
                   the private road that curves down to the telescopes.




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            private room n. (in a club, hotel, etc.) a room which may be hired for
           private use; (in a hospital) a room which affords privacy for a patient, esp.
           such a room provided on a fee-paying basis.

              1797 T. H������� Adventures Hugh Trevor V. xi. 186 The place of meeting was a private room in a coffee-
                   house.
              1824 W. S���� Redgauntlet III. vii. 197 Walking into the inn, [he] demanded from the landlord breakfast
                   and a private room.
              1878 Times 21 Nov. 6/5 The ‘No. 8’ block, on the west of the hospital,..had the means of providing for
                   upwards of 60 paying patients in wards and private rooms.
              1920 ‘S�����’ Bull-dog Drummond 7 Have we ever had staying in the hotel a man called le Comte de Guy?..
                   Has he ever fed here, or taken a private room?
              1994 R. P������ Hot Zone Ebola River 87 At the Ngaliema Hospital in Kinshasa, Nurse Mayinga had been
                   put into a private room, which was accessible through a kind of entry room, a gray zone, where the
                   nurses and staff were supposed to put on bioprotective gear before they entered.
              1995 Guardian 16 Feb. �. 10/7 Karaoke parlours..comprise a warren of private rooms in which customers
                   sing to the words of tunes played on television screens.



            private school n. a fee-paying school run for the personal profit of the
           proprietors; a school which does not receive state funding and is not
           subject to the state education authority; (in quot. 1857) a preparatory
           school (cf. sense C. 6).
              15741Priuate schoole [see sense A. 2b(a)].
              1676 Cramond Kirk Session II. 5 Nov. Considereing how much the public schoole at the church is
                   prejudged by privat schooles.
              1751 Mem. Lady of Quality in T. Smollett Peregrine Pickle III. lxxxviii. 66 I was the only child of a
                   man..who indulged me..with..paternal affection; and when I was six years old, sent me to a private
                   school, where I stayed till my age was doubled.
              1857 T. H����� Tom Brown's School Days �. iii. 67 A private school, where he went when he was nine years
                   old.
              1914 C. M�������� Sinister St. II. ���. iii. 547 I don't think it is snobbishness... It's a throw back to primitive
                   life in a private school.
              1997 N.Y. Times Bk. Rev. 29 June 24/1 Everdell..is dean of humanities at St. Ann's, a private school in
                   Brooklyn, where he has taught history for 25 years.



            private schoolmaster n. a personal tutor; a schoolmaster at a private
           school.

              1588 W. K���� Educ. Children sig. E4v Some heere do counsell the Father to seeke out a priuat
                     Schoolemaister for his child.
              a1691 R. B����� Reliquæ Baxterianæ (1696) 96 A Man of great sincerity and zeal, and desire to do good,
                    and devotedness to God,..falling into the Life of a private Schoolmaster.
              1857 T. H����� Tom Brown's School Days �. iii. 69 Were I a private schoolmaster.
              1930 E. W���� Vile Bodies viii. 143 My private schoolmaster used to say, ‘If a thing's worth doing at all, it's



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private, adj.1, adv., and n. : Oxford English Dictionary                  https://www-oed-com.ezp-prod1 hul harvard.edu/view/Entry/151601?rs...
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                     worth doing well.’
              1988 R. S������ Alternative Saints (BNC) 102 He remained in Wales as a private schoolmaster until he
                   became chaplain and tutor to the family of Lord Carbery.



           † private seal n. Obsolete = ����� ���� n. 3a.

              1440 Chancery Proc. Ser. C1 File 9 No. 447 (MED) William Gargrave of Holme and Cristofere Banastre of
                   Merton, Esquiers, haue ben ij tymes send for by the kyngis priuat seel at the Instaunce and costages of
                   your said suppliaunt.
              1531 in I. S. Leadam Select Cases Court of Requests (1898) 33 To graunte vnto your seid Orator your most
                    dredd wrytte of pryuatte seale to be dyrected vnto the seid abbot.



            private secretary n. (a) a secretary employed by a government
           minister, dealing with official correspondence, etc.; (b) a secretary in the
           employ of a particular individual, rather than of a society, department,
           etc.

              1677 S. P���� Portugal Hist. 76 Gaspar de Faria, private Secretary, by order of the King, put into his hands
                   oftentimes papers of greatest Concerns.
              1773 R. J������ Let. 2 Mar. in D. Garrick Private Corr. (1831) I. 530 Our friend Tighe is much engaged in
                   his office of Private Secretary to the Lord Lieutenant, but is getting better health and more strength
                   every day.
              1891 W. F����� Disraeli & his Day (ed. 2) 42 Mr Algernon Greville became, some years afterwards, Private
                     Secretary to the Duke.
              1930 J. B. P�������� Angel Pavement v. 207 I can't bear those private secretary jobs. Yours is one of them,
                   isn't it?
              1991 Sanity Jan. 7/1 He became private (i.e. political) secretary to two government ministers in the Home
                    Office.



            private secretaryship n. the office or position of private secretary.

              1789 Hartly House, Calcutta II. xx. 116 The peace-offering..was no less than an appointment to a private
                   secretaryship.
              1812 Times 16 Apr. 2/3 This private secretaryship, with the salary annexed, is an after-device.
              1880 E. W. H������� Diary 25 Apr. (1972) I. 3 Horace Seymour and Henry Primrose are the two between
                   whom the other private secretaryship lies.
              1954 K. A��� Lucky Jim iv. 48 Our influencial friend will shortly be declaring his private secretaryship
                   vacant.
              1981 Times 25 Mar. 14/1 The interconnection of junior ministers and parliamentary private secretaryships
                   is striking.



            private sector n. that part of an economy, industry, etc., which is
           privately owned and free from direct state control.

              1930 H. J. S������� tr. A. Feiler Russ. Exper. 89 In this sphere the programme contemplates a determined



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                     onslaught on the private sector for the benefit of the socialized, the nationalized, or the co-operative
                     sector.
              1996 Outlook (New Delhi) 28 Aug. 36/1 This year's Olympics taught the Americans that there's a flip side to
                   relying solely on the private sector.



            private service n. service to an individual rather than to the
           community, state, etc.; (in later use) spec. domestic service in a private
           house.

              a1652 R. B���� Eng. Moor ���. i. 39 in Five New Playes (1659) And though I outwardly appear your
                   Drudge, 'Tis fit I have a Maid for private service.
              1718 R. S����� tr. C. Ancillon Eunuchism Display'd �. i. 7 He might have none to attend him in his private
                   Service but Eunuchs.
              1843 C. D������ Martin Chuzzlewit (1844) vii. 85 All them trades I thought of was a deal too jolly; there
                   was no credit at all to be got in any of 'em. I must look for a private service... I might be brought out
                   strong..in a serious family.
              1934 D. L. S����� Nine Tailors 139 Deacon was a waiter in some club... He wanted to try private service.
              1978 M. W��� & N. W��� Home in Twenties & Thirties 38/1 There was..an inexorable reduction in the
                   number of people engaged in private service.



            private ship of war n. now historical = ��������� n. 1a; cf. private
           man of war n.

              1702 tr. P. de la Court True Interest Republick Holland & W.-Friesland ��. i. 207 Private Ships of War
                   [were] by great Rewards perswaded to take and destroy the Enemys Ships.
              1804 Times 3 May 3/3 Those beautiful private ships of war the Sir Thomas Trowbridge, of 16 guns, and the
                   Sir John Colpays, of 14 guns..have been surveyed by the proper officers.
              1988 P. O'B���� Let. of Marque i. 7 Stephen Maturin had bought her as a private ship of war, a letter of
                   marque, to cruise upon the enemy.



            private soldier n. an ordinary soldier of the lowest rank; = sense C.
           10; cf. common soldier n. at ������ adj. and adv. Compounds 2.

              1566 W. P������ tr. O. Landi Delectable Demaundes ���. f. 68 He knewe well that by his natiuitie, he was
                   appointed to be generall of armies, and not a simple souldior: wherfore he behaued him selfe according
                   to the Maiestie of that office, and not like a priuate souldior.
              1579 L. D����� & T. D����� Stratioticos 152 They can doe no more than Privat Souldiors.
              1698 Mem. E. Ludlow I. 192 Pretending..to keep the private soldiers, for they would no longer be called
                   common soldiers, from running into greater extravagancies and disorders.
              1760 C. J�������� Chrysal II. iv. 177 A man, in the habit of a private soldier, threw himself prostrate
                   across his way, crying, ‘Mercy! O great king! have mercy on the sufferings of a wretch in despair, and
                   shew yourself the substitute of heaven by impartial justice.’
              1898 E. J. H���� in United Service Mag. Mar. 646 Another expression, which is far more objectionable
                   [than the name ‘Tommy Atkins’], is to speak of a ‘common soldier’ instead of a private soldier.
              1992 G. M. F����� Quartered Safe out Here p. xiv I must emphasise that at private soldier level you




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                     frequently have no idea where you are, or precisely how you got there, let alone why.



            private trade n. trade carried on by an individual for his or her
           personal profit.

              [1601 J. W������ Treat. Commerce 46 Diuers of the Company had..erected vnto themselues a priuate,
                    irregular, and stragling Trade.]
              1612 J. S���� Map of Virginia 50 There was ten-times more care, to maintaine their damnable and private
                    trade, then to provide for the Colony things that were necessary.
              1736 H. F������� Pasquin ��. i. 51 But Priests, and Lawyers, and Physicians made These general Goods to
                   each a private Trade.
              1821 G. S������ Jrnl. 8 Jan. in Publ. Hudson's Bay Rec. Soc. (1938) I. 212 Chastellan & Lamallice..are
                   renewing their old practice of carrying on Private Trade with the Indians.
              1991 C. A������� Grain p. i The so-called ‘private’ companies—those companies in the hands of private
                   trade as opposed to the farmer-owned wheat pools.



            private trader n. a person who carries on trade for his or her personal
           profit.

              1616 in W. Foster Lett. received by E. India Co. (1901) V. 119 With the intelligence concerning the private
                    traders of Captain Downton's merchants.
              1784 A. S���� Inq. Wealth of Nations (ed. 3) III. �. iii. 133 The competition of the two companies with the
                   private traders..is said to have well nigh ruined both.
              1830 J. F. C����� Water Witch I. xi. 203 Prudence is a cardinal quality, in a private trader; and it is a
                   quality that I esteem in Master Skimmer, next to his punctuality.
              1991 South Aug. 95/4 From time to time the government tries to take the video-business in hand but it
                    cannot compete against private traders.



            private trading n. = private trade n.

              1640 H. M��� Nights Search xlvii. 233 She keeps her private trading, To help at need; her husbands trade is
                   fading.
              1739 L�. H�������� in Rep. Cases Chancery (1765) I. xci. 546 For the benefit of the Captain, who staid
                   there six days merely for the sake of private trading.
              a1894 R. L. S�������� In South Seas (1896) ��. vii. 369 Tembinok' had two brothers. One, detected in
                   private trading, was banished.
              1929 Times 26 Feb. 17/5 He courageously scrapped his own Bolshevist economic theories in 1921 and
                   reinaugurated private trading.
              1990 Farmer's Weekly (Perth) 11 Oct. 25/3 (advt.) Private trading through Grain Pool Permits is possible
                   for domestic consumption.



            private treaty n. a form of property sale effected by a private
           agreement between the seller and a bidder, rather than by auction, public
           tender, etc.; see also quot. 1973.



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              1858 Estates Gaz. 16 Aug. 16/1 (advt.) To be sold, by private treaty, a substantial and well-built house.
              1922 V. S��������-W��� Heir i. 19 Are we to try for auction or private treaty? Personally I think the house
                   at any rate will go by private treaty.
              1973 P. W������� & A. R����� Place of your Own i. 11/2 In Scotland..houses are more often sold ‘by
                   private treaty’. This way, the owner places a reserve, or ‘upset’ price on the property and invites those
                   interested to make offers, in writing, by a specified date. On that date, the offers are examined, and the
                   property will usually go to the highest bidder. An offer made this way is binding by law, unless you
                   withdraw it before it is formally accepted... Some properties in England and Wales are offered for sale
                   on these terms.
              1988 Home Finder May 51/1 Ask the auctioneer if offers will be considered prior to auction, in other words,
                   whether you can purchase by private treaty.



            private view n. a viewing (now esp. of an exhibition) to which the
           general public is not admitted; = private viewing n.

              1706 T. D'U���� Wonders in Sun ���. 43 Ambassador from the Kingdom of the Birds; who, thro' Curiosity
                   desiring a private View of you, and being gratify'd, has strangely accus'd ye of Murder upon one of the
                   Brothers of Plumply Lord Pheasant.
              1746 N.Y. Evening Post 29 Dec. (advt.) If any Gentlemen or Ladies, hath a Mind to have a private View of
                   the same, they may, by giving two Hours Warning before hand.
              1862 W. S����� Hist. Royal Acad. Arts II. 240 The art-critics for the newspapers, etc., were admitted to
                   the private view of the exhibition.
              1996 Independent 14 Oct. �. 3/4 He is seen in the film coaching staff for the private view of the William
                   Morris exhibition.



            private viewer n. a person attending a private viewing.

              1897 Daily News 28 Apr. 6/6 The galleries..soon to be refilled by the critics, the private viewers, and the
                   outside crowd.
              1997 Northern Echo (Nexis) 19 Mar. 5 We aren't interested in private viewers who have a couple of pirates
                   in their collection. We want to catch the big fish.



            private viewing n. = private view n.

              1850 Punch 19 88/2 As to the privilege of private views [of the Exhibition], the whole thing is a farce when
                   compared with the privilege of private viewing claimed..by our young friends.
              1898 Westm. Gaz. 28 Apr. 5/3 On the whole the private viewing ladies have had the excellent taste of
                   coming in the morning in morning dress.
              1965 Observer 28 Feb. 2/6 The occasion was the private viewing of the most important show of the New
                   York art season.
              2000 G. F��� Art, Power & Modernity iv. 82 With its rituals of dining and private viewing, the �� and its
                   Exhibition translated the status struggles of Victorian Society into the hierarchies of art.



            private war n. a war fought by a restricted number of participants
           from personal or private motives; also in extended use.


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              1548 Hall's Vnion: Henry VII f. lvii He more detested & abhorred intestine and priuate warre, then death
                   or any thynge more terrible.
              a1599 E. S������ View State Ireland 197 in J. Ware Two Hist. Ireland (1633) The English Lords and
                   Gentlemen, who then had great possessions in Ireland, began thorough pride and insolency, to make
                   private warres one against another.
              1728 E. C������� Cycl. at Treve de Dieu The Disorders and Licences of private Wars..oblig'd the Bishops
                   of France to forbid such Violences within certain Times.
              1866 C. M. Y���� Dove in Eagle's Nest I. p. vi An offended nobleman, having sent a Fehdebrief to his
                   adversary, was thenceforward at liberty to revenge himself by a private war.
              1974 ‘G. B����’ Golden Cockatrice xi. 194 A killing that was one incident in the continuing private war the
                    Russians and the Chinese have been waging against each other.
              1987 ‘J. G���’ Moonspender (1988) vii. 76 I don't believe that you..suddenly decide to recruit him in your
                    private war with a load of moonspenders.



            private ward n. a hospital ward, usually containing a single bed, that
           gives a patient privacy or is for fee-paying patients.

              a1832 W. S���� Surgeon's Daughter vii, in Waverley Novels (1855) 498 Symptoms are dubious yet... That
                   was an alarming swoon. You must have him carried into the private ward.
              1935 D. L. S����� Gaudy Night ix. 191 He's in a private ward, so you can get in any time.
              1960 C. W����� Bump in Night i. 15 He lay in a small private ward of Chalmsbury General Hospital.
              1991 J. S����������� Undertaken with Love (BNC) 73 He had apparently been..so disturbing the other
                    patients that he had been moved, temporarily, to a private ward.



            private wire n. Telephony (a) = private line n. (a); (b) a wire in an
           exchange used to test whether a line is in use without intrusion on a call
           in progress.
              1852Private wires [see sense A. 8b].
              1878 Telegr. Jrnl. 6 51/1 The regulations concerning the despatch and receipt of telegrams, the tariffs for
                   the same, and for the renting of private wires.
              1940 War Illustr. 16 Feb. p. ii/1 Taking the final proof of his commentary on the foreign news of the day to
                   the ‘private wire’ room, to be telegraphed or telephoned to Manchester.
              1969 S. F. S���� Telephony & Telegr. A vi. 153 A third wire is therefore provided on all connexions through
                   the exchange, the potential of which indicates the condition of the circuit. This avoids intrusion on
                   calls in progress and is called the private wire, usually abbreviated to ‘P-wire’.
              1998 What Cellphone Nov. 29/1 A further benefit is that a private wire system can be set up in such a way
                   as [sic] a company's mobile phones effectively behave like extensions of the office switchboard.



            private world n. the realm of personal thoughts, perceptions,
           interests, etc., within which one moves or lives; a person's private
           consciousness (frequently implying a degree of fantasy or isolation from
           the real world).

              1873 T. H���� Pair of Blue Eyes I. xi. 234 It was the first time that she had had an inner and private world



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                      apart from the visible one about her.
              1921 A. H����� Crome Yellow xiii. 128 He determined to retire absolutely from it [sc. the great world] and
                   to create..at Crome a private world of his own.
              1989 G. D��� Pre-Raphaelites in Love vi. 250 Ned retreated into a private world of his own making.




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Democrats: Google must protect privacy of
abortion patients

By BARBARA ORTUTAY


More than 40 Democratic members of Congress are asking Google to stop what
they see as the unnecessary collection and retention of people’s location data,
arguing the information could be used to identify women seeking abortions.

In a letter sent Tuesday to Sundar Pichai, the CEO of Google parent Alphabet Inc.,
the lawmakers express concern that if abortion were to become illegal in the U.S.,
the company’s “current practice of collecting and retaining extensive records of cell
phone location data will allow it to become a tool for far-right extremists looking to
crack down on people seeking reproductive health care.”

If the Supreme Court upends the 1973 decision that legalized abortion — as a draft
opinion suggests it may in the coming weeks — pregnancies could be surveilled and
the data shared with police or sold to vigilantes, privacy experts fear.

Google, specifically, stores “historical location information about hundreds of
millions of smartphone users,” the letter notes, “which it routinely shares with
government agencies.”

Representatives for Alphabet did not immediately respond to a message for
comment. Tech companies have largely tried to stay out of the abortion debate.
Meta Platforms, which owns Facebook, has reportedly reminded employees that
they are prohibited from discussing abortion in workplace communication
channels. Meta did not respond to a request for comment.

In their letter, the Democrats, who were led by Sen. Ron Wyden from Oregon, asks
Google to stop collecting and keeping records of their customers’ every movement.

Law enforcement officials routinely obtain court orders forcing Google to turn over
its customers’ location information, the letter notes. This includes “geofence”
orders, which are requests for Google to provide data about everyone who was near
a specific location at a specific time.

Google received 11,554 geofence warrants in 2020, according to the company. It has
not said how many of those it complied with.
Better understand and reach your customers with new Cross Device capab... https://www.blog.google/products/marketingplatform/360/cross-device-c...
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          Better understand and reach your customers with
          new Cross Device capabilities in Google Analytics

          Jesse Savage




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          Today, we’re introducing new Cross Device features to Google Analytics. Analytics will now help
          you understand the journey your customers are taking across their devices as they interact with
          your website, giving you a complete view of the impact of your marketing so you can run smarter
          campaigns that deliver more tailored experiences to your customers.



          Piecing together a more complete picture

          Cross Device reporting in Analytics takes into account people who visit your website multiple times
          from different devices. Now, instead of seeing metrics in Analytics that show two separate sessions
          (e.g., one on desktop and the other on mobile), you’ll be able to see when users visited your website
          from two different devices. By understanding these device interactions as part of a broader
          customer experience, you can make more informed product and marketing decisions.

          Say you’re a marketer for a travel company. With the new Acquisition Device report, you may find
          that a lot of your customers first come to your website on mobile to do their initial research before
          booking a trip later on desktop. Based on that insight, you might choose to prioritize mobile ad
          campaigns to reach people as they start to plan their trip.



          In addition to the Acquisition Device report, you’ll soon have access to other Cross Device reports
          like Device Overlap, Device Paths and Channels. Our Cross Device reports only display aggregated
          and anonymized data from people who have opted in to personalized advertising (as always users
          can opt out at any time).

          Reaching the right customers along the way

          Analytics will also now help you create smarter audiences based on the actions people take on
          various devices. That way you can deliver more relevant and useful experiences.

          Let’s say you’re a shoe retailer and you want to share a special promotion with your most loyal
          customers. You decide this means people who have purchased more than $500 in shoes on your
          website in the last 12 months using any of their devices. If a group of customers buy $300 worth of
          shoes on their phone and another $300 on their desktop, they’re just as valuable as another group
          who spend $600 on a single device, right?

          Analytics now understands that these two groups of customers actually spent the same amount on
          your website, helping you create a more accurate audience list to reach the right customers. And
          spend isn’t the only way to segment and build audiences. You can also create remarketing
          campaigns to reach audiences based on how many times they visit your website across multiple
          devices.



          Get started

          To use these new Cross Device features, start by visiting the Admin section of your Analytics
          account and choose the setting to activate Google signals. (If you don’t see this setting, you will
          soon—we’ll roll it out to all Analytics accounts over the coming weeks.) There’s no need to update
          your website code or get additional assistance from a developer.



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          With these new beta features in Analytics, we hope you’ll quickly see that by better understanding
          the customer journey across devices, you can create more relevant and useful experiences for your
          customers.




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This research was conducted by Professor Douglas C. Schmidt, Professor of Computer Science at
Vanderbilt University, and his team. DCN is grateful to support Professor Schmidt in distributing
it. We offer it to the public with the permission of Professor Schmidt.
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                        Google Data Collection
        Professor Douglas C. Schmidt, Vanderbilt University
                             August 15, 2018
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I.        EXECUTIVE SUMMARY

1.        Google is the world’s largest digital advertising company.1 It also provides the #1 web browser,2 the
#1 mobile platform,3 and the #1 search engine4 worldwide. Google’s video platform, email service, and map
application have over 1 billion monthly active users each.5 Google utilizes the tremendous reach of its products
to collect detailed information about people’s online and real-world behaviors, which it then uses to target them
with paid advertising. Google’s revenues increase significantly as the targeting technology and data are refined.

2.        Google collects user data in a variety of ways. The most obvious are “active,” with the user directly
and consciously communicating information to Google, as for example by signing in to any of its widely used
applications such as YouTube, Gmail, Search etc. Less obvious ways for Google to collect data are “passive”
means, whereby an application is instrumented to gather information while it’s running, possibly without the
user’s knowledge. Google’s passive data gathering methods arise from platforms (e.g. Android and Chrome),
applications (e.g. Search, YouTube, Maps), publisher tools (e.g. Google Analytics, AdSense) and advertiser tools
(e.g. AdMob, AdWords). The extent and magnitude of Google’s passive data collection has largely been
overlooked by past studies on this topic.6

3.        To understand what data Google collects, this study draws on four key sources:

     a.   Google’s My Activity 7 and Takeout8 tools, which describe information collected during the use of
          Google’s user-facing products;

     b. Data intercepted as it is sent to Google server domains while Google or 3rd-party products are used;

     c.   Google’s privacy policies (both general and product-specific); and

     d. Other 3rd-party research that has examined Google’s data collection efforts.

4.        Through the combined use of above resources, this study provides a unique and comprehensive view
of Google’s data collection approaches and delves deeper into specific types of information it collects from
users. This study highlights the following key findings:



1 “Google and Facebook tighten grip on US digital ad market,” eMarketer, Sept. 21, 2017, available at
https://www.emarketer.com/Article/Google-Facebook-Tighten-Grip-on-US-Digital-Ad-Market/1016494
2 “Market share or leading internet browsers in the United States and worldwide as of February 2018,” Statista, February 2018,
available at https://www.statista.com/statistics/276738/worldwide-and-us-market-share-of-leading-internet-browsers/
3 “Global OS market share in sales to end users from 1st quarter 2009 to 2nd quarter 2017,” Statista, August 2017, available at
https://www.statista.com/statistics/266136/global-market-share-held-by-smartphone-operating-systems/
4 “Worldwide desktop market share of leading search engines from January 2010 to October 2017,” Statista, Feb. 2018, available at
https://www.statista.com/statistics/216573/worldwide-market-share-of-search-engines/
5 Google 10K filings with the SEC, 2017, available at https://abc.xyz/investor/pdf/20171231_alphabet_10K.pdf
6 Please see Appendix section IX.F for a list of past studies/news reports on Google data collection
7 “My Activity,” Google, available at https://myactivity.google.com/myactivity
8 “Download your data,” Google, available at https://takeout.google.com/settings/takeout?pli=1



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     a.   Google learns a great deal about a user’s personal interests during even a single day of typical internet
          usage. In an example “day in the life” scenario, where a real user with a new Google account and an
          Android phone (with new SIM card) goes through her daily routine, Google collected data at numerous
          activity touchpoints, such as user location, routes taken, items purchased, and music listened to.
          Surprisingly, Google collected or inferred over two-thirds of the information through passive means.
          At the end of the day, Google identified user interests with remarkable accuracy.

     b. Android is a key enabler of data collection for Google, with over 2 billion monthly active users
          worldwide.9 While the Android OS is used by Original Equipment Manufacturers (OEMs) around the
          world, it is tightly connected with Google’s ecosystem through Google Play Services. Android helps
          Google collect personal user information (e.g. name, mobile phone number, birthdate, zip code, and
          in many cases, credit card number), activity on the mobile phone (e.g. apps used, websites visited), and
          location coordinates. In the background, Android frequently sends Google user location and device-
          related information, such as apps usage, crash reports, device configuration, backups, and various
          device-related identifiers.

     c.   The Chrome browser helps Google collect user data from both mobile and desktop devices, with over
          2 billion active installs worldwide.10 The Chrome browser collects personal information (e.g. when a
          user completes online forms) and sends it to Google as part of the data synchronization process. It
          also tracks webpage visits and sends user location coordinates to Google.

     d. Both Android and Chrome send data to Google even in the absence of any user interaction. Our
          experiments show that a dormant, stationary Android phone (with Chrome active in the background)
          communicated location information to Google 340 times during a 24-hour period, or at an average of
          14 data communications per hour. In fact, location information constituted 35% of all the data samples
          sent to Google. In contrast, a similar experiment showed that on an iOS Apple device with Safari
          (where neither Android nor Chrome were used), Google could not collect any appreciable data
          (location or otherwise) in the absence of a user interaction with the device.

     e.   After a user starts interacting with an Android phone (e.g. moves around, visits webpages, uses apps),
          passive communications to Google server domains increase significantly, even in cases where the user
          did not use any prominent Google applications (i.e. no Google Search, no YouTube, no Gmail, and
          no Google Maps). This increase is driven largely by data activity from Google’s publisher and advertiser
          products (e.g. Google Analytics, DoubleClick, AdWords)11. Such data constituted 46% of all requests

9 Dave Burke, “Android: celebrating a big milestone together with you,” Google, May 17, 2017, available at
https://www.blog.google/products/android/2bn-milestone/
10 Frederic Lardinois, “Google says there are now 2 billion active Chrome installs,” TechCrunch, Nov. 10, 2016, available at

https://techcrunch.com/2016/11/10/google-says-there-are-now-2-billion-active-chrome-installs/
11 Google recently rebranded AdWords as “Google Ads” and DoubleClick as “Google Ad Manager”



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     to Google servers from the Android phone. Google collected location at a 1.4x higher rate compared
     to the stationary phone experiment with no user interaction. Magnitude wise, Google’s servers
     communicated 11.6 MB of data per day (or 0.35 GB/month) with the Android device. This experiment
     suggests that even if a user does not interact with any key Google applications, Google is still able to
     collect considerable information through its advertiser and publisher products.

f.   While using an iOS device, if a user decides to forgo the use of any Google product (i.e. no Android,
     no Chrome, no Google applications), and visits only non-Google webpages, the number of times data
     is communicated to Google servers still remains surprisingly high. This communication is driven purely
     by advertiser/publisher services. The number of times such Google services are called from an iOS
     device is similar to an Android device. In this experiment, the total magnitude of data communicated
     to Google servers from an iOS device is found to be approximately half of that from the Android
     device.

g. Advertising identifiers (which are purportedly “user anonymous” and collect activity data on apps and
     3rd-party webpage visits) can get connected with a user’s Google identity. This happens via passing of
     device-level identification information to Google servers by an Android device. Likewise, the
     DoubleClick cookie ID (which tracks a user’s activity on the 3rd-party webpages) is another
     purportedly “user anonymous” identifier that Google can connect to a user’s Google Account if a user
     accesses a Google application in the same browser in which a 3rd-party webpage was previously
     accessed. Overall, our findings indicate that Google has the ability to connect the anonymous data
     collected through passive means with the personal information of the user.




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II.       A DAY IN THE LIFE OF A GOOGLE USER

5.        To illustrate the multitude of touchpoints between Google and an individual, as well as the extent of
information collected during these interactions, an experiment was designed where a researcher carried an
Android mobile phone device12 during a day’s activities. The mobile phone was wiped by conducting a factory
data reset13 and configured as a new device to avoid prior user information associated with the device.14 A new
Google account was created (username “Jane”), so that Google had no prior knowledge of the user and had
no advertising interests associated with the account. Researcher then went about a normal day using the mobile
phone associated with the new Google account.

6.        The data collected by Google was checked using two tools provided by Google: My Activity15 and
Takeout.16 The My Activity tool shows data collected by Google from any Search-related activities, use of
Google applications (e.g. YouTube video plays, Maps search, Google Assistant), visits to 3rd-party web pages
(while logged in to Chrome), and clicks on advertisements. The Google Takeout tool provides a more
comprehensive information about all historical user data collected via Google’s applications (e.g. it contains all
past email messages on Gmail, search queries, location collection, and YouTube videos watched). We
synthesized the collected data and used it to depict key information collection events in the form of a “day in
the life” of the user “Jane,” as shown in Figure 1.

7.        In the activity shown in Figure 1, as well as throughout the rest of this document, the collected data is
categorized in two broad subgroups: active and passive. Active data is defined as information directly exchanged
between the user and a Google product, whereas passive data is defined as information exchanged in the
background without any obvious notification to the user. An example of active data collection occurred when
Jane submitted a keyword in the Search tool bar and that search query was collected by Google. An example
of passive data collection occurred when Jane’s location was sent to Google after she entered a search query.




12 LG X Power device with Android 6.0 version installed
13 The factory data reset deletes all login data for Google services and other accounts, system and app data and settings, all
downloaded apps, digital rights management licenses, music, images, documents and backups, and other usage data from the internal
storage of the device.
14 Researchers used LG X Power device that was wiped clean to the default factory settings and given new SIM card in order to
ensure that no data was stored on the phone and that phone numbers could not be linked with any past usage.
15 “My Activity,” Google, available at https://myactivity.google.com/myactivity
16 “Download your data,” Google, available at https://takeout.google.com/settings/takeout?pli=1



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Figure 1: Day in the life of Jane, highlighting touchpoints where Google collects data




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8.        Analysis of key touch points during a normal day in the life of Jane suggested that the number of
“passive” data collection events outnumbered the “active” events by approximately two-to-one (a detailed
breakdown of characterization of active vs passive data collected appears in Table 3 of the Appendix section
IX. A).

9.        Google analyzes the collected data to assess user interests, which it then applies to target users with
appropriate ads. For example, Google provides a list of interests that it has inferred from a user’s activities,
available via the “topics you like” section in the Google’s Ad Personalization webpage.17 Figure 2 shows such
a list that Google associated with Jane’s account after a day’s worth of activity. In total, Google attributed 18
interests to Jane, eight of which (shown by colored borders) closely matched Jane’s usage and activities.18

Figure 2: Google’s assessment of Jane’s interest at the end of the day




10.       Although My Activity and Takeout tools are helpful in assessing the amount of active data collected
after a user interacts with Google’s products, they do not paint a complete picture of the size and scale of
Google’s data collection. A comprehensive understanding of which requires a review of Google’s product-
specific privacy policies, as well as analyses of the actual data traffic passed to Google servers during the
instances of a user’s interaction with its services. Results derived from these resources are covered later in this
report.

III.      DATA COLLECTION THROUGH ANDROID AND CHROME PLATFORMS


17 “Ads personalization,” Google, last accessed on August 15 2018, available at https://adssettings.google.com/authenticated
18 It’s unclear as to why other interests that have no connection with Jane’s activities during the day show up in this list, though
perhaps Google uses historical analysis of similar interests from other users to create associated recommendations.

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11.       Android and Chrome are Google’s key platforms that aid in significant user data collection due to their
extensive reach and frequency of usage. By January 2018, Android captured 53% of the total US mobile OS
market (Apple iOS held 45%)19 and as of May 2017 there were more than 2 billion monthly active Android
devices worldwide.20

12.       Google’s Chrome browser held more than 60% share of all internet browser usage in the world with
over 1 Billion monthly active users as reported in the 2017 Q4 10K filing.21 Both platforms facilitate the use of
Google and 3rd-party content (e.g. 3rd-party websites and 3rd-party apps) and hence provide Google access to
a wide range of personal, web activity, and location information.

          A.        Personal information and activity data collection

13.       To download and use apps from Google Play Store on an Android device, a user must have (or create)
a Google Account, which becomes a key gateway through which Google collects personal information,
including user name, email, and phone number. If a user registers for services such as Google Pay22, Android
also collects the user’s credit card information, zip code, and birth date. All this information becomes part of a
user’s personal information associated with their Google Account.

14.       While Chrome does not mandate sharing additional personal information gathered from users, it does
have the capability to capture such information. For example, Chrome collects a range of personal information
via its form “autofill” feature, and such form fields typically include user name, address, phone number, login
name, and passwords.23 Chrome stores form fill information on a user’s local drive, however, if the user logs
in to Chrome using Google Account and enables its “Sync” feature, this information gets sent to and stored
on Google servers. Chrome could also learn about the language(s) a person speaks during their interactions
with its translate feature, which is enabled by default.24

15.       In addition to personal data, both Chrome and Android send Google information about a user’s web
browsing and mobile app activities, respectively. Any webpage visit is automatically tracked and collected under




19 “Subscriber share held by smartphone operating systems in the United States from 2012 to 2018,” Statista, May 2018, available at
https://www.statista.com/statistics/266572/market-share-held-by-smartphone-platforms-in-the-united-states/
20 Dave Burke, “Android: celebrating a big milestone together with you,” Google, May 17, 2017, available at

https://www.blog.google/products/android/2bn-milestone/
21 Google 10K filings with the SEC
22 “Google Chrome privacy whitepaper,” Google, March 6, 2018, available at
https://www.google.com/chrome/privacy/whitepaper.html#payments
23 “Google Chrome privacy whitepaper,” Google, March 6, 2018, available at
https://www.google.com/chrome/privacy/whitepaper.html#autofill
24 “Google Chrome privacy whitepaper,” Google, March 6, 2018, available at
https://www.google.com/chrome/privacy/whitepaper.html#translate

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user credentials by Google if the user is signed in to Chrome. Chrome also collects information about a user’s
browsing history, passwords, website-specific permissions, cookies, download history, and add-on data.25

16.       Android sends periodic updates to Google servers, including device type, cell service carrier name,
crash reports, and information about apps installed on the phone.26 It also notifies Google whenever any app
is accessed on the phone (e.g. Google knows when an Android user accesses their Uber app).

          B.        User location data collection

17.       Android and Chrome platforms meticulously collect user location and movement information using a
variety of sources, as depicted by Figure 3. For example, a “coarse location” assessment can be done by using
GPS coordinates on an Android phone or through a network’s IP address on a desktop/laptop device. The
user location accuracy can be improved further (“fine location”) through the use of nearby cell tower IDs or
via scanning the device-specific BSSIDs or basic service set identifiers, assigned to the radio chipset used in
nearby Wi-Fi access points.27 Android phones can also use information from the Bluetooth beacons registered
with Google’s Proximity Beacon API.28 These beacons not only provide user’s geolocation coordinates, but
could also pinpoint exact floor levels in buildings. 29

Figure 3: Android and Chrome use multiple ways to locate a mobile user




25 “Google Chrome Privacy Notice,” Google, March 6, 2018, available at https://www.google.com/intl/en/chrome/browser/privacy
26 https://policies.google.com/privacy?hl=en&gl=us#infocollect
27 To understand how location data is sent to Google servers in more depth, our researchers analyzed the data traffic from a mobile
phone from a user in motion, applying the method described in Appendix section VIII.C.
28 “Google beacon platform, proximity beacon API,” Google, last accessed on August 15 2018, available at
https://developers.google.com/beacons/proximity/guides
29 “Google beacon platform, proximity beacon API,” Google, last accessed on August 15 2018, available at
https://developers.google.com/beacons/proximity/guides

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18.     It’s hard for an Android mobile user to “opt out” of location tracking. For example, on an Android
device, even if a user turns off the Wi-Fi, the device’s location is still tracked via its Wi-Fi signal. To prevent
such tracking, Wi-Fi scanning must be explicitly disabled in a separate user action, as shown in Figure 4.

Figure 4: Android collects data even if Wi-Fi is turned off by user




19.     The ubiquity of Wi-Fi hubs has made location tracking quite frequent. For example, during a short 15-
minute walk around a residential neighborhood, an Android device sent nine location requests to Google. The
request collectively contained ~100 unique BSSIDs of public and private Wi-Fi access points.

20.     Google can ascertain with a high degree of confidence whether a user is still, walking, running,
bicycling, or riding on a train or a car. It achieves this by tracking an Android mobile user’s location coordinates
at frequent time intervals in combination with the data from onboard sensors (such as an accelerometer) on
mobile phones. Figure 5 shows an example of such data communicated with the Google servers while the user
was walking.




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Figure 5: Snapshot from a Google user location upload




        C.       An assessment of passive data collection by Google through Android and Chrome

21.     Active data that Android or Chrome platforms collect and send to Google as a result of users’ activities
on these platforms can be assessed through the MyActivity and Takeout tools. Of potentially greater interest,
however, is the passive data that these platforms collect, which goes beyond location data and which remains
relatively unrecognized by the users. To assess the type and frequency of occurrence of such collection in
greater detail an experiment was conducted that monitored traffic data sent to Google from mobile phones
(both Android and iPhone) using the method discussed in Section IX.D in the Appendix. For comparison’s
sake, this experiment also included the analysis of data sent to Apple via an iPhone device.

22.     For simplicity, the phones were kept stationary, with no user interaction. On the Android phone a
single Chrome browser session remained active in the background, whereas on the iPhone the Safari browser
was used. This configuration provided an opportunity for systematic analysis of the background collection that
Google performs purely through Android and Chrome, as well as collection that occurs in the absence of those
(i.e. from iPhone device), without any additional collection requests generated by other products and
applications (e.g. YouTube, Gmail, App usage).

23.     Figure 6 shows a summary of the results obtained from this experiment. The x-axis indicates the
number of times the phones communicated with Google (or Apple) servers, whereas the y-axis indicates the
phone type (Android or iPhone) and server domain type (Google or Apple) with which data packets were
exchanged by the phones. The colored legend describes the broad categorization of the type of data requests
identified by the domain address of the server. A complete list of domain addresses belonging within each
category appears in Table 5 of Section IX.D of the Appendix.



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24.     During a 24-hour time period the Android device communicated ~900 data samples to a variety of
Google server endpoints. Of these, ~35% (or approximately 14/hour) were location-related. Google ad
domains received only ~3% of the traffic, which is mainly due to the fact that the mobile browser was not
actively used during the collection period. The remaining ~62% of communications with the Google server
domains were roughly divided between requests to Google’s Play App store, Android’s uploads of device-
related data (such as crash reports and device authorization), and other data which were predominantly in the
category of Google services background calls and refreshes.

Figure 6: Traffic data sent from idle Android and iPhone mobiles




25.     Figure 6 shows that the iPhone device communicated with Google domains at more than an order of
magnitude (~50x) lower frequency than the Android device, and that Google did not collect any user location
during the 24-hour experiment timeframe via iPhone. This result highlights the fact that the Android and
Chrome platforms play an important role in Google’s data collection.

26.     Additionally, the iPhone device’s communication with Apple’s servers were 10x less frequent than the
Android device’s communications with Google. Location data made up a very small fraction (~1%) of the net
data sent to Apple servers from the iPhone, with Apple receiving location-related communications once every
day on an average.

27.     Magnitude wise, Android phones communicated 4.4 MB of data per day (~130MB per month) with
Google servers, which is 6x more than what Google servers communicated through the iPhone device.

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28.       As a reminder, this experiment was conducted using a stationary phone with no user interaction. As a
user becomes mobile and starts interacting with their phone, the frequency of communications with Google’s
servers increases considerably. Section V of this report summarizes results from such an experiment.

IV.       DATA COLLECTION THROUGH PUBLISHER AND ADVERTISER
          TECHNOLOGIES

29.       A major source for Google’s user activity data collection stems from its publisher- and advertiser-
focused tools, such as Google Analytics, DoubleClick, AdSense, AdWords, and AdMob. These tools have
tremendous reach, e.g. over 1 million mobile apps use AdMob,30 over 1 million advertisers use AdWords,31
over 15 million websites use AdSense,32 and over 30 million websites use Google Analytics.33

30.       During the writing of this report Google rebranded AdWords as “Google Ads” and DoubleClick as
“Google Ad Manager”, however there were no changes instituted in the core product functionalities including
information collection by these products. 34 Therefore, for the purpose of this report the names are kept
unchanged to avoid confusion that may occur with related domain names (such as doubleclick.net).

31.       There are two main groups of users of Google’s publisher- and advertiser-focused tools:

      o   Website and app publishers, which are organizations that own websites and create mobile apps. These
          entities use Google’s tools to (1) make money by allowing the display of ads to visitors on their websites
          or apps, and (2) better track and understand who is visiting their websites and using their apps. Google’s
          tools place cookies and run scripts in the browsers of website visitors that help determine a user’s
          identity, track their interest in content, and follow their online behavior. Google’s mobile app libraries
          track use of apps on mobile phones.

      o   Advertisers, which are organizations that pay to have banner, video, or other ads delivered to users as
          they browse the Internet or use apps. These entities apply Google’s tools to target specific profiles of
          people for advertisements to increase the return on their marketing investments (better targeted ads
          generally yield higher click-through rates and conversions). Such tools also enable advertisers to analyze
          their audiences and measure the efficacy of their digital advertising by tracking which ads were clicked
          with what frequency and by providing insight into the profiles of people who clicked on ads.


30 “AdMob by Google,” Google, last accessed on August 15 2018, available at https://www.google.com/admob/
31 “Hear form our happy customers,” Google, last accessed on August 15 2018, available at
https://adwords.google.com/home/resources/success-stories/
32 “Websites using Google Adsense,” BuiltWith, last accessed on August 15 2018, available at

https://trends.builtwith.com/websitelist/Google-Adsense
33 Google Analytics usage statistics,” BuiltWith, April 2018, available at https://trends.builtwith.com/analytics/Google-Analytics
34 Garett Sloane, “Google to retire Doubleclick and AdWords names in a rebrand of its as business,” Ad Age, available at
http://adage.com/article/digital/google-waves-goodbye-doubleclick-ad-business-evolves/314046/

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32.       Together, these tools collect information about user activities on websites and in apps, such as content
visited, and ads clicked. They work in the background—largely unnoticeable by users. Figure 7 shows some of
these key tools, with arrows indicating data collected from users and ads served to users.

Figure 7: Google products aimed at publishers and advertisers35




33.       The information collected by such tools includes a non-personal identifier that Google can use to send
targeted advertisements without identifying the unique individual’s personal information. These identifiers can
be device- or session-specific, as well as permanent or semi-permanent. Table 1 lists a set of such identifiers.
To provide users greater anonymity during information collection for ad targeting, Google has recently shifted
towards using semi-permanent device unique identifiers (e.g. GAIDs).36 Further sections go in detail about how
these tools collect user data and the use of such identifiers during the data collection process.

Table 1: Identifiers passed to Google

 Identifier                 Type                             Description
 GAID/IDFA                  Semi-Permanent                   Alphanumeric string for Android / iOS devices to allow
                                                             targeted mobile ads. Resettable by users.

 Client ID                  Semi-Permanent                   ID created the first time a cookie is stored on the browser.
                                                             Used to link browsing sessions together. Resets when browser
                                                             cookies are cleared.
 IP address                 Semi-Permanent                   A unique string of number that identifies the network through
                                                             which a device is accessing the Internet.



35 “Our products,” Google, last accessed on August 15 2018, available at https://www.google.com/about/products/
36 “Best practices for unique identifiers,” Google, last accessed on August 15 2018, available at
https://developer.android.com/training/articles/user-data-ids

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 Android device            Semi-Permanent                  Randomly generated number when a device is first booted up.
 ID                                                        Used to identify the device. It is in the process of being phased
                                                           out of advertising. Resets with a factory reset of a device.
 Google Services           Semi-Permanent                  Randomly assigned number when a user first logs into Google
 Framework (GSF)                                           services on a device. Used to identify a unique device. Resets
                                                           with a factory reset of a device.
 IEMI / MEID               Permanent                       Identifier used in mobile communication standards. Unique for
                                                           each mobile phone.

 MAC address               Permanent                       Unique 12-character identifier for a piece of hardware (e.g.
                                                           router).

 Serial number             Permanent                       Alphanumeric string used to identify a device.



          A.        Google Analytics and DoubleClick

34.       DoubleClick and Google Analytics (GA) are Google’s leading products in user behavior tracking and
webpage traffic analyses on desktop and mobile devices. GA is used by ~75% of the top 100,000 most visited
websites.37 DoubleClick cookies are associated with more than 1.6 million websites.38

35.       GA uses short pieces of tracking code (called “page tags”) embedded in a website’s HTML code.39
After a webpage loads per a user’s request, the GA code calls an “analytics.js” file residing on Google’s servers.
This program transfers a “default” snapshot of user data at that moment, which includes visited webpage
address, page title, browser information, current location (derived from IP address), and user language settings.
GA scripts use cookies to track user behavior.

36.       GA script, the first time when it’s run, generates and stores a browser-specific cookie on the user’s
computer. This cookie has a unique client identifier or Client ID (see Table 1 for details).40 Google uses the
unique identifier to link previously stored cookies that capture a user’s activity on a particular domain as long
as the cookie does not expire, or the user does not clear the cookies cached on their browser.41

37.       While a GA cookie is specific to the particular domain of the website that user visits (called a “1st-party
cookie”), a DoubleClick cookie is typically associated with a common 3rd-party domain (such as




37 Google Analytics usage statistics,” BuiltWith, April 2018, available at https://trends.builtwith.com/analytics/Google-Analytics
38 “DoubleClick market share,” Datanyze, last accessed on August 15 2018, available at https://www.datanyze.com/market-share/ad-
exchanges/doubleclick-market-share
39 GA or other tags can also be implemented through Google Tag Manage (GTM) without changing the functionality of the page tag
40 “Cookies and user identification,” Google, last accessed on August 15 2018, available at
https://developers.google.com/analytics/devguides/collection/analyticsjs/cookies-user-id
41 “Cookies and user identification,” Google, last accessed on August 15 2018, available at
https://developers.google.com/analytics/devguides/collection/analyticsjs/cookies-user-id

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doubleclick.net). Google uses such cookies to track user interaction across multiple 3rd-party websites.42 When
a user interacts with an advertisement on a website, DoubleClick’s conversion tracking tools (e.g. Floodlight)
places cookies on a user’s computer and generates a unique client ID. 43 Thereafter, if the user visits the
advertised website, the stored cookie information gets accessed by the DoubleClick server, thereby recording
the visit as a valid conversion.

          B.        AdSense, AdWords and AdMob

38.       AdSense and AdWords are Google tools that serve ads on websites and in Google Search results,
respectively. More than 15 million websites have AdSense installed to display sponsored ads.44 Likewise, more
than 2 million websites and apps that make up the Google Display Network (GDN) and reach over 90% of
Internet users45 display AdWords ads.

39.       AdSense collects information about whether an ad was displayed on the publisher’s webpage. It also
collects how the user interacted with the ad, such as clicking an ad or tracking the curser movement over an
ad.46 AdWords enables advertisers to serve search ads on Google Search, display ads on publisher pages, and
overlay ads on YouTube videos. To track user click-through and conversion rates, AdWords ads place a cookie
on users’ browsers to identify the same user if they later visit the advertiser’s website or complete a purchase.47

40.       While AdSense and AdWords collect data on mobile devices as well, their ability to get user information
on mobile devices is limited since mobile apps do not share cookie data between them, an isolation technique
known as ‘sandboxing,’48 which makes it hard for advertisers to track user behavior across mobile apps.

41.       To address this issue, Google and other companies use mobile “ad libraries” (such as AdMob) that are
integrated into the apps by their developers for serving ads in mobile apps. These libraries compile and run
with the apps and send to Google data that is specific to the app to which they belong, including GPS locations,
device make, and device model when apps have the appropriate permissions. As observed through the data




42 “DoubleClick search help,” Google, last accessed on August 15 2018, available at

https://support.google.com/ds/answer/7298761?hl=en
43 “DoubleClick search help,” Google, last accessed on August 15 2018, available at
https://support.google.com/ds/answer/2903014?hl=en&ref_topic=6054260
44 “Websites using Google Adsense,” BuiltWith, last accessed on August 15 2018, available at
https://trends.builtwith.com/websitelist/Google-Adsense
45 “Google Ads Help,” Google, last accessed on August 15 2018, available at https://support.google.com/google-
ads/answer/2404191?hl=en
46 “AdSense help, privacy and security,” Google, last accessed on August 15 2018, available at
https://support.google.com/adsense/answer/9897?hl=en
47 “Evaluating ad performance on the Search Network,” Google, last accessed on August 15 2018, available at
https://support.google.com/adwords/answer/2404037?hl=en; “About conversion tracking,” Google, last accessed on August 15 2018,
available at https://support.google.com/adwords/answer/1722022?hl=en
48 This approach is similar to desktops, where cookies are not shared between browsers.



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traffic analyses (Figure 8), and confirmed through Google’s own developer webpages,49 such libraries can also
send user-personal data, such as age and gender, to Google whenever app developers explicitly pass these values
to the library.

Figure 8: Snapshot of information sent back to Google when an application is launched




         C.       Association of passively collected data with personal information

42.      As discussed above, Google collects data through publisher and advertiser products and associate such
data with a variety of semi-permanent, anonymous identifiers. Google however, has the ability to associate these
IDs with a user’s personal information. This is insinuated by the statements made in Google’s privacy policy,
excerpts of which are shown in Figure 9. The left text box clearly states that Google may associate data from
advertising services and analytics tools with a user’s personal information, depending upon the user’s account
settings. This arrangement is enabled by default, as shown in the right text box.

Figure 9: Google’s privacy page for 3rd-party websites collection and association with personal
information5051




49 “Google APIs for Android,” Google, last accessed on August 15 2018, available at
https://developers.google.com/android/reference/com/google/android/gms/ads/doubleclick/PublisherAdRequest.Builder
50 “Google privacy and terms,” Google, last accessed on August 15 2018, available at

https://policies.google.com/privacy/example/your-activity-on-other-sites-and-apps
51 “Google https://myaccount.google.com/activitycontrols



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43.     Furthermore, an analysis of data traffic exchanged with Google servers (summarized below) identified
two key examples (one on Android and the other in Chrome) that point to Google’s ability to correlate
anonymously collected data with users’ personal information.

                 1)      Mobile advertising identifier may get de-anonymized through data sent to
                         Google by Android

44.     Analyses of data traffic communicated between an Android phone and Google server domains suggest
a possible way through which anonymous identifiers (GAID in this case) can get associated with a user’s Google
Account. Figure 10 describes this process through a series of three key steps.

45.     In step 1, a “checkin” data is sent to the URL android.clients.google.com/checkin. This particular
communication provides an Android data sync to Google servers and contains Android log information (e.g.
recovery log), kernel messages, crash dumps, and other device-related identifiers. A snapshot of a partially
decoded checkin request sent to Google’s server from Android is shown in Figure 10.

Figure 10: Device identifiers are sent together with account information in Android check in requests




46.     As pointed out by the labeled boxes, through the checkin process, Android sends to Google a variety
of important device-related permanent identifiers, including device MAC address, IMEI /MEID, and device


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serial number. Moreover, these requests also contain the Android user’s Gmail ID. The data present in checkin
uploads enable Google to connect a user’s personal information with Android device permanent identifiers.

47.       In step 2, the reply to the checkin request comes from the Google server. This message contains a
Google services framework identifier (GSF ID)52 that is similar to the actual “Android ID”53 (see Table 1 for
descriptions).

48.       Step 3 entails another instance of communication where the same GSF ID (from step 2) is sent to
Google       together      with     the     GAID.        Figure      10    shows       one     such      data     transmit   to
android.clients.google.com/fdfe/bulkDetails ?au=1.

49.       Through the above three data exchanges, Google receives the information needed to connect a GAID
with permanent device identifiers as well as users’ Google Account IDs.

50.       These intercepted data exchanges with Google servers from an Android phone show how Google can
connect anonymized information collected on an Android mobile device via DoubleClick, Analytics or AdMob
tools with the user’s personal identity. During the 24-hour data collection from a stationary and dormant
Android phone two instances of checkin communications with Google servers were observed. Additional
analysis is needed, however, to determine if such information exchange occurs with a certain periodicity or if it
is triggered by specific activities on the phones.

                    2)        DoubleClick cookie ID gets connected with user’s personal information on
                              Google Account

51.       The previous section explained how Google can de-anonymize user identity via the passive,
anonymized data it collects from an Android mobile device. This section shows how such de-anonymization
can also occur on a desktop/laptop device.

52.       Anonymized data on desktops/laptops is collected via cookie-based identifiers (e.g. Cookie ID), which
are typically generated by Google’s ad and publisher products (e.g. DoubleClick) and stored on a user’s local
mass storage. The experiment presented below assessed whether Google can connect such identifiers (and
hence information associated with them) with a user’s personal information. This experiment involved the
following ordered steps:

      1. Opened a new (no saved cookies, e.g. Private or Incognito) browser session (Chrome or other),


52 “Difference between Android ID and device ID,” Stack Exchange, Dec. 2016, available at
https://android.stackexchange.com/questions/162448/difference-between-android-id-and-device-id
53 Patrick Ahlbrecht, “What’s the difference between the GSF ID and the Android ID,” Onyxbits, March 2016, available at
https://blog.onyxbits.de/whats-the-difference-between-the-gsf-id-and-the-android-id-208/

                                                                21
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      2. Visited a 3rd-party website that used Google’s DoubleClick ad network,

      3. Visited the website of a widely used Google service (Gmail in this case),

      4. Signed in to Gmail.

53.       After completion of step 1 and 2, as part of the page load process, the DoubleClick server received a
request when the user first visited the 3rd-party website. This request was part of a series of requests comprising
the DoubleClick initialization process started by the publisher website, which resulted in the Chrome browser
setting a cookie for the DoubleClick domain. This cookie stayed on user’s computer until it expired or until the
user manually cleared cookies via the browser settings.

54.       Thereafter, in step 3, when the user visited Gmail, they are prompted to log in with their Google
credentials. Google manages identity using a “single sign on (SSO)” architecture, whereby credentials are
supplied to an account service (signified by accounts.google.com) in exchange for an “authentication token,” which
can then be presented to other Google services to identify the users. In step 4, when a user accesses their
Gmail account, they are effectively signing into their Google Account, which then provides Gmail with an
authorization token to verify the user’s identity. 54 This process is outlined by Figure 24 in Section IX.E in the
Appendix.

55.       In the last step of this sign-on process, a request is sent to the DoubleClick domain. This request
contains both the authentication token provided by Google and the tracking cookie set when the user visited
the 3rd-party website in step 2 (this communication is shown in Figure 11). This allows Google to connect the
user’s Google credentials with a DoubleClick cookie ID. Therefore, if the users do not clear browser cookies
regularly, their browsing information on 3rd-party webpages that use DoubleClick services could get associated
with their personal information on Google Account.

Figure 11: Request to DoubleClick.net includes Google's authentication token and past cookies




54 The advantage of the extra authentication step is that the user’s browser can later use the same authentication token to confirm user

identity on other Google services (due to this process a sign-on in any particular Google application enables an automatic sign-on all
others in the same browser session).

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56.       It has thus far been established that Google collects a wide variety of user data through its publisher
and advertiser tools, without a direct knowledge of the user. While such data is collected with user-anonymous
identifiers, Google has the ability to connect this collected information with a user’s personal credentials stored
in their Google Account.

57.       It’s worth pointing out that Google’s passive user data collection from 3rd-party webpages cannot be
prevented using popular ad blocking tools,55 as such tools are designed primarily to prevent the occurrence of
advertisements while users browse through 3rd-party webpages.56 The next section takes a closer look at the
magnitude of such data collection.

V.        AMOUNT OF DATA COLLECTED DURING A MINIMAL USE OF GOOGLE
          PRODUCTS

58.       This section examines the details surrounding Google’s data collection through its publisher and
advertiser services. To understand such data collection, an experiment is designed which entailed a user going
through her daily life using a mobile phone (akin to “day in the life” described before), while deliberately avoiding
the use of any direct Google products (i.e. avoiding Search, Gmail, YouTube, Maps, etc.), except for the
Chrome browser.

59.       To keep the experiment as realistic as possible, various consumer usage studies57,58 were used to form
a daily usage profile of a typical mobile phone user, thereafter, any direct interactions with Google’s products
were omitted from the profile. Section IX.F in the Appendix describes the websites and apps used in this
experiment.

60.        The experiment was replicated on both Android and iOS devices and the HTTPS data sent to Google
and Apple servers were monitored and analyzed using a similar method explained in previous sections. The
results are summarized in Figure 12. During the 24-hour time period (which includes the night time
stationary/dormant timeframe), the majority of calls from the Android phone were made to Google’s location
and publisher/advertisement service domains (e.g. DoubleClick, Analytics). Google collected user location in
~450 instances, which is ~1.4x times the experiment presented in Section III.C, which involved a stationary
phone.


55 “How many users block Google Analytics, measured in Google Analytics,” Quantable, Dec. 2017, available at

https://www.quantable.com/analytics/how-many-users-block-google-analytics/
56 “Ad blocking: who blocks ads, why and how to win them back,” iab., 2016, available at https://www.iab.com/wp-
content/uploads/2016/07/IAB-Ad-Blocking-2016-Who-Blocks-Ads-Why-and-How-to-Win-Them-Back.pdf
57 The average person visited 88 webpages per day in 2010. “Nielsen provides topline U.S. web data for March 2010,” Nielsen, April
2010, available at http://www.nielsen.com/us/en/insights/news/2010/nielsen-provides-topline-u-s-web-data-for-march-2010.html
58 55% of web traffic comes from mobile devices. Eric Enge, “Mobile vs desktop usage: mobile grows but desktop still a big player in

2017,” Stone Temple, April 2017, available at https://www.stonetemple.com/mobile-vs-desktop-usage-mobile-grows-but-desktop-still-
a-big-player-in-2017/

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Figure 12: Information requests from mobile devices during a day of typical use




61.      Google servers communicated significantly lower number of times with an iPhone device compared
to Android (45% less). However, the number of calls to Google’s advertising domains were similar from both
devices - an expected outcome since the usage of 3rd-party webpages and apps was similar on both devices.
One notable difference was that the location data sent to Google from an iOS device is practically non-existent.
In the absence of Android and Chrome platforms—or the use of any other Google product—Google becomes
significantly limited in its ability to track the user location.

62.      The total number of calls to Apple servers from an iOS device was much lower, just 19% the number
of calls to Google servers from an Android device. Moreover, there are no ad-related calls to Apple servers,
which may stem from the fact that Apple’s business model is not as dependent on advertising as Google’s.
Although Apple does obtain some user location data from iOS devices, the volume of data collected is much
(16x) lower than what Google collects from Android.

63.      Magnitude wise, Android phones communicated 11.6 MB of data per day (~350 MB per month) with
Google servers. On the other hand, the iPhone device communicated just half that amount. The amount of
data particularly associated with Google’s ad domains remained very similar across both the devices.

64.      The iPhone device communicated an order of magnitude less data to Apple servers than what the
Android device exchanged with Google servers.



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65.       Overall, even in the absence of user interaction with Google’s most popular applications, a user of an
Android phone and the Chrome browser still sends a significant amount of data to Google, the majority of
which is associated with location and calls to ad server domains. Although an iPhone user is insulated from
Google’s location collection in this narrow experiment, Google still captures a similar amount of ad-related
data.

66.       The next section describes the data collected by Google’s popular applications, such as Gmail,
YouTube, Maps, and Search.

VI.       DATA COLLECTED FROM GOOGLE’S KEY POPULAR APPLICATIONS
          AIMED AT INDIVIDUALS

67.       Google has dozens of constantly evolving products and services (a list is available in Table 4 in Section
IX.B of the Appendix). These products are often accessed through—or associated with—a Google Account,
which enables Google to directly link user activity details from its application-oriented products and services
to a user profile. In addition to product usage data, Google also collects device-related identifiers and location
data when Google’s products and services are accessed.59

68.       Some of Google’s applications (e.g. YouTube, Search, Gmail, and Maps) are central to the basic tasks
that many users conduct daily through their desktop or mobile devices. Table 2 describes the reach of these
key products. This section explains how each of these prominent applications collect user information.

Table 2: Worldwide reach of Google's top application products


 Product                    Active users

 Search                     Greater than 1B monthly active users, 90.6% search engine market share60

 YouTube                    Greater than 1.8 billion logged-in monthly active users61

 Maps                       Greater than 1 billion monthly active users62

 Gmail                      1.2 billion registered users63


59 “Google privacy and terms,” Google, last accessed on August 15 2018, available at https://policies.google.com/privacy
60 “Search engine market share worldwide,” StatCounter Global Stats, April 2018, available at http://gs.statcounter.com/search-engine-
market-share#monthly-201704-201804
61 Devindra Hardawar, “YouTube gets 1.8 billion logged-in viewers monthly,” Engadget, May 3, 2018, available at
https://www.engadget.com/2018/05/03/youtube-1-8-billion-viewers/
62 Google 10K filings with the SEC, 2017, available at https://abc.xyz/investor/pdf/20171231_alphabet_10K.pdf
63 Motek Moyen, “Gmail is very popular but Google still won’t fix a security vulnerability,” Seeking Alpha, July 17, 2017, available at
https://seekingalpha.com/article/4088241-gmail-popular-google-still-fix-security-vulnerability

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          A.        Search

69.       Google Search is the most popular web search engine in the world,64 with over 11 billion search queries
per month in the United States alone.65 In addition to serving ranked webpage results in response to users’
general queries, Google operates other search-based tools, such as Google Finance, Flights, News, Scholar,
Patents, Books, Images, Videos, and Hotels. Google uses its search products to collect data related to search
queries, browsing history, and ad-click/purchase activity. For example, Google Finance collects information
on the type of stocks users may be tracking, whereas Google Flights tracks users’ travel bookings and search
requests.

70.       Whenever Search is used, Google collects location data via various means of assessing locations on
mobile or desktop devices, as discussed in previous sections. Google records all search activity a user conducts
and links it back to their Google Account if the user is logged in. Figure 13 shows an example of information
collected by Google about a user’s keyword search and page visit.

Figure 13: An example search data collection taken from user’s My Activity page




71.       In addition to being the default search engine on Chrome and Google devices, Google Search is also
the default option on other 3rd-party browsers and applications through various distribution agreements. For
example, Google recently became the default search engine on Mozilla’s Firefox browser66 in key geographic
locations (including US and Canada), a position owned by Yahoo previously. Similarly, Apple switched from




64 “Search engine market share worldwide,” StatCounter Global States, April 2018, available at http://gs.statcounter.com/search-engine-
market-share#monthly-201704-201804
65 “Number of explicit core search queries powered by search engines in the United States as of January 2018 (in billions),” Statista,
Feb. 2018, available at https://www.statista.com/statistics/265796/us-search-engines-ranked-by-number-of-core-searches/
66 Denelle Dixon, “Firefox features Google as default search provider in the U.S., Canada, Hong Kong and Taiwan,” The Mozilla Blog,

Nov. 14, 2017, available at https://blog.mozilla.org/blog/2017/11/14/firefox-features-google-as-default-search-provider-in-the-u-s-
canada-hong-kong-and-taiwan/

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Microsoft’s Bing to Google for Siri web search results on iOS and Mac devices.67 Google has similar agreements
in place with OEMs,68 which helps reach mobile customers.

          B.        YouTube

72.       YouTube provides users a platform for uploading and viewing video content. It has more than 180
million users in the USA alone and has the distinction of being the second-most visited website in the US,69
ranked only behind Google Search. Among online streaming media companies, YouTube has almost 80%
market share in terms of monthly user visits (as shown in Figure 14). The amount of content uploaded and
viewed on YouTube is substantial; ~400 hours of video are uploaded every minute70 and ~1 billion hours of
video are watched daily on the YouTube platform.71

Figure 14: Comparison of leading multimedia websites monthly visits in the United States72




73.       YouTube can be accessed by users via desktops (web browser), mobile devices (app and/or web
browser), and Google Home (through a paid subscription service called YouTube Red). Google collects and
stores search history, watch history, playlists, subscriptions, and comments on videos. All this information is
marked with a date and time stamp of when the activity took place.




67 Matthew Panzarino, “Apple switches from Bing to Google for Siri web search results on iOS and Spotlight on Mac,” Sept. 25,
2017, available at https://techcrunch.com/2017/09/25/apple-switches-from-bing-to-google-for-siri-web-search-results-on-ios-and-
spotlight-on-mac/
68 “Google’s Android mobile application distribution agreement with OEMs leaked, reveals lots of strict conditions,” Microsoft and

Technology News, Feb. 13, 2014, available at https://mspoweruser.com/mobile-application-distribution-agreement/
69 “Top Sites in United States,” Alexa, available at https://www.alexa.com/topsites/countries/US
70 “Hours of video uploaded to YouTube every minute as of July 2015,” Statista, July 2015, available at
https://www.statista.com/statistics/259477/hours-of-video-uploaded-to-youtube-every-minute/
71 Darrell Etherington, “People now watch 1 billion hours of YouTube per day,” TeachCrunch, Feb. 28, 2017, available at
https://techcrunch.com/2017/02/28/people-now-watch-1-billion-hours-of-youtube-per-day/
72 “Leading multimedia websites in the United States in November 2016, based on market share of visits,” Statista, Dec. 2016,
available at https://www.statista.com/statistics/266201/us-market-share-of-leading-internet-video-portals/

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78.       Maps stores a historical timeline of places visited by a user signed in to Maps using their Google
account. Figure 16 shows an example of such a user’s timeline.74 The red dots indicate location coordinates
captured by Maps while the user is on the move; the blue connecting lines are Maps projection of the actual
route the user took.

Figure 16: Example Google Maps “Timeline” from an actual user




79.        The accuracy of location information captured by navigation applications enables Google to not only
target ad audiences, but also helps deliver ads to users as they approach stores.75 In addition, Google Maps uses
this information to generate real-time traffic updates.76

          D.        Gmail

80.       Gmail stores all messages (sent/received), sender name, email address, and date/time of messages sent
or received. Since Gmail acts as a central mail repository for many people, it can ascertain their interests by
scanning email content, identifying merchant addresses through their promotional emails or sales receipts sent
to emails, and learn about a user’s plans (e.g. dinner reservations, doctor’s appointments,). Since users may use
their Gmail ID for other 3rd-party platforms (e.g. Facebook, LinkedIn), Gmail can scan any content that comes
from them in the form of an email (e.g. notifications, messages).

81.       From its inception in 2004 until at least late 2017, Google may have scanned the contents of Gmail
emails to improve ad targeting and search results, as well as filter spam. In the summer of 2016, Google went
a step further and changed its privacy policy to enable it to combine formerly anonymous web-browsing data


74 “My Activity,” Google, available at https://myactivity.google.com/myactivity
75 “The Home Depot earns 8X in-store ROI with mobile display ads,” Google, Sept. 2016, available at
https://www.thinkwithgoogle.com/intl/en-aunz/advertising-channels/mobile/home-depot-roi-mobile-display-ads/
76 “Google Map’s real-time traffic layer…,” Spatial Unlimited, March 2011, available at
https://shreerangpatwardhan.blogspot.com/2011/03/google-maps-real-time-traffic-layer.html

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of its subsidiary DoubleClick (which serves customized ads across the Internet) with the personally-identifying
data Google has through its other products, including Gmail.77 The result was that “…the DoubleClick ads
that follow people around on the web may now be customized to them based on keywords they used in their
Gmail. It also meant that Google could now build a complete portrait of a user by name, based on everything
they write in email, every website they visit, and the searches they conduct.”78

82.       Toward the end of 2017, Google announced it would discontinue the practice of Gmail message-based
personalization of ads.79 Recently, however, Google clarified that it is still scanning Gmail messages for some
purposes.80

VII.      PRODUCTS WITH HIGH FUTURE POTENTIAL FOR DATA AGGREGATION

83.       Google has additional products that show future potential for market adoption and data collection,
including AMP, Photos, Chromebook, Assistant, and Pay. Additionally, Google is able to use third party data
vendors to collect user information. The following sections describe these in greater detail.

84.       There are other Google applications that may not be widely used, however for completeness, data
collection through them is presented in Section VIII.B of the Appendix.

          A.        Accelerated Mobile Pages (AMP)

85.       Accelerated Mobile Pages (AMP) is an open-source initiative spearheaded by Google to enable quicker
load times for websites and ads. AMP converts conventional HTML and JavaScript code into a more simplified
version developed by Google81 and caches the AMP-validated webpages in Google’s network of servers for
faster access.82 AMP delivers page links through Google search results, as well as 3rd-party platforms, such as
LinkedIn and Twitter. As the AMP page reports: “AMP’s ecosystem includes 25 million domains, 100+
technology providers and leading platforms, that span the areas of publishing, advertising, e-commerce, local
and small businesses, and more!”83


77 Julia Angwin, “Google has quietly dropped ban on personally identifiable web tracking,” ProPublica, Oct. 21, 2016, available at
https://www.propublica.org/article/google-has-quietly-dropped-ban-on-personally-identifiable-web-tracking
78 Suzanne Monyak, “Google changed a major privacy policy four months ago, and no one really noticed,” Slate, Oct. 21, 2016,
available at
http://www.slate.com/blogs/future_tense/2016/10/21/google_changed_a_major_privacy_policy_and_no_one_really_noticed.html
79 Mark Bergen, “Google will stop reading your emails for Gmail ads,” Bloomberg, June 23, 2017, available at
https://www.bloomberg.com/news/articles/2017-06-23/google-will-stop-reading-your-emails-for-gmail-ads
80 Ben Popken, “Google sells the future, powered by your personal data,” NBC News, May 10, 2018, available at
https://www.nbcnews.com/tech/tech-news/google-sells-future-powered-your-personal-data-n870501
81 “AMP HTML specification,” AMP, last accessed on August 15 2018, available at
https://www.ampproject.org/docs/fundamentals/spec
82 “Load AMP pages quickly with Google AMP Cache,” Google, last accessed on August 15 2018, available at
https://developers.google.com/amp/cache
83 “An open source effort to improve the content ecosystem for everyone,” AMP, last accessed on August 15 2018, available at
https://www.ampproject.org/learn/overview

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86.     Figure 17a describes the steps leading to the delivery of an AMP page accessed via Google Search.
Please note that the provider of content through AMP does not need to provide their own a cache server, as
this is something that Google provides for securing optimal delivery speeds to users. Since the AMP cache is
hosted on Google servers, when an AMP link is clicked through Google Search, the domain address shows up
from a Google.com domain rather than from a publisher’s own domain. This is shown through snapshots taken
from an example keyword search in Figure 17b.

Figure 17: Regular web page vs AMP page




87.     Users can access content from multiple publishers whose articles appear in search results while
navigating the AMP carousel, all while staying within the Google domain. In effect, the AMP cache operates as
a content delivery network (CDN) owned and operated by Google.

88.     By creating an open-source tool, complete with a CDN, Google has attracted a large user base for
serving mobile websites and advertisements that constitute a significant amount of information (e.g. the content
itself, page views, ads served, and information on whom that content is being delivered). All of this information



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is available to Google by virtue of it residing on Google’s CDN servers, thereby providing Google far more
data than it otherwise could access.

89.       AMP is highly user-centric, i.e. it delivers a much faster and improved browsing experience to users
without the clutter of pop-ups and sidebars. Although AMP is a major shift in the way content is cached and
delivered to users, Google’s privacy policy associated with AMP is quite general.84 In particular, Google is able
to collect webpage usage information (e.g. server logs and IP address) from requests sent to AMP cache servers.
Moreover, regular pages are converted into AMP via the use of AMP APIs.85 Google can therefore access
applications or websites (“API clients”) and use any submitted information through the API in accordance with
its general policies.86

90.       Like regular webpages, AMP webpages track usage data via Google Analytics and DoubleClick. In
particular, they collect information on page data (e.g. domain, path, and page title), user data (e.g. client ID,
time zone), browsing data (e.g. unique page view ID and referrer), browser info, and interaction and events
data.87 Although Google’s modes of data collection have not changed with AMP, the amount of data collected
has increased since visitors are spending 35% more time on web content that loads with Google AMP versus
standard mobile pages.88

          B.        Google Assistant

91.       Google Assistant is a virtual personal assistant accessed through mobile phones and smart devices. It
is a popular virtual assistant, alongside Apple’s Siri, Amazon’s Alexa, and Microsoft’s Cortana. 89 Google
Assistant is accessed through the home button of mobile devices with Android 6.0 or higher. It can also be
accessed through a dedicated app on iOS devices90, as well as smart speakers, such as Google Home. Google
Assistant performs numerous functions, such as sending texts, looking up emails, controlling music, searching
photos, getting answers to questions about the weather or traffic, and controlling smart home devices.91

92.       Google collects all Google Assistant queries, whether audio or typed. It also collects the location where
the query occurred. Figure 18 shows the content of a query stored by Google. In addition to its use on Google’s

84 “AMP on Google privacy and terms,” Google, last accessed on August 15 2018, available at
https://developers.google.com/amp/cache/policies
85 “Link to AMP content,” Google, last accessed on August 15 2018, available at https://developers.google.com/amp/cache/use-amp-
url
86 “Google APIs terms of service,” Google, last accessed on August 15 2018, available at https://developers.google.com/terms
87 “Tracking accelerated mobile pages (AMP),” Google, last accessed on August 15 2018, available at
https://support.google.com/analytics/answer/6343176?hl=en&ref_topic=7378717
88 John Saroff, “The new speed of mobile engagement,” Chartbeat, June 5, 2017, available at
http://blog.chartbeat.com/2017/06/05/the-new-speed-of-mobile-engagement
89 Tripp Mickle, “’I’m not sure I understand’ – how Apple’s Siri lost her mojo,” The Wall Street Journal, June 7, 2017, available at
https://www.wsj.com/articles/apples-siri-once-an-original-now-struggles-to-be-heard-above-the-crowd-1496849095
90 “Google Assistant,” Google, last accessed on August 15 2018, available at https://assistant.google.com/platforms/phones/
91 “Google Assistant,” Google, last accessed on August 15 2018, available at https://assistant.google.com/platforms/phones/



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technology and enables users to share photos based on its “face grouping” technology. 97,98 Examples of
Google’s image classification capabilities with and without face grouping permission from the user are shown
in Figure 19. Google uses Photos to assemble a vast trove of identifying facial information, which has become
the subject of recent lawsuits99 by certain states.

Figure 19: Example image recognition in Google Photos




          D.         Chromebook

95.       Chromebook is Google’s tablet computer running on the Chrome operating system (Chrome OS)
which allows users to access applications on the cloud. While Chromebook holds a very small fraction of the
PC market, it’s growing rapidly, especially in computing devices for the K-12 category, where it held 59.8% of
the market in Q2 2017.100 Since Chromebook is accessed through a Google Account, a user is always signed
on to all of Google’s applications while accessing them on a Chromebook device. Chromebook’s data collection
is similar to the Google Chrome browser, which is covered in section II.A. Chromebooks also allow cookies
from Google and 3rd-party domains to track user activity, similar to any other notebook or PC device.

96.       Many K-12 schools use Chromebooks to access Google’s products via its GSuite for Education
service. Google states that data collected from such use is not used for targeted advertising.101 Students are
shown ads, however, if they use additional services (such as YouTube or Blogger) on Chromebooks provided
through their educational institutions.

97 Anil Sabharwal, “500 million people using Google Photos, and three new ways to share,” Google, May 17, 2017, available at
https://blog.google/products/photos/google-photos-500-million-new-sharing/
98 “Share your Google Photos library with a partner,” Google, last accessed on August 15 2018, available at

https://support.google.com/photos/answer/7378858#filterbyface
99 Amy Korte, “Federal court in Illinois rules biometric privacy lawsuit against Google can proceed,” Illinois Privacy, March 8, 2017,
available at https://www.illinoispolicy.org/federal-court-in-illinois-rules-biometric-privacy-lawsuit-against-google-can-proceed/
100 “Mobile PC sales in to US K-12 education starting to slow as the market looking toward replacement cycles,” Future Source
Consulting, Dec. 6, 2017, available at https://www.futuresource-consulting.com/Press-Q3-2017-Mobile-PC-Sales-in-Education-
1217.html
101 “Chromebooks privacy and security,” Google, last accessed on August 15 2018, available at
https://drive.google.com/file/d/0B__OTXR_u3RbcFB3Y01xUVhaalU/view

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            E.      Google Pay

97.         Google Pay is a digital payments service that allows users to store credit card, bank account, and PayPal
information to make payments in stores, on websites, or within apps using Google Chrome or a connected
Android device.102 Pay is the means by which Google collects verified user address and phone numbers, as
these are associated with charge accounts. In addition to personal information, Pay also collects transaction
information, such as date and amount of transaction, merchant location and description, type of payment used,
descriptions of the items purchased, any photo that a user choose to associate with the transaction, names and
email addresses of the seller and buyer, the user’s description of the reason for transaction, and any offers
associated with the transaction.103 Google treats this information as personal information under its general
privacy policy. It therefore can use this information across its products and services for enriched advertising.104
Google’s privacy settings allow for such a use of collected data by default.105

            F.      User data collected from 3rd-party data vendors

98.         Google collects 3rd-party data in addition to information they collect directly from their services and
applications. For example, in 2014 Google announced that it would begin tracking sales in brick-and-mortar
stores by buying credit and debit card transaction data. Such data covered 70% of all credit and debit
transactions in the US.106 It contained the name of the individual, as well as the time, location, and amount of
their purchase.107

99.         3rd-party data is also used to support Google Pay, including verification services, information arising
from Google Pay transactions at merchant locations, payment methods, identity of card issuers, information
regarding access to balances in the Google payment account, carrier and operator billing information, and
consumer reports.108 For sellers, Google may obtain information from credit bureaus or business information
services.

100.        Although the 3rd-party user information that Google currently receives is limited in scope, it has already
attracted the attention of governmental authorities. For example, the FTC announced an injunction against


102 “Google Pay,” Google, last accessed on August 15 2018, available at https://pay.google.com/about/
103 “Google Payments privacy notice,” Google, Dec. 14, 2017, available at https://payments.google.com/payments/apis-
secure/u/0/get_legal_document?ldo=0&ldt=privacynotice&ldl=en
104 “Google Payments privacy notice,” Google, Dec. 14, 2017, available at https://payments.google.com/payments/apis-
secure/u/0/get_legal_document?ldo=0&ldt=privacynotice&ldl=en
105 “Google payments center,” Google, available at
https://payments.google.com/payments/home?page=privacySettings#privacySettings:
106 “Google plans to track credit card spending,” BBC, May 26, 2017, available at http://www.bbc.com/news/technology-40027706
107 Elizabeth Dwoskin and Craig Timberg, “Google now knows when its users go to the store and buy stuff,” The Washington Post, May
23, 2017, available at https://www.washingtonpost.com/news/the-switch/wp/2017/05/23/google-now-knows-when-you-are-at-a-
cash-register-and-how-much-you-are-spending/?utm_term=.281715f8e215
108 “Google Payments privacy notice,” Google, Dec. 14, 2017, available at https://payments.google.com/payments/apis-
secure/u/0/get_legal_document?ldo=0&ldt=privacynotice&ldl=en

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Google in July 2017 with respect to how Google’s collection of consumer purchasing data infringes upon
electronic privacy. 109 The injunction challenges Google’s claim that they can protect consumer privacy
throughout the process using their algorithm. Although further action has not yet occurred, the FTC injunction
is an example of public concern with the amount of consumer data that Google collects.

VIII. CONCLUSION

101.      Google counts a large percentage of the world’s population as its direct customers, with multiple
products leading their markets globally and many surpassing 1 billion monthly active users. These products are
able to collect user data through a variety of techniques that may not be easily graspable by a general user. A
major part of Google’s data collection occurs while a user is not directly engaged with any of its products. The
magnitude of such collection is significant, especially on Android mobile devices. And while such information
is typically collected without identifying a unique user, Google distinctively possesses the ability to utilize data
collected from other sources to de-anonymize such a collection.




109 FTC Complaint, request for investigation, injunction, and other relief submitted by The Electronic Privacy Information Center,
available at https://epic.org/privacy/ftc/google/EPIC-FTC-Google-Purchase-Tracking-Complaint.pdf

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IX.        APPENDIX

           A.     Characterization of active vs passive data collection from “day in the life” of a user

Table 3: Active and passive Google data collection

 Number         Description                   Active collection            Passive collection

      1         Gets ready in the morning     •   Music interests          •   Morning location
                while listening to Google
                Play Music

      2         Drops kids off at daycare                                  •   Walked to a daycare
                before commuting to work                                       location

      3         Checks the news while                                      •   Traveling on the subway
                commuting to work on the                                   •   News pages visited
                subway

      4         Searches for cold medicine    •   Records search queries   •   Traveling on the subway
                while on the subway

      5         Walks from subway to work                                  •   Commute path to work
                                                                               address

      6         Uses Maps to find a new       •   Destination entered      •   Dining interests
                lunch spot                        into Maps

      7         Gets coffee from Starbucks                                 •   Walks to a Starbucks
                using her Starbucks app                                    •   Opens Starbucks app
      8         Schedules doctor’s                                         •   Event details of the doctor
                appointment, Google creates                                    appointment
                a Calendar event from the
                confirmation email

      9         Walks to Walgreens and        •   Purchase details         •   Walks to a Walgreens
                purchases cold medicine
                using Google Pay

      10        Takes an Uber home from                                    •   Commute path to home
                work                                                           address via car
                                                                           •   Use of Uber app
      11        Looks for hotels on Expedia                                •   Webpage interaction via
                for a weekend trip                                             DoubleClick cookies &
                                                                               Google Analytics
      12        Uses Google Home to play      •   Google Home search       •   Location of Google Home
                music for her kids                query




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     13        Watches videos on YouTube     •   YouTube activity


          B.      List of Google products

Table 4: List of Google Products

 Category                         Products

1. Applications                    Watch, Listen and Play
                                   YouTube, Google Play Music, Chromecast, Google Play Movies and TV

                                   Browser
                                   Chrome

                                   Search
                                   Search, Finance, Flights, News, Scholar, Patents, Books, Images, Videos,
                                   Hotels

                                   Navigation
                                   Maps, Waze

                                   Productivity tools
                                   Drive, Docs, Sheets, Slides, Forms

                                   Social & communications
                                   Gmail, Allo, Hangouts, Duo, Google+, Translate

                                   Storage and organization
                                   Photos, Contacts, Calendar, Keep

                                   Personal Assistant
                                   Google voice assistant

2. Operating systems               Android
                                   Phones, Wear, Auto

                                   Chrome
                                   Chromebook

3. Services                        Fiber, DNS, Project Fi, Google pay

4. Devices                         Home, Wi-Fi router, Chromecast, Nest, Daydream View




          C.      Data collection from other prominent Google products

                         a)      Google Play Music and Play Movies and TV



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102.       Google Play Music, Play Movies and TV are on-demand services that offer streaming of music,
podcasts, TV shows, and movies. These services can be thought of as the Google equivalent of Apple iTunes.
Like YouTube, these services collect information about user search, bought/rent/played content, information
about users’ geography (through IP address), and device information.

                               b)        Waze

103.       Waze got acquired by Google in 2013 and operates as a Google subsidiary. In contrast to Maps, Waze
is a crowd-sourced app where user-supplied data (such as GPS location coordinates, travel times, traffic info,
accidents, police monitoring, blocked roads, and construction) is analyzed to provide routing and real-time
travel condition updates. In addition to location information collected through the mobile device, Waze collects
information about use of its services from the device Waze is installed on, including mobile device name,
operating system, web page visits, information viewed on app, app content use/created, and ads viewed and
clicked.

104.       Waze works like a social network and provides users the ability to befriend other users and create an
online community of local drivers.110 Users can link their phone’s contact list, Facebook, or Twitter accounts,
which Waze then uses to match with friends on platforms who are also using Waze’s service. Overall, Waze
gives Google the ability to access more real-time user data, as well as information on acquaintances that may or
may not be using a Google Account.

                               c)        Google Docs and Drive

105.       Google’s productivity tools (Docs, Sheets, Slides, Forms, and Drive – which are part of the broader
“G Suite” of products) are cloud-based applications used by both individuals and enterprises. Google’s G Suite
privacy policies111 prohibit Google from scanning stored data for advertising purposes on enterprise versions.
In contrast, the free versions of these tools are governed by Google’s general privacy policy, so Google may
access the information for ad targeting.

106.       After an individual registers for a Google Account, Google provides free storage space (currently
15GB) on Google Drive to share across products including Gmail, Photos, and Docs. Google’s Terms of
Service indicate that Google retains the license to use the stored data in variety of ways, including reproducing,




110 J.D. Biersdorfer, “Getting social with Waze,” The New York Times, Sept. 20, 2017, available at
https://www.nytimes.com/2017/09/20/technology/personaltech/getting-social-with-waze.html
111 “Google Cloud help, privacy,” Google, last accessed on August 15 2018, available at
https://support.google.com/googlecloud/answer/6056650?hl=en

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modifying, communicating, and publishing.112 Although all user data stored in Google Drive is encrypted, it’s
not a “zero-knowledge encryption”113 since Google manages the data encryption key.

                              d)         Video chat and social messaging apps

107.      Google Hangouts is a communication platform, akin to Skype, and a part of Google’s G Suite cloud-
connected apps. Users can start and join video conferences or group conversations from the Hangout app
available on Android and iOS, through a web browser, from the Hangouts desktop app or Chrome extension,
and from other Google products (e.g. Gmail and Calendar). 114 Google stores details of these exchanges
(including conference call and conversation time stamps), participant information, and message content. These
details are available to users and can be downloaded via the Google Takeout tool.115 Figure 20 shows some data
recorded from a Google Hangouts conversation, including participant names, participant IDs, and the contents
of the conversation.

Figure 20: Google Takeout recordings of a Google Hangouts Conversation




108.      In addition to the enterprise-focused Hangouts, Google also offers an instant messaging app called
Allo, which is available for Android and iOS or through web browsers. 116 Google records and stores all
messages communicated through Allo by default (unless the user invokes incognito mode).117



112 “Google Drive terms of service,” Google, last accessed on August 15 2018, available at https://www.google.com/drive/terms-of-
service
113 Fergus O’Sullivan, “What exactly is zero-knowledge in the cloud and how does it work?,” Cloudwards, June 16, 2017, available at

https://www.cloudwards.net/what-exactly-is-zero-knowledge-in-the-cloud-and-how-does-it-work
114 “GSuite learning center,” Google, last accessed on August 15 2018, available at https://gsuite.google.com/learning-
center/products/hangouts/get-started/#!/
115 “Download your data,” Google, available at https://takeout.google.com/settings/takeout?pli=1
116 Sean Keach, “Google Allo just got a major upgrade – but do we really need it?,” Trusted Reviews, Aug. 16, 2017, available at
http://www.trustedreviews.com/news/google-allo-3261336
117 Russell Brandom, “Google backs off on previously announced Allo privacy feature,” The Verge, Sept. 21, 2016, available at
https://www.theverge.com/2016/9/21/12994362/allo-privacy-message-logs-google

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translate languages within other apps, such as WhatsApp.123 Although Google states that it does not track
Google Translate web queries124—and these queries do not appear in a user’s Search history or elsewhere in
Google Takeout—Google’s privacy policy does allow it to store them for short period of time and occasionally
for longer period for debugging and other testing.125

                               g)        Calendar

113.      Google Calendar is a scheduling tool that enables users to keep track of their daily and weekly activities.
It is widely used on both desktop and mobile devices, with more than 500 million downloads from the Google
Play Store.126 Personal information, such as an individual’s name and contact information, is often associated
with a Calendar user.

114.      By using calendars, users provide Google with details (such as the time, location, and contact
information) for all participants of an event. Google states that the app has access to “read calendar events plus
confidential information.”127 As part of this information collection, Google reads and stores the email addresses
of all members included in a calendar event, regardless of their Google affiliation.128 As long as one person on
a calendar invitation is using Google Calendars, therefore, Google records the contact information for every
other person on the invitation.

                               h)        Keep

115.      Google Keep is a note-taking tool that allows the user to take notes that sync between devices
associated with their Google account. Keep has been downloaded more than 100 million times from the Google
Play Store.129 Google collects and stores all contents of the notes, as well as the time they were created.130 Figure
22 shows Google Keep notes recorded by Google. Google scans and classifies the notes that are created based
on their contents. Examples of classification categories are food, places, and travel.




123 “Google Translate,” Google, available at https://translate.google.com/intl/en/about
124 “Google Translate help,” Google, last accessed on August 15 2018, available at
https://support.google.com/translate/answer/6142479?co=GENIE.Platform%3DDesktop&hl=en&oco=0
125 “Access to the Google Cloud API,” Google, last accessed on August 15 2018, available at https://cloud.google.com/translate/faq
126 “Google Calendar,” Google Play Store, last accessed on August 15 2018, available at
https://play.google.com/store/apps/details?id=com.google.android.calendar
127 “Google Calendar,” Google Play Store, last accessed on August 15 2018, available at
https://play.google.com/store/apps/details?id=com.google.android.calendar
128 “Download your data,” Google, available at https://takeout.google.com/settings/takeout?pli=1
129 “Google Keep,” Google Play Store, last accessed on August 15 2018, available at

https://play.google.com/store/apps/details?id=com.google.android.keep&hl
130 “Download your data,” Google, available at https://takeout.google.com/settings/takeout?pli=1



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Figure 22: Example of Google Keep notes, accessed from Google take out




                              i)        Chromecast

116.      Like Apple TV, Google Chromecast is a device that acts as an interface to watch videos from a variety
of applications (e.g. Netflix, YouTube, Hulu, Play Store), as well as to project video from smartphones and
computers onto larger televisions and monitors. Every Cast device has a unique identifier that is associated with
a user’s Google Account during registration.

117.      Google uses Chromecast to collect system activity, crash reports, and usage data, such as details about
the use of casting functionality of devices, including the apps and domains that are casted.131 Chromecast uses
Google Cast, which is a software platform that enables seamless streaming of audio/video between devices on
the same network.132 In addition to a multitude of other Google products (e.g. Google Home) that use Cast
functionality, the Cast platform is also used by 3rd-party devices using “Chromecast built-in” (e.g. TVs and
video gaming consoles133), that offer similar functionality. Google also collects usage data and crash reports
from 3rd-party Cast devices.134

                              j)        Google DNS

118.      Google launched a free Domain Name System (DNS) 135 service, called Google Public DNS, in
December of 2009. Google DNS is aimed at improving web browsing experience by enhancing speed, security,
and accuracy.136 In December 2014, Google Public DNS was reported to be serving 400 billion responses.137

119.      To detect abuse (such as DDoS attacks) and to fix problems, Google Public DNS keeps a temporary
log of full IP addresses that it deletes within 24-48 hours. For longer-term efforts to debug and prevent abuse,


131 “Chromecast help,” Google, last accessed on August 15 2018, available at
https://support.google.com/chromecast/answer/6076570?hl=en
132 “Google Cast,” Google, last accessed on August 15 2018, available at https://developers.google.com/cast
133 “What is Google Cast and Chromecast,” Shield, last accessed on August 15 2018, available at https://shield.nvidia.com/blog/what-
is-googlecast-chromecast
134 “Chromecast help,” Google, last accessed on August 15 2018, available at
https://support.google.com/chromecast/answer/6076570?hl=en
135 DNS services translate domain names into IP addresses and thus are necessary to navigate the web.
136 “Google Public DNS,” Google, last accessed on August 15 2018, available at https://developers.google.com/speed/public-dns/faq
137 “Google Public DNS and location-sensitive DNS responses,” Google Webmaster Central Blog, Dec. 15, 2014, available at
https://webmasters.googleblog.com/2014/12/google-public-dns-and-location.html

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Google keeps non-personally-identifiable city/metro-level location information for two weeks, and randomly
samples a small subset for permanent storage.138

                              k)        Google Wi-Fi router

120.       Google began rolling out a mesh Wi-Fi router, Google Wi-Fi, in December 2016. Mesh routers allow
a user to extend access to a Wi-Fi network across a larger area with additional connected routers. By December
of 2017, Google Wi-Fi became the best mesh Wi-Fi system in the USA according to data from the NPD
Group.139 The information it collects140 falls into the following three categories:
       §   Cloud services, which include broadcast information from connected devices (such as a device name
           like “Jane’s iPhone”), infer information from connected devices (such as manufacture’s name like
           Samsung), connection status, data transfer speed and historical consumption, network settings and
           information about wireless environment (e.g. other routers in the area). It does collect connected
           device information and data usage.
       §   Wi-Fi stats, which include anonymous data usage, crash reports and device performance information.
       §   Wi-Fi app stats, which includes usage and crash reports.

121.       According to Google, the Wi-Fi router does not track the websites visited or collect the content of
network traffic.141

                              l)        Nest

122.       In January 2014, Google acquired Nest, which is a home automation company.142 Nest’s product line
includes many smart home devices, including thermostats, cameras, doorbells, alarm systems, locks and
smoke/CO detectors.143 In addition, Nest lists more than 100 3rd-party products that can integrate with Nest,
ranging from refrigerators to beds.144

123.       Nest devices collect a variety of information, including not only users’ direct adjustments to the devices,
but also data on the environment within the home. For example, the Nest Learning Thermostat collects data
(such as temperature, humidity, ambient light, and movement) and thus knows when people are at home and
even in what rooms. 145 When a user connect 3rd-party products that integrate with Nest, Nest shares


138 “Google Public DNS,” Google, available at https://developers.google.com/speed/public-dns/privacy
139 Jillian D’Onfro, “The surprising use case that has made Google Wifi one of the company’s sleeper hits,” CNBC, Dec. 18, 2017,

available at https://www.cnbc.com/2017/12/18/google-wifi-mesh-technology-sales-stats.html
140 “Google Wifi help,” Google, last accessed on August 15 2018, available at https://support.google.com/wifi/answer/6246642?hl=en
141 “Google Wifi help,” Google, last accessed on August 15 2018, available at https://support.google.com/wifi/answer/6246642?hl=en
142 “Google to acquire Nest,” Alphabet, Jan. 13, 2014, available at https://abc.xyz/investor/news/releases/2014/0113.html
143 Nest homepage, available at https://nest.com/
144 “Works with Nest,” Nest, last accessed on August 15 2018, available at https://nest.com/works-with-nest/
145 “Privacy statement for Nest products and services,” Nest, last accessed on August 15 2018, available at
https://nest.com/legal/privacy-statement-for-nest-products-and-services/

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information with those parties but informs the user about what information is being shared.146 Nest does not
share data with other 3rd-parties, such as partner energy or insurance companies, without first gaining a user’s
consent.147

124.      On its website, Nest states that Nest accounts and Google accounts are not linked (unless a user
chooses to integrate with Google products and services) and that Google does not sell Nest data. Recently,
however, data sharing concerns have arisen from an announcement148 by Google concerning the merger of
Nest and Google hardware teams.149 In addition, concerns have been raised in the media about the future links
between Google, Nest, and 3rd-party electrical and insurance companies.150

                               m)         Google Fiber

125.      Google Fiber is a broadband, Internet protocol (IP) TV, and Voice-Over-Internet-Protocol (VOIP)
phone service connecting users via ultra-high-speed fiber-optic networks that extend all the way to their
residences,151 known as Fiber Internet, Fiber TV, and Fiber Phone, respectively. Google’s efforts to deploy
extensive networks of fiber optic cables were hampered by physical costs and negotiations with local
municipalities. Google Fiber is therefore now expanding to new cities via Webpass (an Internet service provider
acquired by Google), which delivers similarly high speeds through existing wireless and Ethernet
technologies.152

126.      Fiber Internet collects technical information connected to a user’s Google Account, but does not share
account details with other Google properties without the user’s additional consent.153 Fiber Internet requires
user consent before associating a user’s Google Account with other information, such as sites visited or content
of communications.154




146 “Privacy statement for Nest products and services,” Nest, last accessed on August 15 2018, available at
https://nest.com/legal/privacy-statement-for-nest-products-and-services/
147 “Privacy statement for Nest products and services,” Nest, last accessed on August 15 2018, available at
https://nest.com/legal/privacy-statement-for-nest-products-and-services/
148 Rick Osterloh, “Nest to join forces with Google’s hardware team,” Nest, Feb. 7, 2018, available at
https://blog.google/topics/hardware/nest-join-forces-googles-hardware-team/
149 Leo Kelion, “Google-Nest merger raises privacy issues,” BBC, Feb. 8, 2018, available at http://www.bbc.com/news/technology-
42989073
150 Casey Johnston, “What Google can really do with Nest, or really, Nest’s data,” Ars Technica, Jan. 15, 2014, available at

https://arstechnica.com/information-technology/2014/01/what-google-can-really-do-with-nest-or-really-nests-data/
151 Ryan Waniata, “Comcast killer: Google Fiber touches down in Austin with its new TV and internet devices,” Digital Trends, Dec. 3,
2014, available at https://www.digitaltrends.com/home-theater/google-fiber-tv-hands-on
152 Nick Statt, “Google Fiber-owned Webpass is bringing its wireless gigabit internet to Denver,” The Verge, Feb. 22, 2017, available at
https://www.theverge.com/2017/2/22/14703142/google-fiber-webpass-denver-expansion-gigabit-Internet and
https://gizmodo.com/what-happened-to-google-fiber-1792440779
153 “Google Fiber privacy notice,” Google, last accessed on August 15 2018, available at https://fiber.google.com/legal/privacy
154 “Google Fiber privacy notice,” Google, last accessed on August 15 2018, available at https://fiber.google.com/legal/privacy



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127.       Fiber TV collects information on programs and applications used and associates it with the user’s
Google Account.155 Likewise, Fiber Phone collects usage information (e.g. logs of call history, voicemails, SMS
messages, and recorded conversations) and associates it with a user’s Google Account. 156 Although this
information is not shared with 3rd-parties unless a user provides consent, information may be shared with 3rd-
parties for external processing and for legal reasons. While Google does not explicitly mention the use of Fiber
TV/phone for ad targeting, its general privacy policy does allow the use of collected personal information for
targeting purposes. Moreover, Google states it will share Google Fiber user’s non-personal identifiable
information publicly with content providers, publishers, advertisers, and/or connected sites.157

           D.       Method for location traffic monitoring

128.       To capture the requests being sent to Google server domains from a mobile phone, our study employs
a “man-in-the-middle” (MITM) technique using the “MITM Proxy” tool. While previous studies that analyze
similar data employed a Wi-Fi hotspot to act as an intermediary between mobile phone and Google servers, the
present study uses a virtual private network (VPN) on a mobile phone to analyze data sent through Wi-Fi
networks as well as the cellular network.

Figure 23: Example VPN setup used to analyze data shared with Google




The specific steps performed to configure and conduct the experiments are described below:

       1. The mobile devices used in the data collection experiments158 were factory reset to ensure that no
           previously installed applications or adjusted settings affected traffic to and from the phone. Upon


155 “Google Fiber privacy notice,” Google, last accessed on August 15 2018, available at https://fiber.google.com/legal/privacy
156 “Google Fiber privacy notice,” Google, last accessed on August 15 2018, available at https://fiber.google.com/legal/privacy
157 “Google Fiber privacy notice,” Google, last accessed on August 15 2018, available at https://fiber.google.com/legal/privacy
158 Devices include an LG X Power with Android 6.0 version installed and an iPhone 5 with iOS 10.3.3 installed



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           reactivation, the devices were configured with the suggested default settings. The devices were then
           equipped with new SIM cards to obtain new cell phone numbers.

       2. A VPN connection was setup with a remote proxy computer using VPN settings/functionality
           provided by the phone operating system. An IPsec/LT2P with a PSK authentication setup was chosen.
           The VPN configuration enabled the remote proxy to intercept and record the data transmitted from
           the mobile phones. Due to the nature of the type of signals emitted from a phone, the VPN set up is
           unable to intercept voice and SMS data sent from the mobile devices. However, it captured all TCP
           traffic to and from the device, including HTTP and HTTPS traffic.

       3. HTTPS software certificates were installed on the mobile devices to enable decryption of the data
           traffic captured. VPN configuration allowed the routing of all HTTP and HTTPS traffic through the
           mitmproxy program159 using iptables.160 This program then performed SSL decryption using its own
           certificate to decrypt the traffic and dump it to HAR (HTTP Archive) files for analysis.

       4. Analysis of decrypted HTTP and HTTPS traffic data mainly involved categorization of server requests
           into key segments using the request header info. Tables 5 and 6 detail the traffic headers that were
           identified as transmitting data to/from Google and Apple.

129.       In specific cases, requests to Google were further decoded to analyze the information that was passed
at a more granular level. One specific request to Google that was further decoded was the “Google location
API,” designated by the /loc/m/api endpoint. The location specifications were reverse engineered by removing
the message header and decoding the compressed protobuf message.161 The decoded location API contained
Wi-Fi and network scans that were used to determine the location of the device.

Table 5: Notable Google server domains communicating with mobile phone devices

 Segment             Pathway header                                          Description
 Ad domains          doubleclick.net                                         Sends data to and from DoubleClick
                     google-analytics.com                                    Sends data to and from GA
                     googletagmanager.com                                    Implements webpage tags
                     googletagservices.com                                   Implements webpage tags
                     googlesyndication.com                                   Retrieves and displays ads
                     adservice.google.com                                    Calls the AdWords network


159 https://mitmproxy.org/
160 “iptables(8) – Linux man page,” Die.net, available at https://linux.die.net/man/8/iptables
161 Additional information on the decoding method can be found here: “Reverse engineering: Google Location protobuf

specifications,” Esther Codes, accessed March 2018, available at
https://web.archive.org/web/20180213201547/https://esther.codes/reverse-engineering-google-location-gms-specification/

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               google.com/ads/                           Ad measurement and user lists
               gstatic.com                               Loads ads on the page
               google.com/adsense                        Calls AdSense
               google.com/pagead                         Serves page ads
Location       google.com/loc/m/api                      Sends back nearby network and Wi-
                                                         Fi information
               googleapis.com/userlocation/v1/reports    Sends back user movement
                                                         information (i.e. walking, running,
                                                         biking, driving, etc.)
               googleapis.com/placesandroid              Matches determined location with
                                                         businesses, etc. (Google Places)
               maps.googleapis.com/maps                  Retrieves detailed information based
                                                         on a place ID or a place search
               clients4.google.com/glm/mmap              Sends user’s location information to
                                                         retrieve map data
Google Play    play.googleapis.com/log/batch             Device activity logging information
API
               play.googleapis.com/play/log/timestamp    Updates a cookie and reports the
                                                         time
               play.googleapis.com/play/log?format       Play Store/Services log upload
Device auth.   googleapis.com/batch                      Device information and updates
and upload
               clients4.google.com/chrome-sync           Chrome browser synchronization
               googleapis.com/experimentsandconfigs      testing/experiment config download
               android.clients.google.com/backup/backu   Device backup
               p
               android.clients.google.com/auth           Device authorization
               android.clients.google.com/checkin        Device identifying information and
                                                         activity
               android.clients.google.com/               Authentication with Google services
Other          cdn.ampproject.org                        Retrieving data from the AMP CDN
               google.com/xjs                            Communication with Google Search
               google.com/gen                            Communications with Google Search
                                                         that transmit cookie data
               clients4.google.com/ukm                   Chrome speed information
               inbox.google.com/sync                     Mail synchronization
               mail.google.com/mail/ads                  Mail ad refresh
               google.com/complete/search                Sends character level information to
                                                         enable the search autocomplete
                                                         function
               Googleapi.com/                            Other Google APIs include Google
                                                         services (i.e. YouTube, Calendar,
                                                         etc.)


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                Google.com/                                 Other miscellaneous calls to
                                                            Google’s domain



Table 6: Notable Apple server domains communicating with mobile phone devices

 Segment        Pathway header                             Description
 Location       geosrc=wifi,73.xxx&kb_ime=en_US&ke         Passes location coordinates back to
                y=beagle1626&latlng=40.xxx,-               Apple when using the browser
                74.xxx&locale=en_US
                cl2.apple.com                              Calls to the core location server
                gs-loc.apple.com                           Apple location services
 App store      us-east-1.blobstore.apple.com/apple        Communicates with the Apple store;
                                                           includes Apple ID
 Device auth.   mesu.apple.com/assets/com_apple_Mo         Details mobile configurations and
 and upload     bileAsset                                  settings
                bookmarks.icloud.com                       Syncs mobile behavior with the cloud
                ckdatabase.icloud.com/api                  Communicates device authorization
                                                           tokens and syncs with iCloud
                keyvalueservice.icloud.com/sync            Syncs mobile device behavior
 Other          api-glb-nyc.smoot.apple.com/               Miscellaneous Apple APIs
                gsp64-ssl.ls.apple.com                     Provides device information when the
                                                           phone accesses websites via Safari
                gspe35-ssl.ls.apple.com/geo_manifest/      Loads map tiles, but does not pass
                dynamic/config?application=geod            location information
                configuration.apple.com/configurations     Communicates the settings of the
                /pep/config/geo/networkDefaults            location collection tools

         E.     Google sign in authentication sequence




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Figure 24: Authentication sequence




          F.        Usage profile for mobile data collection experiments

130.      A usage profile was designed to simulate a typical user’s interaction with their mobile phone throughout
the course of a day. A variety of statistics that describe peoples’ online behavior and mobile phone usage were
integrated to create the profile, as described below.

131.      The designed profile visited 45 webpages during the course of the day based on website visit statistics
from a 2010 Nielsen study, which indicates that the average person visits 88 webpages per day162 and a 2017
Stone Temple study, which states that roughly 50-55% of webpage visits come from mobile devices.163 The 45
webpage visits were evenly split between 5 top non-Google news and sports domains.164 When the phone was
not being used to visit webpages the browser was left running in the background of the phone. The resulting
usage profile represents a conservative user as the number of webpage visits per day is likely to have increased
since the 2010 Nielsen study.

132.       The usage profile also included a variety of non-Google mobile applications. Top non-Google
applications were selected from the social media, shopping, travel, and health categories. These applications
included Facebook, Instagram, Snapchat, Pinterest, Amazon Shopping, Walmart, Starbucks, Yelp, and Six Pack




162 “Nielsen provides topline U.S. web data for March 2010,” Nielsen, April 2010, available at
http://www.nielsen.com/us/en/insights/news/2010/nielsen-provides-topline-u-s-web-data-for-march-2010.html
163 Eric Enge, “Mobile vs desktop usage: mobile grows but desktop still a big player in 2017,” Stone Temple, April 2017, available at
https://www.stonetemple.com/mobile-vs-desktop-usage-mobile-grows-but-desktop-still-a-big-player-in-2017/
164 The domains selected were New York Time, CNN, The Guardian, ESPN, and Crickbuzz. The websites were identified by using
Alexa’s lists, available at https://www.alexa.com/topsites/category

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in 30 Days. These apps were opened periodically throughout the day to simulate a typical user who spends
approximately 2.5 hours in mobile app per day, as reported by eMarketer.165

          G.        Past articles that relate to Google’s data collection practices

Table 7: Summary of other Google data collection studies

 Title                                            Relevant findings                                       Author, Date

 AP Exclusive: Google tracks your                Google is tracking users’ location even                 Ryan Nakashima
 movements, like it or not166                    when location services are disabled                     August 2018

 Australian regulator investigates               Google “harvest” about 1GB of data from                 Oracle
 Google data harvesting from                     Android devices per month                               May 2018
 Android phones167

 How to Keep Google From Owning                  It is very difficult for the average consumer           WSJ, May 2018
 Your Online Life168                             to avoid Google products

 Google tracking phones even when                Google tracks phones even when phones                   Fox News,
 they are disconnected?169                       are “disconnected” (no SIM cards, airplane              Feb. 2018
                                                 mode, Wi-Fi off)

 Google collects Android users’                  Google collects Android location when                   Quartz
 locations even when location services           location services are turned off                        Nov. 2017
 are disabled170




165 “eMarketer reveals new estimates for mobile app usage,” eMarketer, April 2017, available at
https://www.emarketer.com/Article/eMarketer-Unveils-New-Estimates-Mobile-App-Usage/1015611
166 Ryan Nakashima, “AP Exclusive: Google tracks your movements, like it or not,” AP, August 13, 2018, available at
https://apnews.com/828aefab64d4411bac257a07c1af0ecb
167 Anne Davis, “Australian regulator investigates Google data harvesting from Android phones,” The Guardian, May 13, 2018,
available at https://www.theguardian.com/technology/2018/may/14/australian-regulator-investigates-google-data-harvesting-from-
android-phones
168 David Pierce, “How to Keep Google From Owning Your Online Life,” The Wall Street Journal, May 8, 2018, available at
https://www.wsj.com/articles/how-to-keep-google-from-owning-your-online-life-1525795372
169 Brett Larson, "Google tracking phones even when they are disconnected?,” Fox News, Feb 11, 2018, available at
http://video.foxnews.com/v/5731183327001/?#sp=show-clips
170 Keith Collins, “Google collects Android users’ locations even when location services are disabled,” Quartz, November 17, 2017,
available at https://qz.com/1131515/google-collects-android-users-locations-even-when-location-services-are-disabled/

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 Google is permanently nerfing all               The Google Home mini was saving                         Artem
 Home Minis because mine spied on                recording when the device was not                       Russakovskii
 everything I said 24/7171                       activated with “OK Google”                              Oct. 2017
                                                 *Google claims to have resolved the issue

 Online Tracking: A 1-million-site               Google can track users ~80% of websites                 Princeton
 Measurement and Analysis172                     using its cookies.                                      University
                                                                                                         2016

 Why Do Android Smartphones                      Android devices consume more data                       Ericsson
 Guzzle the Most Data?173                        (2.2GB/month) than other smartphones                    Dec. 2013

 Data leakage from Android                       Android passes anonymous IDs along with                 Lasse Øverlier
 smartphones174                                  devices IDs such as Mac address and IMIE                June 2012


          H.        Clarifications

133.      Our understanding of the data being sent to Google through its Android platform is limited to Android
6.0 version only. This study does not capture any updates/patches that may have been implemented on later
versions that may affect Android’s communications with the Google servers. While new versions of Android
are currently present in the market, Android 6.0 is still the most widely used version.175 Additionally, while we
took utmost precaution for classifying the pathway headers by their purpose (e.g., location, ad, device upload,
app store), it is possible that some headers may serve multiple purposes (e.g., ad as well as location). These
aspects are not captured in our study. Consequently, the description presented for these headers may not be
exhaustive with respect to the purpose they serve.

          I.        About the author

134.      Professor Douglas Schmidt is a software system expert with over 30+ years conducting, supervising,
and researching the development of software for distributed middleware systems and their applications in


171 Artem Russakovskii, “Google is permanently nerfing all Home Minis because mine spied on everything I said 24/7,” Android Police,
October 10, 2017, available at https://www.androidpolice.com/2017/10/10/google-nerfing-home-minis-mine-spied-everything-said-
247/
172 Englehardt, Steven, and Arvind Narayana, “Online Tracking: A 1-million-site Measurement and Analysis,” ACM CCS, 2016,
available at http://randomwalker.info/publications/OpenWPM_1_million_site_tracking_measurement.pdf
173 Brian Chen, “Why Do Android Smartphones Guzzle the Most Data?,” The New York Times, December 31, 2013, available at
https://bits.blogs.nytimes.com/2013/12/31/why-do-android-smartphones-guzzle-the-most-data/
174 Lasse Øverlier , “Data leakage from Android smartphones,” Norwegian Defense Research Establishment, June 6, 2012, available at
https://www.ffi.no/no/Rapporter/12-00275.pdf
175 “Mobile & Tablet Android Version Market Share Worldwide,” statcounter, available at http://gs.statcounter.com/android-version-
market-share/mobile-tablet/worldwide

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networking and security, machine learning and smart-grid, design patterns, and more. He has authored 10+
books and 600+ papers that have been collectively cited over 38,000 times. Professor Schmidt has over 30
years of experience teaching these concepts both in-classroom and online to over 200,000 students in total.

135.     Professor Schmidt has participated in 20+ prior expert engagements spanning expert report
production and oral testimony both through deposition and at trial. His consulting work has ranged from patent
and copyright litigation matters to advising both private and public entities on various issues relating to software
infrastructure and design. He earned his PhD and MS in Computer Science from the University of California,
Irvine in 1994 and 1990, respectively.

136.     Professor Schmidt is currently the Cornelius Vanderbilt Professor of Computer Science at Vanderbilt
University. Prior to Vanderbilt, he held several directorial and C-level positions in both academic and industry
settings including the Software Engineering Institute at Carnegie Mellon University, the Information
Technology Office at the Defense Advanced Research Project Agency (DARPA), the Federal Government,
as well as several technology start-ups.




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US states could ban people from traveling for abortions, experts warn | A...   https://www.theguardian.com/world/2022/may/03/us-abortions-travel-wa...
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US states could ban people from traveling for abortions, experts warn | A...   https://www.theguardian.com/world/2022/may/03/us-abortions-travel-wa...
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3 of 5                                                                                                                           5/18/2022, 10:46 AM
US states could ban people from traveling for abortions, experts warn | A...   https://www.theguardian.com/world/2022/may/03/us-abortions-travel-wa...
                       Case 4:20-cv-03664-YGR Document 643-13 Filed 07/27/22 Page 277 of 405




4 of 5                                                                                                                           5/18/2022, 10:46 AM
US states could ban people from traveling for abortions, experts warn | A...   https://www.theguardian.com/world/2022/may/03/us-abortions-travel-wa...
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Best VPNs of 2022                                                           https://www.usnews.com/360-reviews/privacy/vpn
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                    Best VPNs of 2022

                    Popular VPN Services

                    NordVPN »




                    Monthly Plan Cost
                        $11.95/Month

                    Annual Plan Cost
                        $4.92/Month

                    # of IP Addresses
                          5,502+

                    Server Count
                         5,200+

                    Simultaneous Connections
                         6

                    See Review

                    Surfshark »




                    Special Offer: Get TWO additional months FREE on Two-Year Plans

                    Monthly Plan Cost
                        $12.95/Month

                    Annual Plan Cost


1 of 39                                                                                                 5/6/2022, 4:15 PM
Best VPNs of 2022                                                               https://www.usnews.com/360-reviews/privacy/vpn
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                         Not Offered

                    # of IP Addresses
                          3,000+

                    Server Count
                         3,200+

                    Simultaneous Connections
                         Unlimited

                    See Review

                    ExpressVPN »




                    Monthly Plan Cost
                        $12.95/Month

                    Annual Plan Cost
                        $8.32/Month

                    # of IP Addresses
                          Varies

                    Server Count
                         3,000+

                    Simultaneous Connections
                         5

                    See Review

                    Virtual private networks (VPNs) have been around since the 1990s. Businesses used
                    VPNs to provide remote workers with a secure connection while online. There were
                    very few personal VPN subscriptions. Today, however, Cloudnet reports that almost
                    one-third of all internet users use a VPN. Due to the coronavirus pandemic, VPN
                    usage grew even more, and the market for VPNs is now expected to exceed $92
                    billion in 2027.

                    VPNs exist to help encrypt your data when you’re using the internet. According to
                    Cloudnet, 49% of users choose VPNs for general security, whereas 31% of users
                    connect to public Wi-Fi through VPNs. Some respondents admitted using VPNs to
                    bypass school or work internet restrictions. That’s because VPNs provide coverage
                    from the prying eyes of internet service providers (ISPs) and others who could be


2 of 39                                                                                                     5/6/2022, 4:15 PM
Best VPNs of 2022                                                                 https://www.usnews.com/360-reviews/privacy/vpn
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                    tracking your activities on the web.

                    Not all VPNs, however, are the same. With few standards and laws to regulate
                    them, it can be hard to tell which companies are worth your time and money.

                    Our guide shows you the Best VPN Services of 2022 and helps you pick the right
                    service for you. Read on to learn about the security features of top-rated VPNs, such
                    as ExpressVPN, NordVPN, and Surfshark.




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Best VPNs of 2022                                                      https://www.usnews.com/360-reviews/privacy/vpn
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Best VPNs of 2022                                                                  https://www.usnews.com/360-reviews/privacy/vpn
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                    # of IP Addresses
                          Varies

                    Server Count
                         3,000+

                    Simultaneous Connections
                         5

                    Pros



                           Access to about 3,000 servers in 94 countries



                           British Virgin Islands location

                    Cons



                           Above-average price among the VPNs in our rating



                           Only allows five devices to connect simultaneously

                    ExpressVPN: Tying for No. 1 in our Best VPNs of 2022 rating, ExpressVPN scores
                    a 4.3 out of 5. Although it's relatively expensive at $12.95 a month or $8.32 per
                    month annually, you get a lot for your money, including access to more than 3,000
                    servers in 94 countries. Because it's based in the British Virgin Islands, ExpressVPn
                    is outside of the Five Eyes international intelligence-sharing agreement between the
                    United States, United Kingdom, Canada, Australia, and New Zealand. The VPN
                    provider is compatible with major operating systems, streaming services, and social
                    media platforms. It also offers useful features like split tunneling. On the downside,
                    it only allows five simultaneous connections. There's a 30-day money-back
                    guarantee if you decide ExpressVPN isn't for you.

                    NordVPN »




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Best VPNs of 2022                                                               https://www.usnews.com/360-reviews/privacy/vpn
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                    Best VPN of 2022 (tie)

                    Monthly Plan Cost
                        $11.95/Month

                    Annual Plan Cost
                        $4.92/Month

                    # of IP Addresses
                          5,502+

                    Server Count
                         5,200+

                    Simultaneous Connections
                         6

                    Pros



                           Extra privacy provided by Double VPN



                           Dedicated IP address available

                    Cons



                           Relatively high cost



                           Only six simultaneous connections

                    NordVPN: Also taking the No. 1 spot in our rating with a score of 4.3 out of 5 and
                    located outside Five Eyes jurisdiction, Panama-based NordVPN costs $11.99 a
                    month ($4.99 a month annually) and allows for six simultaneous VPN connections.
                    One standout feature is NordVPN's Double VPN, which lets users send their traffic
                    to two VPN servers. This process encrypts the information twice, which offers more
                    privacy. NordVPN has about 5,000 servers worldwide, considerably more than
                    ExpressVPN. For an additional $70 a year, you can add a dedicated IP address that
                    will keep you from getting banned from your favorite websites for the actions of
                    other people sharing the VPN company’s IP addresses. Reviewers say NordVPN's
                    interface is easy to use.

                    Surfshark »



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Best VPNs of 2022                                                                https://www.usnews.com/360-reviews/privacy/vpn
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                    Best VPN with Unlimited Connections

                    Special Offer: Get TWO additional months FREE on Two-Year Plans

                    Monthly Plan Cost
                        $12.95/Month

                    Annual Plan Cost
                        Not Offered

                    # of IP Addresses
                          3,000+

                    Server Count
                         3,200+

                    Simultaneous Connections
                         Unlimited

                    Pros



                           Unlimited devices



                           No extra charge for a static IP address

                    Cons



                           High monthly cost



                           Limited number of server locations

                    Surfshark: Surfshark ties for No. 3 on our Best VPNs list with a score of 3.9 out of
                    5. It rates the highest among the VPNs in our rating that offer an unlimited number
                    of simultaneous connections. The VPN service provides several key features,
                    including its Whitelister service to facilitate split tunneling. The monthly cost is



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Best VPNs of 2022                                                                   https://www.usnews.com/360-reviews/privacy/vpn
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                    relatively high at $12.95, but a one-year subscription brings that down substantially
                    to $2.49 a month. You can get a static IP address for no additional cost, and the “no
                    borders” feature allows you to spoof your location to avoid monitoring or censoring
                    by the government. Surfshark is compatible with a wide range of operating systems
                    and browsers, including Chrome, Firefox, iOS, Android, and even FireTV. On the
                    downside, with about 3,200 servers in 65 countries, it has fewer server locations
                    than some other VPNs in our rating.

                    Private Internet Access »




                    Best Low-Cost Annual VPN Plan

                    Monthly Plan Cost
                        $9.95/Month

                    Annual Plan Cost
                        $3.33/Month

                    # of IP Addresses
                          Varies

                    Server Count
                         25,000+

                    Simultaneous Connections
                         10

                    Pros



                           Includes free email breach monitoring



                           Provides a one-year cloud storage subscription

                    Cons



                           Based in the U.S. and thus subject to Five Eyes jurisdiction




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Best VPNs of 2022                                                                https://www.usnews.com/360-reviews/privacy/vpn
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                           Doesn't offer unlimited device connections

                    Private Internet Access: Private Internet Access also ties for No. 3 with a score
                    of 3.9 out of 5. This budget-friendly VPN provider has the cheapest annual plan out
                    of the companies in our Best VPNs of 2022 rating. For just $3.33 a month with an
                    annual plan (or $9.95 per month on a monthly plan), Private Internet Access’
                    subscription gives you 10 simultaneous connections with an array of VPN features.
                    You also get free email breach monitoring, a one-year cloud storage subscription for
                    your encrypted files, good speeds, and key privacy and security features like a kill
                    switch, DNS leak protection, and a malware blocking add-on. A dedicated IP
                    address is available for an additional $5 a month. Note that Private Internet Access
                    is based in the U.S. and thus is under the jurisdiction of the Five Eyes alliance.
                    However, like most VPNs, the company has a no-logging policy.

                    IPVanish »




                    Monthly Plan Cost
                        $10.99/Month

                    Annual Plan Cost
                        $7.50/Month ($3.75/mo. For the first year)

                    # of IP Addresses
                          40,000+

                    Server Count
                         2,000+

                    Simultaneous Connections
                         Unlimited

                    Pros



                           Many IP addresses for better online privacy



                           Unlimited simultaneous connections

                    Cons



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Best VPNs of 2022                                                                 https://www.usnews.com/360-reviews/privacy/vpn
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                           U.S.-based and thus under Five Eyes jurisdiction



                           Not compatible with certain streaming services

                    IPVanish: Coming in at No. 5 in our rating with a score of 3.8 out of 5, U.S.-based
                    IPVanish offers users access to more than 40,000 IP addresses. This helps protect
                    anonymity online because it's unlikely that a given user will use the same IP address
                    more than once. The VPN costs a reasonable $10.99 a month or $14.99 quarterly
                    and allows an unlimited number of simultaneous device connections. IPVanish is
                    compatible with social media, including Facebook, Instagram, Twitter, and
                    YouTube. However, those who want to use streaming services are out of luck, as
                    IPVanish won't work with popular ones like Amazon Prime, Disney+, and Hulu.
                    Also, on the downside, this VPN service has fewer servers than many of its
                    competitors. But if these negatives don't bother you and your household has a lot of
                    devices to protect, IPVanish is a good choice.

                    Windscribe »




                    Best Free VPN (tie)

                    Monthly Plan Cost
                        $9.00/Month

                    Annual Plan Cost
                        $4.08/Month

                    # of IP Addresses
                          Not Available

                    Server Count
                         Not Available

                    Simultaneous Connections
                         Unlimited

                    Pros




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                           Static IP address available for an extra cost



                           Unlimited device connections, even with the free version

                    Cons



                           Canada-based and thus under Five Eyes jurisdiction



                           No live customer support

                    Windscribe: This VPN service ties for No. 6 in our rating with a score of 3.7 out of
                    5. Windscribe is based in Canada, which is under Five Eyes jurisdiction.
                    Windscribe's annual plan costs a relatively reasonable $4.08 per month and is the
                    cheapest VPN in our rating that lets you cover unlimited devices. A static IP address
                    is available for an additional cost. Another Windscribe feature aims to avert
                    browser tracking by adjusting or rotating the data used by the browser. No kill
                    switch is offered, but the VPN service claims that its built-in firewall is more
                    effective than a kill switch at preventing data leaks. Windscribe offers a free version
                    that includes 10 gigabytes (GB) of data per month and also allows an unlimited
                    number of connections. Another option allows you to “build a plan” at $1 per month
                    for each location you are using. Note that Windscribe’s money-back guarantee
                    period is only three days.

                    ProtonVPN »




                    Best Free VPN (tie)

                    Monthly Plan Cost
                        $5.00/Month

                    Annual Plan Cost
                        $4.00/Month

                    # of IP Addresses
                          1,200

                    Server Count


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                           1,546

                    Simultaneous Connections
                         Up to 10

                    Pros



                           Least expensive monthly plan among VPNs in our rating



                           Offers a free version

                    Cons



                           Only two device connections allowed on lowest tier



                           No dedicated IP address available

                    ProtonVPN: With a score of 3.7 out of 5, ProtonVPN ties with Windscribe and
                    CyberGhost in our rating. ProtonVPN's basic monthly plan is the least expensive
                    among the VPN services in our rating at $4 a month. However, only two
                    simultaneous connections are allowed, and features are limited. Higher-tier plans
                    allow more simultaneous connections and additional features like peer-to-peer
                    (P2P) torrenting and streaming service support. The most comprehensive Visionary
                    plan is expensive at $24 a month, although it comes with an encrypted email service
                    called ProtonMail. On the other end of the spectrum, ProtonVPN also offers a free
                    version of its VPN. The free version is limited to one device and only 83 servers in 3
                    countries, but it has no advertisements or limits on data or speed.

                    CyberGhost »




                    Best VPN with Optional Security Suite

                    Monthly Plan Cost
                        $12.99/Month


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                    Annual Plan Cost
                        $3.95/Month

                    # of IP Addresses
                          6,600+

                    Server Count
                         7,700+

                    Simultaneous Connections
                         7

                    Pros



                           Based in Romania outside of Five Eyes Jurisdiction



                           Dedicated IP address available

                    Cons



                           Relatively expensive monthly plan



                           Only seven simultaneous connections

                    CyberGhost: Also tying for No. 6 with a score of 3.7 out of 5, CyberGhost is based
                    in Romania and thus is not under the jurisdiction of the Five Eyes information-
                    sharing alliance. This VPN service costs $12.99 a month, which puts it among the
                    more expensive VPNs in our rating. However, if you're willing to sign up for a year,
                    that price drops significantly to $4.29 a month, with even cheaper monthly rates for
                    multiyear plans. Cyberghost allows seven simultaneous connections, offers 24/7
                    customer support, and provides the longest money-back guarantee in our ratings at
                    45 days. A dedicated IP address is available at an extra cost, and you can also add
                    CyberGhost's Windows Security Suite. The security suite includes antivirus
                    software, a privacy tool that lets you customize information-sharing settings, and a
                    tool that tracks when apps on your laptop are due for an update.

                    PureVPN »




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                    Monthly Plan Cost
                        $10.95/Month

                    Annual Plan Cost
                        $2.99/Month

                    # of IP Addresses
                          300,000+

                    Server Count
                         6,500+

                    Simultaneous Connections
                         10

                    Pros



                           Reasonably priced family plan



                           Dedicated P2P servers

                    Cons



                           Can't unblock Amazon Prime



                           Customer support can be spotty

                    PureVPN: Coming in at No. 9 on our list with a score of 3.5 out of 5, PureVPN
                    charges $10.95 per month for a monthly plan, $2.99 per month for 12 months, or
                    $1.99 for 24 months on longer-term plans – the lowest multiplan cost in our
                    ratings. Despite its low price, you get all the most commonly sought-after VPN
                    functionality, including dedicated IP support, a kill switch, DNS leak protection,
                    and split tunneling. PureVPN also offers optional DDoS protection and port
                    forwarding. While you can connect an unlimited amount of devices, PureVPN limits
                    simultaneous connections to 10. It has dedicated P2P servers in countries where


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                    P2P is legal and offers dedicated streaming servers. The VPN service follows a strict
                    no-log policy and is the only VPN service to gain KPMG’s always-on no-log
                    certification.

                    VyprVPN »




                    Best Business VPN Plan

                    Monthly Plan Cost
                        $15.00/Month

                    Annual Plan Cost
                        $8.33/Month

                    # of IP Addresses
                          300,000+

                    Server Count
                         700+

                    Simultaneous Connections
                         5

                    Pros



                           Switzerland-based VPN subject to strong privacy laws



                           Offers a large number of IP addresses

                    Cons



                           Relatively high cost for monthly subscription



                           Only five devices can connect at once



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                    VyprVPN: VyprVPN ties with TunnelBear and Hotspot Shield for No. 10 in our
                    Best VPNs rating with a score of 3.4 out of 5. This VPN provider is based in
                    Switzerland, which has strong privacy laws, plus VyperVPN has a no-logs policy
                    that is confirmed by public audits. The company's monthly plans are relatively
                    expensive at $15, while an annual plan comes to 8.33 a month (billed at $100 a
                    year). VyprVPN only offers five simultaneous connections, which is on the low side.
                    However, it provides more than 300,000 shared IP addresses, far more than any
                    other VPN service in our rating. If five simultaneous connections meet your needs,
                    VyprVPN may be a good affordable option for you. There's a 30-day money-back
                    guarantee if you sign up and change your mind.

                    TunnelBear »




                    Monthly Plan Cost
                        $9.99/Month

                    Annual Plan Cost
                        $4.99/Month

                    # of IP Addresses
                          Not Available

                    Server Count
                         Not Available

                    Simultaneous Connections
                         Up to 5

                    Pros



                           Free version offered



                           Easy to use for beginners

                    Cons



                           Based in Canada and thus subject to Five Eyes jurisdiction


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                           Can't use with streaming services or social media

                    TunnelBear: TunnelBear also ties for No. 10 in our rating with a score of 3.4 out
                    of 5. This VPN provider is located in Canada, which is a Five Eyes country. The
                    price is less than average among the companies in our rating, with a monthly plan
                    costing $9.99 and an annual plan that works out to $4.99 a month. If you're willing
                    to sign up for three years, the cost drops to $3.33 a month. There's a free version,
                    although this is limited to 500 MB of monthly data, which isn't enough for many
                    users. TunnelBear is compatible with all major operating systems, but not with
                    social media or streaming services. The VPN provider has more than 3,000 servers
                    in 49 countries, on par with some other companies in our rating but less than
                    others. However, you can only have five simultaneous connections, and TunnelBear
                    lacks a dedicated IP address option and other advanced features.

                    Hotspot Shield »




                    Monthly Plan Cost
                        $12.99/Month

                    Annual Plan Cost
                        $7.99/Month

                    # of IP Addresses
                          Not Available

                    Server Count
                         3,200+

                    Simultaneous Connections
                         Up to 25

                    Pros



                           Free single-device VPN offered



                           Premium plan includes security suite features



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                    replacing your device's IP address with one that the VPN service provides. So rather
                    than someone seeing your digital fingerprints, they will only see those of the VPN
                    provider.

                    A VPN isn't a complete online security solution, however. While a virtual private
                    network does provide more online privacy by helping to keep you anonymous while
                    using the internet, there is no way to guarantee anonymity 100%. That simply isn't
                    possible online. Still, one of the best ways to maintain online privacy when using
                    the web is to subscribe to a VPN service.

                    Also realize that there are other online cybersecurity threats that a VPN won't
                    protect you from at all. In particular, a VPN won't keep malware like viruses and
                    ransomware from infecting your computer. For that, you need antivirus software.

                    How Does a VPN Work?




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                    technology works. "When you use a VPN app, data sent from your phone – be it
                    your browsing data or the apps you are using – is routed through servers located
                    elsewhere," according to the FTC. "A VPN app can make traffic from your phone to
                    a website you visit appear to come from a server operated by the VPN provider,
                    rather than directly from your phone. Some VPN apps also encrypt the data sent
                    between your phone and the VPN server."

                    What features do you need?

                    Consider these other factors when evaluating a VPN company:

                    Privacy policy: The FTC says that if you're using a VPN app to keep your internet
                    traffic private, review the app’s terms and conditions and its privacy policy to see if
                    it shares information with third parties like advertisers (and if so, which ones).

                    Data logs: Also look for a VPN company's policy on data logging, which is often
                    included in its privacy policy. There are typically two types of data that may be
                    collected. The first type is your connection log, which may include information such
                    as the IP address you use to connect from, the websites you visit, the length of time
                    you're connected, and the VPN servers you connect to. Usually (but not always) a
                    VPN with a zero-logs policy doesn't record this information. VPNs do often keep
                    track of minimal user data (such as your username and email address), and some
                    log data such as the VPN app you use and crash reports, in the name of
                    troubleshooting and user experience.

                    Andy Maxwell, author of the blog, TorrentFreak, says VPNs can be ordered by a
                    court to hand over their customers’ details but it is not always straightforward.
                    According to Maxwell, good VPNs don’t carry logs. However, in the event of any
                    questionable streaming of events or similar activity that could warrant government
                    inquiry, it’s best to know where your VPN stands on data logs.

                    Country of jurisdiction: The country where the VPN has its headquarters
                    dictates what information the VPN is legally required to log, and it can also impact
                    how easily the government can get hold of that information. For example, the five
                    countries that belong to the Five Eyes alliance (Australia, Canada, New Zealand, the
                    U.S., and the U.K.) have an agreement to work together for surveillance and
                    intelligence sharing.

                    VPN protocols: Thinking again of a VPN as a tunnel, a VPN protocol is like the
                    blueprints for the tunnel. Most VPNs automatically select the best protocol for your
                    needs, though advanced users may want the ability to pick a specific protocol. The
                    best VPN protocols currently include OpenVPN and L2TP, which are more secure
                    than older ones such as PPTP. Learn more about which VPN protocol is best from
                    ExpressVPN, our top-rated VPN service.

                    Kill switch: If your VPN connection drops, your information is no longer secure. A
                    kill switch prevents the accidental leakage of any data by blocking your internet
                    connection if this happens. When your VPN is working again, its auto-connect
                    feature instantly reinstates your internet connection.

                    Number of IP addresses: An IP address is a number that identifies your
                    computer (or mobile device) and its current location. A VPN service substitutes
                    your real IP address with one of its own to conceal your identity. The downside of


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                          options of VPN providers that are offering the features and compatibility that
                          is right for you.
                       3. Determine your budget. Now that you have some options of VPN services
                          to pick from, figure out which companies are within your price range. Keep in
                          mind that many of these companies offer free trials and money-back
                          guarantees. Some even offer free VPNs with limitations, such as data caps.
                          These are great options to test out the VPNs you're interested in risk-free. If
                          you test out a VPN and find it works for you, remember that you can save a lot
                          of money by opting for an annual subscription instead of a month-to-month
                          plan.
                       4. Install your VPN software. Once you’ve found a VPN that is right for you,
                          purchase your VPN plan and set it up. You don't have to be tech-savvy to use a
                          VPN – below we give you advice on how to set up your VPN.

                    To install a VPN, first create an account with your VPN provider. Many VPN
                    services accept numerous forms of payment, and some even include Bitcoin, to help
                    support your online anonymity.

                    When you have your account set up, you will have a few options of how you want to
                    use the VPN on your devices. This decision will depend on the compatibility of your
                    VPN and the number of simultaneously connected devices your VPN provider
                    offers. In general, you will need to download the VPN app on each device you plan
                    to use it on. Many VPN services also have VPN browser extensions that you can use
                    instead of downloading a VPN app.

                    If your VPN service offers a limited number of connections, you may want to
                    consider installing the VPN on your router. This covers all devices connected to the
                    internet through your router, but it comes at the cost of slowing down your overall
                    internet speed. Installing a VPN on your router is also slightly more complicated
                    than using a VPN with devices such as laptops and tablets, but it is still a
                    manageable process.

                    Best VPN Coupons and Discount Codes
                    Learn More
                    Still looking for more information about VPNs or trying to find the best VPN for
                    you? Explore the directory below to learn more about these services.

                    Other Ratings from 360 Reviews
                    Our 360 Methodology for Evaluating VPN
                    Services
                    Why You Can Trust Us: 26 VPNs Researched

                    At U.S. News & World Report, we rank the Best Hospitals, Best Colleges, and Best
                    Cars to guide readers through some of life’s most complicated decisions. Our 360
                    Reviews team draws on this same unbiased approach to rate the products that you
                    use every day. To build our Best VPNs of 2022 rating, we researched more than 26


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                    VPNs and analyzed 23 reviews. Our 360 Reviews team does not take samples, gifts,
                    or loans of products or services we review. All sample products provided for review
                    are donated after review. In addition, we maintain a separate business team that
                    has no influence over our methodology or recommendations.

                    The following describes our 360 approach to researching and analyzing VPNs to
                    guide prospective consumers.

                    1. We researched the companies and products people care
                    most about.
                    U.S. News analyzed and compared a variety of publicly available data, including
                    internet search data, to determine which VPN companies Americans are most
                    interested in. We found 20 companies that stand out in terms of volume of searches
                    and research among consumers, as well as across the different rating sources.

                    We then compared the available VPNs provided by our top VPN companies across
                    several criteria, including monthly fees, compatibility with common systems, and
                    technical capabilities such as type of protocols, number of servers, and IP
                    addresses. Research shows that these are the most important criteria for people
                    shopping for a VPN. We then narrowed the list down to the twelve best VPNs.

                    2. We created objective 360 Overall Ratings based on an
                    analysis of third-party reviews.
                    U.S. News’ 360 Reviews team applied an unbiased methodology that includes
                    opinions from professional reviews as well as consumer reviews.

                    Our scoring methodology is based on a composite analysis of the ratings and
                    reviews published by credible third-party professional and consumer review
                    sources. The ratings are not based on personal opinions or experiences of U.S.
                    News. To calculate the ratings:

                    (a) We compiled two types of third-party ratings and reviews:

                         Professional Ratings and Reviews. Many independent VPN evaluating
                         sources have published their assessments of VPN companies and their
                         products online. We consider several of these third-party reviews to be
                         reputable and well-researched. However, professional reviewers often make
                         recommendations that contradict one another. Rather than relying on a single
                         source, U.S. News believes consumers benefit most when these opinions and
                         recommendations are considered and analyzed collectively with an objective,
                         consensus-based methodology.
                         Consumer Ratings and Reviews. U.S. News also reviewed published
                         consumer ratings and reviews of VPN providers. Sources with a sufficient
                         number of quality consumer ratings and reviews were included in our scoring
                         model.

                    Please note that not all professional and consumer rating sources met our criteria
                    for objectivity. Therefore, some sources were excluded from our model.

                    (b) We standardized the inputs to create a common scale.



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                    The third-party review source data were collected in a variety of forms, including
                    ratings, recommendations, and accolades. Before including each third-party data
                    point into our scoring equation, we had to standardize it so that it could be
                    compared accurately with data points from other review sources. We used the
                    scoring methodology described below to convert these systems to a comparable
                    scale.

                    The 360 scoring process first converted each third-party rating into a common 0 to
                    5 scale. To balance the distribution of scores within each source’s scale, we used a
                    standard deviation (or Z-Score) calculation to determine how each company’s score
                    compared to the source’s mean score. We then used the Z-Score to create a
                    standardized U.S. News score using the method outlined below:

                         Calculating the Z-Score: The Z-Score represents a data point's relation to the
                         mean measurement of the data set. The Z-Score is negative when the data
                         point is below the mean and positive when it's above the mean; a Z-Score of 0
                         means it's equal to the mean. To determine the Z-Score for each third-party
                         rating of a company, we calculated the mean of the ratings across all
                         companies evaluated by that third-party source. We then subtracted the mean
                         from the company’s rating and divided it by the standard deviation to produce
                         the Z-Score.
                         Calculating the T-Score: We used a T-Score calculation to convert the Z-Score
                         to a 0-100 scale by multiplying the Z-Score by 10. To ensure that the mean
                         was equal across all data points, we added our desired scoring mean (between
                         0 and 10) to the T-Score to create an adjusted T-Score.
                         Calculating the common-scale rating: We divided the adjusted T-Score, which
                         is on a 100-point scale, by 20 to convert the third-party rating to a common
                         0-5 point system.

                    (c) We calculated the 360 Overall Score based on a weighted-average model.

                    We assigned “source weights” to each source used in the consensus scoring model
                    based on our assessment of how much the source is trusted and recognized by
                    consumers and how much its published review process indicates that it is both
                    comprehensive and editorially independent. The source weights are assigned on a
                    1-5 scale. Any source with an assigned weight less than two was excluded from the
                    consensus scoring model.

                    Finally, we combined the converted third-party data points using a weighted
                    average formula based on source weight. This formula calculated the consensus
                    score for each product, which we call the 360 Overall Rating.

                    U.S. News 360 Reviews takes an unbiased approach to our recommendations.
                    When you use our links to buy products, we may earn a commission but that in no
                    way affects our editorial independence.




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                Browser Fingerprinting Protection: How to Stay Private

                Sven Taylor




                In this guide we cover all aspects of browser fingerprinting and device fingerprinting in 2022. In addition to explaining
                what exactly this is, we’ll also show you how to protect yourself against these threats.

                Many people use VPN services to hide their IP address and location – but there is another way you can be identified and
                tracked online. That is through browser fingerprinting.

                Whenever you go online, your computer or device provides the sites you visit with highly specific information about your
                operating system, settings, and even hardware. The use of this information to identify and track you online is known as
                device or browser fingerprinting.

                As browsers become increasingly entwined with the operating system, many unique details and preferences can be exposed
                through your browser. The sum total of these outputs can be used to render a unique “fingerprint” for tracking and
                identification purposes.

                Your browser fingerprint can reflect:

                      the User agent header
                      the Accept header
                      the Connection header
                      the Encoding header
                      the Language header
                      the list of plugins
                      the platform
                      the cookies preferences (allowed or not)
                      the Do Not Track preferences (yes, no or not communicated)
                      the timezone
                      the screen resolution and its color depth
                      the use of local storage
                      the use of session storage
                      a picture rendered with the HTML Canvas element
                      a picture rendered with WebGL
                      the presence of AdBlock
                      the list of fonts

                Is browser fingerprinting accurate?
                Some researchers have found this method of identification to be extremely effective.




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                Why is this being done?

                Browser fingerprinting is just another tool to identify and track people as they browse the web. There are many different
                entities – both corporate and government – that are monitoring internet activity, and they all have different reasons for
                doing so. Advertisers and marketers find this technique useful to acquire more data on users, which in turn leads to more
                advertising revenue.

                Some websites use browser fingerprinting to detect potential fraud, such as banks or dating websites, so it’s not always
                nefarious.

                Surveillance agencies could also use this to identify people who are employing other privacy measures to cloak their IP
                address and location, such as with VPN services or the Tor (onion) network.

                Browser fingerprinting test websites
                One good test website to see all of the information that is being revealed by your browser is
                ipleak.net.

                With ipleak.net, you will want to scroll down to the “Geek Details” section where you will be able to see:

                      Detected information
                      System information
                      Screen information
                      Plugins information
                      Mime-Types information
                      HTTP Request Headers

                There are also a few websites that reveal browser data and also assess a “uniqueness” score based on your variables in
                comparison to their database of browsers.

                      amiunique.org is another good resource. It is open source and provides more information and updated fingerprinting
                      techniques, including webGL and canvas.
                      Cover Your Tracks is run by the Electronic Frontier Foundation. You can learn more here.

                Cover Your Tracks is the updated version of a project the EFF has been working on for many years. It gives you a pretty good
                picture of how susceptible your browser is to finger printing.




                How to mitigate your browser fingerprint
                Before we jump into potential solutions, it’s important to note that implementing browser fingerprinting protection methods
                may break some websites. Be sure to research these different options carefully before adjusting your browser settings.

                Another consideration is your threat model. How much privacy do you need or want? The answer to that question will be



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                different for every user.

                Lastly, I use the word “mitigate” rather than “solve” because browser fingerprinting is a very complex and evolving issue. For
                example, a new study revealed that there’s nothing you can do to mitigate some fingerprinting attacks on smartphones
                (discussed more below).

                Here are some good ways to mitigate your browser fingerprint:

                1. Browser modifications and tweaks
                Depending on the browser you are using, you might have some different options for tweaks and modifications to mitigate
                browser fingerprinting. Below we’ll discuss various Firefox and Brave browsers, which are both secure and private browsers.

                Brave browser fingerprinting

                Although it is based on Chromium, the Brave Browser may be a good option for those wanting a simple, privacy-focused
                browser that blocks tracking by default and still supports Chrome extensions. Brave allows you to enable fingerprinting
                protection, which is under the Brave Shields settings:




                See also this article on Github discussing different aspects of fingerprinting protection in Brave.

                Firefox browser fingerprinting

                Firefox is a good browser for privacy and security, and it can also be modified and hardened for your unique needs. (For an
                overview of Firefox privacy tweaks, see the Firefox privacy guide.) The first thing you need to do is type about:config into
                the URL bar of Firefox, hit enter, then agree to “accept the risk” and make the following changes:

                      privacy.resistFingerprinting (change to true) – Changing this value to true will offer some basic protection, but
                      it’s far from a complete solution. The privacy.resistFingerprinting preference was added to Firefox as part of the Tor
                      Uplift project and it continues to be improved.
                      webgl.disabled (change to true) – WebGL is another tricky issue for privacy and security. Disabling this preference
                      is generally a good idea – see some of the issues with WebGL here.
                      media.peerconnection.enabled (change to false) – Disabling WebRTC is a good idea since this can reveal your
                      true IP address, even when you are using a good VPN service. See the WebRTC leak guide for more details and how to
                      disable WebRTC in other browsers.
                      geo.enabled (change to false) – This disables geolocation tracking.
                      privacy.firstparty.isolate (change to true) – This is another great update from the Tor Uplift project that isolates
                      cookies to the first party domain.

                Note: This is just a brief overview of changes that improve your privacy and help to mitigate your browser fingerprint.
                Nonetheless, there are many different factors that go into fingerprinting and you may still have a unique fingerprint even
                with these changes.

                Firefox with the ghacks user.js file

                Another great option is to run Firefox with a unique user.js file, such as the ghacks user.js. This is a custom Firefox
                configuration file that has been modified for more privacy and security. I like this option because it can save lots of time with
                setup and is regularly updated and improved. See the Wiki page for an overview and setup instructions.

                When I tested a fresh install of Firefox with the ghacks user.js file, amiunique.org showed my browser fingerprint as as not
                unique.

                2. Browser extensions and add-ons to minimize or spoof your
                fingerprint
                There are a number of different browser extensions and add-ons that you may find useful. With that being said here are a few



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Browser Fingerprinting Protection: How to Stay Private                                                     https://restoreprivacy.com/browser-fingerprinting/
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                things to remember:

                   1. Be careful with third-party extensions, which could potentially undermine your privacy and security.
                   2. Be mindful that using extensions may make your browser fingerprint more unique (many factors).

                Now that we’ve gotten those disclaimers out of the way, let’s examine some browser add-ons that may be useful:

                Firefox browser:

                      Canvasblocker by kkapsner – Protects against canvas fingerprinting methods (source on GitHub)
                      Trace by AbsoluteDouble – Protects against various fingerprinting methods (source on GitHub)
                      Chameleon by sereneblue – Allows you to spoof user agent values (source on GitHub)

                There are many other Firefox add-ons you may want to consider as well, which are discussed in the Firefox privacy
                guide. Some of these add-ons are also available for Chromium-based browsers, such as Brave.

                Some people recommend spoofing different user agents through a browser extension, while others suggest this is a bad idea
                because it might make you more “unique”. Of course, there are many factors to consider, but adding noise to your fingerprint
                may not be a bad strategy.

                For example, with Chameleon, you can cycle through different user agents at various time intervals.




                Now let’s look at another option for modifying your browser fingerprint: the use of virtual machines.

                3. Virtual machines
                You can also consider running different virtual machines, which can utilize different operating systems on your host
                computer. VirtualBox is FOSS and offers an easy way to run different Linux VMs for more privacy and security. There are
                many different video tutorials online, depending on your operating system and the VM OS you are looking to use.

                Virtual machines offer numerous advantages in terms of privacy and security, while also protecting your host machine. For
                privacy, VMs allow you to easily spoof different operating systems and also chain VPN services, as explained in the multi-hop
                VPN guide. This also helps keep your host machine secure by isolating a virtual environment. If the VM were to be
                compromised, simply delete it and create a new one. You can also use different VMs for different purposes.

                4. Tor Browser
                Another option is to use the Tor browser, which is simply a hardened and protected version of Firefox. It includes
                numerous privacy and security modifications that are built into the default version:

                      HTTPS Everywhere
                      NoScript
                      Anti-tracking features
                      Canvas image extraction blocked
                      WebGL blocked
                      Operating system cloaking (shows as Windows 7 for all users)




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Browser Fingerprinting Protection: How to Stay Private                                                          https://restoreprivacy.com/browser-fingerprinting/
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                      Timezone and language preferences blocked

                The key here is to use the default version (the developers do not recommend adding any plugins or extensions because
                this could compromise the browser’s effectiveness).

                You can get the latest version of the Tor browser here.

                The default version of the Tor browser is configured to run with the Tor (anonymous/onion) network. While the Tor network
                does have added benefits in terms of privacy, it also has a number of disadvantages:

                      Your internet speed will be reduced to around 2 Mbps, making streaming videos or music nearly impossible
                      Tor only encrypts traffic through the browser, rather than encrypting all traffic on your operating system like a VPN
                      Tor is vulnerable to IP leaks, especially with Windows
                      Tor is not safe to use when torrenting (see the Best VPNs for Torrenting guide)
                      Tor was created by the US government and is still funded largely by US government grants
                      Some consider Tor to be compromised

                Ultimately, like all privacy tools, Tor has both pros and cons.

                Note: You can also first connect to a VPN and then load the Tor browser as normal with the VPN running in the background.
                This will hide your real IP address from malicious Tor nodes and give you an extra layer of protection.

                5. Don’t expect much privacy on a smart phones
                As we’ve covered before, most “smart” devices are data collection tools for various entities.

                Smart phones are especially vulnerable to browser fingerprinting. A team of researchers at Cambridge published a paper
                highlighting how smartphones can be fingerprinted using internal sensors – and there’s nothing the user can do about it.

                The paper delves into the technical details, but here’s a brief overview of their findings:

                      The attack can be launched by any website you visit or any app you use on a vulnerable device without requiring any
                      explicit confirmation or consent from you.
                      The attack takes less than one second to generate a fingerprint.
                      The attack can generate a globally unique fingerprint for iOS devices.
                      The calibration fingerprint never changes, even after a factory reset.
                      The attack provides an effective means to track you as you browse across the web and move between apps on your
                      phone.

                Aside from the sensor issue, there are many other reasons for avoiding smart phones if you expect privacy. See our article on
                controlling communication channels for more info on this topic.

                Use a good VPN service
                Although a VPN alone won’t protect you against browser fingerprinting, it is a very important privacy tool to hide your IP
                address, hide your location, and keep your data secure.

                If you’re not using a good VPN, your internet provider can easily monitor all your online activity by recording your DNS
                requests. In many countries, such as the UK and Australia, this is mandatory. Internet providers in the US can also monitor
                and record their users, and since March 2017, they can also sell this information to third parties (advertisers).

                An interesting report from the Federal Trade Commission in the US highlighted how all major internet providers are
                collecting vast amounts of private data and sharing this data within a wide network of partners. See our article for
                more details:

                Internet Service Providers are Logging EVERYTHING You Do Online

                Going through all the hassle to protect yourself against browser fingerprinting may be a waste of time if you aren’t using a
                good VPN that will encrypt your internet connection and hide your IP address and location. The best VPN services report
                discusses the top recommendations based on the latest results.

                For those who are seeking a higher level of online anonymity, you can also use a multi-hop VPN, which will encrypt your
                traffic across more than one server (multiple hops) before exiting onto the regular internet.

                As mentioned above, combining VPNs also adds additional privacy and security while distributing trust across different VPN
                providers.

                Browser Fingerprinting FAQs
                Below are some of the other questions we see regarding browser fingerprinting.

                What do you mean by browser fingerprinting?




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                Browser fingerprinting is a method to identify and track you online based on numerous different variables, including your
                operating system, timezone, browser headers, plugins, cookie preferences, tracking preferences, screen resolution and more.
                By aggregating these browser variables, third parties can create a unique fingerprint of your browser so that you can be
                identified and tracked online.

                Who uses browser fingerprinting?

                Browser fingerprinting is used primarily by advertising agencies and data brokers. By creating a unique browser fingerprint,
                ad agencies and data brokers can track your activities as you browse different websites. Your browsing activity can then be
                linked to your unique browser fingerprint, which allows you be targeted with ads based on your online activities.
                Additionally, your activities and identity can be sold to third parties by data brokers and other ad-tech intermediaries.

                Does a VPN prevent browser fingerprinting?

                No, a VPN alone will not protect you against browser fingerprinting. While a VPN will hide your true ISP-assigned IP address
                and location, it will not protect you against browser fingerprinting, which is based on unique variables without your browser
                and operating system. To protect yourself against browser fingerprinting, you will need to modify the settings within your
                browser, as we describe above. However, you should still use a VPN to hide your IP address and location to better protect
                your online privacy.

                Can you be tracked on private browsing?

                Private browsing alone will not protect you from browser fingerprinting and it also won’t hide your IP address or location. In
                essence, private browsing is not actually private. We explain why incognito/private browsing is not private and the steps you
                can take to actually have more privacy and security online with your browser.

                Use browser fingerprinting protection in 2022
                While browser fingerprinting may seem like a daunting issue to some, mitigating your browser fingerprint is relatively easy.
                For those seeking the highest levels of privacy and security, I’d recommend utilizing virtual machines and perhaps chaining
                different VPN services (using more than one VPN at the same time).

                As a general rule of thumb, Firefox remains a great all-around browser after some modifications and configuration. The
                secure browsers guide also discusses various options, while the Firefox privacy modifications guide takes a deep-dive into
                tweaks, extensions, and custom configuration.

                Another issue to consider, which was not mentioned in this guide, is using a good ad blocker. Ads today basically function as
                tracking – they record your browsing habits so you can be hit with targeted advertisements. A good add-on is uBlock
                Origin, but there are other recommendations in the ad blocker article and privacy tools guide.

                Stay safe, secure, and private in 2022 and beyond. We’re all being watched.




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Data Vendors - The Weather Channel | weather.com                                                   https://weather.com/data-vendors
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            Today          Hourly          10 Day       Weekend     Monthly         Radar          More




           Vendor Privacy Practices and Opt Outs
           In order to provide accurate weather data free of charge, we serve personalized ads on our sites
           and apps. As described in our Privacy Policy:

                  We work with vendors for advertising purposes. These vendors use cookies and mobile
                  advertising identifiers to direct and measure “personalized ads”, which are tailored to your
                  likely interests based on your activities across some of the other apps and websites you use.
                  We work with analytics vendors that use data collection technologies to track, analyze, and
                  report data about the use of our websites or apps and to analyze and optimize the
                  performance of the websites or apps. We work with technology vendors to support our
                  apps and websites; for transparency, we list those vendors below.

           This page lists opt-out options provided by our vendors as well as links for you to find
           information about their privacy practices. We may use these vendors for all or some of our apps
           and websites, and may use different vendors in specific regions.

           The opt-outs described below may be device- or browser-specific and may not be available for
           all devices. The scope of the opt-outs is determined by each vendor. For example, if you opt out
           on your mobile device, you may continue to receive personalized advertising on your desktop
           computer or other devices. If you choose to opt out, you will still see ads, but the ads will not be
           personalized ads.

           This page is updated periodically to reflect the most up to date information related to our
           vendors.

           To opt out of sales under the California Consumer Privacy Act, please visit our Privacy Settings
           page.


           Industry Group Opt Outs
           Some industry organizations offer centralized tools where you can opt out of the use of your data


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           by multiple vendors at once. For more information about Digital Advertising Alliance (DAA) and
           Network Advertising Initiative (NAI) opt-out tools to assist you in managing choices for
           participating companies that use cookies, visit the following sites:

                  The DAA’s opt-out page The Digital Advertising Alliance of Canada's (DAAC’s) opt-out
                  page One of the EDAA’s country-specific opt-out pages The NAI’s opt-out page

           Also, the DAA offers AppChoices, a separate choice tool for users to exercise control over the
           collection and use of data through mobile applications for personalized advertising and other
           related uses. To exercise choice for participating companies, you can install the DAA's AppChoices
           application on your mobile device. Visit here for more information on DAA's AppChoices tool.


           Advertising Vendors
           We work with advertising vendors that use data collection technologies to track usage behavior
           to deliver relevant content or ads on our or other websites or apps, and to analyze and report on
           content or ads which users see and interact with. Note: this list does not include the advertising
           vendors used by our advertisers.

           33Across
                  Privacy Policy
                  Opt Out

           Acuity / 140 Proof (US only)
                  Privacy Policy
                  Opt Out

           AdForm (US Only)
                  Privacy Policy
                  Opt Out

           Amazon
                  Privacy Policy
                  Opt Out

           Apps Flyer
                  Privacy Policy

           Arts.ai (US only)
                  Privacy Policy
                  Opt Out




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Data Vendors - The Weather Channel | weather.com                                   https://weather.com/data-vendors
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           Beachfront Media (US only)
                  Privacy Policy
                  Opt Out

           BounceX (US only)
                  Privacy Policy
                  Opt Out

           Braze
                  Privacy Policy

           Burda-Forward (Germany only)
                  Opt Out
                  Data Protection

           Celtra (US only)
                  Privacy Policy

           Claritas (US Only)
                  Privacy Policy
                  Opt Out

           Connatix (US Only)
                  Privacy Policy
                  Opt Out

           Criteo (US Only)
                  Privacy Policy
                  Opt Out

           Disqo (US Only)
                  Privacy Policy
                  Opt Out

           DoubleClick / Google AdX
                  Privacy Policy

           DoubleVerify
                  Privacy Policy

           Dynata (US Only)
                  Privacy Policy
                  Opt Out




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           Facebook (US Only)
                  Privacy Policy
                  Opt Out

           Google Ad Manager 360
                  Privacy Policy
                  How Google uses information from sites or apps that use its services
                  Opt out (“Ad Personalization”) - Opt out (“My Google Activity”)

           Improve Digital (US only)
                  Privacy Policy
                  Opt Out

           Index Exchange
                  Privacy Policy
                  Opt Out

           Influential (US Only)
                  Privacy Policy
                  Opt Out

           InMobi
                  Privacy Policy
                  Opt Out

           Integral Ad Science (IAS) (US Only)
                  Privacy Policy

           IRI Worldwide (US only)
                  Privacy Policy

           Kargo
                  Privacy Policy
                  Opt Out

           LiveRamp (US only)
                  Privacy Policy
                  Opt Out

           Lotame (US Only)
                  Privacy Policy
                  Opt Out




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           Lucid (US only)
                  Privacy Policy
                  Opt Out

           Magnite / Rubicon Project
                  Privacy Policy
                  Opt Out

           Media.net
                  Privacy Policy
                  Opt Out

           Millward Brown (US only)
                  Privacy Policy
                  Opt Out

           MixPanel (US only)
                  Privacy Policy

           Nielsen (US only)
                  Privacy Policy
                  Opt Out

           OneTag (US Only)
                  Privacy Policy
                  Opt Out

           OpenX
                  Privacy Policy
                  Opt Out

           Oracle Advertising / Moat
                  Privacy Policy

           Outbrain (Germany Only)
                  Privacy Policy
                  Opt Out

           Pubmatic
                  Privacy Policy
                  Opt Out

           RhythmOne / UnRuly (US only)



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                  Privacy Policy
                  Opt Out

           Sharethrough
                  Privacy Policy

           Smaato (US only)
                  Privacy Policy
                  Opt Out

           SmartCommerce (US Only)
                  Privacy Policy

           Sonobi (US only)
                  Privacy Policy
                  Opt Out

           SpotXchange (US only)
                  Privacy Policy
                  Opt Out

           Taboola
                  Privacy Policy
                  Opt Out

           Teads (US, non-EU countries)
                  Privacy Policy

           The MediaGrid
                  Privacy Policy
                  Opt Out

           TripleLift (US Only)
                  Privacy Policy

           Upwave / Survata (US Only)
                  Privacy Policy

           Vdopia / Chocolate (US only)
                  Privacy Policy
                  Opt Out

           Xandr / AppNexus
                  Privacy Policy



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                  Opt Out

           Yahoo / Verizon Media (US, Canada, Japan only)
                  Privacy Policy
                  Opt Out

           Yield Mo (US, Canada, Australia only)
                  Privacy Policy
                  Opt Out


           Analytics Vendors
           We work with certain analytics vendors that use data collection technologies to track, analyze,
           and report data about the use of our websites or apps, and to analyze and optimize the
           performance of the websites or apps.

           AGOF (Germany only)
                  Privacy Policy
                  Opt Out

           Alchemer (US Only)
                  Privacy Policy

           Amplitude
                  Privacy Policy

           Apps Flyer
                  Privacy Policy

           Apptentive
                  Privacy Policy

           Braze
                  Privacy Policy

           Comscore
                  Privacy Policy

           Firebase
                  Privacy Policy

           InfOnline (Germany Only)
                  Privacy Policy
                  Opt Out



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           Instana
                  Privacy Policy

           IVW (Germany only)
                  Privacy Policy
                  Opt Out

           JW Player
                  Privacy Policy

           Localytics
                  Privacy Policy

           Medallia (US Only)
                  Privacy Policy

           Piano (US Only)
                  Privacy Policy

           Taboola
                  Privacy Policy
                  Opt Out

           UserZoom (US Only)
                  Privacy Policy


           Technology Vendors
           We work with certain technology vendors that use data collection technologies to support the
           apps and websites. These vendors assist us with our business operations, with the provision of
           the apps and websites, or in delivering you the features and functionality that you have
           requested.

           Akamai

           Amazon Alexa

           Apps Flyer

           AWS (Amazon)

           Confiant

           Cybersource

           Data Dog



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Google Chrome version history - Wikipedia                                               https://en.wikipedia.org/wiki/Google_Chrome_version_history
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          Google Chrome version history
          Google Chrome is a freeware web browser developed by Google LLC. The development process is split into different “release
          channels,” each working on a build in a separate stage of development. Chrome provides 4 channels: Stable, Beta, Dev, and Canary.
          On the stable builds, Chrome is updated every two to three weeks for minor releases and every four weeks for major releases.[1]



          Contents
          Versions
          See also
          Notes
          References
          External links


          Versions
          The following table summarizes the release history for the Google Chrome web browser.

                            Extended Stable Channel (macOS and          Stable           Beta           Developer           Canary
             Discontinued
                            Windows)                                    Channel          Channel        Channel             Channel




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Google Chrome version history - Wikipedia                                                   https://en.wikipedia.org/wiki/Google_Chrome_version_history
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              Old development and beta builds are not shown after they become stable releases.
              The first stable release in macOS and Linux was Google Chrome 5.0.375. The first stable release on Android was Chrome
              18.0.1025123 (Chrome for Android).[r 312][r 313][r 314]
              Chrome 21 was the last supported version on Mac OS X 10.5.
              As of Chrome 26, Linux installations of the browser may be updated only on systems that support GCC v4.6 and GTK v2.24 or
              later. Thus systems such as Ubuntu Lucid 10.04 LTS, Debian 6's 2.20, and RHEL 6's 2.18 are now among those marked as
              deprecated.[r 315]
              Chrome 34 was the last supported version to run on older processors that lacked SSE2.
              As of Chrome 59, Linux Chrome defaults to GTK+3. Older versions of Linux, e.g. RHEL 6 or CentOS 6, with only GTK+2 support,
              are not able to run this version of Chrome. Red Hat's GTK+2 build of Firefox ESR is probably the last remaining regularly updated
              browser on RHEL 6/CentOS 6.[14]
              Chrome 49 released on 2016-03-02 was the last version supported on Windows XP, Windows Vista, Mac OS X 10.6, 10.7, and
              10.8.
              Standalone builds can be found on Google's Chromium Browser Continuous build server (http://commondatastorage.googleapis.c
              om/chromium-browser-continuous/index.html).
              Chrome 67 was the last version supported on OS X 10.9, however, Google's download page offers version 65.
              Version 82 was skipped due to the COVID-19 pandemic.
              Chrome 87 was the last version supported on OS X 10.10.
              Chrome 95 was the last version supported on Android Lollipop.


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Brown v. Google

                       IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF CALIFORNIA

                                              §
                                              §
                                              §
CHASOM BROWN, WILLIAM BYATT,                  §
JEREMY DAVIS, CHRISTOPHER                     §
CASTILLO, and MONIQUE TRUJILLO,               §
individually and on behalf of all similarly   §
situated,                                     §
                                              §   Case No. 4:20-cv-03664-YGR-SVK
  Plaintiffs,                                 §
                v.                            §
                                              §
GOOGLE LLC,                                   §
                                              §
  Defendant.                                  §
                                              §
                                              §
                                              §
                                              §




                     EXPERT REBUTTAL REPORT OF BRUCE SCHNEIER
                       REBUTTAL OF EXPERT GEORGIOS ZERVAS
                                       APPENDIX 2


                                       June 7, 2022




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       GOOG-CABR-04665130: An April 22, 2014 article in The Guardian.
            o This article does not even mention the words “private” or “Incognito,” or discuss
                Google’s collection and use of private browsing information.
       GOOG-CABR-04665136: A September 2018 user discussion thread on the Hacker News
         website.
            o None of the comments refer to Google’s collection of private browsing
                information; rather, the users are discussing Chrome Sync mode.
       GOOG-CABR-04665141: A November 2019 article on MetaBlog.
            o This article replicates Google’s misleading Splash Screen text: “[y]our Internet
                Service Provider, your employer, the government or any of the websites you’ve
                visited can still track your browsing activities.” As on the Splash Screen, Google
                is omitted from the list.
       GOOG-CABR-04665148: A December 2015 paper in the International Journal of
         Computer Applications.
            o This paper describes an experiment in which researchers “examine[d] the artifacts
                left in main memory after a private browsing session,” that is, private browsing
                information stored on a user’s device. The study does not consider whether
                private browsing data is collected and then stored by third parties such as Google.
            o This study actually undermines Professor Zervas’s conclusion that the use of a
                private browsing mode “prevent[s] browsing history from being saved on the
                device”,1 given its conclusion that “private browsing mode does leave browsing
                evidence even after the browsers were closed in all four web browsers under this
                experiment”—specifically, Firefox, Internet Explorer, Safari, and Chrome
                Incognito.
       GOOG-CABR-04665156: A September 2016 article in Bustle.
            o This article notes that “Incognito mode doesn’t offer complete privacy,” but
                otherwise restates Google’s misleading disclosures, explaining that the user’s
                browsing history is still available to their ISP and employer. There is no
                discussion of Google’s tracking beacons.
       GOOG-CABR-04665164: A 2016 report from the 2016 CHI Conference.
            o This article summarizes focus groups in which participants provided rationales for
                their online behavior. One participant stated that “I will use [] Incognito mode
                because it makes me feel better. Although I’m sure that [Google] can still track
                something.” (second alteration in original). This statement provides no evidence
                that the participant knew that Google uses tracking beacons embedded within
                non-Google websites to collect his or her browsing information, nor that Google
                tags this data with Incognito detection bits and stores it such that it can be linked
                to his or her identity.
       GOOG-CABR-04665171: An undated article from independent.co.uk.
            o This repeats Google’s misleading Splash Screen text, warning that “your boss
                could figure out if you’re doing something you’re not supposed to at work,” with
                no mention of Google’s tracking beacons.
       GOOG-CABR-04665175: An August 2018 article in the New York Post.
            o This discusses the privacy risk to users who sign in to Google during an Incognito
                session, warning that “If you log back into Google before leaving Incognito

1
    Zervas Report ¶ 5.

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              Mode, Google will be able to retroactively link your browsing data to your
              account […] The only way to get around this would be to only log into your
              Google account after you’ve left Incognito Mode.” The article thus suggests to
              users that Google cannot collect and store their private browsing information
              when they are signed out of Google.
    GOOG-CABR-04665178: An April 2019 article on indy100.com.
          o This restates Google’s misleading Splash Screen disclosures, noting that
              Incognito mode “has little effect on your ISP and whichever sites you visit being
              able to follow your activity.”
    GOOG-CABR-046651863: An April 2019 article in Cosmopolitan.
          o Like the New York Post item discussed above, this warns of the privacy risk to
              users who sign in to Google while browsing within Incognito, explaining that
              “Google can still record the websites you browse while in Incognito mode on the
              Chrome browser and link them to your identity, if you’re logged into your Google
              account.” (emphasis in original)
    GOOG-CABR-04665190: Introduction to an August 2018 blog post on the Wired
      website.
          o This simply states Google has made a change to Chrome whereby Chrome
              appears to “log people in” without permission; it makes no mention of Chrome
              Incognito or any private browsing mode.
    GOOG-CABR-04665192: A May 2018 article from Fast Company.
          o This advocates for Firefox as opposed to the Chrome browser, but does not
              discuss Google’s collection of users’ browsing information from visits to non-
              Google websites within Incognito mode. Although it advises that “Chrome allows
              third-party websites to access your IP address and any information that site has
              tracked using cookies,” it does not explain that Google can be one of these
              websites.
    GOOG-CABR-04665201: A September 2018 article from the BBC.
          o This discusses selling one’s personal data, stating that “the reason our data is so
              lucrative for big companies is the volumes they are able to scoop up – billions of
              users feed their algorithms every day . . . But me? I doubt I’ll ever be able to
              make more than a few dollars a month [from selling my data].” The article does
              not cover the means by which Google obtains, stores and monetizes information,
              whether users are browsing in regular or Incognito mode, nor disclose that Google
              collects private browsing information. The article does, however, capture why
              data is so valuable to Google, including by noting that it “feed[s] their
              algorithms.”
    GOOG-CABR-04665206: An archived copy of the Chick-fil-A home page
      (http://www.chick-fil-a.com).
          o This displays Chick-fil-A’s cookie policy, stating that “cookies on this site are
              used by Chick-fil-A and our advertising and analytic partners for different
              purposes, including personalizing content, tailoring advertising to your interests,
              and measuring site usage. By continuing, you agree to our use of cookies.” It does
              not disclose that any of its “advertising and analytic partners” will collect private
              browsing information.



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     GOOG-CABR-04665212: Creative People Crew home page (partners.cpeople.ru).
          o This page displays the following cookie policy: “you agree to process cookies and
              your personal data: location; OS type and version; browser type; device; visited
              pages on the site; IP-address.” The page says nothing about Google, private
              browsing, or Google’s collection, storage and use of users’ private browsing
              information.
     GOOG-CABR-04665217: A December 2017 article on the website of television station
       WKYC, syndicated from USA Today.
          o This makes no mention of Chrome Incognito or any other private browsing mode,
              and incorrectly suggests to users that they can keep track of and view all of the
              information that Google has collected about them. Google does not permit users
              to access or delete the information collected from their private browsing sessions.
     GOOG-CABR-04665225: Didomi.io’s Consent Management Platform.
          o This page says nothing about Google or its collection of private browsing
              information.
     GOOG-CABR-04665238: An October 2019 article on the PäksTech website.
          o This only discusses Firefox, and makes no mention of Chrome’s Incognito mode.
     GOOG-CABR-04665244: A Question and Answer page on Quora, spanning eleven years
       from 2011 to 2022.
          o This is a discussion of whether “Google track[s] what happens in the ‘incognito
              window.’” Eighteen visitors weigh in on the question. One Google Chrome
              employee commented that “Google does not track your non-incognito use of
              Chrome” and that “rather Chrome sends search terms typed into the omnibox to
              the search provider of your choice.” This Google employee was either himself
              misinformed or misled the discussion participants with his suggestion that Google
              does not even track users within a regular browsing mode. None of the 18
              commenters discuss the means by which Google tracking beacons embedded
              within non-Google websites will collect information about users’ private
              browsing while they are signed out of Google.
     GOOG-CABR-04665250: An August 2018 article from The Atlantic.
          o This briefly refers to a 2018 Vanderbilt University study involving a scenario in
              which the user signs into Gmail while privately browsing.2
     GOOG-CABR-04665613: A customer service and privacy policy page from
       PUMA.com.
          o This page establishes that PUMA.com uses Google Analytics but says nothing
              about Google Analytics tracking beacons or private browsing modes.
     GOOG-CABR-04665621: A September 2019 article from PC Magazine.
          o This article states that “Your ISP, corporate network administrator, and
              government agencies will be able to track your browsing habits regardless of the
              browsing mode you’re using.” Although it also notes that “websites can still
              discover your identity” while private browsing, it does not explain that Google
              can do so even when a user visits a non-Google website while signed out of their
              Google account and using a private browsing mode.


2
 Douglas C. Schmidt, “Google data collection,” Vanderbilt University, https://digitalcontentnext.org/wp-
content/uploads/2018/08/DCN-Google-Data-Collection-Paper.pdf (August 15, 2018).

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         GOOG-CABR-04665630: A page from PUMA.com displaying a cookie policy pop-up.
              o This statement says nothing about Google or its collection of private browsing
                 information.
         GOOG-CABR-04665638: A July 2018 article from Digital Information World.
              o The article discusses a recent study that sought to ascertain users’ beliefs about
                 private browsing modes. The research found that “people incorrectly assumed that
                 incognito mode was capable of doing much more than what it can actually do,” an
                 assumption that supports my opinion that Google’s disclosures are misleading.
                 The article says nothing about Google’s collection of private browsing
                 information.
         GOOG-CABR-04665641: The Scientific American website’s privacy policy.
              o The policy states that the website uses Google services but mentions neither
                 private browsing nor Google’s collection of private browsing information.
         GOOG-CABR-04665673: A position paper by Christopher Soghoian for the December
          2010 IAB Internet Privacy Workshop.
              o This paper contends that users do not understand that private browsing modes do
                 not prevent information from being sent to a user’s ISP or employer, and credits
                 Google for making that clear on the Incognito Splash Screen. However, the article
                 does not discuss Google’s collection of private browsing information from users’
                 visits to non-Google websites.
         GOOG-CABR-04665676: A screenshot from the Starbucks website displaying its
          cookie policy and cookie settings options.
              o No mention is made of Google, private browsing, or Google’s collection of
                 private browsing information.
         GOOG-CABR-04665682: A discussion thread on Hacker News beginning on September
          8, 2018.
              o This long discussion focuses on Google requiring Gmail users to log into Chrome.
                 No mention is made of Google’s collection of private browsing information from
                 signed out browsing sessions.
         GOOG-CABR-04665705: A November 2018 article from Wired.
              o This article discusses Google’s approaches to user privacy over the years, but not
                 Google’s collection of private browsing information.
         GOOG-CABR-04665712: A July 2018 article from Yahoo Finance.
              o This piece summarizes the same study as the above-described July 2018 article
                 from Digital Information World,3 and supports my opinion that users harbor “a lot
                 of misconceptions about browsing the web in ‘incognito’ mode.” But like the
                 Digital Information World piece, it does not mention Google’s collection of
                 private browsing information from non-Google websites.
         GOOG-CABR-04665718: A July 2019 article from Mashable.
              o This article discusses trackers on websites but does not consider the possibility
                 that Google can be one of these trackers, or that Google collects information
                 about users’ private browsing activities on non-Google websites.



3
    GOOG-CABR-04665638

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      GOOG-CABR-04665727: The Weather.com user privacy pop-up.
           o Google is nowhere mentioned, let alone its collection of private browsing
               information.
      GOOG-CABR-04665732: A December 2017 article from CNBC.
           o The describes various types of information that Google routinely collects from
               users, and directs readers who wish to limit collection of data to various locations
               on the Google website where they can change their privacy settings. The article
               does not say anything about private browsing mode, let alone that Google collects
               private browsing information.
      GOOG-CABR-04665750: An article from Forbes Advisor, last updated on August 9,
       2021.
           o This article discusses the collection of information by websites you visit,
               including search engines, but does not touch upon Google’s collection of
               information from private browsing sessions.
      GOOG-CABR-04665756: A November 2017 article from Thrillist, based on an
       interview with Darin Fisher, Google’s Vice-President of Chrome.
           o This article supports my opinion, in that Fisher discloses that Google employees
               [“k]now that Incognito Mode is still widely misunderstood,” and that “the
               Chrome team agonized over what to call it in the beginning, intentionally steering
               away from including ‘privacy’ in the name, because it didn't want to oversell its
               ability.” However, Fisher furthers that misunderstanding by citing to the
               misleading Splash Screen disclosures, without acknowledging that Google
               collects users’ private browsing information.
      GOOG-CABR-04665766: A June 2018 article from Consumer Reports.
           o This article addresses various user misconceptions regarding Incognito mode, and
               mentions Google’s ability to record search history when users are logged into
               Google within a private browsing mode, but does not disclose Google’s collection
               of private browsing data from non-Google websites.
      GOOG-CABR-04665773: A February 2014 article from Life Hacker.
           o This article discusses how Google collects personal information, asserting that
               “Chrome isn’t a primary source of any of it. Gmail, your Google Search history,
               your YouTube account, your Google+ account, the files you store on Google
               Drive, and other browser-independent features are where your data really comes
               from.” The article says nothing about Google’s collection of private browsing
               information.
      GOOG-CABR-04665791: An April 2018 article from the Wall Street Journal.
           o This article discusses Google Analytics tracking; however no reference is made to
               Incognito mode or other private browsing modes, or about Google’s collection of
               private browsing information.
      GOOG-CABR-04665797: A September 2018 blog post on Cryptography Engineering
       and its associated discussion thread.
           o This blog post, titled “Why I’m Done with Chrome,” concerns the automatic log-
               in feature introduced to Chrome in 2018. Some comments mention Incognito
               mode, but none discuss it beyond using it as a means to avoid giving information
               to Google, thus supporting my opinion.



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      GOOG-CABR-04665836: An April 2020 article from Slate.
           o This discusses whether users should be able to monetize their data. It does not
               address private browsing or Google’s collection of private browsing data.
     GOOG-CABR-04665840: A Zoom explanatory sales pitch file.
           o This is a brief explanation of very basic Zoom services with no references to
               Google at all, only a pop-up at the bottom of the page offering users the
               opportunity to opt out of third-party cookies and ad retargeting.
     GOOG-CABR-05876970: A September 2013 article on Slate.
           o This article mentions neither Incognito mode nor private browsing modes in
               general. Although it notes that Google receives information about users’ visits to
               “more than 88 percent of websites,” it says nothing about whether Google collects
               and stores users’ browsing information when they choose to use Incognito mode.
     GOOG-CABR-05876977: A December 2019 blog post on the website of Bounteous, a
       digital marketing company.
           o This article discusses Google Analytics tracking, and explains how the Analytics
               User ID “can be used to stitch sessions and users across browsers and devices.”
               Neither Incognito nor any other private browsing mode are mentioned, nor is the
               fact that Google tracks users via analytics tracking beacons even within a private
               browsing session.
     GOOG-CABR-05876987: A February 2014 article from Lifehacker.
           o This article discusses Google Chrome yet says nothing about Chrome Incognito
               or any other private browsing mode. This article also supports my opinions on
               joinability, with its explanation that “‘non-personally identifiable data’ often
               really isn’t at all.”
     GOOG-CABR-05877005: This is the same Wall Street Journal article as GOOG-CABR-
       04665791.
     GOOG-CABR-05877011: An August 2018 article on CNN.
           o This report on the 2018 Vanderbilt University study4 discusses Google’s
               extensive data collection practices yet says nothing about Incognito or about
               Google’s collection of private browsing information.
     GOOG-CABR-05877015: A February 2020 article from The Register.
           o This article describes Google’s receipt of the X-Client Data Header, which is not
               sent during an Incognito browsing session. The author does not discuss whether
               Google receives any information from users’ private browsing sessions, but
               nonetheless correctly notes that “Google . . . can still ID everyone it wants.”
     GOOG-CABR-05877023: A May 2018 article on Fast Company.
           o The article contains a single mention of Incognito mode, referring to “data
               leakage” from Chrome Incognito; the author does not specify what sort of “data
               leakage” she means, or how that data is leaked. The article undermines Professor
               Zervas’s opinions about the settings and features that he claims will block
               Google’s tracking beacons, explaining that “Chrome settings that don’t encourage
               privacy are the default” and pointing out that “Settings pages aren’t a good UX
               solution to providing clear information about how data is used . . . because who
               really spends any time in their privacy settings.”

4
 Douglas C. Schmidt, “Google data collection,” Vanderbilt University, https://digitalcontentnext.org/wp-
content/uploads/2018/08/DCN-Google-Data-Collection-Paper.pdf (August 15, 2018).

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    GOOG-CABR-05877032: This document contains two articles from the WKYC website.
          o One is about the first Harry Potter book. I have read that book, and it does not
              disclose Google’s collection of private browsing data.
          o The other is the same syndicated USA Today piece featured in GOOG-CABR-
              04665217.
    GOOG-CABR-05877040: A July 2019 article on Clark.com
          o This article discusses the “Do Not Track” setting, and says nothing about any
              private browsing mode.
    GOOG-CABR-05877049: This is an undated article about DuckDuckGo from
      http://www.spreadprivacy.com.
          o This author discusses the “Myth of Incognito Mode,” explaining that it “does not
              offer any additional protection as preventing the websites you visit from
              collecting your information” and warning that “Google is still tracking your
              searches.” However, the tracking at issue in this case pertains not to searches on
              Google.com, but to the browsing activity of signed-out Incognito users.
    GOOG-CABR-05877056: A screenshot from Macys.com.
          o Here, Macy’s informs visitors that “We also share information about your use of
              our site with our social media, advertising, and analytics partners.” Google is
              nowhere mentioned, nor are any private browsing modes.
    GOOG-CABR-05877221: An October 2021 article from Reader’s Digest.
          o This article discusses Google’s Web & App activity feature, and does not discuss
              private browsing.
    GOOG-CABR-05877233: This is an August 2020 article on Wired.
          o This article discusses what happens when someone signs into Google while using
              Incognito, explaining that “your searches are once again being logged and
              associated with your account.” The article also warns that when you don’t sign in,
              “the websites that you visit . . . figure out who you might be.” The article does not
              disclose that Google collects information about users’ private browsing on non-
              Google websites while signed out of their Google account.
    GOOG-CABR-05877325: This is the same Wired article as GOOG-CABR-05877233.
    GOOG-CABR-05877511: An April 2021 article on Insight.
          o The Insight article discusses this lawsuit, noting that “Google has been sued in
              California because it continues to track people’s data even in the Chrome
              browser’s Incognito mode. Did that send a chill down your spine?” The author
              appears to agree with Plaintiffs’ allegations and my opinions regarding
              Incognito’s misleading branding: “The name incognito has been etched in our
              minds in such a way that we instantly relate it to complete data privacy, that
              anything you do online via the Chrome browser will not be tracked, but now we
              know that it’s not all true.”
    GOOG-CABR-05877813: A July 31, 2020 article, apparently from Fast Company.
          o The article refers to this lawsuit (“a recent lawsuit against Google alleges that
              internet users are not getting the privacy protection they expect when using
              Chrome’s Incognito mode”), and supports my opinions regarding Incognito’s
              misleading branding (“It is not all that surprising that people have misconceptions
              about how private browsing mode works; the word “private” suggests a lot more
              protection than these modes actually provide. […] it may be difficult to dispel all
              of these myths without changing the name of the browsing mode”).

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     GOOG-CABR-04665260: A 2019 article from Inc.
          o This article merely quotes Google’s “fine print,” stating that in Incognito,
             “downloads and bookmarks will be saved” and “activity might be visible to:
             Websites you visit, your employee or school, your internet service provider.”
             Google itself is omitted from this list.
     GOOG-CABR-04665266: This is the same article from indy100.com as GOOG-CABR-
       04665178.
     GOOG-CABR-04665270: This is the same article from Clark.com as GOOG-CABR-
       05877040.
     GOOG-CABR-04665279: An August 2018 article from The Independent.
          o The pdf contains the first two sentences of a report5 (the remainder blocked by a
             log-in request) on the 2018 Vanderbilt University study of Google’s data
             collection,6 describing the study’s finding that “Google could retroactively link a
             person’s private browsing to the usernames and account information they use
             online.” Even though most of the Independent piece is missing from the pdf, I am
             familiar with the Vanderbilt study, which involved a scenario in which the user
             signs into Gmail while privately browsing. The Vanderbilt study does not discuss
             Google’s collection and storage of private browsing data even from users’ signed-
             out sessions, data that can be linked to individual users.
     GOOG-CABR-04665283: A July 2019 article from Wired UK.
          o This article notes that the websites might be able to detect that you are Incognito,
             including for purposes of enforcing paywalls. The article does not note that
             Google tracking beacons embedded within non-Google websites will continue to
             operate regardless of whether the user is in a private browsing mode.
     GOOG-CABR-04665287: A November 2017 article from Huffington Post UK.
          o This article points to the fact that Incognito is “absolutely not going to be keeping
             your employer from seeing what you do” and cautions users against using
             Incognito “to mix business with personal at work.” No mention is made of
             Google’s practice of tracking users’ Incognito browsing activity.
     GOOG-CABR-04665294: An October 2016 article from ProPublica.
          o This article discusses Google’s new language in its general Privacy Policy,
             disclosing that “your activity on other sites and apps may be associated with your
             personal information in order to improve Google’s services and the ads delivered
             by Google.” No reference is made to Incognito or private browsing.
     GOOG-CABR-04665298: An April 2019 article from The Australian.
          o This piece quotes from a letter to the US House of Representatives judiciary
             committee from Sundar Pichai: “When a user conducts a search on Google in
             Chrome Incognito and signed-out modes, we set a cookie to correlate searches
             conducted in the same Incognito window during the same browsing session. We
             will, however, use certain factors … such as the browser type, language, time of

5
  Anthony Cuthbertson, “Google Chrome's private incognito mode leaks way more personal data than you might
think,” The Independent, https://www.independent.co.uk/tech/google-chrome-incognito-mode-personal-data-
private-browser-a8502386.html (August 22, 2018).
6
 Douglas C. Schmidt, “Google data collection,” Vanderbilt University, https://digitalcontentnext.org/wp-
content/uploads/2018/08/DCN-Google-Data-Collection-Paper.pdf (August 15, 2018).

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           search, location (or an estimation of location), and prior browser session searches,
           to improve search ranking relevance for the user’s query.” Pichai’s limited
           mention of Incognito is thus confined to Google Search, without any mention of
           Google’s tracking of Incognito users’ visits to non-Google websites.
    GOOG-CABR-04665305: An October 2018 article from Slate.
        o This article discusses Google’s then-new “feature” of automatically logging
           Chrome users in to their accounts, the tech community’s response, and how this
           development indicated that Google might be “increasingly trading away [users’]
           trust for short-term benefits.” No mention is made of Incognito or private
           browsing.
    GOOG-CABR-04665310: An October 2018 article from Wired.
        o Like the August 2018 Independent piece, this pdf contains only the first two
           sentences of the article, with the rest blocked by a paywall. These two sentences
           simply state that in response to “mounting criticism,” Google has developed a
           “new tool […] to make it easier for you to understand what data Google collects,
           and surface the choices you have to control it.”
    GOOG-CABR-04665312: A September 2018 article from Forbes.
        o This article, like GOOG-CABR-04665797 and GOOG-CABR-4665305, also
           discusses the update that logged users into Chrome “every time a user signed into
           a Google service,” and also includes no reference to Incognito or private
           browsing.
    GOOG-CABR-04665316: A November 2017 article from Metro News.
        o This article simply reiterates Google’s misleading Splash Screen text stating that
           “Google incognito doesn’t hide browsing from your employer, your internet
           service provider, or the websites you visit.” No reference is made to Google itself
           tracking your activity in any capacity.
    GOOG-CABR-04665328: A March 2020 article from the Electronic Frontier Foundation.
        o This article discusses how Google monetizes data without “selling” it for the
           purposes of the California Consumer Privacy Act, and makes no mention of
           Incognito or private browsing.
    GOOG-CABR-04665341: This is a March 2020 article from The Register.
        o This article is a follow-up to GOOG-CABR-05877015, further discussing the X-
           Client Data Header. The article does not discuss Incognito or private browsing in
           any capacity.
    GOOG-CABR-04665347: This is the same article from the New York Post as GOOG-
      CABR-04665175.
    GOOG-CABR-04665356: This is the same CNN article as GOOG-CABR-05877011.
    GOOG-CABR-04665360: An August 2018 article from The Sun.
        o This report on the 2018 Vanderbilt University study states that “Google could see
           information from before you logged in, but while you were in Incognito Mode –
           and link it to your Google identity” and “[t]he only way to get around this would
           be to only log into your Google account after you’ve left Incognito Mode.” The
           author thus inaccurately suggests that Google does not collect private browsing
           information when users are signed out of Google.
        o Moreover, the article describes how Google discredited the study. A “Google
           spokesperson said: ‘This report is commissioned by a professional DC lobbyist
           group, and written by a witness for Oracle in their ongoing copyright litigation

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            with Google. So it’s no surprise that it contains wildly misleading information.’”
            It makes no sense for Google to now rely on a study that Google at the time
            described as “wildly misleading.”
    GOOG-CABR-04665372: This is the same DuckDuckGo article as GOOG-CABR-
      05877049.
    GOOG-CABR-04665379: This is the same article from the Bounteous website as GOOG-
      CABR-05876977.
    GOOG-CABR-04665389: A May 2018 article from Unsearcher.
         o The main focus of this article is Google’s tracking of Safari users, noting that
            “Google has also started to set an advertising cookie from its Google.com
            domain” and that it is “only setting this cookie on Safari browser” as a method of
            “bypassing Safari tracking protection.” No mention of Chrome is made at all, let
            alone Incognito or any private browsing mode.
    GOOG-CABR-04665392: This is the same article from Slate as GOOG-CABR-
      05876970.
    GOOG-CABR-04665399: A June 2013 article from Financial Times.
         o The article presents an interactive “calculator” to check how much the
            “multibillion-dollar data broker industry” will pay for a person’s data. There is no
            mention of private browsing mode or Incognito, Google’s data collection
            practices, or Google’s collection of private browsing information.
    GOOG-CABR-04665403: A July 2017 article from How-To Geek.
         o This article states that private browsing modes “offer some improved privacy, but
            it’s not a silver bullet that makes you completely anonymous online.” The article
            notes that an ISP, school, or employer might be able to see one’s private browsing
            data, but does not refer to Google’s collection or use of private browsing
            information.
    GOOG-CABR-04665410: A November 2019 article from Lifehacker.
         o The article discusses Google’s extensive data collection practices and credits
            Google for offering users “greater control over the ultimate fate of the data it
            collects.” There is no discussion of Incognito mode, of private browsing mode
            generally, or of Google’s collection of private browsing information.
    GOOG-CABR-04665415: A May 2020 article from Lifehacker.
         o This article briefly discusses Google’s newly-announced plan to begin blocking
            third-party cookies in Incognito mode. However, the article nowhere discusses
            Google’s collection of private browsing information by means of Google tracking
            beacons embedded within non-Google websites.
    GOOG-CABR-04665437: A June 2021 article from Consumer Reports.
         o This article describes Google’s various “controls and techniques,” such as the
            Web & App Activity control, but makes no mention of Incognito or any other
            private browsing mode.
    GOOG-CABR-04665452: A November 2017 article from The Sun.
         o The article echoes Google’s assurances that Incognito does not hide your
            browsing from your employer, ISP, or websites that you visit; however, it reveals
            nothing about Google’s collection and use of private browsing information.




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    GOOG-CABR-04665461: A November 2017 article from The Independent.
           o Like the above-mentioned article, this item merely reiterates that by using
               Incognito mode, a user’s private browsing activity is not hidden from their
               employer if they are using their work computer.
    GOOG-CABR-04665467: An undated article from United States Cybersecurity Magazine
      titled “Incognito Mode: Are you Really Incognito?”
           o This article notes that “you can still leave a trace on your Google account if you
               log in during Incognito mode use,” but does not discuss Google’s collection of
               information from Incognito sessions even when the user is signed out of Google.
    GOOG-CABR-04665473: This is the same article from The Register as GOOG-CABR-
      05877015.
    GOOG-CABR-04665481: An October 14 article from Guiding Tech.
           o This article merely states that your browsing history is still available to your
               employer, ISP, and websites that you visit. Moreover, the article inaccurately
               suggests that Incognito mode is “good for” “hid[ing] your interactions with the
               internet from . . . the Google account you’re logged into.” The article does not
               mention the fact that Google tracking beacons will enable Google to collect
               information from users’ visits to non-Google websites using a private browsing
               mode.
    GOOG-CABR-04665490: A December 2018 article from Wired.
           o The article does not mention private browsing, Incognito mode, or Google’s
               collection of private browsing data.
    GOOG-CABR-04665494: A screenshot of the “Notice of Privacy Practices” on
      macys.com (updated in June 2021).
           o Here, Macy’s informs users that “Macy’s shares data with Google Analytics . . .
               to understand and optimize website performance and enhance site usability” for
               its customers and also states that “Google Analytics may associate and group
               session visits to [Macy’s] website from various browsers and devices.” This
               Notice, however, does not discuss Incognito mode, Google’s collection of private
               browsing information, or the fact that Google Analytics tracking beacons continue
               to operate even when a visitor is using a private browsing mode.
    GOOG-CABR-04665515: This is the same screenshot from Macys.com as GOOG-
      CABR-05877056.
    GOOG-CABR-04665523: A September 2018 article from Unsearcher.
           o This article discusses the X-Client Data Header, which is not sent during an
               Incognito browsing session, but says nothing about Google’s collection of private
               browsing information.
    GOOG-CABR-04665528: A June 2019 article from UpBuild.
           o This article discusses Mozilla Firefox’s blocking of third-party cookies, but
               mentions nothing about Incognito mode or private browsing mode more
               generally.
    GOOG-CABR-04665548: A February 2017 article from Ars Technica.
           o This article does not discuss Incognito mode, private browsing, or Google’s
               collection of private browsing information. Incognito is mentioned in a single
               “Promoted Comment” at the end of the post; the commenter describes a visit to
               “the uniquemachine.org tracker,” which reportedly detected the same “computer
               fingerprint” for both Chrome and Chrome Incognito windows.

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    GOOG-CABR-04665556: A 2017 paper by Graeme Horsman, University of Sunderland,
      titled “A process-level analysis of private browsing behavior: A focus on Google
      Chromes Incognito Mode.”
           o This study focuses on “what is occurring on a local system during a private
              browsing session,” tested in an experiment in which researchers sought to identify
              “where local disk writes occur during a private browsing session.” The
              researchers did not ascertain whether private browsing data is collected and stored
              by third parties, such as Google.
    GOOG-CABR-04665563: A screenshot of the “Privacy Policy” from The Weather
      Channel (weather.com).
           o The Weather Channel’s “Privacy Policy” informs users that “[w]hen your data is
              collected on the Services, it may be shared with select Analytics Vendors and
              Advertising Vendors that assist us with marketing or advertising campaigns for
              our brands, and providers of services that assist us with our business operations
              with the provision of the Services, or in delivering you the features and
              functionality that you have requested.” There is no discussion of Incognito or
              private browsing mode within the policy. Moreover, the Policy notes that “this
              Privacy Policy does not cover the practices of our vendors outside of our Services
              and we do not control our vendors’ technologies.”




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